Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 1 of 319




            EXHIBIT A
                     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 2 of 319

                                                          - 1 of 4 -                                         O FFICIAL R ECORD
FD-302 (Rev. 5-8-10)                                                                                         Document participants have digitally signed.
                                                                                                             All signatures have been verified by a
                                                                                                             certified FBI information system.

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                                                                                       D e   e           08/06/2019



             On 07/17/2019, RICHARD OLSON, date of birth (DOB) 11/03/1959, home
          address 1513 Cedar Avenue, McLean, Virgina 22101, mobile telephone number
          (202)848-5846, email address rickscafedxb@yahoo.com was interviewed at FBI
          Washington Field Office by Special Agents (SAs) Jeremy Greenfield and Joe
          Harvey. On 07/11/2019, SA Greenfield contacted OLSON by telephone to set up
          the interview. Further coordination for the interview was conducted by email
          using the address above.

             The below is an interview summary. It is not intended to be a verbatim
          account and does not memorialize all the statements made during the
          interview. Communications by the parties in the interview room were
          electronically recorded. The recordings captured the actual words spoken.
          The recordings were added to file as evidence items 1D1 and 1D2. After being
          advised of the identity of the interviewing Agents and the nature of the
          interview, OLSON provided the following information:

             OLSON was a retired Foreign Service officer with 34 years' experience.
          OLSON joined the Foreign Service in 1982 after working one year on Wall
          Street. OLSON held high-level positions near the end of his career,
          including US Ambassador to United Arab Emirates (UAE), US Ambassador to
          Pakistan, and Special Representative for Afghanistan and Pakistan (SRAP).
          OLSON retired from civil service in 2016 and worked part-time, under
          contract, at the United States Institute of Peace (USIP). After retiring,
          OLSON started an LLC which offers consulting for a variety of clients
          including AVENUE CONSULTING a/k/a AVENUE VENTURES.

             IMAAD ZUBERI introduced himself to OLSON in 2013 after OLSON became US
          Ambassador to Pakistan. ZUBERI knew OLSON’s Chief of Staff, who facilitated
          ZUBERI's introduction to OLSON. Once introduced, OLSON and ZUBERI discussed
          politics, but did not have a business relationship while OLSON worked for
          the United States Government (USG). OLSON said ZUBERI did a lot of business




     ve                07/17/2019             Washington, District Of Columbia, United States (In Person)

   F e     339H-LA-3063880, 56F-LA-2088834                                               D e         e   07/18/2019
          GREENFIELD JEREMY ALLEN, HARVEY JOSEPH HOLLAND
             e              e   e e       e               eF .    e    e   eF      e             e                e            e
      e          e      e         e   .
                       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 3 of 319
FD-302 (Rev. 5-8-10)


         339H-LA-3063880
                         (U) Interview of Richard Olson on
              FD-302     07/17/2019                                   07/17/2019    e   2 of 4



         overseas in Malaysia, Pakistan, and China. OLSON appreciated ZUBERI’s
         insight into Pakistan and when they got together “it was an exchange” of
         information. OLSON was aware of ZUBERI’s family ties in Karachi and his
         relationship to the president of Pakistan at the time, Zardari. ZUBERI’s
         cousin was a Minister of Petroleum at the time, but OLSON said he was now in
         jail for corruption.

            While preparing to retire from the Foreign Service, OLSON considered
         multiple employment options, including work for an investment bank in Dubai.
         After agreeing to a position, the role with the Dubai firm ultimately fell
         through. ZUBERI subsequently asked OLSON to work with him, and OLSON began
         working for ZUBERI as an independent consultant.

            OLSON, began working as an independent consultant for ZUBERI's firm
         AVENUE VENTURES immediately after his retirement from the Foreign Service in
         2016, and continued since. OLSON advised ZUBERI "broadly" on foreign
         governments/government relations and was paid via a monthly retainer.
         OLSON's consulting services included liaising to USG for ZUBERI/AVENUE
         VENTURES, which sometimes included passing information to the Department of
         State (State) and the Central Intelligence Agency (CIA). OLSON did not know
         details of how ZUBERI ran his businesses, but was aware of ZUBERI having
         real estate in Dubai and business in Abu Dhabi. OLSON said he has completed
         approximately one-half dozen international trips for ZUBERI since they began
         working together.

            OLSON said ZUBERI was always very careful about sharing information
         useful to the USG. OLSON introduced ZUBERI to the CIA station chief in Los
         Angeles so ZUBERI could report on Pakistan and China. OLSON described ZUBERI
         as a “character” and very “entrepreneurial” with a “high appetite for risk.”
         OLSON said ZUBERI was very generous and wanted to be on the right side of
         the USG. ZUBERI was based in Los Angeles and OLSON has traveled there a
         couple of times to see him.

            OLSON said he did not work with ZUBERI while employed by State/USG, but
         they occasionally had dinner and talked by telephone. OLSON said ZUBERI
         never paid him while employed by the USG because OLSON knew it would have
         been illegal.

               When asked if ZUBERI ever offered anything like flights or hotels, OLSON
                       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 4 of 319
FD-302 (Rev. 5-8-10)


         339H-LA-3063880
                         (U) Interview of Richard Olson on
              FD-302     07/17/2019                                   07/17/2019    e   3 of 4



         said “no, [however] I’m hesitating because there was a banker who was also
         interested in hiring me in the summer of 2014, and he actually flew me to
         London.” The banker’s name was ISIAM JINAHI and OLSON met him through
         ZUBERI. OLSON said he probably should have reported the trip, but did not.
          OLSON said ZUBERI never paid for anything while he was employed by
         State/USG. Agents asked OLSON if the 2014 trip to London was the same as the
         January 2015 trip to London records showed was paid for by ZUBERI. OLSON
         said they were the same trip, but OLSON thought JINAHI had paid for it.
         OLSON was planning to retire in 2015 so was looking for post-government
         employment. After a discussion with then Secretary of State John Kerry,
         however, he decided to wait until 2016. OLSON considered working for JINAHI
         post-retirement, along with Raytheon, the Dubai firm, and others. OLSON
         noted he had to “recuse” himself from working with JINAHI and others while
         still employed by State/USG because of the potential post-service
         employment.

            OLSON most recently met with ZUBERI and JINAHI in Abu Dhabi in April
         2019. OLSON said he knew JINAHI and ZUBERI conducted business together, but
         he did not know any of the details.

            OLSON did not recall ever giving ZUBERI “talking points” for any
         meetings. [Agent note: at this point in the interview, SA Greenfield handed
         OLSON a copy of an email from rickscafedxb@yahoo.com to
         imaad.zuberi@mindspring.com sent on 04/09/2015 with the subject “Points.”
         The email contained general points about the US relationship with Pakistan
         and details of an upcoming helicopter deal for the AH-1Z Cobra.] OLSON
         reviewed the email and said, “okay, well, I guess I did this.” OLSON said it
         was a statement of US policy and nothing was classified. OLSON was “sure” he
         had never sent classified information.

            OLSON recalled informing ZUBERI about a frigate deal in which the US Navy
         was going to sell Pakistan frigates considered Excess Defense Articles
         (EDA). The deal needed Congressional approval, but never got it. ZUBERI had
         asked OLSON about the deal so OLSON gave ZUBERI his understanding. OLSON
         said he gave ZUBERI the USG perspective or “state of play” on a variety of
         things.

            OLSON married MUNA HABIB on 06/01/2019. OLSON and HABIB had started
         dating in Pakistan around 2014 while OLSON was stationed there. OLSON and
                       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 5 of 319
FD-302 (Rev. 5-8-10)


         339H-LA-3063880
                         (U) Interview of Richard Olson on
              FD-302     07/17/2019                                   07/17/2019    e   4 of 4



         HABIB ended the relationship after approximately a year when HABIB left
         Pakistan to be with family in the wake of her father's death. HABIB later
         returned to Pakistan and wanted to go to journalism graduate school at
         Columbia, but she did not know how to pay for it. OLSON thought HABIB’s life
         story was interesting so OLSON talked to ZUBERI about financing it. At that
         point, sometime in 2015, OLSON and HABIB were not dating. OLSON saw HABIB
         "once or twice" before resuming the relationship in 2018. OLSON said he did
         not know the details of how ZUBERI financed HABIB’s tuition to Columbia.
         OLSON said he could ask HABIB if she would be willing to take part in an
         interview. HABIB had started working as a reporter for the Daily Times after
         graduation. OLSON did not know if anyone else financed HABIB’s tuition, but
         he thought she got a partial scholarship from Columbia. OLSON could not
         recall asking for ZUBERI’s assistance to finance anyone else’s education and
         could not recall asking ZUBERI to assist another person in any other kind of
         similar way, but he said he would need to think about it to be sure. OLSON
         thought ZUBERI would be willing to pay for HABIB’s education since ZUBERI
         was very wealthy and HABIB had a compelling personal story. OLSON fostered
         the introduction of HABIB to ZUBERI while stationed in Pakistan with
         State/USG.

            SA Greenfield served OLSON a subpoena from United States District Court
         for the Central District of California with call number R 19 10243,
         certified by Clerk of Court Kiry Gray on 07/02/2019, for all documents
         related to ZUBERI from October 2012 through present and all documents
         related to HABIB from October 2012 through November 2016. OLSON provided two
         business cards at the end of the interview. The cards listed OLSON’s phone
         number as (202)848-5846 and email addresses of rickscafedxb@yahoo.com and
         rolson@usip.org.
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 6 of 319




             EXHIBIT B
                     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 7 of 319

                                                          - 1 of 5 -                                         O FFICIAL R ECORD
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                                              FEDERAL BUREAU OF INVESTIGATION




                                                                                       D e   e           12/18/2019



          On 12/17/2019, RICHARD GUSTAVE OLSON, date of birth (DOB) 11/03/1959, home
          address 1840 Fonthill Court, McLean, Virgina 22102, mobile telephone number
          (202)848-5846, email address rickscafedxb@yahoo.com was interviewed at his
          home by Special Agents (SAs) JOSEPH HARVEY and MUSTAFA KUTLU. After being
          advised of the identity of the interviewing Agents and the nature of the
          interview, OLSON voluntarily provided the following information:

          OLSON was actively engaged as a consultant for AVENUE VENTURES, a company
          owned by IMAAD ZUBERI. OLSON was aware of ZUBERI's recent plea agreement in
          the Central District of California and had seen it in the press. OLSON was
          unsure of when he first found out about the Federal criminal investigation
          into ZUBERI, but it was ZUBERI who informed him of the
          investigation. OLSON spoke with ZUBERI multiple times about ZUBERI's case
          and the investigation. After ZUBERI informed OLSON of the investigation,
          OLSON, upon request, provided advice and referrals to ZUBERI for legal and
          communications representation, including a referral to ROBERT EATINGER, the
          former General Counsel for the CIA. OLSON continued his work as a consultant
          for AVENUE VENTURES/ZUBERI throughout ZUBERI's Federal investigation.

          OLSON helped ZUBERI channel information to the CIA's Los Angeles Chief of
          Station over an extended period of time. After OLSON began consulting for
          AVENUE VENTURES/ZUBERI, ZUBERI requested OLSON introduce him to someone at
          the CIA. ZUBERI told OLSON he had a previous relationship with the CIA, but
          OLSON did not have any details on that relationship and had not verified it.
          ZUBERI told OLSON he had information he wanted to pass to the US Government.
          OLSON introduced ZUBERI to the CIA Los Angeles Chief of Station (COS/LA).
          OLSON, ZUBERI, and COS/LA met in Los Angeles. COS/LA and ZUBERI did not have
          continued contact after the initial meeting. After COS/LA and
          ZUBERI discontinued contact, OLSON, in his capacity as a consultant for
          AVENUE VENTURES/ZUBERI, continued to channel information from ZUBERI to the
          CIA via COS/LA.




     ve                12/17/2019             McLean, Virginia, United States (In Person)

   F e     339H-LA-3063880, 56F-LA-2088834                                               D e         e   12/18/2019
          HARVEY JOSEPH HOLLAND
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                       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 8 of 319
FD-302 (Rev. 5-8-10)


         339H-LA-3063880
                         (U) Interview of Richard Olson on
              FD-302     12/17/2019                                   12/17/2019    e   2 of 5



         While OLSON remained engaged as a consultant for AVENUE VENTURES/ZUBERI,
         ZUBERI had been using OLSON's services less frequently since the beginning
         of the criminal investigation into ZUBERI. ZUBERI was preoccupied with his
         legal issues, as well other ongoing business that did not involve OLSON.

         ZUBERI was actively engaged in business interests concerning Pakistan, the
         UAE, and China. ZUBERI knew Pakistan Inter-Services Intelligence (ISI) chief
         FAIZ HAMEED, and was using that relationship to broker trade deals between
         Pakistan and Chinese business interests. ZUBERI made introductions between
         ISI and Chinese businesses. OLSON was not a part of these business dealings
         and did not have details on the deals. OLSON reported this activity to the
         CIA by way of his attorney.

         OLSON did not know details about ZUBERI's political lobbying efforts.
         OLSON did meet with ZUBERI and Members of Congress in social settings, but
         had no first hand knowledge of any of ZUBERI's lobbying efforts.

         OLSON was not familiar with the AL AREEN PALACE AND SPA. OLSON was aware of
         ZUBERI having some investment interests in UAE-based spas, but was not
         familiar with any details and did not know of AL AREEN in particular.

         OLSON, to the best of his knowledge, had never been in a text or
         WhatsApp conversation with Senator LINDSEY GRAHAM.

         [Agent note: SA HARVEY presented OLSON with a WhatsApp transcript from 13
         February 2017 between OLSON and ZUBERI where ZUBERI addressed "Lindsey"
         [GRAHAM] and [Senator] "John" [MCCAIN].]

         OLSON did not specifically recall the WhatsApp conversation and did not know
         what the messages were. OLSON, to the best of his knowledge, had never been
         in a text or WhatsApp conversation with MCCAIN. OLSON stated it was not out
         of the ordinary for ZUBERI to copy and paste news articles or excerpts of
         conversations with third parties into his chats and emails to OLSON.
         OLSON's "best guess" was this was the case with the WhatsApp conversation
         from 13 February 2017.

         OLSON had a dinner meeting in the US with Pakistani President ASIF ALI
         ZARDARI, MCCAIN, and ZUBERI some time in January-February 2017. Neither
         specific business topics nor policies were discussed at the dinner, and the
         conversation was general in nature. OLSON surmised the February
                       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 9 of 319
FD-302 (Rev. 5-8-10)


         339H-LA-3063880
                         (U) Interview of Richard Olson on
              FD-302     12/17/2019                                   12/17/2019    e   3 of 5



         2017 WhatsApp conversation was related to the events around ZARDARI's visit
         to the US.

         OLSON retired from the State Department in November 2016. In January 2015
         OLSON made a trip to London to meet with ESAM AL-JANAHI about a post-
         retirement job opportunity with ABU DHABI INVESTMENT HOUSE (ADIH).
         ZUBERI helped set up the meeting. OLSON was unsure who paid for the trip,
         but thought it may have been AL-JANAHI. OLSON made the trip during the
         course of his regularly scheduled home visit in New Mexico. OLSON flew to
         London for the meeting on United Airlines. After the London meeting,
         OLSON returned to his home in New Mexico, and then subsequently returned to
         his post in Pakistan. OLSON did not agree to specific employment terms with
         ADIH. OLSON issued a letter of recusal from any State Department business
         concerning ADIH.

         OLSON could not recall if he stopped in Los Angeles or UAE on his return
         trip to his post in Pakistan. OLSON usually traveled through Washington
         Dulles International Airport when flying back to Pakistan, but it was
         possible this trip went through Los Angeles. OLSON often had a layover in
         UAE on his trips to Pakistan due to common flight routes.

         OLSON was also talking to THE ABRAAJ GROUP in Dubai about a post-retirement
         job opportunity in early 2015. OLSON did not recall a trip to Abu Dhabi in
         January-February of 2015. OLSON did not take any other trips paid for by
         third parties while he was employed by the State Department. OLSON did not
         take any trips, while employed by the State Department, paid for by ZUBERI.

         In October 2015 OLSON left Pakistan and returned to the US.

         OLSON met with ZARDARI's son in Dubai during one of his transits between the
         US and Pakistan. OLSON was uncertain of exactly when this meeting took
         place, but it was while OLSON was still in his role as Ambassador.

         OLSON did not recall leaving his phone behind after any meeting with
         ZARDARI.

         OLSON went to Dubai during the spring of 2015 to work on annual State
         Department employee evaluations for his Pakistan-based employees.
         OLSON stayed with a friend, MOHAMMED SHERIF AL-HASHEMI, while working on the
         evaluations. AL-HASHEMI was a neighbor of ZARDARI in Dubai.
                       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 10 of 319
FD-302 (Rev. 5-8-10)


         339H-LA-3063880
                         (U) Interview of Richard Olson on
              FD-302     12/17/2019                                    12/17/2019   e   4 of 5



         OLSON recalled the 25,000 in tuition assistance that ZUBERI provided to
         MUNA HABIB in the summer of 2015. OLSON remembered seeing details of the
         tuition assistance when gathering emails in response to the US Attorney's
         grand jury subpoena in the summer of 2019. OLSON was not aware of any other
         conversations he and ZUBERI had about the tuition assistance. OLSON was not
         aware of any other details regarding the tuition assistance beyond the June-
         July email exchange with ZUBERI.

         OLSON had an on-again off-again romantic relationship with HABIB while
         stationed in Pakistan. HABIB had left Pakistan to go to London in early 2015
         to care for her ailing father who subsequently died. HABIB intended to go to
         school after her father passed. OLSON referred HABIB to ZUBERI for tuition
         assistance.

         OLSON and HABIB later married one another. [Agent note: per SA HARVEY and SA
         JEREMY GREENFIELD's interview of OLSON on 17 July 2019, OLSON and HABIB were
         married in spring-summer 2019].

         OLSON had continuous contact with HABIB while stationed          in Pakistan with the
         State Department. OLSON reported his contact with HABIB          to the CIA Islamabad
         Station Chief. OLSON reported his contact with HABIB in          this way on a
         continuing basis. OLSON did not report his contact with          HABIB in any other
         way.

         At ZUBERI's request, OLSON provided talking points to ZUBERI in April 2015
         for ZUBERI's upcoming meeting with US Congressman TED POE. OLSON did not
         know why he used his personal email as opposed to his official email to
         relay the talking points, but it was not unusual for OLSON to communicate
         with ZUBERI using his personal email account.

         OLSON requested ZUBERI not share the talking points with others because he
         did not want ZUBERI to widely distribute the points, despite being
         unclassified.

         The talking points OLSON provided to ZUBERI were unclassified. None of the
         talking points were even marked as Sensitive But Unclassified. While the
         talking points were unclassified, OLSON requested ZUBERI not share them
         since they were not something the public could find out in the open and were
         not on a public website.
                       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 11 of 319
FD-302 (Rev. 5-8-10)


         339H-LA-3063880
                         (U) Interview of Richard Olson on
              FD-302     12/17/2019                                    12/17/2019   e   5 of 5



         OLSON had WhatsApp on multiple phones. [Agent note: SA HARVEY referred
         OLSON to the transcript of a WhatsApp conversation from 26 January 2019 that
         OLSON had provided to the US Attorney's office.] OLSON had WhatsApp on his
         primary phone and used it frequently. OLSON also kept a personal phone that
         he primarily used to communicate with his family. The personal/family phone
         was New Mexico-based number (505)310-4320. ZUBERI had this number in
         addition to OLSON's primary number. OLSON later changed his personal/family
         phone. OLSON kept the same number but ported it to a phone without
         capability for WhatsApp or other applications.
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 12 of 319




            EXHIBIT M
         Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 13 of 319
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 1 of 29 Page ID #:2417



 1   NICOLA T. HANNA
     United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division
     DANIEL J. O’BRIEN (Cal. Bar No. 141720)
 4   Assistant United States Attorney
     Public Corruption & Civil Rights Section
 5        1500 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-2468
 7        Facsimile: (213) 894-2927
          E-mail:     daniel.obrien@usdoj.gov
 8   ELISA FERNANDEZ (Cal. Bar No. 172004)
     Assistant United States Attorney
 9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                CR No. CR 19-642-VAP
14
                Plaintiff,                    GOVERNMENT’S RESPONSE TO
15                                            DEFENDANT’S OBJECTIONS TO
                      v.                      PRESENTENCE REPORT; MEMORANDUM OF
16                                            POINTS AND AUTHORITIES
     IMAAD SHAH ZUBERI,
17                                            Date: June 1, 2020
                Defendant.                    Time: 9:00 a.m.
18                                            Courtroom: 8A

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23         Plaintiff, United States of America, by and through its counsel

24   of record, the United States Attorney for the Central District of

25   California, hereby submits its response to defendant Imaad Shah

26   Zuberi’s objections to the Presentence Report (“PSR”).

27

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         Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 14 of 319
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 2 of 29 Page ID #:2418



 1         An under seal declaration of Assistant United States Attorney

 2   Daniel J. O’Brien in support of this position, with exhibits, will

 3   be filed concurrently with this document.

 4    Dated: April 13, 2020               Respectfully submitted,
 5                                        NICOLA T. HANNA
                                          United States Attorney
 6
                                          BRANDON D. FOX
 7                                        Assistant United States Attorney
                                          Chief, Criminal Division
 8

 9                                              /s/
                                          DANIEL J. O’BRIEN
10                                        Assistant United States Attorney
11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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          Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 15 of 319
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 28 of 29 Page ID #:2444



 1    7-10)    Correspondence that year shows that, rather than consummating

 2    a deal in which Avenue Ventures would purchase shares in the

 3    project, Zuberi repeatedly pushed Person J into signing a consulting

 4    contract to compensate Zuberi for his lobbying efforts.            (Exhibits

 5    46A, 47B, and 46C)     The parties executed the consulting contract in

 6    August 2013 (Exhibit 47), Zuberi issued invoices to Person J’s

 7    company that same month (Exhibit 48), and those invoices appear to

 8    have been paid.     (Tax Brief: Exhibit 8)      Bank records demonstrate

 9    that neither Zuberi nor any Avenue Ventures entity sent any money to

10    Person J or his companies (Exhibit 15); rather, money flowed in the

11    opposite direction-—from Person J to Zuberi.          (Tax Brief, p. 22)

12            The Share Purchase Agreement, the only document touted by

13    Zuberi as proof of his investment, is another sham.           (Exhibit 49)

14    While the agreement bears the same date as defendant’s purported

15    investment, April 30, 2013, the notary stamp bears no date.

16    (Exhibit 50)    Notary records shows the agreement actually was

17    executed on November 10, 2014, well after the events in question.

18    Moreover, the agreement is without legal effect because it consists

19    merely of a promise to purchase shares in Al Areen without a

20    specification as to amount, price, or date.

21    VI.     DEFENDANT’S PAYMENTS TO BENEFIT A U.S. OFFICIAL IN PAKISTAN ARE
              GRATUITIES, NOT FARA VIOLATIONS
22
              The defendant fails to appreciate the significance of his
23
      conduct with respect to Person NN, the U.S. official stationed in
24
      Pakistan.    Neither the PSR nor the government takes the view that
25
      this conduct violated FARA.       Undisclosed payments received by Person
26
      NN and the journalist with whom Person NN had a relationship were
27
      contemporaneous with Person NN providing assistance to Zuberi’s
28

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          Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 16 of 319
     Case 2:19-cr-00642-VAP Document 106 Filed 04/13/20 Page 29 of 29 Page ID #:2445



 1    business.    The payment of gratuities to a public official are

 2    relevant to defendant’s character.          The government will address the

 3    particulars with respect to this issue when it files its sentencing

 4    recommendation.

 5    VII. CONCLUSION

 6          Defendant’s objections are largely baseless and include

 7    instances of false representation and deceit.          Defendant’s has tried

 8    to effectively backdate a notarized document, exploit a government

 9    error as to the ownership of a bank account, and selectively traced

10    the source of contributions, omitting their foreign source.            Such

11    obfuscations, in tandem with his failure to meet obligations imposed

12    by the plea agreement, bring into question his acceptance of

13    responsibility, particularly with respect to relevant conduct.

14           While some slight modifications to the PSR are required,26 the

15    PSR sentencing guideline calculations are correct.           Defendant’s

16    guideline level is 32, resulting in a sentencing range of 121 to 151

17    months imprisonment.      If the court grants defendant complete

18    acceptance of responsibility, his offense level is 29, resulting in

19    a sentencing range of 87 to 108 months imprisonment.

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26

27         26 At a minimum, the PSR should reflect total illegal campaign
      contributions of $774,358, not 756,858. Per the government’s Tax
28    Brief (pp. 2-3), the tax loss should be $7,299,556, not 7,694,109.

                                             25
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 17 of 319




             EXHIBIT N
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 18 of 319
Case 2:19-cr-00642-VAP Document 90 Filed 03/23/20 Page 1 of 23 Page ID #:878




 1 THOMAS P. O’BRIEN, State Bar No. 166369
   IVY A. WANG, State Bar No. 224899
 2 NATHAN F. BROWN, State Bar No. 317300
   BROWNE GEORGE ROSS LLP
 3 801 South Figueroa Street Suite 2000
   Los Angeles, CA 90017
 4 Telephone: (213) 725-9800
   Facsimile: (213) 725-9808
 5 E-mail: tobrien@bgrfirm.com
 6 EVAN J. DAVIS, State Bar No. 250484
   HOCHMAN SALKIN TOSCHER PEREZ P.C.
 7 9150 Wilshire Boulevard, Suite 300
   Beverly Hills, California 90212-3414
 8 Telephone: (310) 281-3200
   Facsimile: (310) 859-1430
 9 E-mail: davis@taxlitigator.com
10
   Attorneys for Defendant
11 IMAAD SHAH ZUBERI
12
                                    UNITED STATES DISTRICT COURT
13
                                CENTRAL DISTRICT OF CALIFORNIA
14
15
     United States of America,                       Case No. LACR19-00642-VAP
16
                       Plaintiff,                    The Hon. Virginia A. Phillips
17
                 vs.                                 DEFENDANT ZUBERI’S
18                                                   OBJECTIONS TO THE
     Imaad Shah Zuberi,                              PRESENTENCE REPORT
19
                       Defendant.
20
21
22
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24
25
26
27
28
     1439573.4                                                        Case No. LACR19-00642-VAP
                       DEFENDANT ZUBERI’S OBJECTIONS TO THE PRESENTENCE REPORT
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 19 of 319
Case 2:19-cr-00642-VAP Document 90 Filed 03/23/20 Page 22 of 23 Page ID #:899




  1               B.    Pakistan
  2               Mr. Zuberi objects to the suggestion in Paragraphs 157-158 that his payment
  3 for Person NN’s travel costs to London was improper. As discussed in Paragraph
  4 158, Person NN traveled to meet with Person J in furtherance of a business contract.
  5 While Mr. Zuberi did initially pay for Person NN’s travel, he was merely fronting
  6 Person J’s payment for that travel, and was later reimbursed by Person J for those
  7 expenses.
  8               Mr. Zuberi also objects to the claim in Paragraph 160 that he paid the
  9 graduate school tuition of a female journalist in Pakistan as a benefit to Person NN.
 10 Mr. Zuberi was interested in hiring the journalist, who is well-known in Pakistan, to
 11 work for his family’s group of television stations in Pakistan. Mr. Zuberi’s $25,000
 12 contribution to her tuition was an effort to boost her competency to handle this
 13 position with his family’s stations. Mr. Zuberi was unaware that Person NN was in
 14 any type of personal relationship with the journalist, and therefore did not intend it
 15 as a benefit to Person NN.
 16               Mr. Zuberi also objects to Paragraphs 161 and 163, as they are completely
 17 irrelevant to Mr. Zuberi’s own conduct with respect to Pakistan. Person NN’s
 18 failure to disclose financial benefits, or Person NN’s efforts to author a policy
 19 statement regarding helicopters, are completely irrelevant to Mr. Zuberi’s
 20 involvement with the Pakistani government.
 21               The government has identified a single email in which Mr. Zuberi asked
 22 Person NN for a U.S. government official’s email address on behalf of a Pakistani
 23 government official. While this exchange may have occurred, the simple
 24 forwarding of an email message should not be sufficient to consider Mr. Zuberi an
 25 “agent of a foreign principal” for the purposes of FARA.
 26 VI.           Offense Level Calculation
 27               Based on the analysis above, the USPO should revise the offense level
 28 calculation as follows:
      1439573.4
                                                   -19-                 Case No. LACR19-00642-VAP
                         DEFENDANT ZUBERI’S OBJECTIONS TO THE PRESENTENCE REPORT
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 20 of 319




             EXHIBIT O
                   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 21 of 319
Gmait - RE: read this ignOf'e previous                                                   06/02/2020, 13:44
      .,J




 M           Gmail                                              Muna Habib <muna.habib@gma • c



 RE: read this ignore previous

 lmaad zuberi <imaad.zuberi@mindspring .com>                               Mon, Jul 6, 2015 at 1:46 PM
 To: Muna Habib <muna.habib@gmail.com>


    Here it is with minor edits



    From: Muna Habib [mailto:muna.habib@gmail.com]
    Sent: Monday, July 6, 2015 6:25 AM
    To: imaad zuberi
    Subject: read this ignore previous


    I actually enjoyed writing this.



    weirdly



            LA CONSULAR GENERAL 6 715 v1.doex
            18K




                                                                                              MH00000018
                Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 22 of 319
 M          Gmail                                                                           Muna           <muna.hab                       m



  RE: Columbia S.p onsorship

 imaad zuberi <imaad.zuberi@mindspring.com>                                                                Tue, Jul 14, 2015 at 3:20 AM
 To: Muna Habib <muna.habib@gmail.com>


    Did you get the letter and the bank statement?



    From: Muna Habib [mailto:muna.habib@gmail.com}
    Sent: Monday, July 13, 2015 10:21 PM
    To: imaad zuberi
    Subject: Columbia Sponsorship


    lmaad:



    I have not received the letter. I had hoped this would have been completed last week. I am already late with many
    Columbia deadlines because of my father's death.



    I appreciate your kind offer of sponsorship. However I feel this is now peppered with unrealistic expedations from
    me, that I can not fill, without compromising mine and my friends journalistic integrity and safety. There has been
    further fall out from this story, and it is not fair on my friend.



    I am no longer comfortable trying to place this story in other media outlets. I gave you my word I would help to
    publish in one paper and I have. I do not want to bum my bridges or reputation in Pakistan as a credible journalist.
    Especially, as I plan to return after my Masters. I will NOT reveal you are my source - you have my word.



    I understand you may not want to proceed with the sponsorship. Although a huge disappointment I will
    understand. Please let me know so that I can contad Columbia to defer entry till next year. There will be no hard
    feelings.



    You have been truly wonderful, generous and kind to me since we met. I want you to know, I regard you as a
    friend and want to remain friends, even if Columbia doesn't work oat. I think you are highly talented, rare and
    unique individual. Masha'Allah.




    Take care. Muna x




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                                                                                                                                  MH00000106
                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 23 of 319
Gmait - RE! Columbia Sponsorship                                                                                           06/02/2020, 10:37




 lmaad zubert <lmaad.zuberi@mindspring.com>                                                            'Ned, Jul 15, 2015 at 9:29 AM
 To: Muna Habib <muna.habib@gmail.com>


    What is this email about? I just read it
    (Quoted t.xt hidden]




https://m.il.google.com/ma',1Ju/O?ik:Oc861283eb&view.pt&searc...g-"'3A1506666275640821880&simpl-msa-f"3A'IS06769066386902406      Page 2 of 2
                                                                                                                               MH00000107
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 24 of 319

 M          Gmail
 FW: VP Biden photos with Pakistani community in the pages from Pakistan
 Link of this week

 imaad zuberi <imaad.zuberi@mindspring.com>                                                             Sat, Aug 1, 2015 at 2:34
 To: imaad zuberi <imaad.zuberi@mindspring.com>


    - --Original Message--
    From: arifmansuri@yahoo.com
    Sent: Wednesday, July 29, 2015 8:46 PM
    To: imaad zuberi; Sameen Faruqi; Dr. Asif Mahmood
    Subject: VP Biden photos with Pakistani community in the pages from Pakistan
    Link of this week



    Thanks.


          Pakistan Link - July 31 2015 - Community pages.pdf
          710K


 Muna Habib <muna.habib@gmail.com>                                                                      Sat, Aug 1, 2015 at 3:07
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I will scan and send you a copy of the Urdu newspaper today. It should also be in express this weekend. Now tha1
    I have more time I can focus and send out to some other English papers in Pakistan.

    But I need something more for OT and express news. Send me the no for the ex high comm again and lets see if
    he talks. As long as I have him on record I can write the story they want.

    Think. Is there anything else I can use??

    Visa interview done - should arrive this week IA

    THANK YOU lmaad. Without you none of this would have been possible. I am truly grateful.



    SentfrommyiPhone
    (Quoted text hidden]
    > <Pakistan Link - July 31 2015 - Community pages.pdf>


 imaad zuberi <imaad.zuberi@mindspring.com>                                                             Sat, Aug 1, 2015 at 3:10 .
 To: Muna Habib <muna.habib@gmail.com>

   Muna-
   I don't have time for your disorganization. I text it to you before. You should have saved it. Forget about it just get
   to NYC
   imaad

     Original Message

https://mail.google.com/mail/u/O?ik=Oc851293eb&view=pt&searc••. g-f%3A1508285400833555264&simpl=msg-f%3A1508286305026599588   Page




                                                                                                                 MH00000172
         Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 25 of 319
Gmail - FW: VP Biden photos with Pakistani community in the pages from Pakistan Link of this week                           06/02/2020, 11


    From: Muna Habib
    Sent: Saturday, August 1, 2015 9:07 AM
    To: imaad zuberi
    Subject: Re: VP Biden photos with Pakistani community in the pages from Pakistan Link of this week
    (Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                                     Sat, Aug 1, 2015 at 3:25 Af
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    lmaad: You sent me many no's, which I incidentally I did save.

    It was not for 'disorganization' that I do not recall. But I had more urgent matters to deal with.

    Like sorting out my visa, resolving my late father's legal issues, dealing with his family and my bereavement

    Sent from my iPhone
    (Quoted text hidden)




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                                                                                                                   MH00000173
        Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 26 of 319
 M          Gmail

 Introduction

 lmaad iuben <imaad.zubeii@mindspring.com>                                  Thu, Sep 10, 2015 at 1:22 ,
 To: Steve Smythe <stephensmythe@gmail.com>, Amber Cordero <amberecordero@gmail.com>, Muna Habib
 <muna.habib@gmail.com>


    Hello Steve and Amber-



    Muna is Masters Student at Columbia Journalism School. She is doing write up on my nonprofit stuff because she
    know the background of help I provide to deserving students with their tuitions and etc at colleges and universities



    imaad



 Amber Cordero <amberecordero@gmait.com>                                    Thu, Sep 1O, 2015 at 11: 19 A
 To: imaad zuberi <imaad.zuberi@mindspring.com>
 Cc: Steve Smythe <stephensmythe@gmail.com>, Muna Habib <muna.habib@gmail.com>

    Hi Muna,

    Pleasure to meet you via email. Steve and I are looking forward to working together on our search results initiative.

    Best,
    Amber
    (Quoted text hidden]



   una Habib <muna.habib@gmail.com>                                                                     Fri, Sep 11, 2015 at 12:10 Al
 To: Amber Cordero <amberecordero@gmait.com>

    Hi Amber,

    Good to meet you. Let me know what content you require. My no 917 498 4502


    Best, Muna.
    [Quoted text hidden)



 irnaad zuberi <imaad.zuberi@mindspring.com>                                                             Fri, Sep 11, 2015 at 1:58 Aft
 To: Muna Habib <muna.habib@gmail.com>

    Muna-
    Please email me to check and edit prior to emailing everyone
    imaad
    (Quoted text hidden)




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                                                                                                                     MH00000231
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 27 of 319
Gmail - Introduction
                                                                                                                               •
                                                                                                                           06/02/2020, 1


 imaad zuberi <imaad.zuberi@mindspring.com>                                                              Fri, Sep 11, 2015 at 6:59 P
 To: Muna Habib <muna.habib@gmail.com>, Bill Burton <8Burton@skdknick.com>


    Muna-can you please call Bill Burton. He will give you some pointers for the write up. He used to be Deputy Press
    Secretary under President Obama and a great guy. He is helping me with my PR issue. His mobile: (312) 237 -
    0490

    Thanks

    imaad

    (Quoted text hidden)




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                                                                                                                   MH00000232
                Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 28 of 319
 M          Gmail
  FIRST DRAFT

 Muna Habib <muna.habib@gmail.com>                                                                        Sun, Sep 13, 2015 at 8 :33 PM
 To: imaad zuberi <imaad.zuberi@mindspring .com>

    read, edit, add, you know the drill.

    I think we need one strong thing to focus on. I think the war warriors is a good angle.

    It feels a bit flimsy at the moment - not sure -still need to find a good hook. maybe think about something
    happening in your community in LA that you are or will participate in.

    I am going to have another read and reedit later.



          lmaad Zuberi bio.docx
      -   17K



 imaad zuberi <imaad.zuberi@mindspring.com>                                                             Mon, Sep 14, 2015 at 12:08 PM
 To: Muna Habib <muna.habib@gmail.com>


    What did you write? English? My mother was microbiologist. She worked for New York State Health
    Department. How can I say my parents didn't know English? You have written something wh ich is
    totally useless
    (Quoted text hidden)


          lmaad Zuberi bio.docx
          17K


 Muna Habib <muna.habib@gmail.com>                                                                      Mon, Sep 14, 2015 at 12:10 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    Well you didn't tell me this. In fact I was trying to find a hook as to why you do what you claim to have done
    (Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                                      Mon. Sep 14, 2015 at 12:10 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I it's useless bin it I don't have time
    For this.
    [Quoted text hidden]



 imaad zuberi <imaad.zuberi@mindspring.com>                                                             Mon , Sep 14, 2015 at 12:22 PM
 To: Muna Habib <muna.habib@gmail.com>



httpS://mail.googte.com/mall/u/O?ik..Oc8 51293et>&vle-pt&searc.~sg-f"3A151230689S794209618&simpl• msg-f" 3A1 S12306Sl92197236937   Page 1 of 2




                                                                                                                              MH00000244
                   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 29 of 319
Gmail - FIRST DRAFT                                                                                            08/02,/2020, 12:38



    Muna-i don't have time for this either. I prefer you be straight. If you didn't have time then just
    tell me for me to have someone do it. This write up like rt is written can't be printed anywhere.
    I hate wasting your time, my time and now other people time
    imaad
    (Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring .com>                                               Mon, Sep 14, 2015 at 12:23 PM
 To: Muna Habib <muna.habib@gmail.com>

    Don't worry. I will have someone else handle this

    From: Muna Habib
    Sent: Monday, September 14, 2015 5: 10 PM
    To: imaad zuberi
    Subject: Re: FIRST DRAFT

    [Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                         Mon, Sep 14, 2015 at 12:30 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    lmaad: I wrote it as you told me over the phone. I want to help you. I have 2 deadlines today. If you want it
    changed tell me what your don't like and I will change - redraft later
    [Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                         Mon, Sep 14, 2015 at 12:32 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

   You need to focus on what good aspect of work you've done - then I can elaborate. At the moment it is vague - but
   that's what you gave me.
   (Quoted text hidden)




                                                                                                                    MH00000245
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 30 of 319
 M         Gmail
 FW: We Need Your Help

 imaad zuberi <imaad.zuberi@mindspring.com>                                                             Thu, Oct 8, 2015 at 9:43 AM
 To: Muna Habib <muna.habib@gmail.com>




   From: ShoaibPatail[mailto:hsp91701@gmail com}
   Sent: Thursday, October 8, 2015 12:29 AM
   To: aizaz.chaudhry@mofa.gov.pk; tfatimi2000@yahoo com; SarfrazAliCh@icloud com;
   ishaq dar786@gmail.com; Sartajaziz@hotmail.com; asif mahmood <AMChaudhry@hotmarl com>;
   jajilani@hotmail com; OlsonRG@state gov; imaad zuberi <imaad.zuberi@m1ndspnng.com>;
   amcbuilder@gmail.com
   Subject: We Need Your Help


    October 8 , 2015

    Subject: Pakistan and tler reputation is at its lowest ebbs in Los Angeles, California, USA



    Honorable Mr. Sartaj Aziz, Adviser to the Prime Minister on Foreign Affairs

    Honorable Ambassador Tariq Fatemi, Min ister of State

    Honorable Mr. Aizaz Chaudhry, Foreign Secre1ary

    Honorable Mr. lshaq Dar, Finance Minister

    Honorable Ambassador Jaleel Jelani



    Your Excellency:



    I hope this letter finds you and your family in the best of health.



   This is a follow up of my first correspondence dated May 26, 2015 and this is a second one of i1s nature tha1 I am
   writing to bring to your kind attention (second request) regarding the funky and despicable businesses going on in
   our Consulate General in Los Angeles under the supervision of our mischievous, disgraceful and notorious Consul
   General Mr. Hamid Asghar Khan .



    As I mentioned in my previous letter tha1 Hamid is a playboy and Pakistani Gigolo. He has no moral, etierate and
    respect neither for himself nor for our country. He has transformed our Consulate for his lust, greed and power


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                                                                                                                         MH00000267
                Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 31 of 319
Gmail - FW: We Need Your Help                                                                           ,   •   flli/02/2020, 12:50


    house. Because of his shameful behavior, his staffs are following his footsteps and cues.



    He had hired three female Interns when he first started; they belong to the respected and honorable Pakistani-
    American families. I am told none of them are working there because of embarrassment, sexually harassment and
    emotionally tortured. Even one of the senior female staffs Ms. Ashraf Nanji with immaculate character and
    reputation left the Consulate. One may wonder and ponder WHY?



    A true story circulating in our community in LA and other cities that his crony and Head of Chancery Mr. Qamar
    Abbas Khokhar has usurp his power under Mr. Hamid's back and support and has sexually harassed one of the
    Interns physically, mentally, emotionally and financially.

    It's saying in our language "Baray Mian to Baray Mian, Chotay Mian Subhanallah. We called it "You scratch my
    back and I scratch yours•. Mr. Khokhar is his confidant and accomplice in their disgraceful activity.



    Instead of learning from their previous mistakes and offenses that we highlighted, they started writing about those
    (whistleblowers) to Embassy, FO and ISi in retaliation and characterized us unpatriotic, agents of some sorts and
    enemy of our country. Also calling us senile and insane to cover up their misdeeds. Vow and amazing, they have
    some audacity and nerve to write about us. Loo.k who is talking - · utta Chor Kotwal Ko Dantay-.



    These are just the tips of iceberg, many more to come. These are not our observations and experiences with
    them only, there are many reputed Pakistani-American community members are talking about it and I am afraid
    this time some will write in our local and American newspapers, social media and on the TV Channel.


    As you know American media especially Tabloid Magazines are very attracted by these stories and will publish
    especially when anything to defame our beloved country.

    In addition, if her complaints were not heard genuinely and actions were not taken, I heard she will take legal
    ramification that would tremendously cause financial constraint to our exchequer in addition to defamation of
    Pakistan .



    I am very distraught and could not understand why Hamid and his Cronies are still working in our Consulate
    causing harm and damage to our country. It is very disgusting. despicable and deploring to see we have staffs in
    Consulate with tarnished and poor records and no actions have been taking so far.



    I am told that he was leaving for good to Pakistan few months ago but he is requesting monthly extension from FO
    by putting lame excuses that he has some important tasks to finish (Nothing but Partying, socializing with
    opportunists) . He is very shrewd and cunning guy and knows how to manipulate and milk the system. Please no
    more extension .



    Honorable members, you have achieved mastery not only in politics but in Foreign affairs and know the tricks of
    the trade. I would humbly request to take immediate, stem , and decisive action to remove Hamid and his entire
    cabinet members without further delay.



    The longer they stay; they will be more detrimental and liable to our community and the country.



                                                                                                                MH00000268
                Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 32 of 319
    further embarrassment.



    Being a patriotic Pakistani, it is incumbent upon me to bring to your attention and to clear my conscious.



    Dear Nobles, I am afraid failure or delay in action may result in too little too late.

    Should you have further question. please feel free to contact me.



    Warm Regards,



    Shoaib C. Patail, MBBS, MO, FAAP, MBA

    Cell: 909--731-8875

    Landline: 909-375-1915

    Facsimile: 909-427-5836



 Muna Habib <muna.habib@gmail.com>                                                                           Thu, Oct 8, 2015 at 9 :52 AM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    Dear lmaad,

    The emails are received and understood. However, I'm under a great deal of pressure to deliver at College. As
    mentioned, BEFORE you kindly offered to ask your friend to give me a loan ( till my loan arrived) . I am under a
    great deal of pressure - I can NOT work on this outdated lap top - they are hassling me for tuition fees - insurance
    and am frankly fed up and ready to go home.

    They want the money in a week. If you can't help me with this - please let me know and I shall tell them that I shall
    defer the remainder of the course till next year.

    Best, Muna

    [Quoted text hidden)



 lmaad zuberi <imaad.zuberi@mindspring.com>                                                                Thu, Oct 8, 2015 at 10:25 AM
 To: Muna Habib <muna.habib@gmail.com>


    Muna-



    I have helped you and want to help you more but at present I am in a bind. You don't know?



    I can't believe you are pushing me on this instead of trying to help me. I can't help you until I am
    out of my mess


https.//mail.google.com/mail/u/O?ik•Oc851293eb&view• pt&searc ... sg..f"3A1 514476839613658077&simpl•msg-"'3A151450U45112641 407    Page 3 of 4




                                                                                                                               MH00000269
                Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 33 of 319
Gmail - FW, We Need Your Help                                                                                 . 8.6/02/2020, 12:50




    You take this seriously and help me now instead of waiting till the weekend. I will then do whatever
    I can to help. I need to be out of my problem before I can help other people



    I am in London on way to China. When I am back in Los Angeles next week I will FedEx you the
    laptop



    imaad
    [Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                            Thu, O ct 8 , 201 5 at 10:47 AM
 To: imaad zuberi <imaad.zuberi@mindspring .com>

    lmaad:

    Thank you, I appreciate your kindness, difficulties you face and shall endeavour to help. You have my word.

    However, this was discussed and agreed before I came to New Yo rk. College want their money, I have no control
    over this. I do not like to constantly hassle you, I hate asking for money and it wastes my time and yours.

    I am not pushing you,I understand you have difficulties. But I am tired - you have no idea the pressure I am under
    to pay my bilJs. I have not told you, as I assumed my loan would come through quickly. And it is not your
    responsibility to sort this out - it is mine I should NOT have come lo the US without sorting this out.

    When you kindly agreed to sponsor me, there was not an expectation that I would also w ork for you. This has
    changed - I do not mind - but last t ime I made you priority and my college work suffered. I will not make that
    mistake again . As I said, when if I have time over the weekend I shall look at it.




    (Quoted text hidden)



 Muna Habib <muna .habib@gmail.com>                                                           Thu, Oct 8, 2015 at 11:21 AM
 To: imaad zuberi <imaad.zuberi@mindspring .com >

    To clarify: Can your friend help me? If so, may I have his details. I can contact him directly and leave you alone - I
    know you are busy.

    If this is not possible, please let me know and I can make arrangements with college. The longer this debacle is
    dragged out. the more difficult it will be for me to defer.

    Thanks
    (Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                                     Thu. Oct 8, 2015 at 6 :39 PM
 To: Muna Habib <muna.habib@gmail.com>

    (Quoted text hidden}




                                                                                                                MH00000270
                   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 34 of 319
Gfnail - FW: Pakistan communit y in desperate need of help
                                                                                                                               •.
                                                                                                                  06/02/2020, 13: 2 5
                                                                                                                       '



    Please explain the real story and call me this the very distrubing news and this news cand be hide i is all ready
    public i nned yr views
    on camera if this is fals or blamed as media i always suppoted you and the consulate i think Mr HAMID IS NOT
    FAIRE PERSON AS HE CLAIMED
    this is very pitty that he having a big party at his resident and the hereo of the Nation are siting with you with forur
    couples very strange at this point
    i need the details of the news report against you .

    Best Regards

    Waqar Ali Khan
    Executive Producer
    Safeer e Pakistan
    www.safeerepak1stan.com
    www.conceptonecorp.com

    - - - - Forwarded message ---------
    From: Asif Chatttla

    To whom it may concern:

    CG Hamid Asghar Khan has set bad example for his subordinates of the Pakistani Foreign Service Officers. He
    has set a threshold for everyone in the Pakistan Consulate Office for male employees, which are not disappointing
    him at all. Especially, Head of Chancery Qamar Abbbas Khokhar at LA Mission is following his superior
    Hamid Asghar Khan.

    Recently it has come to discovery that Khokhar has sexually harassed, embarrassed and emotionally tortured a
    female patriotic Pakistani-American.

    It is sad that nothing has been done to prevent this unacceptable behaVior and she had to go through this horrible
    and humiliating experience at Pakistani Consulate
    while being employed and serving her dear mother land.
    I deeply regret her unfortunate moments dealing with ruthless person.

    I would request all of Hamid Asghar Khan's superiors past and currenUy in power to help the Los Angeles
    Pakistani community not to go through these embarrassment by
    our Consulate General and his staff on a daily basis and please help the Pakistani-Americans here live with pride.

    We were hopeful that a quick action would have taken to remove Hamid Asghar Khan and his subordinate
    Khokhar from the Consulate General of Pakistan because these individuals don't belong in such a positions where
    they are acting in poor demeanor to embarrass Pakistan and our Pakistani community in Los Angeles.

    Those community members who are with him have been given perks while those who do not drink, go out partying
    and strip clubs with him and take his side are labeled as
    anti-Pakistan, anti-Islam , he tells Americans that they are ISi agents, while telling Pakistani community members
    that if any of these individuals go to Pakistan they wm be
    arrested at the airport. Since past couple of months Hamid Asghar Khan has become more and more vindictive.

    Please help Pakistani community not to sustain any further damage and humiliation by these individuals acts and
    help us to restore untarnished image of Pakistan and our community.

    Please see the attached documents from this brilliant and unfortunate female.

    Respectfully,
    Asif Chattha
    Ph# 310-877-5632



     4 attachments

                                                                                                                    MH00000264
                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 35 of 319
    ;        ..
        "" Sexual Harassment & Retaliation Complaint .pdf
        ....J 145K

        ..-.. Sexual Harassment Complaint Attachments .pdf
         w 2772K
        ..-. Trade Proposal .pdf
         LJ 742K


  Muna Habib <muna.habib@gmail.com>                                                                            Thu, Oct 8 , 2015 at 6 :44 PM
  To: imaad zuberi <imaad.zuberi@mindspring.com>

    Until my stuff is sorted I'm not doing anything else
    [Quoted text hidden]



 imaad zuberi <imaad.zuberi@mindspring.com>                                                                    Thu, Oct 8, 2015 at 6 :47 PM
 To: Muna Habib <muna.habib@gmail.com>


    Muna-



    You are selfish. I gave you $25,000. I got less than $500 vale from you. With this attitude would I
    want to help you? Maybe I should ask you for refund?



    imaad
    {Quoted text hidden}



 imaad zuberi <imaad.zuberi@mindspring.com>                                                                    Thu, Oct 8, 2015 at 6:49 PM
 To: Muna Habib <muna.habib@gmail.com>


    Did you even get even $250 from anyone forget the $25,000?




    From: imaad zuberi [mailto:imaad.zuberi@mindspring.com]
    Sent: Thursday, October a. 2015 3:47 PM
    To: 'Muna Habib' <muna.habib@gmail.com>
    Subject: RE: FW: Pakistan com munity in desperate need of help


    Muna-



    You are selfish. I gave you $25,000. I got less than $500 vale from you. With this attitude would I
    want to help you? Maybe I should ask you for refund?


htt ps:/ /mail.google.com/mail/u/O?ik=Oc851293eb&view=pt&search ... sg-f%3A151605601582294 0571&simpl=msg-f%3A151605610 319137222 5   Page 3 of 6




                                                                                                                                 MH00000265
                 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 36 of 319
Gmail - FW: Pakistan communit y in desp erate need of help




    imaad



    From: Muna Habib [mailto:muna.habib@gmail.com]
    Sent: Thursday, October B, 2015 3:44 PM
    To: imaad zuberi < imaad.zuberi@mindspnng.com>
    (Quoted text hidden]

    (Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                              Thu, Oct 8, 2015 at 6 :54 PM
 To: imaad zuberi <lmaad .zuberi@mindspring.com>

    lmaad: I thought you helped me out of the kindness of your heart. Not because I was of value to you. I offered to
    help you - because I know what I can do - I did not expect you to use it against me.

    I respect you immensely. And henceforth I would do anything to help you. But at the moment I am stressed, P-d
    off and fed up.

    I'll repay your money - and btw you got more that 500 val ue. I got rid of that guy for you. Eventually he'll go back
    - My work did that!
    [Quoted text hidden]



 Muna Habib <muna.habib@gmail.com>                                                              Thu, Oct 8, 2015 at 6 :56 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    Btw you do make me laugh. Arguing with you reminds me of my brother              in lecture. Speak soon IA • •
    [Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                                     Thu, Oct 8, 2015 at 7:25 PM
 To: Muna Habib <muna.habib@gmail.com>


    I am under stress. Let me sleep and I get back to you
    [Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                                     Thu, Oct 8, 2015 at 7:2e PM
 To: Muna Habib <muna.habib@gmail.eom>


    I miss you too

    (Quoted text hidden)



 hasnain yousuf <hasnain106@gmail.com>                                                          Fri. Oct 23, 2015 at 5:52 PM
 Bee: muna.habib@gmall.com

    (Quoted text hidden)


     4 attachments

                                                                                                                MH00000266
             . Case" 1:22-cr-00144-GMH               Document 38-1 Filed 02/06/23 Page 37 of 319

 M          Gmail
 Not received anything from your guy

 Muna Habib <muna.habib@gmail.com>                                                                    Sat, Oct 24, 2015 at 10:53 AM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I have no time now to look at anything now. as I have to do my assignments in the time allocated.

    Get him to write something up - and send it out.

    Its a simple story, so shoudn't be difficult. I am in the library for the rest of the day. Will be out tonight.


 imaad zuberi <imaad.zuberi@mindspring.com>                                                            Sat, Oct 24, 2015 at 4 :10 PM
 To: Muna Habib <muna.habib@gmail.com>


    It is okay. You have not been reliable to these people and they will handle it themselves

    Thank you
    [Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                                     Sat. Oct 24, 2015 at 4 :12 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    What do you mean ' tnese people' I spoke to you and said I wild look at it this morning - and you had to HAVE
    HIM send me ONE FILE
    (Quoted text hidden]



 Muna Habib <muna.habib@gmail.com>                                                                     Sat, Oct 24, 2015 at 4 :13 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I said I would look at it as a favour to you. If you don't send me condensed material - that is not my fautt.
    (Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                                            Sat, Oct 24, 2015 at 4 :15 PM
 To: Muna Habib <muna.habib@gmail.com>


    Let them handle it. Then it is their responsibility not mine
    (Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                                     Sat, Oct 24, 2015 at 4:16 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

   And I owe nothing to 'these people' So being reliable isnl an issue for anyone
    (Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                                            Sat, Oct 24 , 2015 at 8 :36 PM

https://mait.google.com/mail/u/O?lk:Oc851293eb&view..pt&uarc...sg-f"3A1515992430641875669&slmpl:msg-f"3A1515992726837425421    Page, of 4


                                                                                                                          MH00000304
                 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 38 of 319
Gmail - Not received any t hing from your guy                                                        ' ' ·~ ' OS,02/2020, 13:11


 To: Muna Habib <muna.habib@gmail.com>


    They are my friends as extension they are me
    [Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                               Sat, Oct 24, 2015 at 8:37 PM
 To: Muna Habib <muna.habib@gmail.com>


    You owe me and you have delivered nothing but keep asking for more
    [Quoted text hidden)



 Muna Habib <muna .habib@gmail.com>                                                       Sat, Oct 24 , 2015 at 9:02 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I DO NOT OWE YOU ANYTHING.

    You said you gave me that money to help me. Had I known then - you would use it all the time TO GET ME TO DO
    YOUR DIRTY WORK - I WOULD NEVER HAVE TAKEN IT. You are no different to the other Pakis I meet.
    [Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                        Sat, Oct 24, 2015 at 9:05 PM
 To: imaad zuberi <imaad .zuberi@mindspring.com>

    I HAVE NOT ASKED YOU FOR ANYTHING. YOU OFFERED TO GIVE ME THE LOAN AND THE LAP TOP.

    NEITHER OF WHICH MATERIALISED - SO DO NOT GIVE ME THIS BS ABOUT ME 'ASKING YOU'

    [Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                        Sat, Oct 24, 2015 at 9:10 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I offered to help you with your petty feud, because I knew I could help.

     I did you a big favour - with my work - he would be staying there - REMEMBER THAT.

    so please LETS JUST BOTH MOVE ON AND STOP THIS NOW. I have enough to deal with.
    [Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                               Sat, Oct 24, 2015 at 9:37 PM
 To: Muna Habib <muna.habib@gmail.com>


    Please help
    (Quoted text hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                               Sat, Oct 24, 2015 at 9 :38 PM
 To: Muna Habib <muna.habib@gmail.com>


    Just help me. Stop being bitchy
                                                                                                            MH00000305
                 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 39 of 319
Gmail - Not received an)"lhing from your guy                                                                 06/02/2020, 13:11




    Thanks brother - remind me, not to be so naive next time

    Btw: ask your friends in the pak gov to write it. I'm sure they'd be willing and able
    [Quoted text hidden]



 Muna Habib <muna.habib@gmail.com>                                                          Sat. Oct 24, 2015 at 11 :01 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    AND DON'T YOU DARE BRING MY FAMILY INTO THIS.
    [Quoted text hidden]



 imaad zuberi <imaad.zuberi@mindspring .com>                                                Sun, Oct 25, 2015 at 3:53 AM
 To: Muna Habib <muna.habib@gmail.com>

    You need to relax. When you piss me off then expect that I will get angry and piss you off
    (Quoted text hidden}



 Muna Habib <muna.habib@gmail.com>                                                          Sun, Oct 25, 2015 at 4 :39 AM
 To: imaad zuberi <imaad .zuberi@mindspring.com>

    lmaad: I am relaxed. You seem to forget what I am doing here, You have no idea about my work load and pressure
    I am under.

    I do owe you, and I am committed to helping you, whenever I can.

    What exactly do you want me to do here. You have won with the CG in LA he is going. Everyone knows this.

    What do you want this story· to do?


    [Quoted text hidden)



 Muna Habib <muna .habib@gmail.com>                                                         Sun, Oct 25, 2015 at 4 :50 AM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

     I have been through all the emails. There is nothing new here. The story is the same as before.
    (Quoted text hidden]



 Muna Habib <muna.habib@gmail.com>                                                          Sun, Oct 25, 2015 at 4 :55 AM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    do you want to get rid if the no 2 also?
    {Quoted text hidden]




                                                                                                             MH00000306
                Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 40 of 319

 imaad zuberi <imaad.zuberi@mindspring.com>                                                                  Sat, Oct 24, 2015 at 10:49 PM
 To: Muna Habib <muna.habib@gmail.com>

    My dirty work? Please choose your word carefully
    (Quoted tex1 hidden)



 imaad zuberi <imaad.zuberi@mindspring.com>                                                                  Sat, Oct 24, 2015 at 10:51 PM
 To: Muna Habib <muna.habib@gmail.com>
 Cc: imaad zuberi - Mindspring <imaad.zuberl@mindspring.com>

    Listen you ungrateful little woman. I have done more for you than your family

    If you donlt like it then send me a check for $25,000? I need the money if you are not
    grateful
    [Quoted text hidden]



 imaad zuberi <imaad.zuberi@mindspring.com>                                                                  Sat, Oct 24, 2015 at 10:52 PM
 To: Muna Habib <muna.habib@gmail.com>

    No. Contrary to what you believe it is my friends in the Pakistani Government who got it done

    From: Muna Habib
    Sent: Saturday. October 24. 2015 6:10 PM
    To : imaad zuberi
    (Quoted text hidden)
    (Quoted text hidden}



 Muna Habib < muna.habib@gmail.com>                                                                         Sat, Oct 24, 2015 at 10:52 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I am tired - I just printed off your crap to take home and read, because you don't want yo ask your jokers to do it.

     Now please leave me atone
    [Quoted text hidden)



 Muna Habib <muna.habib@gmail.com>                                                                          Sat, Oct 24, 2015 at 10:54 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    Just read your email. lmaad go to hell - go ask your friends in the Pak gov to help you.

    And to think I was going to do this tonight - you are kidding me. How dare you.

    Goto hell
    {Quoted text hidden]



 Muna Habib <muna.habib@gmail.com>                                                                          Sat, Oct 24, 2015 at 10:58 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    You are unbelievable. Like I said I do NOT work for you. You said - The money was to help me - you wanted
    nothing.

    And now when it suits you - you change.

htt ps://mail .goog le.com/mail/u/O?ik=Oc851293eb&¥iew=pt& searc.•.sg-f"3A151599243064187566 9&simpl..msg-fX3A15159927268374 254 21   Page3 of 4




                                                                                                                                 MH00000307
                 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 41 of 319
Gmail - Apologilts                                                                                           06/02/2020, 13:25




 M Gmail
 Apologies

 Muna Habib <muna .habib@gmail.com>                                                          Sun, Oct 25, 2015 at 5:35 AM
 To: imaad zuberi <imaad.zuberi@mindspnng.com>

    BTW: I am sorry I became annoyed with you. But the things you say, annoy me immensely.

    I do not like to argue with you. You have been like a brother to me and I am grateful for your help.

    I helped you before and I will again, IA




 imaad zuberi <imaad.zuberi@mindspring.com>                                                  Sun, Oct 25, 2015 at 9:30 PM
 To: Muna Habib <muna.habib@gmail.com>


    Relax. You are still like a sister to me. Help me
    [Quoted text hkfde:n)



 Muna Habib <muna.habib@gmail.com>                                                           Sun, Oct 25, 2015 at 9:35 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I am IA You know I can't abandon you t;o I wouldn't do that.

    I know this is important to you . I have asked your guy to send me what he's working on - Between us we'll get it
    sorted - don't worrylll

    This week is crazy. I have a media law exam on Tuesday and Business on Wednesday. If I fail they kick me out,
    then I'll have all the free time to help you
    (Quoted text hidden]




                                                                                                             MH00000309
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 42 of 319
·~          Gmail
 LOAN

 Muna Habib <muna.habib@gmail.com>                                                                          Mon, Oct 26, 2015 at 8 :01 PM
 To: imaad zuberi <imaad.zuberi@mindspring.com>

    I went to the student finance, they asked why this was not sorted before I came. -They can't help me.

    I am not doing anything till this is sorted. You told me getting a loan would be easy and you would arrange it. I
    SHALL FORWARD YOU THE EMAIL.

    let me know if you can arrange the laon by tomorrow. I do not need the additional stress. It is affecting my work.

    If not possible let me know and I will tell Columbia I need to drop out.


 imaad zuberi <imaad.zuberi@mindspring.com>                                                                 Mon, Oct 26, 2015 at 9:54 PM
 To: Muna Habib <muna.habib@gmail.com>


    This is a type of loan which I got when I went to school and other people got when they went to
    school in America who were in same boat as you are in



    I have medical procedure tomorrow for which I will have to go under general anesthesia. I can 't eat
    or drink anything for 12 hour prior to the procedure and several hour after the procedure

    I will be bed rest for week time



    I have called my friend who might be able to help but have not heard back from him



    You do what you want to do but I don't need stress from you either. I am tired from all these issues
    of which you have and you expect me to solve



    You are playing games trying to barter or keep me hostage for thing I asked you to help. Help me
    without asking for anything if you can. If you can't help because you have no power to help then
    just tell me. I hate when people play game. If you try to barter then forget it I don't need your help



    I have helped you to the best of my ability. I don't want you to push me. I have medical procedure
    tomorrow and don't want other issue now



    imaad


https:f/mail.google .com/mail/u/O?ik=Oc851293eb&view=pt&search ...sg- 1"3A1516175 54999016 t478&simpl=msg-f%3A1517512084 480778817   Page 1 of 3




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                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 43 of 319
Gmail - LOAN
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                                                                                                                   0 6/02"'52 , 13:~4
                                                                                                                 ,..

   [Quoted text hidde n]



 Muna Habib <muna.habib@gmail.com>                                                               Mon, Oct 26, 2015 at 10:32 PM
 To: imaad zuberi <imaad.zuben@mindspring.com>

   lmaad:I am not holding yo hostage, please see email below: You said you would help me get the loan. Or 11 would
   not have asked you. I am NOT holding you hostage. I have bills to pay. I am stressed. It is affecting my work.

   We had the agreement below. I have helped you with several articles about HK and again with your FP article .

   I helped not because I wanted something, but because I AM GRATEFUL for your kindness. I will forward you the
   emails that Columbia are sending to me and you tell me what you would do.

   I HATE being in this position . I HATE being stressed I HATE ARGUING WITH YOU AND BEING RUDE - I FEEL
   AWFUL AFTERWARD - ESPECIALLY, BECAUSE YOU HAVE HELPED ME SO MUCH

   This is not the person I want to be and no amount of education is worth me compromising my personality or my
   values.

   I am happy to get the loan and repay it once I start working, and you said , then, not to worry, and you would
   arrange this.

   I really do not know what else to do. I am stressed - i have exams and assignment deadlines. Plus I am getting
   threatening emails from Columbia.

    I will work on your article - the guy will send me the interview.

    I too am exhausted. This mess is not worth out friendship .and we need to find a solution.


   On Jul 1, 2015, at 8: 15 AM, "imaad zuberi" <imaad.zuberi@mindspring.com> wrote:


               Here is what we agreed to base on the meeting:



               Grant of $25,000 going directly to Columbia University. This can be immediate when you tell me
            where to make the payment

                  Help you get loan of $50,000 from US bank when you are in school or NYC

                  I can show proof of funds to Columbia University for you to start the school



               Did I miss anything?



            imaad

   (Quoted text hidden]



 imaad zuberi <imaad.zuberi@mindspring.com>                                                      Mon. Oct 26. 2015 at 10:57 PM
 To: Muna Habib <muna.habib@gmail.com>


   Okay. I will have someone handle this give me a couple of day to get back to normal

                                                                                                                       MH00000327
                        Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 44 of 319
,..    .   ..   I,

      Muna Habib <muna.habib@gmail.com>                                                                     Tue, Oct 27, 2015 at 5:21 AM
      To: imaad zuberi <imaad.zuberi@mindspring.com>

           thank you
           (Quoted text hidden)



      Muna Habib <muna.habib@gmail.com>                                                                  Tue, Nov 10, 2015 at 10:24 PM
      To: imaad zuberi <imaad.zuberi@mindspring.com>

           [Quoted text hidden)




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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 45 of 319




             EXHIBIT P
                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 46 of 319
7/21/2019                                                   Yahoo Mail - Re: Contact




     Re: Contact

     From: Rick Olson (rickscafedxb@yahoo.com)

     To:      muna.habib@gmail.com

     Date: Monday, June 15, 2015, 05:58 AM EDT



     You're welcome.




     rgo

     Rick Olson




     On Mon, 6/15/15, Muna Habib <muna.habib@gmail.com> wrote:

     Subject: Re: Contact
     To: "Rick Olson" <rickscafedxb@Y.ahoo.com>
     Date: Monday, June 15, 2015, 2:43 PM

     Thank
     you


     On Mon, Jun 15, 2015 at
     8:32 AM, Rick Olson <rickscafedxb@Y.ahoo.com>
     wrote:
     Muna:



     As discussed, suggest you be in touch with Mr. lmaad
     Zuberi.




     imaad.zyberi@mindsgring.com




                                                                                                  1/2
                                                                                       ROMH00000643
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 47 of 319




             EXHIBIT Q
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 48 of 319
7/21/2019                                              Yahoo Mail - FW: Hello from Pakistan




     FW: Hello from Pakistan

     From: imaad zuberi (imaad.zuberi@mindspring.com)

     To:    rickscafedxb@yahoo.com

     Date: Monday, June 15, 2015, 04:24 PM EDT



     This the person you mentioned?

     ---Original Message-----
     From: Muna Habib [mailto:muna.habib@grnail.com]
     Sent: Monday, June 15, 2015 7:00 AM
     To: imaad.zuberi@rnindsgring.com
     Subject: Hello from Pakistan

     Dear Mr. Zuberi,

     A mutual friend of ours, Ambassador Olson, has passed on your email
     contact. I am writing to introduce myself and say hello.

     Kind regards, Muna Habib.



     SentrrommyiPhone=




                                                                                                             1/1
                                                                                              ROMH00000642
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 49 of 319




             EXHIBIT R
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 50 of 319
7/21/2019                                             Yahoo Mail - FW: Hello from Pakistan




     FW: Hello from Pakistan

     From: imaad zuberi {imaad.zuberi@mindspring.com)

     To:     rickscafedxb@yahoo.com

     Date: Monday, June 15, 2015, 04:26 PM EDT




     ----Original Message----
     From: imaad zuberi [mailto:imaad.zuberi@mindsR!1Dg.com]
     Sent: Monday, June 15, 20151:26 PM
     To: 'Muna Habib'
     Subject: RE: Hello from Pakistan

     Hello Muna-

     Yes Ambassador Rick Olson told me. Can you please email me your resume and
     brief about which program at Columbia you are planning on attending? How
     long, expenses and etc?

     imaad

     --Original Message---
     From: Muna Habib [mailto:muna.habib@gmail.com1
     Sent: Monday, June 15, 2015 7:00AM
     To: imaad.zuberi@mindsr;2ring.com
     Subject: Hello from Pakistan

     Dear Mr. Zuberi,

     A mutual friend of ours, Ambassador Olson, has passed on your email
     contact. I am writing to introduce myself and say hello.

     Kind regards, Muna Habib.



     Sent from my iPhone=




                                                                                                            1/1
                                                                                             ROMH00000641
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 51 of 319




              EXHIBIT S
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 52 of 319
7/20/2019                                                            Yahoo Mail -AJK




     AJK

     From: Muna Habib (muna.habib@gmail.com)

     To:    rickscafedxb@yahoo.com

     Date: Monday, December 29, 2014, 11:29 PM EST



     P.s THANKYOU

     God only knows, I can do with all the help, in that paradise.

     Plus it makes returning so much easier.

     Along with the lure of the weather --- it's freezing here!

     And I know you don't have to.

     So, I know I've said it Olson, but I really do appreciate the sentiment.

     THANKS again!

     Sent from my iPhone

     > On Dec 29, 2014, at 4:29 PM, Muna Habib <muna.habib@gmail.com> wrote:
     >
     > Dear Rick,
     >
     > Even if the opportunity doesn't arise I am grateful for the sentiment and appreciate the kind offer.
     >
     > However, if it makes things difficult in anyway or compromises you, I'd rather you refrain from mentioning my case.
     >
     > Pakistan is hard enough. And you certainly don't need additional baggage.
     >
     >
     > Take care of yourself.
     >
     >
     > Sent from my iPhone




                                                                                                                                1/1
                                                                                                                 ROMH00000089
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 53 of 319




             EXHIBIT T
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 54 of 319
7/20/2019                                                     Yahoo Mail - Happy New Year!




     Happy New Year!

     From: Muna Habib (muna.habib@gmail.com)

     To:    rickscafedxb@yahoo.com

     Date: Friday, January 2, 2015, 03:41 AM EST



     Hope you had great one.

     Apologies for the belated wish, I've been at the hospital with my father and rest of family.

     Sent from my iPhone




                                                                                                                   1/1
                                                                                                    ROMH00000088
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 55 of 319




             EXHIBIT U
                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 56 of 319
7/2012019                                                         Yahoo Mail - Call




     Call

     From: Muna Habib (muna.habib@gmail.com)

     To:    rickscafedxb@yahoo.com

     Date: Tuesday, May 12, 2015, 07:37 PM EDT



     Dear Rick,

     You sounded drained when we spoke earlier, One is hoping it wasn't my persistent calls:-)

     I loathe to ask, as I am aware of how demanding your role in Pakistan already is; both emotionally and physically.
     However, THANKYOU for agreeing to help.

     Let me know if you do require anything else from sunny London, preferably before departure:-)


     Rick, please do take good care of yourself.




     Sent from my iPhone




                                                                                                                             1/1
                                                                                                                  ROMH00000087
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 57 of 319




             EXHIBIT V
                Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 58 of 319
7/20/2019                                                      Yahoo Mail - Re: Honesty



     Re: Honesty

     From: Muna Habib (muna.habib@gmail.com)

     To:    rickscafedxb@yahoo.com

     Date: Tuesday, June 16, 2015, 03:54 AM EDT



     Good glad we got all that sorted. Moving on, the Mirpur issues are a becoming a nightmare. I feel I may need to cut my
     losses and get out.

     Thank you again for trying to help me with this, however as we are both aware, nothing in this country is ever ever
     simple!

     Sent from my iPhone

     > On Jun 16, 2015, at 9:27 AM, Rick Olson <rickscafedxb@y:ahoo.com> wrote:
     >
     >
     >
     > Thanks. Glad we're still friends. I care deeply about you too.
     >
     >x
     >
     >
     >
     >
     > rgo
     >
     > Rick Olson
     >
     >
     >
     > ---------------------------------
     > On Tue, 6/16/15, Muna Habib <muna.habib@gmail.com> wrote:
     >
     > Subject: Honesty
    > To: "Rick Olson" <rickscafedxb@y:ahoo.com>
    > Date: Tuesday, June 16, 2015, 6:29AM
    >
    > Dear
    >Rick,
    >
    >
    >
    >Thank
    > you for your
    > honesty. On my part, our break up has been one of the most
    > difficult periods of
    > my life.
    >
    >
    >
    > Although, it is very important
    > that you know: I understand that you did not intend to hurt
    > me, that I did not
    > blame you entirely. And I too was responsible for what
    > happened.
     >


                                                                                                                              1/3
                                                                                                                  ROMH00000082
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 59 of 319
7/20/2019                                                   Yahoo Mail - Re: Honesty


    >
    >
    >You
    > see, I knew when we
    > became involved, about your emotional issues, but I
    > continued to see you. I
    > knew how, you had behaved in all your previous relationships
    > and I continued to
    > see you. It didn't matter to me because of how you made me
    > feel: loved, special,
    > something that I had never experienced before.
    >
    >
    >
    >I
    > understand now, our
    > relationship was not just about a S*** it went beyond this.
    > I always said it is
    > our friendship, which is far more important to me than
    > anything else. From day
    > one, we had a special connection on many levels, our
    > conversations; honesty and
    > understanding of one another are rare.
    > Masha'Allah.
    >
    >
    >
    >
    > felt towards the end we lost this. I felt
    > your vacillation and your distance. For months I was
    > unhappy, and thought you
    > were too. I understand now, this is how
    > you have dealt with all your relationships. Please do not
    > think this is a
    > criticism, but at the time I did not understand you and was
    > hurt.
    >
    >
    >
    > For
    > months after our
    > break up, every day I thought about you, wondered what you
    > were doing, where
    > you were, if you had moved on and if you ever, really had
    > cared about me.
    >
    >
    >
    > I was
    > miserable, and
    > missed you terribly. I was still in pain and terrified of
    > seeing you again.
    > This is the honest reason why, I decided to run away to
    > Qatar and not return
    > here.
    >
    >
    >
    > I know
    > I hurt you with
    > my admission about Cameron. But at the time, I was in pain
    > and extremely angry.



                                                                                                      2/3
                                                                                       ROMH00000083
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 60 of 319
7/20/2019                                                      Yahoo Mail - Re: Honesty


     > I felt you viewed me as just another fling.
     >
     >
     >
     >lam
     > sorry; I
     > underestimated how you really felt about me. I was not
     > experienced enough in
     > relationships and in hindsight should have handled things
     > differently.
     >
     >
     >
     >You
     > are an extremely
     > special individual Olson. lnsha'Allah we shall remain good
     > friends for life. I
     > cherish our friendship, I realize you are far too important
     > to me, to simply, let
     >go.
     >
     >
     >
     >Yes I
     > do still love
     > you, and care deeply for you, and that will not change.
     >
     >
     >
     >
     >X




                                                                                                         3/3
                                                                                          ROMH00000084
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 61 of 319




            EXHIBIT W
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 62 of 319
7/20/2019                                                       Yahoo Mail - BRILLIANT




     BRILLIANT

     From: Muna Habib {muna.habib@gmail.com)

     To:    rickscafedxb@yahoo.com

     Date: Saturday, June 20, 2015, 08:33 AM EDT



     httP-s://khabaristantimes.com/entertainment/tahir-ashrafi-to-P-laY.-dinosaurs-egg-in-jurassic-world-seguel/




                                                                                                                                  1/1
                                                                                                                   ROMH00000081
                 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 63 of 319
7/20/2019                                                         Yahoo Mail - Re:



     Re:

     From: Muna Habib (muna.habib@gmail.com)

     To:      rickscafedxb@yahoo.com

     Date: Sunday, June 21, 2015, 03:50 AM EDT



     The U.S needs to be honest in order to progress. Racism is not only in the past. It did not end with the Thirteenth
     Amendment of 1865 or with the Voting Rights Act of 1965. It is present in the acts and attitudes of many today. As we
     distinctly observe with Nikki Hayley.

      Her attitude does not surprise me. Numerous South Asian's are racist, have you not witnessed it here? The concept
     of fairer skin, is a class and status symbol. Asian's especially here, are derogatory to those with darker skin. Growing
     up in we were taught blacks are inferior. I know white people find it ironic, brown skin is brown - doesn't matter what
     shade.

     The problem is you Yanks have an in ability to talk about your history without everyone getting defensive. It
     happened, yes, appalling, tragic, but what now?

     150 years post slavery, the U.S tried reconstruction, allowing liberated men to vote, earn salaries and claim an equal
     place in politics. And then Jim Crow was allowed to legitimize black racism. 50 years post - civil rights movement or
     the second reconstruction, again an attempt to end the fight and give equal status to the descendent of the slaves.

     But here you are today, still plagued post-Ferguson, post - Staten Island and now Charleston killings, and the
     boundaries of colour still evident.

     That's why I think the U.S should take a page from South Africa's script.

     When Mandela became president of SA, he had two choices. He could have gone down a path of confrontation and
     retribution against the white Afrikaners who had ruled so oppressively. Or he could have skipped quickly past the
     history and reality of apartheid and pardoned all its perpetrators in the interests of maintaining order.

     He did neither - in one of his many acts of civic genius - he chose a path for his country that exposed the ugliness of
     the past and opened the way to frank open dialogue and ultimately progress. He launched the
     Truth and Reconciliation commission.

     l know there will be objections to this. People will ask, doesn't cataloging acts of racism from the past just make it
     harder for everyone to get along?

     But l don't think so. Without attempts for formal accounting, without the oppressed and the oppressor, facing one
     another the nations challenges won't disappear and these awful acts continue.

     An excellent article related to this.

     b.ttP-:llwww.Y.esmagazine.orglgeace-justice/this-count[Y.-needs-a-truth-and-reconciliation-P-rocess-on-violence-against-
     african-americans


       On Sat, Jun 20, 2015 at 6:34 PM, Rick Olson <rickscafedxb@y_ghoo.com> wrote:

            A very complicated subject.



                                                                                                                                  1/2
                                                                                                                   ROMH00000079
                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 64 of 319
7/20/2019                                              Yahoo Mail - Re:


            The battle flag of the Confederacy used to be viewed as a regional
            eccentricity, tolerated by the rest of the country in what was perhaps a
            misguided effort to reconcile with the sons of the Confederacy. That
            is, until it was used as the symbol of the segregationists in the 60s. It
            has since enjoyed something of a revival, and I must say I fully
            sympathize with Blacks who regard it as a stunning insult. That it flies
            over several State capitols is to my mind appalling, and one ofthe
            reasons I intensely dislike the South.            -

            To add to the comple~ty, the Governor of South Carolina, who is
            quoted in this article, is a Desi. She is the daughter of immigrants
            from India. Which has not prevented her from being a right-wing
            lunatic pandering to the racist impulses of her White male Southern
            base. Make of it what you will.


            rgo

            Rick Olson




            From: Muna Habib <muna.habib@gmail.com>
            To: Rick Olson <rickscafedxb@y:ahoo.com>
            Sent: Friday, June 19, 2015 3:20AM
            Subject:

            httg://www.bbc.com/news/blogs-trending-33186078




                                                                                               212
                                                                                   ROMH00000080
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 65 of 319
7/20/2019                                                              Yahoo Mail - Re:




     Re:

     From: Muna Habib (muna.habib@gmail.com)

     To:    rickscafedxb@yahoo.com

     Date: Wednesday, July 1, 2015, 06:51 AM EDT



     OMG I am SO VERY VERY SORRY Rick.

     1thought you didn't want to hear from me, or a ' read out' until I was back in Pakistan. When we last met you said, to
     call when I return to Pakistan.

     I know you're busy with work and stressed about many things. Thus I did not want to be an additional hassle.

     I wanted to call you on Monday when we first met. But was uncertain about bothering you - then decided against it. I
     remembered you'd said you needed to take a step back. Which I completely understood.

     I am sorry, I was confused I thought...

     He continued to Genevae yesterday and I spent the night in Paris alone. I was extremely tired, feeling low, lonely and
     depressed. It was late in Pakistan by the time I had managed to excuse myself from the trip to Genevae, and I knew you
     would be asleep.

     And I feel I need to protect you with regards to the principal.

     Rick: do you understand what you have done for me. I can never, ever, appreciate my gratitude and thanks. Your
     kindness and help has completely overwhelmed me - no one has ever gone out of their way for me, ever.

     Coupled with the fact that I love you dearly, makes all this extremely hard. I don't know when I am over stepping the
     friends boundary; with calling you, pestering you and wanting to hang out with you.

     I WAS NOT sending you snarky text messages. I missed you and still do ( which I hate) and just wanted a chat. Hence
     smiley face and a kiss.

     I am sorry, I need to speak to you. But not to get you involved, but because I trust and respect your advice and opinion.

     I was boarding the plane to London when you called and am now in London. I am confused with many things, and need
     to speak to you.

     And for the record. Do you know how happy it makes me when ever I see a missed call from you. The saddo that I am (
     colloquial English for pathetic). So it is not because 'I am intentionally not returning your calls,' After arriving in London I
     had to rush to board a train to Birmingham to see my mother and siblings, before I return to Pakistan tomorrow.

     And as you know that is another emotional story.X



     Sent from my iPhone

     > On Jul 1, 2015, at 10:17 AM, Rick Olson <rickscafedxb@Y.ahoo.com> wrote:
     >
     > Has it occured to you that it might be in your interest tq give me a readout of your meeting, since the principal is likely,
     in fact has, reached out to me? Rather than sending me snarky SMSes and not returning my calls.
     >
     >
     >
     >
     >


                                                                                                                                        1/2
                                                                                                                       ROMH00000110
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 66 of 319
7/20/2019                                       Yahoo Mail - Re:


     >
     > rgo
     >
     > Rick Olson
     >
     >




                                                                                              2/2
                                                                               ROMH00000111
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 67 of 319
7/20/2019                                                 Yahoo Mail - Fascinating read




     Fascinating read

     From: Muna Habib (muna.habib@gmail.com)
     To:    rickscafedxb@yahoo.com
     Date: Monday, July 20, 2015, 04:36 PM EDT




     httQ://www.huffingtonQost.com/alastair-crooke/isis-wahhabism-saudi-arabia b 5717157.html

     httQ://www.huffingtonQost.com/alastair-crooke/isis-aim-saudi-arabia b 5748744.html




                                                                                                               1/1
                                                                                                ROMH00000103
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 68 of 319
7/20/2019                                                           Yahoo Mail - Talk




     Talk

     From: Muna Habib (muna.habib@gmail.com)

     To:    rickscafedxb@yahoo.com

     Date: Sunday, August 9, 2015, 12:04 PM EDT



     Olson: It was good to speak to you earlier. Admittedly, I was worried about you following our previous conversation. I am
     sorry, of late I have been emotionally drained and unable to really talk. I am also sorry I am not there to speak to you in
     person.

     I know things are obscure and this is a difficult phase in your journey. I guess me telling you everything will work out fine,
     and you have no need to worry about the future doesn't help. Especially, when you are alone and left to your own
     negative thoughts.

     But you still need to hear it. I am certain: Allah will continue to care of you. That you shall find the right path for your
     career inshallah. (I known reading this you shall be rolling your eyes @, but I always pray for this ). And you will enjoy
     the next stage of your life.

     You are so dam smart and professionally accomplished (masha'allah) the average gig will just not cut it. I know your
     career is a huge part of your identity and I admire you immensely for exploring the unknown, despite your trepidation.
     Anthony Robbins once wrote, 'feel the fear, yet do it anyway.' Of which one is a firm believer.

     On another note, I would love to see you next week.

     Pakistan was wonderful and I am so grateful for the time we spent together. Allhumdullilah. You know I will always
     cherish our friendship. I want you to know: you are not obliged to see me. I know you have your professional
     commitments and personal obligation, thus do not want to be an additional burden. Thus, if you'd rather not meet,
     please do say.

     Besides, I am going to Columbia! Yay! Happy dance       @ All thanks to you Olson! So I am sure I can find something to
     occupy myself with on a Friday night®®x ·




     Sent from my iPhone




                                                                                                                                      1/1
                                                                                                                      ROMH00000099
                    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 69 of 319
7/21/2019                               Yahoo Mail - Fw: Consul General of Pakistan Hamid Asghar Khan Recalled on Community Complaints



   Fw: Consul General of Pakistan Hamid Asghar Khan Recalled on Community Complaints

   From: Rick Olson (rickscafedxb@yahoo.com)
   To:   muna.hablb@gmail.com; olsonrg@state.gov
   Date: Thursday, November 5, 2015, 05:10 PM EST



   Another notch in Imaad's stock.
   rgo

   Rick Olson



    -    Forwarded Message
    From: imaad zuberi <imaad.zuberi@mindspring.com>
    To: Ambassordor Rick Olson - personal <rickscafedxb@yahoo.com>
    Sent: Thursday, November 5, 2015 1:25AM
    Subject: FW: Consul General of Pakistan Hamid Asghar Khan Recalled on Community Complaints




                                                                                                                 Thursday, November 5, 2015




                                                                                                     Consul General of Pakistan Hamid Asghar Khan
                                                                                                          Recalled on Community Complaints




                                                                                                 Los Angeles, CA: The Consul General of Pakistan in Los
                                                                                                 Angeles Hamid Asghar Khan has been recalled by the
                                                                                                 Government of Pakistan on the complaints of the
                                                                                                 community.
                                                                                                 Jabbar Memon, who is currently serving as the Director
                                                                                                 General Afghanistan in Islamabad, has been designated to
                                                                                                 replace Hamid Ashghar Khan at the Pakistan Consulate in
                                                                                                 Los Angeles.
                                                                                                 Government's dissatisfaction with the Consul General in Los
                                                                                                 Angeles Hamid Asghar Khan, largely stemming from the
                                                                                                 community complaints against him, forced his premature
                                                                                                 replacement, according to insiders. He has served less than
                                                                                                 a year at this posting. The normal tenure for such postings
                                                                                                 is three years. A report published in Pakistan's leading
                                                                                                 newspaper Dawn on October 14, 2015 noted that this is not
                                                                                                 the first time that Khan has been recalled from a foreign
                                                                                                 posting.        ·
                                                                                                 This action by the Government of Pakistan comes after
                                                                                                 months of complaints by the Pakistani community in Los



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                                                                                                                                                         ROMH00000545
            Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 70 of 319
7/21/2019            Yahoo Mail - Fw: Consul General of Pakistan Hamid Asghar Khan Recalled on Community Complaints


                                                                 Angeles to Pakistani Ambassador to the United States Jalil
                                                                 Abbas Jillani and senior political figures in Pakistan,
                                                                 including Prime Minister Nawaz Sham's Advisor on National
                                                                 Security and Foreign Affairs Sartaj Aziz, and the Foreign
                                                                 Secretary of Pakistan Aizaz Ahmad Chaudhry and Pakistan
                                                                 Army's top brass.
                                                                 Reports were tiled by numerous individuals against Khan
                                                                 that included allegations of sexual harassment, behavior
                                                                 unbecoming of a diplomat, misconduct, intoxication during
                                                                 work hours and at official events/parties, fund
                                                                 embezzlement, solicitation of bribes, inappropriate/illegal
                                                                 involvement in local politics and mismanagement of
                                                                 Consulate affairs.
                                                                 According to a Pakistani newspaper Daily Times report
                                                                 published in its July 8, 2015 issue the women at the
                                                                 Consulate office in Los Angeles and the Pakistani American
                                                                 community alleged that Khan repeatedly propositioned them
                                                                 and made untowaro sexual suggestions. It has also been
                                                                 reported that Khan's male chauvinistic remarks and
                                                                 behavior towards women created a hostile work
                                                                 environment fur them at the Consulate. Three young women
                                                                 were hired by Khan as interns - none of whom is now
                                                                 working at the Consulate due to the poor work environment.
                                                                 It has been alleged that Khan demanded that the interns
                                                                 and the staff bring him alcohol and then consume it, while in
                                                                 the Pakistan Consulate office. He would then proceed to
                                                                 become violent and abusive towaros his colleagues. It has
                                                                 been reported that he would scream and yell at the staff and
                                                                 belittle his subordinates in front of the whole Consulate staff
                                                                 regularly. Several reports have been filed about his rude
                                                                 behavior while intoxicated at various private and official
                                                                 parties, some of which were held at his residence in the
                                                                 posh and affluent Beverly Hills area, where alcohol was
                                                                 regularly served.
                                                                 One such report of Khan's rude behavior while intoxicated
                                                                 was published in the May 5, 2015 issue of Pakistani
                                                                 newspaper Business Recorder. According to this report, in
                                                                 March 2015, Khan while delivering his official speech in the
                                                                 presence of over 100 guests at an event hosted by Pakistan
                                                                 Arts Council, insulted and physically threatened one of the
                                                                 guests, Dr Mansoor Shah. Dr Shah is a prominent and
                                                                 highly respected member of the Pakistani community.
                                                                 Following the speech numerous Pakistani and American
                                                                 guests complained of the incident to the Pakistan
                                                                 ambassador.
                                                                 There are also reports of Khan's disparaging remarks about
                                                                 the state of affairs in Pakistan and its leadership. One such
                                                                 report described Khan's derogatory remarks towards Prime
                                                                 Minister Nawaz Sharif and Chief of Army Staff Gen Raheel
                                                                 Sharif at a gathering. Khan was reported to lament about
                                                                 Pakistan's political, and energy crisis, and repeatedly said
                                                                 that Pakistan continues to beg and survive on international
                                                                 aid. One of the guests expressed his anger and said, "It is
                                                                 the role of the Consul General to promote Pakistan abroad
                                                                 and to improve its image not to belittle it and bring it
                                                                 ridicule: Following the event, Qamar Abbas Khokar, the
                                                                 Head of Chancery at the Pakistan Consulate, called all the
                                                                 guests present at that occasion, to apologize for Khan's
                                                                 behavior.
                                                                 It has also been alleged that Khan asked several prominent
                                                                 Pakistani-American and American businessmen for financial
                                                                 rewards. The businessmen reported that they were told by
                                                                 Khan that in order fur them to bring much needed
                                                                 investment to Pakistan they would be required to give a
                                                                 commission or "kick back" to him.
                                                                 It has also been reported that the payments for the interior
                                                                 construction work done at the Pakistan Consulate premises
                                                                 in February 2015, which included the construction of the
                                                                 'community hall' at the Consulate, by Icon Architects - Icon
                                                                 Atelier Inc., a company owned by Pakistani-Americans,
                                                                 have not been made in full as of now. It has been alleged
                                                                 that the budget for the project was approved before the start
                                                                 of the project, but after the completion of the project in
                                                                 record time, the principles of the company were asked to
                                                                 donate all or portion of the invoice amount. It has been
                                                                 feared that though the Consulate received the full budgeted
                                                                 amount for the project, only portion of the funds was
                                                                 released to the company and the rest of the funds were
                                                                 used for possibly some unauthorized purpose.
                                                                 It has been alleged that Khan's behavior has not only
                                                                 offended the Pakistani community but also eminent
                                                                 American politicians and government officials, who have
                                                                 distanced themselves from Khan. These politicians and
                                                                 government officials have now refused to attend any future
                                                                 Pakistan Consular events. Tony Mendoza, a prominent
                                                                 California Senator, has publicly expressed his dismay and
                                                                 regret over Khan's behavior and is one of the many




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            Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 71 of 319
7/21/2019            Yahoo Mail • Fw: Consul General of Pakistan Hamid Asghar Khan Recalled on Community Complaints


                                                                 American politlcians who no longer attend the Consul
                                                                 General's events.
                                                                 Though the exact date of Khan's departure from the
                                                                 Pakistan Consulate in Los Angeles is not yet announced, he
                                                                 is expected to leave his post before the end of December
                                                                 2015.
                                                                  Hamid Asghar Khan could not be reached for his comments.
                                                                 - Published Oct 30, 2015. To read this entire issue click
                                                                 on Pakistan Link. October 30, 2615
                                                                                                    -------·-·
                                                                                                   ,,   -   ,   ...   - .


                                                                                   Editor. Akhtar M Farugyj
                                                                         © 2004 [!akistaolink.com . All Rights Reserved.




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                                                                                                                            ROMH00000547
                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 72 of 319
7/20/2019                                                      Yahoo Mail - Re: I think I pass




     Re: I think I pass

     From: Muna Habib (muna.habib@gmail.com)

     To:      rickscafedxb@yahoo.com

     Date: Tuesday, November 17, 2015, 07:47 PM EST



     Agreed ... one is convinced, no 16 shall compensate for not having reap one of the greatest British classic literature of
     our time. And as for the Rose ...you trained yours truly to •.. @~


            Tue, Nov 17, 2015 at 4:38AM, Rick Olson <rickscafedxb@Y.ahoo.com> wrote:

            although I have never read Pride and Prejudice....and I've never
            trained a rose. But otherwise .....


            The 39 steP-s to beingJLgentleman and why_.LP-ass G!ill) - FT.com
                      image
                                          The 39 steps to being a
                                          gentleman and why I pass
                                          Do you agree with the latest guide
                                          published by Country Life on the 39 steps
                                          to being a modern gentleman? It's a good
                                          arbitrary list. I just wonder if Richard

                                          View on www.ft.com                Preview by Yahoo




            rgo

            Rick Olson




                                                                                                                                 1/1
                                                                                                                     ROMH00000097
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 73 of 319
7/20/2019                                                       Yahoo Mail - Apologies



     Apologies

     From: Muna Habib (muna.habib@gmail.com}
     To:    rickscafedxb@yahoo.com
     Date: Friday, February 5, 2016, 10:25 AM EST


     I feel awful as to how we have ended up. I am sorry for my lack of trust and belief in us. I don't expect you to respond
     and neither do I want you to.

     I am truly sorry we came to this.

     All the best, Muna.




                                                                                                                                   1/1
                                                                                                                    ROMH00000062
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 74 of 319




             EXHIBIT X
                 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 75 of 319
7/20/2019                                                 Yahoo Mail - Re: Clarification




     Re: Clarification

     From: Muna Habib (muna.habib@gmail.com)

     To:      rickscafedxb@yahoo.com

     Date: Monday, May 16, 2016, 07:19 AM EDT



     Ok. So I would like to meet, when are you in NY?


            Sun, May 15, 2016 at 12:02 PM, Ri~k Olson <rickscafedxb@Y.ahoo.com> wrote:

            Dear Muna:

            I'm glad you are seeing someone, and are happy. I wish you the best.

            I don't want to fight and rehash the past, but I feel your email reflects
            a revisionist history. The reason our relationship ended was not my
            lack of nurturing or respect. It ended because you -- repeatedly--
            accused me falsely of things I had not done, and did so by drawing on
            notoriously unreliable sources. And apparently you have continued to
            rely on those sources to keep track of my private life, making you,
            BTW complicit in what they are up to. I have no interest in
            facilitating this behavior, and I would hope you would do some
            examination of your own actions and how they contributed to my
            frustration.

            Of course I regret that we broke up. As I told you, I never would
            have made it through Islamabad without you, and much of our time
            together was magical.

            But I have had a lot of loss in my life. You've had a lot of pain, more
            than me, but I had lot of loss early in my life, and my coping
            mechanism is to move on, very fast. I'm not particularly interested in
            laying out for you how I moved on, because you apparently share
            these emails with your friends, but suffice to say that I did. Sort 0£
            But not without considerable regret.


                                                                                                       1/3
                                                                                           ROMH00000022
                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 76 of 319
7/20/2019                                               Yahoo Mail - Re: Clarification



        1 wish you the best, but I really urge you to look into your own
        behavior as you launch into another relationship.

            Proud of you for making it through Columbia, with all the challenges
            you faced.

            Best,

            rgo

            Rick Olson




            From: Muna Habib <muna.habib@gmail.com>
            To: rickscafedxb@Y.ahoo.com
            Sent: Saturday, May 14, 2016 4:42 PM
            Subject: Clarification

            My friends appear to think the tone of the previous email may be perceived as anger

            I assure one is not. Hurt and disappointed, let down by your behavior but certainly not anger.

            Sympathy is more a word that springs to mind.

            Why sympathy you may ask. Because you still haven't learnt the skills required for a
            nurturing, respectful relationship despite being married and several long term girlfriends.
            And I know what happened between us will be repeated again by you with others.

            I pray for you Rick: that Allah gives you the security within yourself to see difficulties through
            in life, and you find someone that will teach you the confidence and security you need.

            And I pray, you find the strength to not continue to drag others into your mess.

            That said I know I'm not perfect either and am working on me. lnshallah I am with someone
            new now who understands me. Allhumdullilah

            It's early days but who knows where it may lead. We talked about marriage, early days yet
            but lets see.

            I do wish you all the best, Olson and it was important for me to clarify this as I do care for
            you and want you to be happy.

            Take care x




                                                                                                       ROMH00000023
                 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 77 of 319
7/20/2019                                     Yahoo Mail - Re: Clarification


            Sent from my iPhone




                                                                                             3/3
                                                                                  ROMH00000024
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 78 of 319




             EXHIBIT Y
                   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 79 of 319
10/29/2020                        2043. Comparison Of The Elements Of The Crimes Of Bribery And Gratuities | JM | Department of Justice


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                     questions about the archive site.




        2043. COMPARISON OF THE ELEMENTS OF THE CRIMES OF BRIBERY AND
        GRATUITIES

      The differences between the offense of bribery and the offense of accepting a gratuity are marked in the chart below
      either by brackets (for features that are found in only one of the two sections) or by UPPER CASE TEXT (to highlight
      the key distinction in how the sections specify the required connection between the thing of value and the official act).

                   § 201(b): Accepting a Bribe                             § 201(c): Accepting a Gratuity
       Status      Whoever, being a public official [ ] or person          Whoever, being a public a public official, [former public
                   selected to be a public official                        official], or person selected to be a public official
       Intent      CORRUPTLY                                               []
       Act         *[ ]                                                    * [otherwise than as provided by law for the proper
                   * directly or indirectly                                discharge of offical duty,]
                   * demands, seeks, receives, accepts, or                 * directly or indirectly
                   agrees to receive or accept                             * demands, seeks, receives, accepts, or agrees to receive
                                                                           or accept
       Thing       anything of value                                       anything of value
       For         PERSONALLY [OR FOR ANY OTHER                            PERSONALLY [ ]
       Whom        PERSON OR ENTITY]
       Purpose IN RETURN FOR:                                              FOR OR BECAUSE OF any official act performed or to be
               * being influenced in the performance of any                performed by such official or person.
               official act;
               * being influenced to commit or aid in
               committing any fraud on the U.S.; or
               * being induced to do or omit to do any act in
               violation of his or her official duties.

      [updated November 1998] [cited in Criminal Resource Manual 2042; Criminal Resource Manual 2045; JM 9-85.101]

      ‹ 2042. Elements Common To Both Bribery And                          up                                         2044. Particular Elements ›
      Gratuity Offenses
                                                                                                                        Updated January 17, 2020




https://www.justice.gov/archives/jm/criminal-resource-manual-2043-comparison-elements-crimes-bribery-and-gratuities                                 1/1
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 80 of 319




             EXHIBIT Z
                   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 81 of 319
10/29/2020                                                 2041. Bribery Of Public Officials | JM | Department of Justice


             An o icial website of the United States government
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                      outdated and links may no longer function. Please contact webmaster@usdoj.gov if you have any
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        2041. BRIBERY OF PUBLIC OFFICIALS

      Section 201 of Title 18 is entitled "Bribery of public officials and witnesses." The statute comprises two distinct offenses,
      however, and in common parlance only the first of these is true "bribery."

      The first offense, codified in section 201(b), prohibits the giving or accepting of anything of value to or by a public
      official, if the thing is given "with intent to influence" an official act, or if it is received by the official "in return for being
      influenced."

      The second offense, codified in section 201(c), concerns what are commonly known as "gratuities," although that word
      does not appear anywhere in the statute. Section 201(c) prohibits that same public official from accepting the same
      thing of value, if he does so "for or because of" any official act, and prohibits anyone from giving any such thing to him
      for such a reason.

      The specific subsections of the statute are:

      Bribery

             1. a. § 201(b)(1): offering a bribe to a public official
                b. § 201(b)(2): acceptance of a bribe by a public official

               Gratuities

               a. § 201(c)(1)(A): offering a gratuity to a public official

               b. § 201(c)(1)(B): acceptance of a gratuity by a public official.

      The two offenses differ in several respects. The most important of these differences concerns how close a connection
      there is between the giving (or receiving) of the thing of value, on the one hand, and the doing of the official act, on the
      other. If the connection is causally direct - if money was given essentially to purchase or ensure an official act, as a
      "quid pro quo" then the crime is bribery. If the connection is looser - if money was given after the fact, as "thanks" for an
      act but not in exchange for it, or if it was given with a nonspecific intent to "curry favor" with the public official to whom it
      was given -then it is a gratuity. The distinction is sometimes hard to see, but the statute makes it critical: a § 201(b)
      "bribe" conviction is punishable by up to 15 years in prison, while a § 201(c) "gratuity" conviction permits only a
      maximum 2-year sentence. In addition, with a "bribe" the payment may go to anyone or to anything and may include
      campaign contributions, while with a "gratuity" the payment must inure to the personal benefit of the public official and
      cannot include campaign contributions.

      [cited in JM 9-85.101]

      ‹ 2040. Bank Records And Foreign Transactions --                        up                 2042. Elements Common To Both Bribery And
      Financial Crimes Enforcement Network (FinCEN)                                                                     Gratuity Offenses ›
                                                                                                                            Updated January 17, 2020




https://www.justice.gov/archives/jm/criminal-resource-manual-2041-bribery-public-officials                                                             1/1
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 82 of 319




          EXHIBIT AA
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 83 of 319




From: Rick Olson (rickscafedxb@yahoo.com)
Sent: Sunday, October 4, 2015 11:40:40 PM
To:   Kurt (private) Amend (amendke@hotmail.com);
Kurt.E.Amend@Raytheon.com (Kurt.E.Amend@Raytheon.com)
Cc:
Bcc:
Subject:    Change of Plans


Kurt:

In the end they convinced me to take the SRAP job, for six months.   I will
have the best seat on the bridge of the sinking ship.

Back in DC in November, let's grab a beverage.




rgo

Rick Olson
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 84 of 319




           EXHIBIT BB
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 85 of 319




From: Rick Olson (rickscafedxb@yahoo.com)
Sent: Wednesday, January 7, 2015 1:00:35 AM
To:   kah@habtoor.com (kah@habtoor.com)
Cc:
Bcc:
Subject:    Procedure

Dear Khalaf:

In view of our recent discussion, US Government ethics rules require me to
recuse myself from any USG actions involving the Al Habtoor group. To the
best of my knowledge, there are none, and certainly none that I would be
involved with in my current job, but I'm afraid I have to send you a memo
for the record.

Sorry I will not be able to join you for the 45th -- my current boss is
coming for a visit and I have to host him.

Best,


rgo

Rick Olson

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      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 86 of 319




From: KAH (kah@habtoor.com)
Sent: Monday, September 15, 2014 11:43:50 PM
To:   -Rick Olson- (rickscafedxb@yahoo.com)
Cc:
Bcc:
Subject:    RE: From Rick Olson

Dear Rick

It was a pleasure to see you here and to have dinner with you.
For a person of your calibre the time is open as we discussed till the end
of June 2015. We can speak further during this time when we meet.
I wish you all the best

Khalaf Al Habtoor




-----Original Message-----
From: Rick Olson [mailto:rickscafedxb@yahoo.com]
Sent: 15 September 2014 17:50
To: kah@habtoor.com
Subject: From Rick Olson


Dear Khalaf:

Switching to my private email account for better privacy.

Thanks again for your generous hospitality, but more importantly, for
having
the trust to consider me for the position you described. I am honored. As
I
mentioned, I will have to decide whether to leave diplomacy, which has
been
my life's work, and that will not be easy. If I may ask, what is your
timeframe for making a decision. In other words, when would I need to
give
you an answer.

Once again, many thanks.

Best,




rgo

Rick Olson
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 87 of 319




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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 88 of 319




          EXHIBIT CC
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 89 of 319




From:                          "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Sent:                          Mon, 14 Sep 2015 07:41:39 -0500
To:                            "Olson, Richard G" <olsonrg@state.gov>
Cc:                            "Rick Olson (rickscafedxb@yahoo.com)" <rickscafedxb@yahoo.com>
Subject:                       Re: Thanks


Cool, many thanks



On 14 Sep 2015, at 15:55, Olson, Richard G <olsonrg@state.gov> wrote:


        Dear Arif:


        Thanks for taking my call yesterday. I’d like to follow up with you once
        I’m finished in Pakistan and to that end am copying my private e-mail
        address which will be my permanent one once I leave the Service.

        Best,

        rgo

        Rick Olson
        US Ambassador to Pakistan



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      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 90 of 319




From: Rick Olson (rickscafedxb@yahoo.com)
Sent: Sunday, September 20, 2015 10:11:16 PM
To:   Arif M. Naqvi (arif.naqvi@abraaj.com)
Cc:
Bcc:
Subject:    Re: Thanks



Dear Arif:

Turns out I'm going to be in Islamabad until nearly November. You
mentioned the possibility of having some preliminary conversations about
my future plans. I'd welcome the opportunity to do that in October,
preferably on a Sunday (so I can take advantage of the assymetric
Pak/Emirati weekends). Would that work for Abraaj?

One caveat: once we started talking I would need to file a recusal from
doing any USG business with Abraaj -- but that should not be a problem,
since I have not been directly involved in any of your activities. And I
am pretty much in purdah here anyway!

Please let me know.

Best,




rgo

Rick Olson

Â

--------------------------------------------
On Mon, 9/14/15, Arif M. Naqvi <arif.naqvi@abraaj.com> wrote:

 Subject: Re: Thanks
 To: "Olson, Richard G" <olsonrg@state.gov>
 Cc: "Rick Olson (rickscafedxb@yahoo.com)" <rickscafedxb@yahoo.com>
 Date: Monday, September 14, 2015, 5:41 PM


 Cool, many thanks




 On 14 Sep 2015, at 15:55, Olson, Richard G <olsonrg@state.gov>
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 91 of 319




From: Arif M. Naqvi (arif.naqvi@abraaj.com)
Sent: Monday, September 21, 2015 5:59:28 PM
To:   Rick Olson (rickscafedxb@yahoo.com)
Cc:   Mustafa Abdel-Wadood (mustafa.abdel-wadood@abraaj.com); Wahid Hamid
(Wahid.Hamid@abraaj.com)
Bcc:
Subject:    October

Rick, thanks for your email; I am copying Mustafa and Wahid, both of whom
you know. I have fully briefed them on our discussion and they are as
enthused as me in discussing how a potential role may evolve. Equally,
they will help you navigate an understanding of what life in the private
sector would look like!

Apart from them, I would like you to meet with Omar, who oversees our
business in Asia (based out of Singapore), and Sev, based in London who
oversees our global Â³thematicÂ² businesses; and Tom, who is based in NYC
and oversees our Global Markets Coverage (they are the folks who interface
Abraaj to the external world of our stakeholders). For sake of
completeness of designations, Mustafa oversees all our global private
equity businesses and Wahid runs our Performance Acceleration Group.

5 people to meet over your defined timeline,and those meetings can start
in Dubai, and either Tom/Sev/Omar can also meet you in Dubai, or when you
are next outward-bound.

Best regards



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From: Mustafa Abdel-Wadood (mustafa.abdel-wadood@abraaj.com)
Sent: Tuesday, September 22, 2015 2:02:02 AM
To:   Rick Olson (rickscafedxb@yahoo.com)
Cc:   Wahid Hamid (Wahid.Hamid@abraaj.com); Magdalena Hansen
(magda.hansen@abraaj.com)
Bcc:
Subject:    Re: October

Thanks Rick. Look forward to meeting. I can do 11th morning or 18th.

(Moving Arif to BCC)

Regards,
Mustafa

On 22 Sep 2015, at 10:51, Rick Olson <rickscafedxb@yahoo.com> wrote:

Dear Arif, Mustafa and Wahid:

Thanks very much, I look forward to following up in person.

If I were to come to Dubai 11-12 October, or alternatively, 18 October,
would that work for you gentlemen?

Please let me know.

Best,



rgo

Rick Olson



--------------------------------------------
On Tue, 9/22/15, Arif M. Naqvi <arif.naqvi@abraaj.com> wrote:

Subject: October
To: "Rick Olson" <rickscafedxb@yahoo.com>
Cc: "Mustafa Abdel-Wadood" <mustafa.abdel-wadood@abraaj.com>, "Wahid
Hamid" <Wahid.Hamid@abraaj.com>
Date: Tuesday, September 22, 2015, 3:59 AM

Rick, thanks for your email; I am
copying Mustafa and Wahid, both of whom
you know. I have fully briefed them on our discussion and
they are as
enthused as me in discussing how a potential role may
evolve. Equally,
they will help you navigate an understanding of what life in
the private
sector would look like!
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 93 of 319




From: Rick Olson (rickscafedxb@yahoo.com)
Sent: Tuesday, September 22, 2015 2:25:09 AM
To:   Mustafa Abdel-Wadood (mustafa.abdel-wadood@abraaj.com); Wahid Hamid
(Wahid.Hamid@abraaj.com)
Cc:   Magdalena Hansen (magda.hansen@abraaj.com); Simone Haynes
(simone.haynes@abraaj.com)
Bcc:
Subject:    Re: October


OK, then let's plan for the 11th.   I will make my travel arrangements
accordingly.




rgo

Rick Olson



--------------------------------------------
On Tue, 9/22/15, Wahid Hamid <Wahid.Hamid@abraaj.com> wrote:

 Subject: Re: October
 To: "Mustafa Abdel-Wadood" <mustafa.abdel-wadood@abraaj.com>
 Cc: "Rick Olson" <rickscafedxb@yahoo.com>, "Magdalena Hansen"
<magda.hansen@abraaj.com>, "Simone Haynes" <simone.haynes@abraaj.com>
 Date: Tuesday, September 22, 2015, 12:10 PM

 Dear Rick
 Look forward to meeting. I could do 11th
 morning as well. Need to leave to catch a flight around
 noon. 18th would be challenging.
 Regards
 Wahid

 Sent
 from my iPhone

 > On Sep 22, 2015, at
 10:57 AM, Mustafa Abdel-Wadood <mustafa.abdel-wadood@abraaj.com>
 wrote:
 >
 > Thanks
 Rick. Look forward to meeting. I can do 11th morning or
 18th.
 >
 > (Moving Arif
 to BCC)
 >
 >
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 94 of 319




From: Wahid Hamid (Wahid.Hamid@abraaj.com)
Sent: Tuesday, September 22, 2015 2:10:38 AM
To:   Mustafa Abdel-Wadood (mustafa.abdel-wadood@abraaj.com)
Cc:   Rick Olson (rickscafedxb@yahoo.com); Magdalena Hansen
(magda.hansen@abraaj.com); Simone Haynes (simone.haynes@abraaj.com)
Bcc:
Subject:    Re: October

Dear Rick
Look forward to meeting. I could do 11th morning as well. Need to leave to
catch a flight around noon. 18th would be challenging.
Regards
Wahid

Sent from my iPhone

> On Sep 22, 2015, at 10:57 AM, Mustafa Abdel-Wadood <mustafa.abdel-
wadood@abraaj.com> wrote:
>
> Thanks Rick. Look forward to meeting. I can do 11th morning or 18th.
>
> (Moving Arif to BCC)
>
> Regards,
> Mustafa
>
> On 22 Sep 2015, at 10:51, Rick Olson <rickscafedxb@yahoo.com> wrote:
>
> Dear Arif, Mustafa and Wahid:
>
> Thanks very much, I look forward to following up in person.
>
> If I were to come to Dubai 11-12 October, or alternatively, 18 October,
would that work for you gentlemen?
>
> Please let me know.
>
> Best,
>
>
>
> rgo
>
> Rick Olson
>
>
>
> --------------------------------------------
> On Tue, 9/22/15, Arif M. Naqvi <arif.naqvi@abraaj.com> wrote:
>
> Subject: October
> To: "Rick Olson" <rickscafedxb@yahoo.com>
> Cc: "Mustafa Abdel-Wadood" <mustafa.abdel-wadood@abraaj.com>, "Wahid
Hamid" <Wahid.Hamid@abraaj.com>
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 95 of 319




From: Rick Olson (rickscafedxb@yahoo.com)
Sent: Sunday, October 4, 2015 11:34:39 PM
To:   Mustafa Abdel-Wadood (mustafa.abdel-wadood@abraaj.com); Wahid Hamid
(Wahid.Hamid@abraaj.com)
Cc:   Magdalena Hansen (magda.hansen@abraaj.com); Simone Haynes
(simone.haynes@abraaj.com)
Bcc:
Subject:    Re: October


Dear Mustafa and Wahid:

Just checking to see that we are still on for meeting next Sunday, 11
October.

If so, please confirm a time and venue.

Many thanks.



rgo

Rick Olson



--------------------------------------------
On Tue, 9/22/15, Wahid Hamid <Wahid.Hamid@abraaj.com> wrote:

 Subject: Re: October
 To: "Mustafa Abdel-Wadood" <mustafa.abdel-wadood@abraaj.com>
 Cc: "Rick Olson" <rickscafedxb@yahoo.com>, "Magdalena Hansen"
<magda.hansen@abraaj.com>, "Simone Haynes" <simone.haynes@abraaj.com>
 Date: Tuesday, September 22, 2015, 12:10 PM

 Dear Rick
 Look forward to meeting. I could do 11th
 morning as well. Need to leave to catch a flight around
 noon. 18th would be challenging.
 Regards
 Wahid

 Sent
 from my iPhone

 > On Sep 22, 2015, at
 10:57 AM, Mustafa Abdel-Wadood <mustafa.abdel-wadood@abraaj.com>
 wrote:
 >
 > Thanks
 Rick. Look forward to meeting. I can do 11th morning or
 18th.
 >
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 96 of 319




From: Wahid Hamid (Wahid.Hamid@abraaj.com)
Sent: Monday, October 5, 2015 6:50:50 AM
To:   Mustafa Abdel-Wadood (mustafa.abdel-wadood@abraaj.com); Rick Olson
(rickscafedxb@yahoo.com)
Cc:   Magdalena Hansen (magda.hansen@abraaj.com); Simone Haynes
(simone.haynes@abraaj.com)
Bcc:
Subject:    Re: October

Confirmed my end as well. Looking forward to it Rick.

Regards

Wahid

On 10/5/15, 3:46 PM, "Mustafa Abdel-Wadood"
<mustafa.abdel-wadood@abraaj.com> wrote:

>Yes. Confirmed on my side. Regards
>
>On 5 Oct 2015, at 00:35, Rick Olson <rickscafedxb@yahoo.com> wrote:
>
>
>Dear Mustafa and Wahid:
>
>Just checking to see that we are still on for meeting next Sunday, 11
>October.
>
>If so, please confirm a time and venue.
>
>Many thanks.
>
>
>
>rgo
>
>Rick Olson
>
>
>
>--------------------------------------------
>On Tue, 9/22/15, Wahid Hamid <Wahid.Hamid@abraaj.com> wrote:
>
>Subject: Re: October
>To: "Mustafa Abdel-Wadood" <mustafa.abdel-wadood@abraaj.com>
>Cc: "Rick Olson" <rickscafedxb@yahoo.com>, "Magdalena Hansen"
><magda.hansen@abraaj.com>, "Simone Haynes" <simone.haynes@abraaj.com>
>Date: Tuesday, September 22, 2015, 12:10 PM
>
>Dear Rick
>Look forward to meeting. I could do 11th
>morning as well. Need to leave to catch a flight around
>noon. 18th would be challenging.
>Regards
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 97 of 319




From: Magdalena Hansen (magda.hansen@abraaj.com)
Sent: Monday, October 5, 2015 1:06:30 AM
To:   Rick Olson (rickscafedxb@yahoo.com)
Cc:   Simone Haynes (simone.haynes@abraaj.com)
Bcc:
Subject:    RE: October

Dear Rick,

We are confirmed for the 11th October morning. Would 10:30a.m. at our
office in the DIFC be suitable for you? If this is alright, I will send
over a map with directions.

Regards,

Magda Hansen
Executive Assistant
The Abraaj Group

-----Original Message-----
From: Rick Olson [mailto:rickscafedxb@yahoo.com]
Sent: Monday, October 05, 2015 8:35 AM
To: Mustafa Abdel-Wadood; Wahid Hamid
Cc: Magdalena Hansen; Simone Haynes
Subject: Re: October


Dear Mustafa and Wahid:

Just checking to see that we are still on for meeting next Sunday, 11
October.

If so, please confirm a time and venue.

Many thanks.



rgo

Rick Olson



--------------------------------------------
On Tue, 9/22/15, Wahid Hamid <Wahid.Hamid@abraaj.com> wrote:

 Subject: Re: October
 To: "Mustafa Abdel-Wadood" <mustafa.abdel-wadood@abraaj.com>
 Cc: "Rick Olson" <rickscafedxb@yahoo.com>, "Magdalena Hansen"
<magda.hansen@abraaj.com>, "Simone Haynes" <simone.haynes@abraaj.com>
 Date: Tuesday, September 22, 2015, 12:10 PM

 Dear Rick
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 98 of 319




From:              "Rick Olson" <rickscafedxb@yahoo.com>
Sent:              Thu, 12 May 2016 09:24:06 -0500
To:                "Arif Naqvi" <arif.naqvi@abraaj.com>
Subject:           Follow Up



Arif: Great to see you yesterday. I am very interested in following
up our discussion and excited about your concept.

I will be in Istanbul in early June, and could easily come to Dubai
around 8 June, if that works for you and your team. I will also be
in Europe in July if that works better. Please advise.

See you this evening at Vali's.

Best,

rgo

Rick Olson
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 99 of 319




From:                "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                Fri, 20 May 2016 22:05:30 -0500
To:                  "Arif M. Naqvi" <arif.naqvi@abraaj.com>; "Mustafa Abdel-Wadood"
<mustafa.abdel-wadood@abraaj.com>; "Wahid Hamid" <Wahid.Hamid@abraaj.com>
Subject:             Re: Follow Up



Arif: Many thanks.



rgo

Rick Olson




From: Arif M. Naqvi <arif.naqvi@abraaj.com>
To: Rick Olson <rickscafedxb@yahoo.com>; Mustafa Abdel-Wadood <mustafa.abdel-
wadood@abraaj.com>; Wahid Hamid <Wahid.Hamid@abraaj.com>
Sent: Saturday, May 21, 2016 12:27 AM
Subject: Re: Follow Up

Rick, I am copying Mustafa and Wahid, who are the two I would like you to meet to
discuss the role I envisage; and leave it upto the three of you to coordinate a visit.
Best regards
From: Rick Olson <rickscafedxb@yahoo.com>
Reply-To: Rick Olson <rickscafedxb@yahoo.com>
Date: Friday, May 20, 2016 at 1:06 AM
To: "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Subject: Re: Follow Up
Dear Arif:
Any word on 8 June? I'll be in Istanbul 7-9 June, so could come
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Abraaj? Please advise.
Best,

rgo

Rick Olson
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 100 of 319




From:                  "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                  Sat, 21 May 2016 12:10:40 -0500
To:                    "Mustafa Abdel-Wadood" <mustafa.abdel-wadood@abraaj.com>
Cc:                    "Wahid Hamid" <Wahid.Hamid@abraaj.com>
Subject:               Re: Follow Up


Great, thanks


Sent from Yahoo Mail for iPhone


On Saturday, May 21, 2016, 15:05, Mustafa Abdel-Wadood <mustafa.abdel-wadood@abraaj.com>
wrote:

 Hi Rick

 Good to re-connect. 8th of June could work. We are all in town as we have a board meeting so
 would need to schedule around it. Will reach out separately with a suggested time

 Regards
 Mustafa



 From: Rick Olson <rickscafedxb@yahoo.com>
 Reply-To: Rick Olson <rickscafedxb@yahoo.com>
 Date: Saturday, May 21, 2016 at 7:05 AM
 To: Arif Naqvi <arif.naqvi@abraaj.com>, Mustafa Abdel-Wadood <mustafa.abdel-
 wadood@abraaj.com>, Wahid Hamid <Wahid.Hamid@abraaj.com>
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 Arif: Many thanks.



 rgo

 Rick Olson
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 101 of 319




From:                  "Magdalena Hansen" <magda.hansen@abraaj.com>
Sent:                  Sun, 22 May 2016 05:03:00 -0500
To:                    "rickscafedxb@yahoo.com" <rickscafedxb@yahoo.com>
Subject:               RE: Follow Up


Hello Rick,

Would the 8th late afternoon in Dubai work for you? We could confirm a meeting at 4 or 5p.m. local
time Dubai.

Thank you,

Magda Hansen
Executive Assistant
The Abraaj Group




From: Rick Olson <rickscafedxb@yahoo.com>
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 wadood@abraaj.com>, Wahid Hamid <Wahid.Hamid@abraaj.com>
 Subject: Re: Follow Up
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 102 of 319




From:                 "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                 Wed, 25 May 2016 04:23:07 -0500
To:                   "Magdalena Hansen" <magda.hansen@abraaj.com>
Subject:              Re: Follow Up



Dear Magdalena:

Yes, that should work. Sorry for delayed response, am still
working the travel arrangements.

Best,

rgo

Rick Olson




From: Magdalena Hansen <magda.hansen@abraaj.com>
To: "rickscafedxb@yahoo.com" <rickscafedxb@yahoo.com>
Sent: Wednesday, May 25, 2016 4:08 AM
Subject: RE: Follow Up

Good morning Rick,

Just a quick email to follow up on my email below and to make sure you got my email.

Thanks very much,

Magda Hansen
Executive Assistant
The Abraaj Group

From: Magdalena Hansen
Sent: Sunday, May 22, 2016 2:03 PM
To: 'rickscafedxb@yahoo.com' <rickscafedxb@yahoo.com>
Subject: RE: Follow Up

Hello Rick,

Would the 8th late afternoon in Dubai work for you? We could confirm a meeting at 4 or 5p.m.
local time Dubai.
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 103 of 319




From:                   "Magdalena Hansen" <magda.hansen@abraaj.com>
Sent:                   Wed, 25 May 2016 05:31:37 -0500
To:                     "Rick Olson" <rickscafedxb@yahoo.com>
Subject:                RE: Follow Up


Excellent thank you, just in case my mobile is 0504513418. We will block 4 p.m for you.

Magda Hansen
Executive Assistant
The Abraaj Group


From: Rick Olson [mailto:rickscafedxb@yahoo.com]
Sent: Wednesday, May 25, 2016 1:23 PM
To: Magdalena Hansen <magda.hansen@abraaj.com>
Subject: Re: Follow Up

Dear Magdalena:

Yes, that should work. Sorry for delayed response, am still
working the travel arrangements.

Best,

rgo

Rick Olson




From: Magdalena Hansen <magda.hansen@abraaj.com>
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Magda Hansen
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 104 of 319




From:                   "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                   Sun, 5 Jun 2016 03:48:13 -0500
To:                     "Magdalena Hansen" <magda.hansen@abraaj.com>
Subject:                Re: Follow Up


Should be doable, my flight gets in around 1300

Sent from Yahoo Mail for iPhone


On Sunday, June 5, 2016, 11:07, Magdalena Hansen <magda.hansen@abraaj.com> wrote:

 Great thank you very much. Would it be possible to come in a bit earlier? 15:30 or 15:45?


 Magda Hansen
 Executive Assistant
 The Abraaj Group

 From: Rick Olson [mailto:rickscafedxb@yahoo.com]
 Sent: Sunday, June 05, 2016 12:02 PM
 To: Magdalena Hansen <magda.hansen@abraaj.com>
 Subject: Re: Follow Up

 Dear Magdalena: I will be in Dubai and confirm         the meeting: 1600 on 8 June at Abraaj,
 DIFC, correct?

 Sent from Yahoo Mail for iPhone

 On Sunday, June 5, 2016, 10:03, Magdalena Hansen <magda.hansen@abraaj.com> wrote:

  Hi Rick

  Hope you are well. Just a short note to follow up to see if you will be in Dubai this week
  so we confirm our meting.

  Look forward to hearing from you.

  Regards,

  Magda Hansen
  Executive Assistant
  The Abraaj Group

  From: Rick Olson [mailto:rickscafedxb@yahoo.com]
  Sent: Wednesday, May 25, 2016 1:23 PM
  To: Magdalena Hansen <magda.hansen@abraaj.com>
  Subject: Re: Follow Up
 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 105 of 319




Dear Magdalena:

Yes, that should work. Sorry for delayed response,
am still working the travel arrangements.

Best,
rgo

Rick Olson




From: Magdalena Hansen <magda.hansen@abraaj.com>
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Executive Assistant
The Abraaj Group

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5p.m. local time Dubai.

Thank you,

Magda Hansen
Executive Assistant
 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 106 of 319




The Abraaj Group




From: Rick Olson <rickscafedxb@yahoo.com>
Date: Saturday, May 21, 2016 at 9:10 PM
To: Mustafa Abdel-Wadood <mustafa.abdel-wadood@abraaj.com>
Cc: Wahid Hamid <Wahid.Hamid@abraaj.com>
Subject: Re: Follow Up

Great, thanks


Sent from Yahoo Mail for iPhone

On Saturday, May 21, 2016, 15:05, Mustafa Abdel-Wadood <mustafa.abdel-
wadood@abraaj.com> wrote:
 Hi Rick

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 with a suggested time

 Regards
 Mustafa


 From: Rick Olson <rickscafedxb@yahoo.com>
 Reply-To: Rick Olson <rickscafedxb@yahoo.com>
 Date: Saturday, May 21, 2016 at 7:05 AM
 To: Arif Naqvi <arif.naqvi@abraaj.com>, Mustafa Abdel-Wadood
 <mustafa.abdel-wadood@abraaj.com>, Wahid Hamid
 <Wahid.Hamid@abraaj.com>
 Subject: Re: Follow Up

 Arif: Many thanks.



 rgo

 Rick Olson
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 107 of 319




From: Arif M. Naqvi <arif.naqvi@abraaj.com>
To: Rick Olson <rickscafedxb@yahoo.com>; Mustafa Abdel-Wadood <mustafa.abdel-
wadood@abraaj.com>; Wahid Hamid <Wahid.Hamid@abraaj.com>
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Subject: Re: Follow Up

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coordinate a visit.

Best regards

From: Rick Olson <rickscafedxb@yahoo.com>
Reply-To: Rick Olson <rickscafedxb@yahoo.com>
Date: Friday, May 20, 2016 at 1:06 AM
To: "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Subject: Re: Follow Up

Dear Arif:

Any word on 8 June? I'll be in Istanbul 7-9 June,
so could come down. But need to lock in my
plans. Would 8 June work for Abraaj? Please
advise.

Best,



rgo

Rick Olson
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 108 of 319




From: Rick Olson <rickscafedxb@yahoo.com>
To: Arif Naqvi <arif.naqvi@abraaj.com>
Sent: Thursday, May 12, 2016 7:24 PM
Subject: Follow Up

Arif: Great to see you yesterday. I am very
interested in following up our discussion and
excited about your concept.

I will be in Istanbul in early June, and could
easily come to Dubai around 8 June, if that
works for you and your team. I will also be in
Europe in July if that works better. Please
advise.

See you this evening at Vali's.

Best,
rgo

Rick Olson




This email is sent on behalf of Abraaj Capital Limited, a limited liability company incorporated and registered
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Village 8, Third Floor, Dubai International Financial Centre, United Arab Emirates, and authorized and
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  Group, details of which can be viewed at The Abraaj Group thanks




           The Abraaj Group
           The Abraaj Group is a leading investor in growth markets. We currently
           manage c.US$ 9.5 billion in assets, operating through over 20 offices in
           Africa, Asia, Latin America, the Middle East and Turkey.


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 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 110 of 319




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Group




        The Abraaj Group

        The Abraaj Group is a leading investor in growth markets. We currently
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   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 111 of 319




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    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 112 of 319




From:                   "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                   Sun, 5 Jun 2016 03:01:33 -0500
To:                     "Magdalena Hansen" <magda.hansen@abraaj.com>
Subject:                Re: Follow Up


Dear Magdalena: I will be in Dubai and confirm         the meeting: 1600 on 8 June at Abraaj, DIFC,
correct?

Sent from Yahoo Mail for iPhone


On Sunday, June 5, 2016, 10:03, Magdalena Hansen <magda.hansen@abraaj.com> wrote:

 Hi Rick

 Hope you are well. Just a short note to follow up to see if you will be in Dubai this week so we
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  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 113 of 319




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Date: Saturday, May 21, 2016 at 9:10 PM
To: Mustafa Abdel-Wadood <mustafa.abdel-wadood@abraaj.com>
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 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 114 of 319




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Regards
Mustafa


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Reply-To: Rick Olson <rickscafedxb@yahoo.com>
Date: Saturday, May 21, 2016 at 7:05 AM
To: Arif Naqvi <arif.naqvi@abraaj.com>, Mustafa Abdel-Wadood
<mustafa.abdel-wadood@abraaj.com>, Wahid Hamid
<Wahid.Hamid@abraaj.com>
Subject: Re: Follow Up

Arif: Many thanks.



rgo

Rick Olson




From: Arif M. Naqvi <arif.naqvi@abraaj.com>
To: Rick Olson <rickscafedxb@yahoo.com>; Mustafa Abdel-Wadood <mustafa.abdel-
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and your team. I will also be in Europe in July if that
works better. Please advise.

See you this evening at Vali's.
 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 116 of 319




Best,
rgo

Rick Olson




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Group thanks




        The Abraaj Group
        The Abraaj Group is a leading investor in growth markets. We currently
        manage c.US$ 9.5 billion in assets, operating through over 20 offices in
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 117 of 319




           Africa, Asia, Latin America, the Middle East and Turkey.


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From:                     "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Sent:                     Thu, 10 Nov 2016 12:20:51 -0500
To:                       "Rick Olson" <rickscafedxb@yahoo.com>
Subject:                  Re: From Rick Olson


Rick, my friend, we have actually been trying to look for a role, even though it may sound like we are being
unresponsive; sad part is, in this current world, it is very difficult for a PE firm to do too much on stakeholder
engagement without direct bottom line attribution; hence, any and all demands that come for hiring senior
people are usually on the business end of the Firm.
Under the circumstances, probably best for you to pursue other options whilst remaining steadfast and close;
I know that if we seek your kind of expertise in the future, it will be you, rather than embarking on a search!
I wish you well, my friend, and lets stay in touch.
Best regards
From: Rick Olson <rickscafedxb@yahoo.com>
Reply-To: Rick Olson <rickscafedxb@yahoo.com>
Date: Wednesday, November 9, 2016 at 6:28 PM
To: "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Subject: From Rick Olson
Dear Arif:

I sent the following email to Wahid and Mustafa last week. Since I
have not heard back from them I am wondering whether Abraaj is
still interested in my services. I would appreciate it if you could let
me know whether I should pursue opportunities with you, since I
will shortly begin my job search in earnest and need to realistically
know what my options are.
On another note: in a complete state of shock of what the
American people have done. Truly unbelievable.

Best,
rgo
Rick Olson




----- Forwarded Message -----
From: Rick Olson <rickscafedxb@yahoo.com>
To: Wahid Hamid <wahid.hamid@abraaj.com>; Mustafa Abdel-Wadood <mustafa.abdel-
wadood@abraaj.com>
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 120 of 319




Cc: Arif M. Naqvi <arif.naqvi@abraaj.com>
Sent: Thursday, November 3, 2016 6:29 PM
Subject: Follow Up


Dear Wahid and Mustafa:
I wanted to let you know that I am finishing up at State shortly.
Assuming Abraaj is still interested, I would be delighted to follow
up our earlier conversations about my joining your team. I could
be in Dubai 17-21 November, or anytime after 29 November.
 Please let me know.
Best,

rgo

Rick Olson




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From:            "Rick Olson" <rickscafedxb@yahoo.com>
Sent:            Thu, 10 Nov 2016 13:59:21 -0500
To:              "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Subject:         Re: From Rick Olson



Arif:

Completely understood, thanks for getting back to me.

I will admit to being disappointed, because of all the things I have
looked at, Abraaj was far and away the most interesting. I really
like your approach to emerging markets, and since I've spent my
life on the grittier end of the diplomatic spectrum, the idea of
roaming about the developing world looking for opportunities was
enormously appealing. And after this week's developments, I am
really keen to get out of Washington.

I would ask as a friend that if you hear about anything where I
might fit, I'd be obliged if you keep me in mind. And I welcome
any advice you may have on next steps.

If you're in this hemisphere, I hope you will be able to join me for
the retirement ceremony on the 28th. Kerry will preside.

Many thanks for considering me.

All the best,


rgo

Rick Olson
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 122 of 319




From: Arif M. Naqvi <arif.naqvi@abraaj.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Thursday, November 10, 2016 12:20 PM
Subject: Re: From Rick Olson

Rick, my friend, we have actually been trying to look for a role, even though it may
sound like we are being unresponsive; sad part is, in this current world, it is very difficult
for a PE firm to do too much on stakeholder engagement without direct bottom line
attribution; hence, any and all demands that come for hiring senior people are usually
on the business end of the Firm.
Under the circumstances, probably best for you to pursue other options whilst remaining
steadfast and close; I know that if we seek your kind of expertise in the future, it will be
you, rather than embarking on a search!
I wish you well, my friend, and lets stay in touch.
Best regards
From: Rick Olson <rickscafedxb@yahoo.com>
Reply-To: Rick Olson <rickscafedxb@yahoo.com>
Date: Wednesday, November 9, 2016 at 6:28 PM
To: "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Subject: From Rick Olson
Dear Arif:

I sent the following email to Wahid and Mustafa last week. Since I
have not heard back from them I am wondering whether Abraaj is
still interested in my services. I would appreciate it if you could let
me know whether I should pursue opportunities with you, since I
will shortly begin my job search in earnest and need to realistically
know what my options are.
On another note: in a complete state of shock of what the
American people have done. Truly unbelievable.

Best,
rgo
Rick Olson
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 123 of 319




----- Forwarded Message -----
From: Rick Olson <rickscafedxb@yahoo.com>
To: Wahid Hamid <wahid.hamid@abraaj.com>; Mustafa Abdel-Wadood <mustafa.abdel-
wadood@abraaj.com>
Cc: Arif M. Naqvi <arif.naqvi@abraaj.com>
Sent: Thursday, November 3, 2016 6:29 PM
Subject: Follow Up


Dear Wahid and Mustafa:
I wanted to let you know that I am finishing up at State shortly.
Assuming Abraaj is still interested, I would be delighted to follow
up our earlier conversations about my joining your team. I could
be in Dubai 17-21 November, or anytime after 29 November.
 Please let me know.
Best,

rgo

Rick Olson




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From:                "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                Wed, 9 Nov 2016 09:28:57 -0500
To:                  "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Subject:             From Rick Olson



Dear Arif:

I sent the following email to Wahid and Mustafa last week. Since I
have not heard back from them I am wondering whether Abraaj is
still interested in my services. I would appreciate it if you could let
me know whether I should pursue opportunities with you, since I
will shortly begin my job search in earnest and need to realistically
know what my options are.

On another note: in a complete state of shock of what the
American people have done. Truly unbelievable.

Best,

rgo
Rick Olson




----- Forwarded Message -----
From: Rick Olson <rickscafedxb@yahoo.com>
To: Wahid Hamid <wahid.hamid@abraaj.com>; Mustafa Abdel-Wadood <mustafa.abdel-
wadood@abraaj.com>
Cc: Arif M. Naqvi <arif.naqvi@abraaj.com>
Sent: Thursday, November 3, 2016 6:29 PM
Subject: Follow Up


Dear Wahid and Mustafa:

I wanted to let you know that I am finishing up at State shortly.
Assuming Abraaj is still interested, I would be delighted to follow
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 125 of 319




up our earlier conversations about my joining your team. I could
be in Dubai 17-21 November, or anytime after 29 November.
 Please let me know.

Best,

rgo

Rick Olson
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 126 of 319




From:                "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                Thu, 3 Nov 2016 17:29:01 -0500
To:                  "Wahid Hamid" <wahid.hamid@abraaj.com>; "Mustafa Abdel-Wadood"
<mustafa.abdel-wadood@abraaj.com>
Cc:                  "Arif M. Naqvi" <arif.naqvi@abraaj.com>
Subject:             Follow Up



Dear Wahid and Mustafa:

I wanted to let you know that I am finishing up at State shortly.
Assuming Abraaj is still interested, I would be delighted to follow
up our earlier conversations about my joining your team. I could
be in Dubai 17-21 November, or anytime after 29 November.
 Please let me know.

Best,

rgo

Rick Olson
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 127 of 319




From:                   "Magdalena Hansen" <magda.hansen@abraaj.com>
Sent:                   Wed, 8 Jun 2016 01:38:20 -0500
To:                     "Rick Olson" <rickscafedxb@yahoo.com>
Subject:                RE: Follow Up


Yes thank you Rick we look forward to seeing you later.

Magda Hansen
Executive Assistant
The Abraaj Group


From: Rick Olson [mailto:rickscafedxb@yahoo.com]
Sent: Wednesday, June 08, 2016 10:35 AM
To: Magdalena Hansen <magda.hansen@abraaj.com>
Subject: Re: Follow Up

Magda: Just to reconfirm, I will plan to be at Abraaj by 1530 this
afternoon.

rgo

Rick Olson




From: Magdalena Hansen <magda.hansen@abraaj.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Sunday, June 5, 2016 5:11 PM
Subject: RE: Follow Up

thanks very much!

Magda Hansen
Executive Assistant
The Abraaj Group


From: Rick Olson [mailto:rickscafedxb@yahoo.com]
Sent: Sunday, June 05, 2016 4:44 PM
To: Magdalena Hansen <magda.hansen@abraaj.com>
Subject: Re: Follow Up
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 128 of 319




Thanks. Mine is +1 202 412 5951


Sent from Yahoo Mail for iPhone

On Sunday, June 5, 2016, 12:12, Magdalena Hansen <magda.hansen@abraaj.com> wrote:
 Ok super thank, just in case of anything my mobile is +971504513418.

 Magda Hansen
 Executive Assistant
 The Abraaj Group


 From: Rick Olson [mailto:rickscafedxb@yahoo.com]
 Sent: Sunday, June 05, 2016 12:48 PM
 To: Magdalena Hansen <magda.hansen@abraaj.com>
 Subject: Re: Follow Up

 Should be doable, my flight gets in around 1300

 Sent from Yahoo Mail for iPhone

 On Sunday, June 5, 2016, 11:07, Magdalena Hansen <magda.hansen@abraaj.com> wrote:
  Great thank you very much. Would it be possible to come in a bit earlier? 15:30 or
  15:45?


  Magda Hansen
  Executive Assistant
  The Abraaj Group


  From: Rick Olson [mailto:rickscafedxb@yahoo.com]
  Sent: Sunday, June 05, 2016 12:02 PM
  To: Magdalena Hansen <magda.hansen@abraaj.com>
  Subject: Re: Follow Up

  Dear Magdalena: I will be in Dubai and confirm          the meeting: 1600 on 8 June at
  Abraaj, DIFC, correct?

  Sent from Yahoo Mail for iPhone

  On Sunday, June 5, 2016, 10:03, Magdalena Hansen <magda.hansen@abraaj.com>
  wrote:
    Hi Rick

    Hope you are well. Just a short note to follow up to see if you will be in Dubai
    this week so we confirm our meting.
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 129 of 319




Look forward to hearing from you.

Regards,

Magda Hansen
Executive Assistant
The Abraaj Group


From: Rick Olson [mailto:rickscafedxb@yahoo.com]
Sent: Wednesday, May 25, 2016 1:23 PM
To: Magdalena Hansen <magda.hansen@abraaj.com>
Subject: Re: Follow Up

Dear Magdalena:

Yes, that should work. Sorry for delayed
response, am still working the travel
arrangements.

Best,
rgo

Rick Olson




From: Magdalena Hansen <magda.hansen@abraaj.com>
To: "rickscafedxb@yahoo.com" <rickscafedxb@yahoo.com>
Sent: Wednesday, May 25, 2016 4:08 AM
Subject: RE: Follow Up

Good morning Rick,

Just a quick email to follow up on my email below and to make sure you got my
email.

Thanks very much,

Magda Hansen
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 130 of 319




Executive Assistant
The Abraaj Group


From: Magdalena Hansen
Sent: Sunday, May 22, 2016 2:03 PM
To: 'rickscafedxb@yahoo.com' <rickscafedxb@yahoo.com>
Subject: RE: Follow Up

Hello Rick,

Would the 8th late afternoon in Dubai work for you? We could confirm a
meeting at 4 or 5p.m. local time Dubai.

Thank you,

Magda Hansen
Executive Assistant
The Abraaj Group




From: Rick Olson <rickscafedxb@yahoo.com>
Date: Saturday, May 21, 2016 at 9:10 PM
To: Mustafa Abdel-Wadood <mustafa.abdel-wadood@abraaj.com>
Cc: Wahid Hamid <Wahid.Hamid@abraaj.com>
Subject: Re: Follow Up

Great, thanks


Sent from Yahoo Mail for iPhone

On Saturday, May 21, 2016, 15:05, Mustafa Abdel-Wadood <mustafa.abdel-
wadood@abraaj.com> wrote:
 Hi Rick

 Good to re-connect. 8th of June could work. We are all in town as we
 have a board meeting so would need to schedule around it. Will reach
 out separately with a suggested time

 Regards
 Mustafa
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 131 of 319




 From: Rick Olson <rickscafedxb@yahoo.com>
 Reply-To: Rick Olson <rickscafedxb@yahoo.com>
 Date: Saturday, May 21, 2016 at 7:05 AM
 To: Arif Naqvi <arif.naqvi@abraaj.com>, Mustafa Abdel-
 Wadood <mustafa.abdel-wadood@abraaj.com>, Wahid Hamid
 <Wahid.Hamid@abraaj.com>
 Subject: Re: Follow Up

 Arif: Many thanks.



 rgo

 Rick Olson




 From: Arif M. Naqvi <arif.naqvi@abraaj.com>
 To: Rick Olson <rickscafedxb@yahoo.com>; Mustafa Abdel-Wadood
 <mustafa.abdel-wadood@abraaj.com>; Wahid Hamid
 <Wahid.Hamid@abraaj.com>
 Sent: Saturday, May 21, 2016 12:27 AM
 Subject: Re: Follow Up

 Rick, I am copying Mustafa and Wahid, who are the two I would
 like you to meet to discuss the role I envisage; and leave it upto
 the three of you to coordinate a visit.

 Best regards

 From: Rick Olson <rickscafedxb@yahoo.com>
 Reply-To: Rick Olson <rickscafedxb@yahoo.com>
 Date: Friday, May 20, 2016 at 1:06 AM
 To: "Arif M. Naqvi" <arif.naqvi@abraaj.com>
 Subject: Re: Follow Up

 Dear Arif:

 Any word on 8 June? I'll be in Istanbul 7-9
 June, so could come down. But need to
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 132 of 319




 lock in my plans. Would 8 June work for
 Abraaj? Please advise.

 Best,



 rgo

 Rick Olson




 From: Rick Olson <rickscafedxb@yahoo.com>
 To: Arif Naqvi <arif.naqvi@abraaj.com>
 Sent: Thursday, May 12, 2016 7:24 PM
 Subject: Follow Up

 Arif: Great to see you yesterday. I am very
 interested in following up our discussion
 and excited about your concept.

 I will be in Istanbul in early June, and could
 easily come to Dubai around 8 June, if that
 works for you and your team. I will also be
 in Europe in July if that works better.
  Please advise.

 See you this evening at Vali's.

 Best,
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 133 of 319




 rgo

 Rick Olson




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  the information contained in this email or any action taken or omitted to
  be taken in reliance thereon is prohibited and may be unlawful.
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  by law, hereby excludes any liability of any kind for the accuracy or
  reliability of the information contained in this email or for the
  transmission, reception, storage or use of such information in any way
  whatsoever.



This email is sent on behalf of Abraaj Capital Limited, a limited liability company incorporated and registered in the
Dubai International Financial Centre under Registered Number (0157), with its registered office at Gate Village 8, Third
Floor, Dubai International Financial Centre, United Arab Emirates, and authorized and regulated in the United Arab
Emirates by the Dubai Financial Services Authority (DFSA). Abraaj Capital Limited, together with its ultimate holding
company Abraaj Holdings and its affiliates, constitute The Abraaj Group, details of which can be viewed at The Abraaj
Group b
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 136 of 319




From:                "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                Tue, 13 Oct 2015 06:58:37 -0500
To:                  "Wahid Hamid" <wahid.hamid@abraaj.com>; "Mustafa Abdel-Wadood"
<mustafa.abdel-wadood@abraaj.com>
Subject:             Thanks
Attachments:         RGO CV October 2015.docx, Abraaj Recusal.pdf



Dear Mustafa and Wahid:

Thanks again for seeing me on Sunday. I appreciated your taking
the time to talk collegially about career transition and opportunities
at Abraaj. I am very interested in continuing the conversation, and
think I could add value in the areas of stakeholder and relationship
development.

You had mentioned the possibility of my meeting other members
of your team, including Pradeep Ramamurthy. I expect to be in
Dubai again on Sunday 25 October, and could meet then if
convenient.

I am attaching a copy of resume, and also, as mentioned the
recusal letter I have filed with the State Department.

I look forward to hearing from you.

With Best Regards,

rgo

Rick Olson
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 137 of 319




                                     Proposal
             Senior Advisor for International and Governmental Affairs


Serve as “Ambassador at Large” for the Abraaj Group. Leverage a thirty three-year
diplomatic career to identify new business opportunities, develop a broad range of
contacts in Governments and business, and foster ongoing relationships in emerging
markets.



Travel extensively to identify new business opportunities for the Abraaj Group.
Analyze geopolitical and demographic trends to spot the next breakout nations. Focus
on emerging consumer markets, including in countries where Abraaj does not yet
have a presence. Draw on Abraaj’s institutional strength and global brand to identify
new ventures.



Utilize relationships developed over a three-decade long career in the US Foreign
Service to access senior policy-makers and business leaders to facilitate business
development and troubleshoot problems. Focus particularly on identifying countries
with potential for rapid growth of consumer markets and economic expansion.



Strengthen Abraaj’s existing relationships with stakeholders, through extensive
personal interaction, drawing on Abraaj’s commitment to socially responsible
development. Raise Abraaj’s profile in global policy circles, emphasizing Abraaj’s
sustainable investment approach which takes account of environmental, social and
governance factors. Increase engagement with think thanks and global opinion
leaders.
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 138 of 319




           EXHIBIT DD
  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 139 of 319


                                                            AMBASSADOR OF
                                                      THE UNITED STATES OF AMERICA
                                                                 ISLAMABAD

                                                                13   October 2015

MEMORANDUM

TO:          DCM — Jonathan Pratt

CC:          lvir Alustafa Abdel-Wadood, Partner, Abraaj Group
             Mr XVahid Hamid, Partner, Abraaj Group
             L/Ethics, Dcpartmcnt of State
             USAID/Pakistan Mission Di       r J hn Groarke

FROAI:       Ambassador Richard Olson

SUBJECT:     Recusal

In view of the fact that I have discussed with thc Abrruaj Group future employment
possibiliiics (and notwithstanding tliat no offer has been made or accepted) I have
recused myself from participation in any particular matter that has a direct and
predictable effect upon the financial interests of the Abraaj Group.

Since Abraaj has a business relationship with USAID Pakistan, if any matters related
to that relationship should come to the Front Office you should liandle these matter
without rccoursc to mc.
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 140 of 319




            EXHIBIT FF
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 141 of 319




From:           "Rick Olson" <rickscafedxb@yahoo.com>
Sent:           Wed, 8 Jul 2015 01:17:11 -0500
To:             "mgrossman@cohengroup.net" <mgrossman@cohengroup.net>
Subject:        Recusal
Attachments:    Cohen Group recusal.pdf



Dear Marc: as discussed, I am forwarding (simply for your
information) the recusal memo I have sent to my DCM and L.

Look forward to talking to you tomorrow.

rgo

Rick Olson
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 142 of 319


                                                           AMBASSADOR OF
                                                     THE UNITED STATES OF AMERICA
                                                                ISLAMABAD

                                                                 7 July 2015


Memorandum

ro:          DCIvI   —   Thomas E. williams

CC:          Mr. Mare Grossman, Vice Chairman, The Cohen Goup
             1./L'thics, Department of St, c

FROM:        Ambassador Richard Olso

SUBJ L'CT    Recusal

In view of thc fact that I have discussed with thc Cohen Group Future employment
possibilities (and notwithstanding that no offer has been made or accepted) I have
rccuscd myself From participation in any particular matter that has a direct and
predictable effect upon thc financial interests of the Cohen Group.

Although the Cohen Group has no business before thc US Mission to I'akistan, if any
such business should come before the Missions you should handle thc matter without
recourse to me.
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 143 of 319
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 144 of 319




          EXHIBIT GG
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 145 of 319




From:                "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                Tue, 19 Apr 2016 12:59:47 -0500
To:                  "Josephson, Deanna K" <deanna.k.josephson@boeing.com>
Subject:             Re: Olsen, Richard // Boeing Interest



Dear Ms Josephson:

I would just like to confirm that I have sent you the COI
questionnaire as well as my recusal memo, and I have completed
the questionnaire on the Boeing Website. Please let me know if
you need anything more from me.

Best,

rgo

Rick Olson




From: "Josephson, Deanna K" <deanna.k.josephson@boeing.com>
To: "rickscafedxb@yahoo.com" <rickscafedxb@yahoo.com>
Sent: Friday, April 15, 2016 4:27 PM
Subject: Olsen, Richard // Boeing Interest




Mr. Olsen -

Good afternoon! I am the Executive Staffing focal at Boeing and as stated in a
previous e-mail from Sue Ellen Lindsey, I will be processing you through our Conflict of
Interest (COI) process.

In order to engage in the next steps in Boeing’s employment process, please go to The
Boeing Company employment website (click here) and register a new user account.
Once the profile is completed, the attached COI questionnaire will also need to be
completed in order to engage in subsequent communications with a Boeing
representative about potential employment opportunities.
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 146 of 319




      NOTE: It is very important that once you have started the profile/application that
you do not hit your Refresh or back button keys.


These COI questions inquire about current and past employment with -- and
immediate-family connections to -- the U.S. government, the U.S. military and/or state
government.

Further since you are currently employed by the US Government, I appreciate that you
have already submitted a recusal/disqual letter so we have the acknowledgement to
your management that you are entering into employment discussions with The Boeing
Company.

Please either fax the COI questionnaire to 253-657-4856 or you may also scan and e-
mail the images to my e-mail address. Once I receive the document, I will let Boeing
management know once the initial employment discussions are authorized.

Thank you,

deannajosephson
The Boeing Company | Global Staffing/Mobility
Executive Hiring/Relocation|
Monday- Friday, 6:00 a.m. – 2:30 p.m.
Anticipated response time to calls/e-mails: 24 hours/1 business day

 deanna.k.josephson@boeing.com |
 425-234-5010 (Soft phone) | 206.295.4896 (Blackberry)
  253.657.4856 (Fax)
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 147 of 319




        HCPF/NCi

                               Conflict of Interest Questionnaire
Boeing requires all applicants to complete this Conflict of Interest Questionnaire. All
questions must be answered completely. Incomplete questionnaires will cause a delay in
processing.
Throughout this questionnaire, the term "Boeing" refers to any part of The Boeing Company
and all ofits subsidiaries.
Question    1


Are you a current employee (full- time or part- time) of any government (U.S. or non-U.S.,
country, state, province, or local) or military service, including active duty, reserves or National
Guard?

     Yes    P No
                                         oroffice: U,N. O~Prtf i s-r"~r
If yes, you must provide the following information:


                                      ~.
a. Government agencyormilitarybranch
b.    Current pay grade or rank: F   E'-roc   Qi-oeszau Xrstvcc      eq~&vulc~f- of- S FL -Df
c.    current title or position: gee      Iz~ erv~~k~e. + ~&„~.~vc,& a p~kis.tsi.~

   Click hereto enters date.                                                 &
e. Expected last day of employment (including Transition Leave, if applicable)
                                                                              ~t
d. Expected last day of employment (not including Transition Leave, if applicable)
                                                      '31 QFC-
   Click here to enter a date.                           I  VWC 5
Question 2
Ifyou are an employee of a government (U.S. or non-U.S., country, state, province, or local), or
military service do you currently have any responsibility for or are you involved in official matters
involving Boeing or directly affecting Boeing?

      Yes       No

 "involving Boeing" means business or financia(interests, including contracts, procurement,
safety rulings, program duties, funding decisions, audits, investigations, tradeissues, claims,
export licenses, product approvals, quality or inspection responsibilities, or litigation. lt does not
include situationsinvolving the use of Boeing products (such as flying Boeing aircratt) or
servicing Boeing products (such as maintaining Boeing aircraft).

If yes, you     must provide a full explanation   in   the space provided below
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 148 of 319




Question 3
To the best of your knowledge, do you have a "family member" who works for a "non-U.S."
government or "non-U.S." airline?

P Yes      No

"family member" includes spouses, parents, step-parents, legal guardians, mothers-in-law,
fathers-in-law, children, step-children, siblings, sons-in-law, daughters-in-law, sisters-in-law,
brothers-in-law, grandparents, spouse's grandparents, grandchildren, uncles, aunts, nephews,
nieces, and first cousins.

"Non-V.S." means a country thatis not the United States.

If yes, you must provide the following information:
a. Name of the family member and their relationship to you (See description of "family
   member" above)
b. Name of the non-U.S. government or non-U.S. airline
   Position or title of your family member
a. Describe how you found out about the Boeing job opening for which you are applying. (For
   example, are you responding to an advertisement, or did someone from Boeing refer you)?


Question 4
At any time within the last five (5) years, have you   been employed as a manager, executive,
officer, director or controlling shareholder of a non-U.S. airline or non-U.S. aircraft holding
company?

P Yes      No

If yes, you must provide the following information:
a. Name and country of non-U.S. airline(s) or aircraft holding company(s)
b. Your position or role at the company(s) and your duties and responsibilities
c. Dates of employment
Question 5
At any time   with'he last three (3) years from today's date, have you or a close family member
been employ        (full-time or part-time) by Deloitte, LLP?

     Yes      No

A   "close family member" in this instance includes a person's spouse, spousal equivalent,
parent, dependent, nondependent child or sibling.
         Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 149 of 319




       If yes, you must provide the following information for each person and position(s) held:
       a. Name of "close family member" and relationship (or yourself)
       b. Position(s) Title(s) and Level(s)
       c. Start and End Date(s)
       d. Did this person provide professional services to Boeing while in the position(s)?

       Question 6
       Within the last five (5) years, have you been employed (full-time or part-time) by any U.S.
       government or military service, including active duty, reserves or National Guard (including
                                                                                below'
       static'ty, county, or local government) in any of the positions listed
       I7f Yes    0 No
       If yes, you must check all that apply:
       P   U.S. military officer on active duty at the rank of 0-4 or above
           U.S. military officer in the military reserves or National Guard at the rank of 0-4 or above
       Q   Employee of private company "on loan" to the U.S. Government as part of an exchange
            rogram such as defined in the Intergovernmental Personnel Act
           U.S. Government civilian employee at a grade GS-11 or above (or equivalent)
           Special Government Employee in the U.S. Government; for example, as a member of an
           advisory board, panel, or committee of any U.S. Government agency
           U.S. FAA Flight Standards Service Aviation Safety Inspector
           Employee of any U.S. state, city, county, or local government at a grade equivalent to or
           greater than GS-11 in Federal Civil Service
       If you checked any of the above, you must provide the following information:
       a. Government agency or military branch or office: Lf.5.       9   tM
       b. Final pay grade or rank:     FE — H 6
       c. Title or position and duties for all jobs you held during the last five (5) years: Case.   4+   ~)
       d. Last day of employment for your most recent government or military employment:
                                                                                                     ~aCafi    fOq~
gsv'~mt~ ZDt& +               P~/.'.Q. g/J +~M P&Pg.&$                                       &ilf 7Pfl        i V~

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                                                                            I   ~~
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 150 of 319




From:                         "Josephson, Deanna K" <deanna.k.josephson@boeing.com>
Sent:                         Tue, 19 Apr 2016 13:32:23 -0500
To:                           "Rick Olson" <rickscafedxb@yahoo.com>
Subject:                      RE: Olsen, Richard // Boeing Interest


You gave me everything I needed. Thank you so much. At some point I may need an
Ethics letter, but that’s not something I need right away.

deannajosephson
The Boeing Company | Global Staffing/Mobility
Executive Hiring/Relocation|
Monday- Friday, 6:00 a.m. – 2:30 p.m.
Anticipated response time to calls/e-mails: 24 hours/1 business day

 deanna.k.josephson@boeing.com |
 425-234-5010 (Soft phone) | 206.295.4896 (Blackberry)
  253.657.4856 (Fax)

          From: Rick Olson [mailto:rickscafedxb@yahoo.com]
          Sent: Tuesday, April 19, 2016 11:00 AM
          To: Josephson, Deanna K <deanna.k.josephson@boeing.com>
          Subject: Re: Olsen, Richard // Boeing Interest

          Dear Ms Josephson:

          I would just like to confirm that I have sent you the COI
          questionnaire as well as my recusal memo, and I have
          completed the questionnaire on the Boeing Website. Please
          let me know if you need anything more from me.

          Best,

          rgo

          Rick Olson




          From: "Josephson, Deanna K" <deanna.k.josephson@boeing.com>
          To: "rickscafedxb@yahoo.com" <rickscafedxb@yahoo.com>
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 151 of 319




  Sent: Friday, April 15, 2016 4:27 PM
  Subject: Olsen, Richard // Boeing Interest




  Mr. Olsen -

  Good afternoon! I am the Executive Staffing focal at Boeing and as stated in a
  previous e-mail from Sue Ellen Lindsey, I will be processing you through our
  Conflict of Interest (COI) process.

  In order to engage in the next steps in Boeing’s employment process, please go
  to The Boeing Company employment website (click here) and register a new
  user account. Once the profile is completed, the attached COI questionnaire
  will also need to be completed in order to engage in subsequent
  communications with a Boeing representative about potential employment
  opportunities.


          NOTE: It is very important that once you have started the
  profile/application that you do not hit your Refresh or back button keys.


  These COI questions inquire about current and past employment with -- and
  immediate-family connections to -- the U.S. government, the U.S. military and/or
  state government.

  Further since you are currently employed by the US Government, I appreciate
  that you have already submitted a recusal/disqual letter so we have the
  acknowledgement to your management that you are entering into employment
  discussions with The Boeing Company.

  Please either fax the COI questionnaire to 253-657-4856 or you may also scan
  and e-mail the images to my e-mail address. Once I receive the document, I
  will let Boeing management know once the initial employment discussions are
  authorized.

  Thank you,

  deannajosephson
  The Boeing Company | Global Staffing/Mobility
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 152 of 319




  Executive Hiring/Relocation|
  Monday- Friday, 6:00 a.m. – 2:30 p.m.
  Anticipated response time to calls/e-mails: 24 hours/1 business day


   deanna.k.josephson@boeing.com |
   425-234-5010 (Soft phone) | 206.295.4896 (Blackberry)
    253.657.4856 (Fax)
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 153 of 319




          EXHIBIT HH
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 154 of 319




From:                        "Silini Herrmann" <siherrmann@raytheon.com>
Sent:                        Tue, 26 Apr 2016 14:59:22 -0500
To:                          "Rick Olson" <rickscafedxb@yahoo.com>
Subject:                     Re: Informal Introductory meeting


No problem at all on the departure time. Thank you for letting me know.

Silini Herrmann
Raytheon Company
703-284-4201

  Rick Olson ---04/26/2016 03:56:39 PM---No changes, I'll be there. I will, however, have to leave by
about 0845. I testify before the Hous

From: Rick Olson <rickscafedxb@yahoo.com>
To: Silini Herrmann <siherrmann@raytheon.com>
Date: 04/26/2016 03:56 PM
Subject: Re: Informal Introductory meeting




No changes, I'll be there. I will, however, have to leave by about 0845. I testify before
the House Foreign Affairs Committee at 1000.

rgo

Rick Olson



From: Silini Herrmann <siherrmann@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Tuesday, April 26, 2016 2:50 PM
Subject: Re: Informal Introductory meeting

Hi Rick,

Just want to confirm once more that you are still good with the date/time/location of your meeting with
Tom Vecchiolla. Please let me know if we need to make any changes.

Thank you,
Silini Herrmann
Raytheon Company
703-284-4201

   Rick Olson ---04/21/2016 05:28:01 AM---Sounds good. 0800 at Paul's in Georgetown. rgo Rick Olson

From: Rick Olson <rickscafedxb@yahoo.com>
To: Silini Herrmann <siherrmann@raytheon.com>
Date: 04/21/2016 05:28 AM
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 155 of 319




Subject: Re: Informal Introductory meeting




Sounds good. 0800 at Paul's in Georgetown.

rgo

Rick Olson



From: Silini Herrmann <siherrmann@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Wednesday, April 20, 2016 4:42 PM
Subject: Re: Informal Introductory meeting

Hi Rick,

Confirming Wednesday, April 27, 8:00 am at Paul's coffee shop on 1078 Wisconsin Avenue, NW,
Washington, DC. Please let me know if we need to adjust.

Silini Herrmann
Raytheon Company
703-284-4201

  Rick Olson ---04/19/2016 01:48:21 PM---Yes, that works. Please let me know the venue. rgo Rick
Olson

From: Rick Olson <rickscafedxb@yahoo.com>
To: Silini Herrmann <siherrmann@raytheon.com>
Date: 04/19/2016 01:48 PM
Subject: Re: Informal Introductory meeting




Yes, that works. Please let me know the venue.

rgo

Rick Olson



From: Silini Herrmann <siherrmann@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Tuesday, April 19, 2016 1:44 PM
Subject: Re: Informal Introductory meeting

Thank you for getting back to me. Would you be available April 27 at 8:00 am?
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 156 of 319




Silini Herrmann
Raytheon Company
703-284-4201

  Rick Olson ---04/19/2016 01:36:12 PM---Good Afternoon: Unfortunately, I am speaking at Harvard on
28th and out of town all day. I am free

From: Rick Olson <rickscafedxb@yahoo.com>
To: Silini Herrmann <siherrmann@raytheon.com>
Date: 04/19/2016 01:36 PM
Subject: Re: Informal Introductory meeting




Good Afternoon:

Unfortunately, I am speaking at Harvard on 28th and out of town all day. I am free on
the 29th if that would work for Mr. Vecchiolla.

Many thanks,

rgo

Rick Olson



From: Silini Herrmann <siherrmann@raytheon.com>
To: rickscafedxb@yahoo.com
Sent: Tuesday, April 19, 2016 11:30 AM
Subject: Informal Introductory meeting

Good afternoon Mr. Olson,

I've been asked to coordinate an informal introductory meeting between you and Mr. Tom Vecchiolla,
President of Raytheon International, Inc. Would you have some availability on Thursday, April 28, to
meet for coffee?

Thank you and I look forward to hearing back from you.

Silini Herrmann
Raytheon Company
703-284-4201
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 157 of 319




From:                           "Soo K Lagasse" <slagasse@raytheon.com>
Sent:                           Thu, 16 Jun 2016 16:04:56 -0500
To:                             "rickscafedxb@yahoo.com" <rickscafedxb@yahoo.com>
Subject:                        RE: Raytheon opportunity
Attachments:                    State Advocacy Job Description.docx


Rick,

Thank you for your updated information. Please find attached the job description. Mary Lou will be in
touch soon.

(See attached file: State Advocacy Job Description.docx)

Regards,

Soo K. Lagasse
Executive and Global Talent Acquisition
Human Resources and Security
Raytheon Company

+1 978-858-5283 (office)
+1 301-351-0735 (cell)
slagasse@raytheon.com

50 Apple Hill Dr.
Tewksbury, MA 01876 USA
www.raytheon.com

Follow Raytheon On




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the addressee), you should not use, copy or disclose to anyone this message or any information contained in this message. If you have
received this message in error, please so advise the sender by reply e-mail and delete this message. Thank you for your cooperation.

   "Olson, Richard G" ---06/16/2016 04:47:30 PM---Dear Soo: Good chatting with you. Am copying my
private email on the CC line above. Contact number

From: "Olson, Richard G" <olsonrg@state.gov>
To: "'Soo K Lagasse'" <slagasse@raytheon.com>
Cc: "Rick Olson (rickscafedxb@yahoo.com)" <rickscafedxb@yahoo.com>
Date: 06/16/2016 04:47 PM
Subject: RE: Raytheon opportunity




Dear Soo:

Good chatting with you. Am copying my private email on the CC line above. Contact
numbers are in the signature block below.
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 158 of 319




Best,
rgo

Rick Olson
Special Representative for Afghanistan and Pakistan
Department of State
Office: +1-202-647-4133
Mobile: +1-202-412-5951



From: Soo K Lagasse [mailto:slagasse@raytheon.com]
Sent: Thursday, June 16, 2016 12:38 PM
To: Olson, Richard G
Subject: RE: Raytheon opportunity


Rick,

I will call around 4:15-4:30 if that works for you. This will allow me to travel back to my office after my
3:00 meeting.

Thank you,

Soo K. Lagasse
Executive and Global Talent Acquisition
Human Resources and Security
Raytheon Company

+1 978-858-5283 (office)
+1 301-351-0735 (cell)
slagasse@raytheon.com

50 Apple Hill Dr.
Tewksbury, MA 01876 USA
www.raytheon.com

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This message contains information that may be confidential and privileged. Unless you are the addressee (or authorized to receive mail for
the addressee), you should not use, copy or disclose to anyone this message or any information contained in this message. If you have
received this message in error, please so advise the sender by reply e-mail and delete this message. Thank you for your cooperation.

  "Olson, Richard G" ---06/16/2016 11:44:04 AM---How about if we talk at 4:00 pm? Or anytime
between 4 and 5? Office number in my signature block be

From: "Olson, Richard G" <olsonrg@state.gov>
To: "'Soo K Lagasse'" <slagasse@raytheon.com>
Date: 06/16/2016 11:44 AM
Subject: RE: Raytheon opportunity
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 159 of 319




How about if we talk at 4:00 pm? Or anytime between 4 and 5?

Office number in my signature block below.
rgo

Rick Olson
Special Representative for Afghanistan and Pakistan
Department of State
Office: +1-202-647-4133


From: Soo K Lagasse [http://redirect.state.sbu/?url=mailto:slagasse@raytheon.com]
Sent: Thursday, June 16, 2016 11:08 AM
To: Olson, Richard G
Subject: Raytheon opportunity


Rick,

I hope all went well with your recent travels. I was hoping you might have some time today to catch up on
scheduling for in-person interviews with Raytheon in Rosslyn. Please let me know a good time to call
today. The only time I would not be free today would be from 3-4pm.

Thank you,

Soo K. Lagasse
Executive and Global Talent Acquisition
Human Resources and Security
Raytheon Company

+1 978-858-5283 (office)
+1 301-351-0735 (cell)
slagasse@raytheon.com

50 Apple Hill Dr.
Tewksbury, MA 01876 USA
www.raytheon.com

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received this message in error, please so advise the sender by reply e-mail and delete this message. Thank you for your cooperation.
  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 160 of 319




From: Olson, Richard G (olsonrg@state.gov)
Sent: Thursday, June 16, 2016 3:47:24 PM
To:   -Soo K Lagasse- (slagasse@raytheon.com)
Cc:   Rick Olson (rickscafedxb@yahoo.com) (rickscafedxb@yahoo.com)
Bcc:
Subject:    RE: Raytheon opportunity
Attachments:      image001.png- image002.jpg- image003.png- image004.jpg-
image005.gif- image006.gif

Dear Soo:

Good chatting with you. Am copying my private email on the CC line above.
Contact numbers are in the signature block below.

Best,

rgo

Rick Olson
Special Representative for Afghanistan and Pakistan
Department of State
Office: +1-202-647-4133
Mobile: +1-202-412-5951


From: Soo K Lagasse [mailto:slagasse@raytheon.com]
Sent: Thursday, June 16, 2016 12:38 PM
To: Olson, Richard G
Subject: RE: Raytheon opportunity


Rick,

I will call around 4:15-4:30 if that works for you.   This will allow me to
travel back to my office after my 3:00 meeting.

Thank you,

Soo K. Lagasse
Executive and Global Talent Acquisition
Human Resources and Security
Raytheon Company

+1 978-858-5283   (office)
+1 301-351-0735   (cell)
slagasse@raytheon.com<http://redirect.state.sbu/?url=mailto:slagasse@rayth
eon.com>

50 Apple Hill Dr.
Tewksbury, MA 01876 USA
www.raytheon.com<http://redirect.state.sbu/?url=http://www.raytheon.com/>

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[Inactive hide details for "Olson, Richard G" ---06/16/2016 11:44:04 AM---
How about if we talk at 4:00 pm? Or anytime between 4]"Olson, Richard G"
---06/16/2016 11:44:04 AM---How about if we talk at 4:00 pm? Or anytime
between 4 and 5? Office number in my signature block be

From: "Olson, Richard G" <olsonrg@state.gov<mailto:olsonrg@state.gov>>
To: "'Soo K Lagasse'"
<slagasse@raytheon.com<mailto:slagasse@raytheon.com>>
Date: 06/16/2016 11:44 AM
Subject: RE: Raytheon opportunity

________________________________



How about if we talk at 4:00 pm?   Or anytime between 4 and 5?

Office number in my signature block below.

rgo

Rick Olson
Special Representative for Afghanistan and Pakistan
Department of State
Office: +1-202-647-4133


From: Soo K Lagasse
[http://redirect.state.sbu/?url=mailto:slagasse@raytheon.com]
Sent: Thursday, June 16, 2016 11:08 AM
To: Olson, Richard G
Subject: Raytheon opportunity


Rick,
  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 162 of 319




I hope all went well with your recent travels. I was hoping you might
have some time today to catch up on scheduling for in-person interviews
with Raytheon in Rosslyn. Please let me know a good time to call today.
The only time I would not be free today would be from 3-4pm.

Thank you,

Soo K. Lagasse
Executive and Global Talent Acquisition
Human Resources and Security
Raytheon Company

+1 978-858-5283   (office)
+1 301-351-0735   (cell)
slagasse@raytheon.com<http://redirect.state.sbu/?url=http://redirect.state
.sbu/?url=http://redirect.state.sbu/?url=mailto:slagasse@raytheon.com>

50 Apple Hill Dr.
Tewksbury, MA 01876 USA
www.raytheon.com<http://redirect.state.sbu/?url=http://redirect.state.sbu/
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rect.state.sbu/?url=http://www.linkedin.com/companies/raytheon>

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this message. Thank you for your cooperation.
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From:                           "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                           Fri, 17 Jun 2016 12:35:26 -0500
To:                             "Mary Lou Smith" <SmithML@raytheon.com>
Cc:                             "slagasse@raytheon.com" <slagasse@raytheon.com>
Subject:                        Re: Foreign Policy and National Security Affairs Leader - Interview Availability -
Richard Olson



The 26th.

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Cc: "slagasse@raytheon.com" <slagasse@raytheon.com>
Sent: Friday, June 17, 2016 12:53 PM
Subject: Re: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson

Hi Rick,
Thanks for getting back to me. I will see what other dates/times we can arrange. When are you leaving
for Beijing?

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com

870 Winter Street
Waltham, MA 02451 USA
www.raytheon.com

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received this message in error, please so advise the sender by reply e-mail and delete this message. Thank you for your cooperation.



  Rick Olson ---06/17/2016 12:40:21 PM---Dear Mary Lou: Thanks for the email. I talked with Soo
yesterday and she had proposed Wednesday 23

From: Rick Olson <rickscafedxb@yahoo.com>
To: Mary Lou Smith <SmithML@raytheon.com>
Cc: "slagasse@raytheon.com" <slagasse@raytheon.com>
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 164 of 319




Date: 06/17/2016 12:40 PM
Subject: Re: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson




Dear Mary Lou:

Thanks for the email. I talked with Soo yesterday and she had
proposed Wednesday 23 June from 1430 to 1600 -- is that slot no
longer available? I ask because I will in transit back to the US
from Beijing on the 29th, so I cannot make that date.

I have received the link with the employment application and will
fill out right away.

Many thanks.

Best,


rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: rickscafedxb@yahoo.com
Sent: Friday, June 17, 2016 11:15 AM
Subject: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson

Hi Richard,

I work with Soo Lagasse at Raytheon. Soo has let me know that she has spoken with you and that I
would be in touch to coordinate interviews with you at our Rosslyn, VA office for our Foreign Policy and
National Security Affairs Leader position.

Would you be availability on Wednesday, June 29th from 2:30-4:00 ET to meet with members of
Raytheon’s Business Development Leadership Team at our Rosslyn office? If you could also provide me
with the best number to reach you, that would be great. When I hear back from you I will follow-up with
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 165 of 319




details.

You will also receive a separate email from HireRight with a link for the Raytheon employment
application. We would ask that you complete the application as soon as possible so any potential
conflicts of interest may be identified and resolved in advance. Below is a copy of the email from
HireRight with the link for the Raytheon Application.

We are pleased that you are exploring employment opportunities with Raytheon Company. If you have
any questions or require additional information, please contact me at 781.522.5867 or Soo Lagasse at
978.858.5283.

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com

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From: HireRight Customer Support (noreply@hireright.com)
Sent: Sunday, June 19, 2016 4:05:32 PM
To:   rickscafedxb@yahoo.com (rickscafedxb@yahoo.com)
Cc:
Bcc:
Subject:    Your employment application has been received

Raytheon has received your online employment application. If you have any
technical questions regarding your application, please contact HireRight
Customer Service at 1-800-400-2761 between 5 a.m. and 5 p.m. Pacific time.
A Raytheon representative will contact you if they have any questions
regarding your consideration for employment. Thank you.
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 167 of 319




From:                           "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                           Tue, 21 Jun 2016 12:07:50 -0500
To:                             "Mary Lou Smith" <SmithML@raytheon.com>
Subject:                        Re: Foreign Policy and National Security Affairs Leader - Interview Availability -
Richard Olson



Dear Mary Lou:

Unfortunately, I will now not be back in Washington until late on
1 July.

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Tuesday, June 21, 2016 9:58 AM
Subject: Re: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson

Hi Rick,
Would you be able to come on Thursday, June 30th at 3 pm?

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com

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   Rick Olson ---06/17/2016 01:35:30 PM---The 26th. rgo Rick Olson

From: Rick Olson <rickscafedxb@yahoo.com>
To: Mary Lou Smith <SmithML@raytheon.com>
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 168 of 319




Cc: "slagasse@raytheon.com" <slagasse@raytheon.com>
Date: 06/17/2016 01:35 PM
Subject: Re: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson




The 26th.

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Cc: "slagasse@raytheon.com" <slagasse@raytheon.com>
Sent: Friday, June 17, 2016 12:53 PM
Subject: Re: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson

Hi Rick,
Thanks for getting back to me. I will see what other dates/times we can arrange. When are you leaving
for Beijing?

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
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  Rick Olson ---06/17/2016 12:40:21 PM---Dear Mary Lou: Thanks for the email. I talked with Soo
yesterday and she had proposed Wednesday 23

From: Rick Olson <rickscafedxb@yahoo.com>
To: Mary Lou Smith <SmithML@raytheon.com>
Cc: "slagasse@raytheon.com" <slagasse@raytheon.com>
Date: 06/17/2016 12:40 PM
Subject: Re: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 169 of 319




Dear Mary Lou:

Thanks for the email. I talked with Soo yesterday and she had
proposed Wednesday 23 June from 1430 to 1600 -- is that slot no
longer available? I ask because I will in transit back to the US
from Beijing on the 29th, so I cannot make that date.

I have received the link with the employment application and will
fill out right away.

Many thanks.

Best,


rgo

Rick Olson



From: Mary Lou Smith <SmithML@raytheon.com>
To: rickscafedxb@yahoo.com
Sent: Friday, June 17, 2016 11:15 AM
Subject: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson

Hi Richard,

I work with Soo Lagasse at Raytheon. Soo has let me know that she has spoken with you and that I
would be in touch to coordinate interviews with you at our Rosslyn, VA office for our Foreign Policy and
National Security Affairs Leader position.

Would you be availability on Wednesday, June 29th from 2:30-4:00 ET to meet with members of
Raytheon’s Business Development Leadership Team at our Rosslyn office? If you could also provide me
with the best number to reach you, that would be great. When I hear back from you I will follow-up with
details.

You will also receive a separate email from HireRight with a link for the Raytheon employment
application. We would ask that you complete the application as soon as possible so any potential
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 170 of 319




conflicts of interest may be identified and resolved in advance. Below is a copy of the email from
HireRight with the link for the Raytheon Application.

We are pleased that you are exploring employment opportunities with Raytheon Company. If you have
any questions or require additional information, please contact me at 781.522.5867 or Soo Lagasse at
978.858.5283.

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com

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From:                           "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                           Tue, 21 Jun 2016 12:23:12 -0500
To:                             "Mary Lou Smith" <SmithML@raytheon.com>
Subject:                        Re: Foreign Policy and National Security Affairs Leader - Interview Availability -
Richard Olson



Yes, that works.

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Tuesday, June 21, 2016 1:14 PM
Subject: Re: Foreign Policy and National Security Affairs Leader - Interview Availability - Richard Olson

Hi Rick,
If I can move some things around, would you be able to come on Friday 6/24 at 2:30?

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
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From:                           "Mary Lou Smith" <SmithML@raytheon.com>
Sent:                           Thu, 23 Jun 2016 13:37:43 -0500
To:                             "Rick Olson" <rickscafedxb@yahoo.com>
Subject:                        Foreign Policy and National Security Affairs Leader - Interview Confirmation -
Richard Olson
Attachments:                    Raytheon Corporate Operations Washington.pdf


  Hi Rick, I just realized that I hadn't sent this confirmation to you.

  I am confirming your interviews at our Rosslyn Center (Arlington, VA) office to meet with members of
  Raytheon's Business Development Leadership Team for our Foreign Policy and National Security
  Affairs Leader position. This will be a panel interview with members of Raytheon's US and International
  Business Development and HR team.

  Location: Raytheon Company
  1100 Wilson Boulevard 20th Floor
  Arlington, VA 22209

  Friday, June 24, 2016
  2:30 - 4:00 pm

  Attached is an information sheet with directions and parking information.
  (See attached file: Raytheon Corporate Operations Washington.pdf)

  Please proceed to 20th Floor Guard’s Desk, where you will register as a visitor and obtain a visitor's
  badge. Please bring a Photo ID and to show the Guard. Please ask for Lola Aogo when you arrive.
  Her phone number is 703.284.4416.

  We are pleased that you are exploring employment opportunities with Raytheon Company. If you have
  any questions or require additional information, please contact me at 781.522.5867 or Soo Lagasse at
  978.858.781. We are looking forward to your visit!



Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com



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From:                           "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                           Tue, 5 Jul 2016 11:28:54 -0500
To:                             "Mary Lou Smith" <SmithML@raytheon.com>
Subject:                        Re: Foreign Policy and National Security Affairs Leader - - Richard Olson



I could do 0830.

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Tuesday, July 5, 2016 12:02 PM
Subject: Re: Foreign Policy and National Security Affairs Leader - - Richard Olson

Hi Rick,
I've been asked to see if you can come back to our Rosslyn office tomorrow to meet with Tom Vecchiolla,
VP Business Development and Tracy Gee, Director Human Resources.

Would be you available to come either at 8:30 or 12:00 for approximately 2:30-3 hours on Wednesday,
July 6th?

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com

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From:                   "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                   Tue, 5 Jul 2016 14:04:06 -0500
To:                     "Mary Lou Smith" <SmithML@raytheon.com>
Subject:                Re: Foreign Policy and National Security Affairs Leader - Interview Confirmation
for 7/6/16 Richard Olson



Acknowledging receipt. I will be there at 0830.

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Tuesday, July 5, 2016 2:28 PM
Subject: Foreign Policy and National Security Affairs Leader - Interview Confirmation for 7/6/16 Richard
Olson

Hi Rick,

I am confirming your interviews at our Rosslyn Center (Arlington, VA) office to meet with members of
Raytheon's Business Development Leadership Team for our Foreign Policy and National Security Affairs
Leader position. You will be meeting with Tom Vecchiolla, Vice President Business Development and
Tracy Gee, Director Human Resources. We also will have you meet with Jenna Ludden, Steve
Cooperider and Jason Colosky who were not able to meet with you before.

Location: Raytheon Company
1100 Wilson Boulevard 20th Floor
Arlington, VA 22209

Wednesday, July 6. 2016
8:30 am t11:30 am

Attached is an information sheet with directions and parking information.
(See attached file: Raytheon Corporate Operations Washington.pdf)

Please proceed to 20th Floor Guard’s Desk, where you will register as a visitor and obtain a visitor's
badge. Please bring a Photo ID and to show the Guard. Please ask for Lola Aogo when you arrive. Her
phone number is 703.284.4416.

We are pleased that you are exploring employment opportunities with Raytheon Company. If you have
any questions please contact me at 781.522.5867.
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 175 of 319




Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
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From:               "Rick Olson" <rickscafedxb@yahoo.com>
Sent:               Tue, 5 Jul 2016 18:19:53 -0500
To:                 "Rick Olson" <rickscafedxb@yahoo.com>; "Mary Lou Smith"
<SmithML@raytheon.com>
Subject:            Re: Foreign Policy and National Security Affairs Leader - Interview Confirmation
- Richard Olson


Mary: I was just summoned to the White House for a Presidential rollout tomorrow, I'm afraid I
have to cancel. I regret putting Tom out, but don't have much choice


Sent from Yahoo Mail for iPhone


On Thursday, June 23, 2016, 15:03, Rick Olson <rickscafedxb@yahoo.com> wrote:

 I'll be there, thanks.

 rgo

 Rick Olson




   From: Mary Lou Smith <SmithML@raytheon.com>
   To: Rick Olson <rickscafedxb@yahoo.com>
   Sent: Thursday, June 23, 2016 2:37 PM
   Subject: Foreign Policy and National Security Affairs Leader - Interview
   Confirmation - Richard Olson


   Hi Rick, I just realized that I hadn't sent this confirmation to you.

   I am confirming your interviews at our Rosslyn Center (Arlington, VA) office to
   meet with members of Raytheon's Business Development Leadership Team for
   our Foreign Policy and National Security Affairs Leader position. This will be a
   panel interview with members of Raytheon's US and International Business
   Development and HR team.

   Location: Raytheon Company
   1100 Wilson Boulevard 20th Floor
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 177 of 319




Arlington, VA 22209

Friday, June 24, 2016
2:30 - 4:00 pm

Attached is an information sheet with directions and parking information.
(See attached file: Raytheon Corporate Operations Washington.pdf)

Please proceed to 20th Floor Guard’s Desk, where you will register as a visitor
and obtain a visitor's badge. Please bring a Photo ID and to show the Guard.
Please ask for Lola Aogo when you arrive. Her phone number is
703.284.4416.

We are pleased that you are exploring employment opportunities with
Raytheon Company. If you have any questions or require additional
information, please contact me at 781.522.5867 or Soo Lagasse at
978.858.781. We are looking forward to your visit!

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com

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Waltham, MA 02451 USA
www.raytheon.com

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Thank you for your cooperation.
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 178 of 319




From:                           "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                           Wed, 6 Jul 2016 12:02:17 -0500
To:                             "Mary Lou Smith" <SmithML@raytheon.com>
Subject:                        Re: Foreign Policy and National Security Affairs Leader - Interview Confirmation
- Richard Olson



Dear Mary Lou:

19 July from 1330 to 1430 works best for me.

Many thanks,

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Wednesday, July 6, 2016 9:45 AM
Subject: Re: Foreign Policy and National Security Affairs Leader - Interview Confirmation - Richard Olson

Hi Rick,
Will one of these times work for you to see Tom? These are times he's available. I will try and schedule
you to see Tracy Gee before or after.

July 18 - 12:00-2:00 and 3:00-5:00
July 19 - 1:30-2:30

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com

870 Winter Street
Waltham, MA 02451 USA
www.raytheon.com

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     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 179 of 319




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    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 180 of 319




From:                   "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                   Fri, 8 Jul 2016 06:39:16 -0500
To:                     "Mary Lou Smith" <SmithML@raytheon.com>
Subject:                Re: Foreign Policy and National Security Affairs Leader - Interview Confirmation
for 7/19/16 Richard Olson


Many thanks, I'll be there.


Sent from Yahoo Mail for iPhone


On Thursday, July 7, 2016, 21:03, Mary Lou Smith <SmithML@raytheon.com> wrote:

 Hi Rick,

 I am confirming the rescheduled interviews at our Rosslyn Center (Arlington, VA) office
 to meet with members of Raytheon's Business Development Leadership Team for
 our Foreign Policy and National Security Affairs Leader position. You will be meeting
 with Tom Vecchiolla, Vice President Business Development and Tracy Gee, Director
 Human Resources. If scheduling permits we also will have you meet with Jenna Ludden,
 Steve Cooperider and Jason Colosky who were not able to meet with you before.

 Location: Raytheon Company
 1100 Wilson Boulevard 20th Floor
 Arlington, VA 22209

 Tiuesday, July 19. 2016
 1:30 pm to 3:30 pm

 Attached is an information sheet with directions and parking information.
 (See attached file: Raytheon Corporate Operations Washington.pdf)

 Please proceed to 20th Floor Guard’s Desk, where you will register as a visitor and
 obtain a visitor's badge. Please bring a Photo ID and to show the Guard. Please ask for
 Lola Aogo when you arrive. Her phone number is 703.284.4416.

 We are pleased that you are exploring employment opportunities with Raytheon
 Company. If you have any questions please contact me at 781.522.5867.


 Regards,

 Mary Lou Smith
 Sr. HR Specialist -TA Coordinator
 Human Resources Talent Acquisition
  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 181 of 319




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Raytheon Company

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SmithML@raytheon.com


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delete this message. Thank you for your cooperation.
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 182 of 319




From:                           "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                           Wed, 20 Jul 2016 15:57:57 -0500
To:                             "Mary Lou Smith" <SmithML@raytheon.com>
Subject:                        Re: Foreign Policy and National Security Affairs Leader - meeting with John
Harris



I could do 10-11, I might be a few minutes late. Have a meeting at
State that should end by 0945.

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: Rick Olson <rickscafedxb@yahoo.com>
Sent: Wednesday, July 20, 2016 4:55 PM
Subject: Re: Foreign Policy and National Security Affairs Leader - meeting with John Harris

Hi Rick,
Would you be available to come in on Friday morning July 22 to meet with John Harris, Vice President
Business Development and Chief Executive Officer Raytheon International, Inc. John is available
between 9 -11 am, and would see you for about an hour. If Friday doesn't work the next time that John is
in his DC office is the week of August 1.


Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
Global Headquarters
Raytheon Company

+1 781.522.5867 (office)
+1 339.223.1154 (cell)
SmithML@raytheon.com

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     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 183 of 319




From:                   "Rick Olson" <rickscafedxb@yahoo.com>
Sent:                   Thu, 21 Jul 2016 10:47:19 -0500
To:                     "Mary Lou Smith" <SmithML@raytheon.com>
Subject:                Re: Foreign Policy and National Security Affairs Leader - Interview Confirmation
for 7/22/16 Richard Olson



Thanks, look forward to it.

rgo

Rick Olson




From: Mary Lou Smith <SmithML@raytheon.com>
To: rickscafedxb@yahoo.com
Sent: Thursday, July 21, 2016 10:58 AM
Subject: Foreign Policy and National Security Affairs Leader - Interview Confirmation for 7/22/16 Richard
Olson

Hi Rick,

I am confirming your meeting at our Rosslyn Center (Arlington, VA) office to meet with John Harris, Vice
President Business Development and Chief Executive Officer Raytheon International, Inc. to discuss
our Foreign Policy and National Security Affairs Leader position.

Location: Raytheon Company
1100 Wilson Boulevard 20th Floor
Arlington, VA 22209

Friday, July 22, 2016
10:15-11:00 am

Attached is an information sheet with directions and parking information.
(See attached file: Raytheon Corporate Operations Washington.pdf)

Please proceed to 20th Floor Guard’s Desk, where you will register as a visitor and obtain a visitor's
badge. Please bring a Photo ID and to show the Guard. Please ask for Lola Aogo when you arrive. Her
phone number is 703.284.4416.

We are pleased that you are exploring employment opportunities with Raytheon Company. If you have
any questions please contact me at 781.522.5867.

Regards,

Mary Lou Smith
Sr. HR Specialist -TA Coordinator
Human Resources Talent Acquisition
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 184 of 319




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   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 185 of 319




                                   POSITION DESCRIPTION

Position Title:       VP, Foreign Policy and National Security Affairs
                      Raytheon International, Inc. (RII)

Reporting to the President of Raytheon International, Inc. (RII), the VP, Foreign Policy and
National Security Affairs is responsible for developing and maintaining relationships with senior
officials at the Department of State, executive branch officials in Washington and other senior
US diplomatic officials overseas in support of Raytheon’s key international pursuits. The
incumbent is responsible for engaging with and advising RII and business teams on foreign
policy and the political environment of key countries as it relates to Raytheon priorities in key
countries. This position resides in Rosslyn, VA.

General Responsibilities:
 Develop and maintain relationships with senior officials at the Department of State,
  Department of Defense, Department of Commerce, and National Security Staff
 Advocate with executive branch officials and senior US diplomatic officials overseas in
  support of Raytheon’s key international pursuits
 Expand Raytheon relationships with international customers and increase the pipeline for
  international bookings and sales
 Serve as RII’s principal point of contact for Washington-based strategic consultants and on
  key international business councils and associations.
 Support Raytheon pursuits and pipeline development in the Middle East and North Africa,
  and Asia regions
 Partner to develop business unit capture strategies; identify potential policy challenges and
  develop effective responses to mitigate the challenges
 Assist in creation and implementation of country strategies for priority countries
 Provide access and prioritize messaging and engagement for Raytheon leaders to engage
  senior U.S. Government officials on Raytheon top priority international business issues
 Provide insights, implications, and recommended Raytheon actions in response to U.S.
  foreign policy initiatives, geopolitical events, and associated changes in the international
  environment
 Integrate and lead cross-Raytheon government advocacy for international business


Level of Access:
 White House (National Security Council): Special Assistant to the President, Senior
   Director, Director
 Executive Departments: Assistant Secretary, Principal Deputy Assistant Secretary, Deputy
   Assistant Secretary, Office Director
 Foreign Missions: Ambassador, Deputy Chief of Mission, Defense Attache


Qualifications:
 Fourteen or more years in progressively responsible leadership positions
 Bachelor’s degree in relevant functional discipline
 Direct knowledge of key customers; excellent working relationships with senior White House
  officials and US diplomats, U.S. embassy teams, and industry executives and strategy
  consultants
 Demonstrated success in strategic planning, developing strategies for identifying potential
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 186 of 319




    growth opportunities; ability to analyze and evaluate missions, requirements and capabilities
   Ability to transfer knowledge and guide program teams to develop and execute pipeline
    generation, integrated solutions and cross-selling strategies for company




                                                2
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 187 of 319




             EXHIBIT II
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 188 of 319




From:            "Rick Olson" <rickscafedxb@yahoo.com>
Sent:            Sun, 7 Aug 2016 14:51:57 -0500
To:              "thomas_a_vecchiola@raytheon.com" <thomas_a_vecchiola@raytheon.com>
Subject:         Follow Up (From Rick Olson)



Dear Tom:

Last time we spoke I promised to consider further the points you
made. I have done so, but I'm afraid my decision remains the
same.

I thank you for considering me for the position, and wish you the
best in finding a terrific candidate, which I am sure you will do.

Again, many thanks.

Best,

rgo

Rick Olson
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 189 of 319




            EXHIBIT JJ
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 190 of 319
7/21/2019                                          Yahoo Mail - Re: Assignment at An End




     Re: Assignment at An End

     From: Rick Olson (rickscafedxb@yahoo.com)

     To:    imaad.zuberi@mindspring.com

     Date: Wednesday, September 16, 2015, 09:53 PM EDT




     Yes, I will send an email. Will I join the Cohen qroup? Don't know, am
     keeping all my options open.

     rgo

     Rick Olson




      From: imaad zuberi <imaad.zuberi@mindspring.com>
      To: Ambassordor Rick Olson - personal <rickscafedxb@yahoo.com>
      Sent: Thursday, September 17, 2015 5:36AM
      Subject: FW: Assignment at An End

      Please read the email below. You will be sending out same email that you are joining The Cohen
      Group?

      From: Smith, James B [mailto:SmithJB2@state.gov]
      Sent: Sunday, September 22, 2013 2:08 AM·
      To: jimsmithf15@yahoo.com; janet smith <jbs_newhampshire@yahoo.com>
      Subject: Assignment at An End

      Dear Friends and Colleagues,

      I just completed the humbling experience of going through the many addresses of people who have
      made an impact on our experience here in the Kingdom of Saudi Arabia these last four years. Some of
      you are long time friends who provided encouragement in the challenging ,days of the assignment; some
      of you are new found friends who welcomed and mentored us or built business, education or medical
      relationships in the Kingdom. Regardless, Janet and I offer our profound thanks for the support and
      friendship.

      I end my tenure as U.S. Ambassador this week. I can say without question that the U.S.-Saudi bilateral
      relationship is stronger; U.S. trade has doubled in these last four years, and the people-to-people
      relationships have grown immeasurably. Each of you has been a part of the building of that
      relationship, and for your engagement in the Kingdom, I offer my profound thanks. Saudi Arabia is as
      strong an ally as the United States could hope for in the region, and it has been my privilege to be a part
      of that relationship.

      Janet and I hope to stay connected to the Kingdom, and with you as well. Our home email addresses
      are posted above.

      I will be joining The Cohen Group on 15 October in the Washington, D.C., office. My contact information
      there is jsmith@cohengrouP-.net. Office: 202-863-7216. Cell: 603-858-6566.


                                                                                                                   1/2
                                                                                                       ROMH00000598
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 191 of 319
7/21/2019                                         Yahoo Mail - Re: Assignment at An End



       Until our paths cross again, I offer my warmest Maasalama.

      Jim Smith
      U.S. Ambassador (ret)
      Effective 30 Sep 2013

       PERSONAL
       This email is UNCLASSIFIED.




                                                                                                         2/2
                                                                                          ROMH00000599
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 192 of 319




          EXHIBIT KK
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 193 of 319




1    TRACY L. WILKISON
     United States Attorney
2    SCOTT M. GARRINGER
     Assistant United States Attorney
3    Chief, Criminal Division
     DANIEL J. O’BRIEN (Cal. Bar No. 141720)
4    Assistant United States Attorney
     Deputy Chief, Public Corruption & Civil Rights Section
5    Central District of California
          1500 United States Courthouse
6         312 North Spring Street
          Los Angeles, California 90012
7         Telephone: (213) 894-2468
          Facsimile: (213) 894-7631
8         E-mail:    daniel.obrien@usdoj.gov
     EVAN N. TURGEON
9    Trial Attorney
          U.S. Department of Justice
10        National Security Division
          Counterintelligence & Export Control Section
11
     Attorneys for Plaintiff
12   UNITED STATES OF AMERICA

13                          UNITED STATES DISTRICT COURT

14                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,             No. CR

16             Plaintiff,                  DOCUMENT

17                  v.                     [COOPERATION PLEA AGREEMENT]

18   RICHARD GUSTAVE OLSON, JR.,           [UNDER SEAL]
19             Defendant.

20

21        1.   This constitutes the plea agreement between Richard Gustave
22   Olson, Jr. (“defendant”), the United States Attorney’s Office for the
23   Central District of California (“the USAO”), and the United States
24   Department of Justice (“DOJ”) in the above-captioned case.        This
25   agreement is limited to the USAO and DOJ and cannot bind any other
26   federal, state, local, or foreign prosecuting, enforcement,
27   administrative, or regulatory authorities.
28
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 194 of 319




1                             DEFENDANT’S OBLIGATIONS

2         2.   Defendant agrees to:

3              a.   Give up the right to indictment by a grand jury and,

4    at the earliest opportunity requested by the USAO and provided by the

5    Court, appear and plead guilty to a two-count information in the form

6    attached to this agreement as Exhibit A or a substantially similar

7    form, which charges defendant with violations of 18 U.S.C. §

8    1001(a)(3), Use of a False Document, and 18 U.S.C. §§ 207(f)(1)(B),
9    216(a)(1), Aiding and Assisting a Foreign Government with Intent to
10   Influence Decisions of United States Officers.

11             b.   Not contest facts agreed to in this agreement.

12             c.   Abide by all agreements regarding sentencing contained

13   in this agreement.

14             d.   Appear for all court appearances, surrender as ordered

15   for service of sentence, obey all conditions of any bond, and obey

16   any other ongoing court order in this matter.

17             e.   Not commit any crime; however, offenses that would be

18   excluded for sentencing purposes under United States Sentencing
19   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

20   within the scope of this agreement.

21             f.   Be truthful at all times with the United States

22   Probation and Pretrial Services Office and the Court.

23             g.   Pay the applicable special assessments at or before

24   the time of sentencing unless defendant has demonstrated a lack of

25   ability to pay such assessments.

26        3.   Defendant further agrees to cooperate fully with the USAO,

27   DOJ, and the Federal Bureau of Investigation (“FBI”), and, as

28   directed by the USAO and DOJ, any other federal, state, local, or

                                        2
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 195 of 319




1    foreign prosecuting, enforcement, administrative, or regulatory

2    authority.   This cooperation requires defendant to:

3              a.    Respond truthfully and completely to all questions

4    that may be put to defendant, whether in interviews, before a grand

5    jury, or at any trial or other court proceeding.

6              b.    Attend all meetings, grand jury sessions, trials or

7    other proceedings at which defendant’s presence is requested by the

8    USAO or compelled by subpoena or court order.
9              c.    Produce voluntarily all documents, records, or other
10   tangible evidence relating to matters about which the USAO, or its

11   designee, inquires.

12        4.   For purposes of this agreement: (1) “Cooperation

13   Information” shall mean any statements made, or documents, records,

14   tangible evidence, or other information provided, by defendant

15   pursuant to defendant’s cooperation under this agreement or

16   statements made by defendant pursuant to letter agreements previously

17   entered into by the parties with respect to meetings held on October

18   30, 2020 and March 4, 2021 (the “Letter Agreements”); and (2) “Plea
19   Information” shall mean any statements made by defendant, under oath,

20   at the guilty plea hearing and the agreed to factual basis statement

21   in this agreement.

22                            THE USAO’S OBLIGATIONS

23        5.   The USAO agrees to:

24             a.    Not contest facts agreed to in this agreement.

25             b.    Abide by all agreements regarding sentencing contained

26   in this agreement.

27             c.    At the time of sentencing, provided that defendant

28   demonstrates an acceptance of responsibility for the offenses up to

                                        3
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 196 of 319




1    and including the time of sentencing, recommend a two-level reduction

2    in the applicable Sentencing Guidelines offense level, pursuant to

3    U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

4    additional one-level reduction if available under that section.

5              d.     Not further criminally prosecute defendant for

6    violations of 18 U.S.C. § 201(c)(1)(B), Public Official Receiving

7    Illegal Gratuity, related to September 2015 payments totaling $25,000

8    to a person with whom defendant OLSON had a personal relationship and
9    18 U.S.C. § 1519, Destruction of Documents, arising out of the
10   deletion of emails pertaining to work performed for the Qatar

11   Government.    Defendant understands that the USAO is free to

12   criminally prosecute defendant for any other unlawful past conduct or

13   any unlawful conduct that occurs after the date of this agreement.

14   Defendant agrees that at the time of sentencing the Court may

15   consider the uncharged conduct in determining the applicable

16   Sentencing Guidelines range, the propriety and extent of any

17   departure from that range, and the sentence to be imposed after

18   consideration of the Sentencing Guidelines and all other relevant
19   factors under 18 U.S.C. § 3553(a).

20        6.   Recommend that defendant be sentenced to a term of

21   imprisonment no higher than the low end of the applicable Sentencing

22   Guidelines range.    For purposes of this agreement, the low end of the

23   Sentencing Guidelines range is that defined by the Sentencing Table

24   in U.S.S.G. Chapter 5, Part A, without regard to reductions in the

25   term of imprisonment that may be permissible through the substitution

26   of community confinement or home detention as a result of the offense

27   level falling within Zone B or Zone C of the Sentencing Table.

28        7.   The USAO further agrees:

                                        4
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 197 of 319




1              a.   Not to offer as evidence in its case-in-chief in the

2    above-captioned case or any other criminal prosecution that may be

3    brought against defendant by the USAO, or in connection with any

4    sentencing proceeding in any criminal case that may be brought

5    against defendant by the USAO, any Cooperation Information.

6    Defendant agrees, however, that the USAO may use both Cooperation

7    Information and Plea Information: (1) to obtain and pursue leads to

8    other evidence, which evidence may be used for any purpose, including
9    any criminal prosecution of defendant; (2) to cross-examine defendant
10   should defendant testify, or to rebut any evidence offered, or

11   argument or representation made, by defendant, defendant’s counsel,

12   or a witness called by defendant in any trial, sentencing hearing, or

13   other court proceeding; and (3) in any criminal prosecution of

14   defendant for false statement, obstruction of justice, or perjury.

15             b.   Not to use Cooperation Information against defendant

16   at sentencing for the purpose of determining the applicable guideline

17   range, including the appropriateness of an upward departure, or the

18   sentence to be imposed, and to recommend to the Court that
19   Cooperation Information not be used in determining the applicable

20   guideline range or the sentence to be imposed.      Defendant

21   understands, however, that Cooperation Information will be disclosed

22   to the United States Probation and Pretrial Services Office and the

23   Court, and that the Court may use Cooperation Information for the

24   purposes set forth in U.S.S.G § 1B1.8(b) and for determining the

25   sentence to be imposed.

26             c.   In connection with defendant’s sentencing, to bring to

27   the Court’s attention the nature and extent of defendant’s

28   cooperation.

                                        5
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 198 of 319




1              d.   If the USAO determines, in its exclusive judgment,

2    that defendant has both complied with defendant’s obligations under

3    paragraphs 2 and 3 above and provided substantial assistance to law

4    enforcement in the prosecution or investigation of another

5    (“substantial assistance”), to move the Court pursuant to U.S.S.G.

6    § 5K1.1 to fix an offense level and corresponding guideline range

7    below that otherwise dictated by the sentencing guidelines, and to

8    recommend a term of imprisonment within this reduced range.
9               DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION
10        8.   Defendant understands the following:

11             a.   Any knowingly false or misleading statement by

12   defendant will subject defendant to prosecution for false statement,

13   obstruction of justice, and perjury and will constitute a breach by

14   defendant of this agreement.

15             b.   Nothing in this agreement requires the USAO or any

16   other prosecuting, enforcement, administrative, or regulatory

17   authority to accept any cooperation or assistance that defendant may

18   offer, or to use it in any particular way.
19             c.   Defendant cannot withdraw defendant’s guilty pleas if

20   the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a

21   reduced guideline range or if the USAO makes such a motion and the

22   Court does not grant it or if the Court grants such a USAO motion but

23   elects to sentence above the reduced range.

24             d.   At this time the USAO makes no agreement or

25   representation as to whether any cooperation that defendant has

26   provided or intends to provide constitutes or will constitute

27   substantial assistance.    The decision whether defendant has provided

28

                                        6
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 199 of 319




1    substantial assistance will rest solely within the exclusive judgment

2    of the USAO.

3               e.   The USAO’s determination whether defendant has

4    provided substantial assistance will not depend in any way on whether

5    the government prevails at any trial or court hearing in which

6    defendant testifies or in which the government otherwise presents

7    information resulting from defendant’s cooperation.

8                             NATURE OF THE OFFENSES
9         9.    Defendant understands that for defendant to be guilty of
10   the crime charged in Count One, Use of a False Document in violation

11   of 18 U.S.C. § 1001(a)(3), the following must be true:

12              a.   First, the defendant used a writing that contained a

13   false statement;

14              b.   Second, the writing was made in a matter within the

15   jurisdiction of the U.S. Department of State and Office of Government

16   Ethics;

17              c.   Third, the defendant acted willfully, that is, the

18   defendant acted deliberately and with knowledge both that the
19   statement was untrue and that his or her conduct was unlawful; and

20              d.   Fourth, the writing was material to the activities or

21   decisions of the U.S. Department of State and Office of Government

22   Ethics; that is, it had a natural tendency to influence, or was

23   capable of influencing, an agency’s decisions or activities.

24        10.   Defendant understands that for defendant to be guilty of

25   the crime charged in Count Two, Aiding and Assisting a Foreign

26   Government with Intent to Influence Decisions of United States

27   Officers in violation of 18 U.S.C. §§ 207(f)(1)(B) and 216(a)(1), the

28   government must prove the following:

                                        7
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 200 of 319




1                a.   First, during his last year of employment with the

2    U.S. Government, defendant’s basic pay was over $160,112 (thereby

3    making him a covered person under 18 U.S.C. § 207(c));

4                b.   Second, defendant knowingly aided or advised a foreign

5    entity, that is, the government of Qatar;

6                c.   Third, defendant intended to influence a U.S.

7    governmental decision or decisions through his aiding or advising;

8    and
9                d.   Fourth, defendant’s prohibited activities occurred
10   within one year after leaving the government job referenced above.

11                                   PENALTIES

12         11.   Defendant understands that the statutory maximum sentence

13   that the Court can impose for a violation of Title 18, United States

14   Code, Section 1001(a)(3), is: five years’ imprisonment; a three-year

15   period of supervised release; a fine of $250,000 or twice the gross

16   gain or gross loss resulting from the offense, whichever is greatest;

17   and a mandatory special assessment of $100.

18         12.   Defendant understands that the statutory maximum sentence
19   that the Court can impose for a violation of Title 18, United States

20   Code, Sections 207(f)(1)(B) and 216(a)(1) is: one year’ imprisonment;

21   a one-year period of supervised release; a fine of $100,000 or twice

22   the gross gain or gross loss resulting from the offense, whichever is

23   greatest; and a mandatory special assessment of $25.

24         13.   Defendant understands, therefore, that the total maximum

25   sentence for all offenses to which defendant is pleading guilty is:

26   six years’ imprisonment; a three-year period of supervised release; a

27   fine of $350,000 or twice the gross gain or gross loss resulting from

28

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 201 of 319




1    the offenses, whichever is greatest; and a mandatory special

2    assessment of $125.

3         14.   Defendant understands that supervised release is a period

4    of time following imprisonment during which defendant will be subject

5    to various restrictions and requirements.      Defendant understands that

6    if defendant violates one or more of the conditions of any supervised

7    release imposed, defendant may be returned to prison for all or part

8    of the term of supervised release authorized by statute for the
9    offense that resulted in the term of supervised release, which could
10   result in defendant serving a total term of imprisonment greater than

11   the statutory maximum stated above.

12        15.   Defendant understands that, by pleading guilty, defendant

13   may be giving up valuable government benefits and valuable civic

14   rights, such as the right to vote, the right to possess a firearm,

15   the right to hold office, and the right to serve on a jury.

16   Defendant understands that one of the offense to which he is pleading

17   guilty is a felony and that it is a federal crime for a convicted

18   felon to possess a firearm or ammunition.      Defendant understands that
19   the convictions in this case may also subject defendant to various

20   other collateral consequences, including but not limited to

21   revocation of probation, parole, or supervised release in another

22   case and suspension or revocation of a professional license.

23   Defendant understands that unanticipated collateral consequences will

24   not serve as grounds to withdraw defendant’s guilty pleas.

25        16.   Defendant understands that, if defendant is not a United

26   States citizen, the felony convictions in this case may subject

27   defendant to: removal, also known as deportation, which may, under

28   some circumstances, be mandatory; denial of citizenship; and denial

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 202 of 319




1    of admission to the United States in the future.       The Court cannot,

2    and defendant’s attorney also may not be able to, advise defendant

3    fully regarding the immigration consequences of the felony conviction

4    in this case.   Defendant understands that unexpected immigration

5    consequences will not serve as grounds to withdraw defendant’s guilty

6    pleas.

7                                  FACTUAL BASIS

8         17.   Defendant admits that defendant is, in fact, guilty of the
9    offenses to which defendant is agreeing to plead guilty.        Defendant
10   and the USAO agree to the statement of facts provided below and agree

11   that this statement of facts is sufficient to support pleas of guilty

12   to the charges described in this agreement and to establish the

13   Sentencing Guidelines factors set forth in paragraph 19 below but is

14   not meant to be a complete recitation of all facts relevant to the

15   underlying criminal conduct or all facts known to either party that

16   relate to that conduct.

17        False Statement

18        On January 27, 2015, while serving as the U.S. Ambassador to
          Pakistan, defendant received from a third-party, first-class,
19
          round trip airfare tickets from New Mexico, via Los Angeles, to
20        London and lodging at a hotel in London for the purpose of
          attending a job interview. Defendant also received from the
21        same third-party lodging at a hotel in London for the period
          January 30 through February 2, 2015. The value of the airfare
22        exceeded $18,000 and the value of the hotel accommodation
          exceeded $1,000.
23

24        As a senior U.S. Government official, defendant was required to
          file public financial disclosure reports on an annual basis.
25        The annual reports, known as OGE Forms 278, required the
          employee to disclose financial matters including income, assets,
26        liabilities, outside employment arrangements, gifts,
          reimbursements, and travel expenses.
27

28        On May 12, 2016, defendant electronically signed and submitted
          his annual OGE Form 278 for the 2015 calendar year, in which he
                                     10
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 203 of 319




1      certified his answers were “true, complete and correct to the
       best of my knowledge.” In this OGE Form 278, defendant
2      knowingly and willfully failed to disclose, as required, the
       travel benefits he received, namely, the roundtrip airfare
3
       between New Mexico and London and the lodging in London
4      collectively worth over $19,000.

5      On September 1, 2016, the OGE Form 278 was signed by a
       Designated Ethics Official for the U.S. State Department who
6      opined, “On the basis of information contained in this report, I
       conclude that the filer is in compliance with applicable laws
7      and regulations.”
8
       Cooling-Off Period Violations
9
       From November 17, 2015 through November 30, 2016, defendant
10     served as the U.S. Special Representative for Afghanistan and
       Pakistan and received a base salary of $182,328. Defendant’s
11     position and salary placed him within a category of senior
12     government officials subject to a one-year cooling-off period
       that prohibited him from representing any foreign entity before
13     any employee of any agency of the United States, or from
       providing aid or advice to any foreign entity with the intent to
14     influence a decision of any employee of the United States.
15     Within the one-year cooling-off period after his November 30,
       2016 retirement, defendant provided aid and advice to the
16
       government of Qatar with the intent to influence decisions of
17     U.S. government officials.

18     Beginning on February 14, 2017, defendant participated in a
       lobbying effort to convince the U.S. Government to endorse the
19     establishment of U.S. Customs and Border Control preclearance
       facilities at Doha International Airport in Qatar. Defendant
20
       helped draft a proposal that was sent to the Qatar government
21     which explained how preclearance facilities could be achieved.
       Defendant provided “two elements to the proposal in terms of
22     selling this to Washington,” recommending that the Qataris
       leverage their close military partnership with the United States
23     and emphasize the positive experience the United States
       experienced with respect to the establishment of similar
24     preclearance facilities in Abu Dhabi.
25
       On or about June 6, 2017, defendant participated in a lobbying
26     effort to convince the U.S. Government to support Qatar in its
       efforts to oppose a blockade imposed upon it by its neighbors.
27     Defendant’s aid included recruiting a retired U.S. General (“the
       “General”) to join defendant OLSON in providing aid and advice
28

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     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 204 of 319




1      to Qatari government officials with the intent to influence U.S.
       foreign policy with respect to the Gulf Diplomatic Crisis.
2
       As part of his efforts to aid the Qatar Government, on June 6,
3
       2017, defendant recruited the General, who was working at a
4      Washington D.C. think tank, to enlist his support in the
       endeavor. On June 7, 2017, defendant met with the General, a
5      third party, and others a hotel in Washington, D.C. at which
       time the General explained how he would conduct the lobbying and
6      public relations campaign. On June 8, 2017, the third party
       agreed to pay for the expenses of defendant and the General to
7      travel to Doha to meet with the Emir and representatives of the
8      Qatar Government. At the time, defendant was being paid $20,000
       per month to provide services to the third party. The third
9      party agreed to pay the General a fee for his efforts.

10     On June 10, 2017, defendant and the General met with the Qatar
       Emir and other representatives of his government. Defendant and
11     the General told the Qatari government officials that they had
12     traveled to Qatar as private citizens, not on behalf of the U.S.
       government, but noted that they had connections with U.S.
13     government officials that placed them in a position to help
       Qatar.
14
       During the meetings, the General advised the Qatar government
15     officials to embrace U.S. involvement in resolving the crisis,
       accept President Trump’s offer to mediate, sign a pending deal
16
       to purchase U.S. F-15 fighter jets, and use the U.S. Al Udeid
17     Air Base in Qatar as leverage to exert influence over U.S.
       government officials. The Qatari officials were further advised
18     to compete with Saudi Arabia’s lobbying campaign in the U.S. and
       to use a full spectrum of information operations to control the
19     political narrative in the United States. The General informed
       the Qatar Government that they would use the U.S. National
20
       Security Advisor to further their efforts.
21
       From June 9 through June 15, 2017, with the defendant’s
22     knowledge, the General solicited the help of the National
       Security Advisor and his staff to support the Qatar’s position
23     with respect to the crisis. On June 15, 2017, defendant, the
       General, and a third party met with a senior Qatar Government
24     Official and informed him the U.S. National Security Advisor and
25     another senior U.S. government official had been briefed on
       their efforts to convince the United States to support Qatar’s
26     cause.

27     On June 16, 2017, the General reported to defendant, the third
       party, and a senior Qatar Government Official that he personally
28     asked the National Security Advisor to meet with senior Qatar
                                      12
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 205 of 319




1         officials and that while an “embassy request has to work its way
          up, our request will come down from above.”
2
          On June 28, 2017, defendant attended a dinner with the General,
3
          representatives of the Qatar Government, and members of Congress
4         in an effort to enlist Congress to support the Qatari cause.

5                               SENTENCING FACTORS

6         18.   Defendant understands that in determining defendant’s

7    sentence the Court is required to calculate the applicable Sentencing

8    Guidelines range and to consider that range, possible departures

9    under the Sentencing Guidelines, and the other sentencing factors set

10   forth in 18 U.S.C. § 3553(a).    Defendant understands that the

11   Sentencing Guidelines are advisory only, that defendant cannot have

12   any expectation of receiving a sentence within the calculated

13   Sentencing Guidelines range, and that after considering the

14   Sentencing Guidelines and the other § 3553(a) factors, the Court will

15   be free to exercise its discretion to impose any sentence it finds

16   appropriate up to the maximum set by statute for the crimes of

17   conviction.

18        19.   Defendant and the USAO agree to the following applicable

19   Sentencing Guidelines factors:

20        1001(a)(3) Base Offense Level         6     U.S.S.G. § 2B1.1

21        207(f) Base Offense Level             6     U.S.S.G. § 2C1.3

22        20.   Defendant and the USAO reserve the right to argue that

23   additional specific offense characteristics, adjustments, and

24   departures under the Sentencing Guidelines are appropriate.

25        21.   Defendant understands that there is no agreement as to

26   defendant’s criminal history or criminal history category.

27

28

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 206 of 319




1                         WAIVER OF CONSTITUTIONAL RIGHTS

2         22.   Defendant understands that by pleading guilty, defendant

3    gives up the following rights:

4               a.   The right to persist in a plea of not guilty.

5               b.   The right to a speedy and public trial by jury.

6               c.   The right to be represented by counsel – and if

7    necessary have the Court appoint counsel - at trial.       Defendant

8    understands, however, that, defendant retains the right to be
9    represented by counsel – and if necessary have the Court appoint
10   counsel – at every other stage of the proceeding.

11              d.   The right to be presumed innocent and to have the

12   burden of proof placed on the government to prove defendant guilty

13   beyond a reasonable doubt.

14              e.   The right to confront and cross-examine witnesses

15   against defendant.

16              f.   The right to testify and to present evidence in

17   opposition to the charges, including the right to compel the

18   attendance of witnesses to testify.
19              g.   The right not to be compelled to testify, and, if

20   defendant chose not to testify or present evidence, to have that

21   choice not be used against defendant.

22              h.   Any and all rights to pursue any affirmative defenses,

23   Fourth Amendment or Fifth Amendment claims, and other pretrial

24   motions that have been filed or could be filed.

25                                WAIVER OF VENUE

26        23.   Having been fully advised by defendant’s attorney regarding

27   the requirements of venue with respect to the offenses to which

28   defendant is pleading guilty, to the extent the offenses to which

                                        14
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 207 of 319




1    defendant is pleading guilty were committed, begun, or completed

2    outside the venues of the Central District of California, Eastern

3    District of Virginia, or District of Columbia defendant knowingly,

4    voluntarily, and intelligently waives, relinquishes, and gives up:

5    (a) any right that defendant might have to be prosecuted only in the

6    district where the offenses to which defendant is pleading guilty

7    were committed, begun, or completed; and (b) any defense, claim, or

8    argument defendant could raise or assert based upon lack of venue
9    with respect to the offenses to which defendant is pleading guilty.
10                        WAIVER OF APPEAL OF CONVICTION

11        24.   Defendant understands that, with the exception of an appeal

12   based on a claim that defendant’s guilty pleas were involuntary, by

13   pleading guilty, defendant is waiving and giving up any right to

14   appeal defendant’s convictions on the offenses to which defendant is

15   pleading guilty.   Defendant understands that this waiver includes,

16   but is not limited to, arguments that the statutes to which defendant

17   is pleading guilty are unconstitutional, and any and all claims that

18   the statement of facts provided herein is insufficient to support
19   defendant’s pleas of guilty.

20                 LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

21        25.   Defendant agrees that, provided the Court imposes a total

22   term of imprisonment on all counts of conviction within or below the

23   range corresponding to an offense level of 8 and the criminal history

24   category calculated by the Court, defendant gives up the right to

25   appeal all of the following: (a) the procedures and calculations used

26   to determine and impose any portion of the sentence; (b) the term of

27   imprisonment imposed by the Court; (c) the fine imposed by the Court,

28   provided it is within the statutory maximum; (d) to the extent

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 208 of 319




1    permitted by law, the constitutionality or legality of defendant’s

2    sentence, provided it is within the statutory maximum; (e) the term

3    of probation or supervised release imposed by the Court, provided it

4    is within the statutory maximum; and (d) any of the following

5    conditions of probation or supervised release imposed by the Court:

6    the conditions set forth in Second Amended General Order 20-04 of

7    this Court; the drug testing conditions mandated by 18 U.S.C.

8    §§ 3563(a)(5) and 3583(d); and the alcohol and drug use conditions
9    authorized by 18 U.S.C. § 3563(b)(7).
10        26.   The USAO agrees that, provided (a) all portions of the

11   sentence are at or below the statutory maximum, the USAO gives up its

12   right to appeal any portion of the sentence.

13                     RESULT OF WITHDRAWAL OF GUILTY PLEA

14        27.   Defendant agrees that if, after entering guilty pleas

15   pursuant to this agreement, defendant seeks to withdraw and succeeds

16   in withdrawing defendant’s guilty pleas on any basis other than a

17   claim and finding that entry into this plea agreement was

18   involuntary, then (a) the USAO will be relieved of all of its
19   obligations under this agreement, including in particular its

20   obligations regarding the use of Cooperation Information; (b) in any

21   investigation, criminal prosecution, or civil, administrative, or

22   regulatory action, defendant agrees that any Cooperation Information

23   and any evidence derived from any Cooperation Information shall be

24   admissible against defendant, and defendant will not assert, and

25   hereby waives and gives up, any claim under the United States

26   Constitution, any statute, or any federal rule, that any Cooperation

27   Information or any evidence derived from any Cooperation Information

28   should be suppressed or is inadmissible; and (c) should the USAO

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 209 of 319




1    choose to pursue any charge that was either dismissed or not filed as

2    a result of this agreement, then (i) any applicable statute of

3    limitations will be tolled between the date of defendant’s signing of

4    this agreement and the filing commencing any such action; and

5    (ii) defendant waives and gives up all defenses based on the statute

6    of limitations, any claim of pre-indictment delay, or any speedy

7    trial claim with respect to any such action, except to the extent

8    that such defenses existed as of the date of defendant’s signing this
9    agreement.
10                  RESULT OF VACATUR, REVERSAL OR SET-ASIDE

11        28.   Defendant agrees that if any count of conviction is

12   vacated, reversed, or set aside, the USAO may: (a) ask the Court to

13   resentence defendant on any remaining count of conviction, with both

14   the USAO and defendant being released from any stipulations regarding

15   sentencing contained in this agreement, (b) ask the Court to void the

16   entire plea agreement and vacate defendant’s guilty plea on any

17   remaining count of conviction, with both the USAO and defendant being

18   released from all their obligations under this agreement, or
19   (c) leave defendant’s remaining conviction, sentence, and plea

20   agreement intact.   Defendant agrees that the choice among these three

21   options rests in the exclusive discretion of the USAO.

22                         EFFECTIVE DATE OF AGREEMENT

23        29.   This agreement is effective upon signature and execution of

24   all required certifications by defendant, defendant’s counsel, and an

25   Assistant United States Attorney.

26                              BREACH OF AGREEMENT

27        30.   Defendant agrees that if defendant, at any time after the

28   signature of this agreement and execution of all required

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 210 of 319




1    certifications by defendant, defendant’s counsel, and an Assistant

2    United States Attorney, knowingly violates or fails to perform any of

3    defendant’s obligations under this agreement (“a breach”), the USAO

4    may declare this agreement breached.     For example, if defendant

5    knowingly, in an interview, before a grand jury, or at trial, falsely

6    accuses another person of criminal conduct or falsely minimizes

7    defendant’s own role, or the role of another, in criminal conduct,

8    defendant will have breached this agreement.      All of defendant’s
9    obligations are material, a single breach of this agreement is
10   sufficient for the USAO to declare a breach, and defendant shall not

11   be deemed to have cured a breach without the express agreement of the

12   USAO in writing.    If the USAO declares this agreement breached, and

13   the Court finds such a breach to have occurred, then:

14             a.   If defendant has previously entered guilty pleas

15   pursuant to this agreement, defendant will not be able to withdraw

16   the guilty pleas.

17             b.   The USAO will be relieved of all its obligations under

18   this agreement; in particular, the USAO: (i) will no longer be bound
19   by any agreements concerning sentencing and will be free to seek any

20   sentence up to the statutory maximum for the crimes to which

21   defendant has pleaded guilty; (ii) will no longer be bound by any

22   agreements regarding criminal prosecution, and will be free to

23   criminally prosecute defendant for any crime, including charges that

24   the USAO would otherwise have been obligated to not to criminally

25   prosecute pursuant to this agreement; and (iii) will no longer be

26   bound by any agreement regarding the use of Cooperation Information

27   and will be free to use any Cooperation Information in any way in any

28

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 211 of 319




1    investigation, criminal prosecution, or civil, administrative, or

2    regulatory action.

3               c.   The USAO will be free to criminally prosecute

4    defendant for false statement, obstruction of justice, and perjury

5    based on any knowingly false or misleading statement by defendant.

6               d.   In any investigation, criminal prosecution, or civil,

7    administrative, or regulatory action: (i) defendant will not assert,

8    and hereby waives and gives up, any claim that any Cooperation
9    Information was obtained in violation of the Fifth Amendment
10   privilege against compelled self-incrimination; and (ii) defendant

11   agrees that any Cooperation Information and any Plea Information, as

12   well as any evidence derived from any Cooperation Information or any

13   Plea Information, shall be admissible against defendant, and

14   defendant will not assert, and hereby waives and gives up, any claim

15   under the United States Constitution, any statute, Rule 410 of the

16   Federal Rules of Evidence, Rule 11(f) of the Federal Rules of

17   Criminal Procedure, or any other federal rule, that any Cooperation

18   Information, any Plea Information, or any evidence derived from any
19   Cooperation Information or any Plea Information should be suppressed

20   or is inadmissible.

21        31.   Following the Court’s finding of a knowing breach of this

22   agreement by defendant, should the USAO choose to pursue any charge

23   that was either dismissed or not filed as a result of this agreement,

24   then:

25              a.   Defendant agrees that any applicable statute of

26   limitations is tolled between the date of defendant’s signing of this

27   agreement and the filing commencing any such action.

28

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 212 of 319




1               b.   Defendant waives and gives up all defenses based on

2    the statute of limitations, any claim of pre-indictment delay, or any

3    speedy trial claim with respect to any such action, except to the

4    extent that such defenses existed as of the date of defendant’s

5    signing this agreement.

6           COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

7                               OFFICE NOT PARTIES

8         32.   Defendant understands that the Court and the United States
9    Probation and Pretrial Services Office are not parties to this
10   agreement and need not accept any of the USAO’s sentencing

11   recommendations or the parties’ agreements to facts or sentencing

12   factors.

13        33.   Defendant understands that both defendant and the USAO are

14   free to: (a) supplement the facts by supplying relevant information

15   to the United States Probation and Pretrial Services Office and the

16   Court, (b) correct any and all factual misstatements relating to the

17   Court’s Sentencing Guidelines calculations and determination of

18   sentence, and (c) argue on appeal and collateral review that the
19   Court’s Sentencing Guidelines calculations and the sentence it

20   chooses to impose are not error, although each party agrees to

21   maintain its view that the calculations in paragraph 18 are

22   consistent with the facts of this case.      While this paragraph permits

23   both the USAO and defendant to submit full and complete factual

24   information to the United States Probation and Pretrial Services

25   Office and the Court, even if that factual information may be viewed

26   as inconsistent with the facts agreed to in this agreement, this

27   paragraph does not affect defendant’s and the USAO’s obligations not

28   to contest the facts agreed to in this agreement.

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 213 of 319




1         34.   Defendant understands that even if the Court ignores any

2    sentencing recommendation, finds facts or reaches conclusions

3    different from those agreed to, and/or imposes any sentence up to the

4    maximum established by statute, defendant cannot, for that reason,

5    withdraw defendant’s guilty pleas, and defendant will remain bound to

6    fulfill all defendant’s obligations under this agreement.        Defendant

7    understands that no one –- not the prosecutor, defendant’s attorney,

8    or the Court –- can make a binding prediction or promise regarding
9    the sentence defendant will receive, except that it will be within
10   the statutory maximum.

11                            NO ADDITIONAL AGREEMENTS

12        35.   Defendant understands that, except as set forth herein,

13   there are no promises, understandings, or agreements between the USAO

14   and defendant or defendant’s attorney, and that no additional

15   promise, understanding, or agreement may be entered into unless in a

16   writing signed by all parties or on the record in court.

17               PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

18        36.   The parties agree that this agreement will be considered
19   part of the record of defendant’s guilty plea hearing as if the

20   entire agreement had been read into the record of the proceeding.

21    AGREED AND ACCEPTED

22    UNITED STATES ATTORNEY’S OFFICE
      FOR THE CENTRAL DISTRICT OF
23    CALIFORNIA

24    TRACY L. WILKISON
      United States Attorney
25

26
        DANIEL J. O’BRIEN
27      Assistant United States Attorney
28

                                        21
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 214 of 319




1     EVAN TURGEON                                  Date
      Trial Attorney
2

3

4
      RICHARD GUSTAVE OLSON, JR.                    Date
5     Defendant
6

7

8     J. MICHAEL HANNON                             Date
      Attorney for Defendant
9
10

11

12                          CERTIFICATION OF DEFENDANT
13        I have read this agreement in its entirety.       I have had enough
14   time to review and consider this agreement, and I have carefully and
15   thoroughly discussed every part of it with my attorney.       I understand
16   the terms of this agreement, and I voluntarily agree to those terms.
17   I have discussed the evidence with my attorney, and my attorney has
18   advised me of my rights, of possible pretrial motions that might be
19   filed, of possible defenses that might be asserted either prior to or
20   at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),
21   of relevant Sentencing Guidelines provisions, and of the consequences
22   of entering into this agreement.     No promises, inducements, or
23   representations of any kind have been made to me other than those
24   contained in this agreement.    No one has threatened or forced me in
25   any way to enter into this agreement.     I am satisfied with the
26   representation of my attorney in this matter, and I am pleading
27   guilty because I am guilty of the charges and wish to take advantage
28

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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 215 of 319




1    of the promises set forth in this agreement, and not for any other

2    reason.

3

4     RICHARD GUSTAVE OLSON, JR.                 Date
      Defendant
5

6

7                     CERTIFICATION OF DEFENDANT’S ATTORNEY
8         I am defendant Olson’s attorney.     I have carefully and
9    thoroughly discussed every part of this agreement with my client.
10   Further, I have fully advised my client of his rights, of possible
11   pretrial motions that might be filed, of possible defenses that might
12   be asserted either prior to or at trial, of the sentencing factors
13   set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
14   provisions, and of the consequences of entering into this agreement.
15   To my knowledge: no promises, inducements, or representations of any
16   kind have been made to my client other than those contained in this
17   agreement; no one has threatened or forced my client in any way to
18   enter into this agreement; my client’s decision to enter into this
19   agreement is an informed and voluntary one; and the factual basis set
20   forth in this agreement is sufficient to support my client’s entry of
21   guilty pleas pursuant to this agreement.
22

23    J. MICHAEL HANNON                             Date
      Attorney for Defendant Olson
24

25

26

27

28

                                        23
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 216 of 319




           EXHIBIT LL
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 217 of 319



J. MICHAEL HANNON *                       HANNON LAW GROUP, LLP
DANIEL S. CROWLEY *†‡                                                                   WILLIAM CLAYTON BATCHELOR *†
                                      COUNSELORS AND ATTORNEYS AT LAW                            OF COUNSEL
ANN-KATHRYN SO §†
     PARTNERS                                333 8TH STREET NE
                                           WASHINGTON, DC 20002
                                                                                       * ALSO ADMITTED IN MARYLAND
                                                   EST. MARCH 17, 2006
                                                                                       † ALSO ADMITTED IN VIRGINIA
HARRISON E. RICHARDS †                                                                 ‡ ALSO ADMITTED IN MASSACHUSETTS
KIERAN L. REILLY*                             T (202) 232-1907  F (202) 232-3704      §ALSO ADMITTED IN NEW JERSEY
RACHEL AMSTER                                   www.hannonlawgroup.com
   ASSOCIATES
                                                  January 10, 2022

         VIA ELECTRONIC TRANSMISSION ONLY

         Daniel J. O’Brien
         Assistant United States Attorney
         United States Attorney’s Office for the Central District of California
         1500 United States Courthouse
         312 North Spring Street
         Los Angeles, California 90012

         Evan N. Turgeon
         Trial Attorney
         U.S. Department of Justice
         National Security Division
         950 Pennsylvania Avenue, N.W.
         Washington, D.C. 20530

                         Re:    Attorney Proffer (Amb. Richard Olson)

         Dear Messrs. O’Brien and Turgeon:

                 In our plea discussion on January 6th, you indicated that there are several statements you
         would like Amb. Olson to reconcile so that you can be assured he will be a trustworthy
         cooperating witness. You further stated that we could first address these statements through an
         attorney proffer. Before doing that, we want to confirm that, similar to the previous proffer
         sessions, the information we disclose to you will not be used by the government in its case in
         chief or at sentencing. With that assurance, we have prepared an attorney proffer and will send it
         to you promptly.

                  Thank you for your courtesy.

                                                        Sincerely,

                                                        s/ J. Michael Hannon

                                                        J. Michael Hannon
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 218 of 319




         EXHIBIT MM
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 219 of 319




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                  )
                                            )
                  vs.                       ) PRESENTENCE INVESTIGATION REPORT
                                            )
                                            ) Docket No.: 0090 1:22CR00144-001 (SEALED)
 Richard Gustave Olson Jr.                  )


       RICHARD D. OLSON, JR.’s OBJECTIONS TO THE PRESENTENCE REPORT

 Assistant U.S. Attorney                           Defense Counsel

 Evan Nathaniel Turgeon                            J. Michael Hannon
 950 Pennsylvania Avenue NW, Suite 7700            333 8th Street NE
 (202) 353-0176                                    Washington, DC 20002
 Washington, DC 20530                              (202) 232-1907
 evan.turgeon@usdoj.gov                            jhannon@hannonlawgroup.com

 Stuart Douglas Allen                              Russell D. Duncan
 601 D Street NW                                   1001 Pennsylvania Avenue NW, Suite 1300
 Washington, DC 20530                              South
 (202) 252-7794                                    Washington, DC 20004-2505
 Stuart.allen@usdoj.gov                            (202) 640-6657
                                                   rduncan@clarkhill.com

Sentence Date:          January 20, 2023, at 3:00 p.m.

             Offense: Count 1:         Making a False Writing
                                       18 USC § 1018
                                       1 year imprisonment/$100,000 fine

                         Count 2:      Aiding and Assisting a Foreign Government with Intent
                                       to Influence Decisions of United States Officers
                                       18 USC § 207(f)(1)(B)
                                       1 year imprisonment/$100,000 fine




                                                     1
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 220 of 319




 PART A. THE OFFENSE

         Charge(s) and Conviction(s)

 1.      On March 22, 2022, the United States Attorney for the Central District of California
         filed a two-found Information charging defendant Richard Gustave Olson, Jr. with
         Making a False Writing, in violation of 18 USC §1018 (Count One) and Aiding and
         Assisting a Foreign Government with intent to Influence Decisions of United States
         Officers, in violation of 18 USC §207(f)(1)(B) (Count Two).

PROPOSED OBJECTIONS AND MODIFICATIONS: In the second line, there is a typo
[two-found].

The plea agreement signed by Amb. Olson on January 14, 2022, required that his plea take place in
either the Eastern District of Virginia or the District of Columbia. After the plea agreement was signed,
attorneys Daniel O’Brien, from the U.S. Attorney’s Office for the Central District of California, and
Evan N. Turgeon from the National Security Division of the Department of Justice, were unable to
comply with that provision of the agreement. At no time was there any case filed against Amb. Olson
in the Central District of California. Five weeks passed after the execution of the plea agreement. On
February 25, 2022, Mr. Turgeon left a message for Amb. Olson’s counsel, J. Michael Hannon, to call
him. Mr. Hannon returned the call on February 28, 2022.

         In the telephone call, Mr. Turgeon said that “a technical glitch in the plea agreement” might
result in Amb. Olson being charged with a felony, a violation of the plea agreement. Mr. Turgeon then
stated that the technical glitch could be remedied by Amb. Olson agreeing to an “addendum” to the plea
agreement. The proposed addendum would provide that the plea would take place in the Central
District of California “in the event that neither the United States Attorney for the Eastern District of
Virginia nor the United States Attorney for the District of Columbia agreed to accept the filing of the
plea agreement in their respective district courts.”

       Mr. Turgeon stated that on February 25, 2022, the United States Attorney for the EDVA refused
to accept the filing of the plea in that district. Mr. Turgeon reported that neither the National Security
Division at DOJ nor the U.S. Attorney’s Office for the Central District of California had contacted the
U.S. Attorney’s Office for this district to determine whether that Office would accept the plea. Mr.
Turgeon reported that if Amb. Olson did not accept the proposed “addendum” to the plea agreement,
Amb. Olson might be indicted in either the EDVA or this district. As recounted in Mr., Hannon’s letter
memorializing the telephone call:

               Mr. Turgeon further stated that regardless of whether Amb. Olson agrees to the
       proposed addendum to the plea agreement, the USAO/CDCA and DOJ/NSD would file
       the plea agreement very soon in the Central District of California. Mr. Turgeon stated
       that he and Mr. O’Brien would then approach the USAO for the District of Columbia for
       permission to transfer the plea to the District of Columbia. He stated that in his view,
       with the plea already filed in CDCA, it would be easier to persuade the USAO/DC to
       accept the transfer. In the event such a transfer were not accepted by that office, then
       under the proposed addendum to the plea agreement, Amb. Olson would enter his plea in
       the Central District of California and be sentenced in that court.

        Mr. Turgeon’s email response to the letter was received on the same day. That email does not
vary in material ways from Mr. Hannon’s letter, and includes the threat that Amb. Olson might be

                                                    2
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 221 of 319



indicted in either the EDVA or DDC if he fails to agree to the addendum. The email accused Amb.
Olson’s counsel of “gamesmanship”.

         Amb. Olson did not consent to the addendum, as entering his plea in either the EDVA or this
district was material to the agreement. On March 17, 2022, Messrs. O’Brien and Turgeon reported that
they would file an information and the plea agreement in the Central District for California “shortly”
and requested that Amb. Olson must execute a Rule 20 Transfer Request for the matter to be transferred
to this district. In a letter the next day, Mr. Hannon did not agree to the transfer and maintained
anything filed should remain under seal to preserve the potential of Amb. Olson earning a 5K motion
from the government in its purported prosecution of retired Marine Four-Star General John Allen, then
director of the Brookings Institute.

        The government then filed only an Information in the Central District for California on March
22, 2022, without any notice or agreement from Amb. Olson. Amb. Olson was alerted to the filing of
the information by the press. Counsel for Amb. Olson previously learned from a national reporter that
the reporter had a source in the Department of Justice. As we discuss further in our Objections, AUSA
O’Brien from the U.S. Attorney’s Office caused a release of a search warrant affidavit to the press in
violation of federal law and or under Rule 6 of the Rules of Criminal Procedure regarding grand jury
secrecy.

       To effectuate the terms of the plea agreement, Amb. Olson had no choice but to execute the Rule
20 Transfer Request, which also was personally signed by both the United States Attorney for the
Central District of California and the United States Attorney for this district. The transfer was filed in
this Court on April 7, 2022. Amb. Olson never made an appearance in the Central District of
California, nor did any counsel on his behalf.

 2.      The Information does not provide notice to the defendant the Government intends to
         seek forfeiture as a part of the sentence.

PROPOSED OBJECTIONS AND MODIFICATIONS: There were no proceeds eligible for
forfeiture under the counts of conviction.

 3.      The criminal conduct charged in the Information occurred on or about May 12, 2016 (as
         to Count One) and from on or about February 14, 2017 to on or about June 28, 2017 (as
         to Count Two).

 4.      On June 3, 2022, the defendant pled guilty to the two-count Information, pursuant to a
         written plea agreement. The defendant understands a violation of Counts One and Two
         each carry a maximum term of imprisonment of one year, a one-year period of
         supervised release, a fine of $100,000 or twice the gross gain or gross loss resulting
         from the offense (whichever is greatest), and a mandatory $25 special assessment. The
         defendant understands that the total maximum sentence for all offenses to which the
         defendant is pleading guilty is two years’ imprisonment, a one-year period of supervised
         release, a fine of $200,000 or twice the gross gain or gross loss resulting from the
         offenses (whichever is greatest), and a mandatory special assessment of $50.

 5.      The parties agree to the statement of facts and agree the statement of facts is sufficient to
         support guilty pleas to the charges; however, the statement is not meant to be a complete
         recitation of all the facts relevant to the underlying criminal conduct. The Government
         agrees not to further criminally prosecute the defendant for violations of (1) 18 USC
         § 201(c)(1)(B)—Public Official Receiving Illegal Gratuity, related to September 2015
         payments totaling $25,000 to a person with whom the defendant had a personal
                                                    3
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 222 of 319



         relationship; (2) 18 USC §1519—Destruction of Documents, arising out of the deletion of
         emails pertaining to work performed for the Qatar Government; (3) 18 USC § 1001—False
         Statements, related to any statements made by the defendant during the pendency of the
         Government’s investigation, (4) 18 USC §208(a)—Acts Affecting a Personal Financial
         Interest, or (5) any other violations of law relating to conduct described in the factual basis
         of the plea agreement or Information. The defendant understands the Government is free
         to criminally prosecute him for any other unlawful past conduct or any unlawful conduct
         that occurs after the date of the plea agreement

 PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson by agreeing to this portion of
 the Plea Agreement did not and does not concede that any of the alleged facts related to the offenses
 listed are relevant conduct for determining his guideline level or are factually accurate.

 6.      The defendant understands at the time of sentencing, the Court may consider the uncharged
         conduct in determining the applicable guidelines range, the extent of any departures from
         that range, and the sentence to be imposed after considering the sentencing guidelines and
         all other relevant factors under 18 USC §3553(a). The parties agree the following US
         Sentencing Guidelines (USSG) calculation. The base offense level for Count One is 6,
         pursuant to USSG §2B1.13. The base offense level for Count Two is 6, pursuant to USSG
         §2C1.3. The parties agree two levels are added because the counts do not group, pursuant
         to USSG §§3D1.1 through 3D1.4. The combined offense level is 8, pursuant to USSG
         §3D1.4, and the offense level is reduced by two levels pursuant to USSG §3E1.1, for
         acceptance of responsibility. The Government agrees, if necessary, to recommend an
         additional one-point reduction if available under §3E1.1; however, the parties anticipate
         the defendant’s guidelines level will be below the threshold necessary for an additional
         one-level reduction to be available. The parties reserve the right to argue that additional
         specific offense characteristics, adjustments, and departures under the USSG are
         appropriate. The defendant understands there is no agreement as to his criminal history
         points or criminal history category. The Government agree to recommend the defendant be
         sentenced to a term of imprisonment within the applicable USSG range.

PROPOSED OBJECTIONS AND MODIFICATIONS: The PSR Writer failed to note that “the
parties anticipate the defendant’s guidelines level will be below the threshold necessary for an
additional one-level reduction to be available.” That threshold is 16; whereas, the guideline level
recommended by the PSR Writer is well over that.

 7.      On April 26, 2022, the defendant was placed on a personal recognizance bond. He was
         ordered to report for supervision to Pretrial Services Agency for the District of Columbia
         (PSADC) as directed; surrender his passport to PSADC within two weeks of his initial
         appearance and no later than May 10, 2022; not to obtain a passport or other international
         travel document; notify PSADC in advance of any and all travel outside the District of New
         Mexico; receive the Court’s approval for any travel outside the continental United States;
         report to PSADC weekly as directed; and contact PSADC on April 27, 2022 to conduct an
         interview and verify his address.

 8.      Automated PSADC records indicate the defendant has complied with all Court ordered
         conditions of release. His passport was surrendered on May 2, 2022.

         The Offense Conduct

 9.      The following was obtained from the Statement of Offense (ECF doc. 1), the Information
         (ECF doc. 1), and information received from the Government.
                                                     4
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 223 of 319




PROPOSED OBJECTIONS AND MODIFICATIONS: The information provided by the government
to the PSR Writer [Paragraphs 17-54] was not shared with Amb. Olson’s counsel at the time it was sent
by the government to the PSR Writer as is the conventional conduct. Consequently, Amb. Olson was
unable to contest the information provided by the government before the PSR Writer prepared and
delivered the Draft PSR on August 10, 2022. This information was authored by AUSA Daniel O’Brien,
who has caused significant harm to Amb. Olson through his release of grand jury information to the
media.

We will note after each of the following paragraphs the source of the information: i.e., whether from the
government, or the Information, or the Statement of Offense [ECF No. 1, Doc. 1-1]. Paragraphs 17-54
provided by the government, and they should be eliminated from the PSR. Including these paragraphs in
the PSR indicates an endorsement by the PSR Writer of the government’s distorted rendering of the facts.
Instead, the PSR Writer should substitute the objective statement of the offense which come directly from
the Plea Agreement as set forth after Paragraph 16, below, in our Proposed Objections and Modifications.

The information contained in Paragraphs 17-54 should be left to the government’s use in its sentencing
memorandum or in litigation over the facts relevant to sentencing.

        Persons and Entities

 10.     Defendant Richard Gustave Olson, Jr. was a career foreign service officer employed by the
         United States (US) State Department. Defendant Olson was appointed by the President and
         confirmed by the US Senate to serve as Ambassador to the United Arab Emirates (UAE)
         from on or about October 14, 2008 through May 2, 2011 and to serve as Ambassador to
         Pakistan from on or about October 31, 2012 through November 17, 2015. From on or about
         November 17, 2015 through his retirement on November 30, 2016, defendant Olson served
         as US Special Representative for Afghanistan and Pakistan (Special Representative). In or
         about December 2016, after retiring from government service, defendant Olson created an
         entity called Medicine Bear International Consulting, LLC (“Medicine Bear”).

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ A.1 [ECF No. 1, Doc. 1-
 1 at 1-2].

 11.     Imaad Zuberi was a naturalized US citizen born in Pakistan. Mr. Zuberi operated various
         informal and formal business entities collectively referred to as Mr. Zuberi’s Company. As
         part of his business operations, Mr. Zuberi was retained by various foreign governments
         and individuals to engage in lobbying and public relations efforts. Mr. Zuberi received
         funds from foreign clients, used those funds to make political campaign contributions to
         US politicians, parlayed those contributions into political influence in the US, and lobbied
         US officials on behalf of his foreign clients.

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ A.2 [ECF No. 1, Doc. 1-
 1 at 2].

 12.     In or about March 2013, Mr. Zuberi met with defendant Olson in Islamabad, Pakistan.
         From in or about March 2013 through November 2016, Mr. Zuberi solicited defendant
         Olson’s advice and assistance in his capacity as Ambassador with respect to a variety of
         business matters of interest to Mr. Zuberi.

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ A.2.a. [ECF No. 1, Doc.
 1-1 at 2].
                                                    5
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 224 of 319




         Ethics Obligations and Reporting Requirements

 13.     To increase public confidence in the federal government, demonstrate the integrity of
         government officials, and enhance the ability of the citizenry to judge the performance of
         public officials, the US Congress enacted the Ethics in Government Act of 1978 (“the
         Act”). The Act established an agency within the Executive Branch, the Office of
         Government Ethics (“OGE”), to oversee public employee compliance with US ethics laws.

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ B.3 [ECF No. 1, Doc. 1-
 1 at 3].

 14.     Because transparency was a critical part of government ethics, Congress determined that
         US citizens should know their leaders’ financial interests. Accordingly, the Act and its
         implementing regulations required certain government employees (“public filers”) to file
         public financial disclosure reports on an annual basis. The annual reports, known as OGE
         Forms 278, required the employee to disclose financial matters including their income,
         assets, liabilities, outside employment arrangements, gifts, reimbursements, and travel
         expenses. The OGE 278 forms certified that the statements the public filer made on the
         form and all attached schedules were true, complete, and correct to the best of the public
         filer’s knowledge. In both his capacities as Ambassador and Special Representative,
         defendant Olson was a public filer.

PROPOSED OBJECTIONS AND MODIFICATIONS:                       Information at ¶ B.4 [ECF No. 1, Doc. 1-1
at 3].

 15.     OGE and the employee’s agency were jointly charged with ensuring compliance with
         ethics laws and reporting obligations, investigating possible violations, and referring
         possible violations to the agency’s Inspector General and the US Department of Justice for
         civil enforcement or criminal prosecution.

PROPOSED OBJECTIONS AND MODIFICATIONS:                       Information at ¶ B.5 [ECF No. 1, Doc. 1-1
at 5].

 16.     The Act also imposed “revolving door” prohibitions upon senior government officials.
         After retirement from government service, senior government officials were prohibited
         from representing foreign entities before US officials or aiding or advising any foreign
         entity, including through any behind-the-scenes consulting, with the intent to influence US
         officials during a one-year “cooling off” period. Congress enacted similar “revolving door”
         restrictions into a criminal statute, Title 18, United States Code, Section 207(f). In
         accordance with these laws, defendant Olson was prohibited from engaging in lobbying
         activity or aiding or advising any foreign government in its attempts to influence US
         officials during the period December 1, 2016 through December 1, 2017. During this time,
         defendant Olson was aware of the “revolving door” prohibitions and understood that they
         applied to him.

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ B.6 [ECF No. 1, Doc. 1-
 1 at 4].

         The Offense


                                                   6
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 225 of 319



PROPOSED OBJECTIONS AND MODIFICATIONS: Paragraphs 17-54 are embellished
assertions provided by the government to the PSR Writer which Amb. Olson was unable to review
before the Draft PSR was delivered on August 10, 2021. These Paragraphs were adopted in whole by
the PSR Writer, rather than the recitation of facts included in the Information to which Amb. Olson
agreed to plead guilty. The facts recited in the Information should be substituted for Paragraphs 17-
54, which are better left to the government’s Memorandum Regarding Sentencing.

Consequently, Amb. Olson requests that the PSR Writer substitute the following, which comes
directly from the Information, for Paragraphs 17-54:

     C. WHILE EMPLOYED BY THE FEDERAL GOVERNMENT, DEFENDANT OLSON
     RECEIVED OVER $18,000 IN TRAVEL EXPENSES FROM PERSON 1 TO ATTEND A
     JOB INTERVIEW WITH BUSINESSPERSON 2 IN LONDON

     7. On or about January 15, 2015, defendant OLSON, who was then still serving as U.S.
     Ambassador to Pakistan, met with Person 1 in Los Angeles and discussed the possibility that
     defendant OLSON might work for Person 1’s business associate, Businessperson 2, a citizen of
     Bahrain, who operated Businessperson 2’s Company. On or about January 23, 2015, defendant
     OLSON agreed to meet Person 1 and Businessperson 2 in London on January 31.

     8. On or about January 27, 2015, Person 1 procured defendant OLSON’s first-class airfare from
     New Mexico, via Los Angeles, to London. Person 1 paid for the trip with a combination of
     credit card expenditures and approximately 330,000 frequent flyer miles. In total, the airfare was
     worth approximately $18,829. Person 1 paid for his and defendant OLSON’s stay at a luxury
     hotel in London at a combined cost of approximately $2,298. Person 1 also paid for dinner in
     London for defendant OLSON, Businessperson 2, Person 1, and another individual at a cost of
     approximately $589.

     9. On or about February 19, 2015, Businessperson 2’s Company offered defendant OLSON a
     one-year contract with Businessperson 2’s Company, commencing after defendant OLSON’s
     retirement from government service, that included compensation of $300,000 per year.

     D. AFTER HIS RETIREMENT FROM GOVERNMENT SERVICE, DEFENDANT OLSON
     PROVIDED AID AND ADVICE TO QATAR

     10. After defendant OLSON began working for Person 1 and Person 1’s Company in December
     2016, despite being aware that he was subject to the “revolving door” prohibitions of the Act
     and Section 207(f), defendant OLSON violated these prohibitions on multiple occasions.

             a. DEFENDANT OLSON PROVIDED AID AND ADVICE TO QATAR TO
                FACILITATE LOBBYING U.S. OFFICIALS TO ESTABLISH U.S.
                CUSTOMS PRECLEARANCE FACILITIES AT DOHA INTERNATIONAL
                AIRPORT

     11. U.S. Customs and Border Protection (“CBP”) preclearance facilities at foreign international
     airports provided significant benefits to host countries and their national airlines. CBP allowed
     flights originating from a precleared airport to fly directly from that airport to over 160
     destinations in the United States, regardless of whether the destination airport had a CBP port of
     entry. Preclearance facilities thus provided a host country’s airport an advantage over
     competitors for the U.S.-bound traveler market.


                                                  7
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 226 of 319



 12. In or about January 2014, while defendant OLSON was serving as Ambassador to the UAE,
 the U.S. and the UAE negotiated to establish a CBP preclearance facility at the Abu Dhabi
 International Airport in the UAE -- one of Qatar’s regional rivals.

 13. On or about October 25, 2016, Person 1 caused the drafting of a contract between Person 1’s
 Company and a Qatar-based holding company controlled by Qatar Government Official 1,
 whereby Person 1’s Company would be paid $3.5 million per year plus a 20% “success fee.”

 14. On or about November 14, 2016, Qatar Government Official 1 transferred by wire $2.8
 million to Person 1’s Company.

 15. On or about December 27, 2016, Qatar Government Official 1transferred by wire $3 million
 to Person 1’s Company.

 16. On or about January 23, 2017, Businessperson 3, a business associate of Person 1, sent
 defendant OLSON a draft plan for a lobbying campaign to convince the White House and the
 U.S. Department of Homeland Security (“DHS”) to establish preclearance facilities at Doha
 International Airport.

 17. The next day, on or about January 24, 2017, defendant OLSON sent Person 1 and
 Businessperson 3 an email that included his advice on how Qatar could “sell” its preclearance
 proposal to the U.S. government. For example, defendant OLSON advised that it would be
 important to secure the support of the U.S. Ambassador to Qatar, stating, “I know her well but
 can’t do it because of State’s post-employment ethics restrictions, but [Person 1] can charm her
 she’s from LA. The deal closer would be for the Qataris help her get a new Embassy[.]”

 18. On or about January 29, 2017, Businessperson 3 emailed a revised lobbying plan to
 defendant OLSON and Person 1, incorporating defendant OLSON’s input. The revised plan
 called for Qatar to lobby the U.S. House of Representatives, U.S. Senate, White House National
 Security Council, DHS, and specific CBP officials, followed by a negotiated agreement between
 DHS and the government of Qatar to establish preclearance facilities at Doha International
 Airport.

 19. On or about January 31, 2017, defendant OLSON sent Businessperson 3 further revisions to
 the lobbying plan. Defendant OLSON recommended that Qatar leverage its support for the U.S.
 military to obtain the preclearance facilities it sought, stating, “We also believe it should be
 possible to leverage Qatar’s strong record of support for the U.S., particularly the U.S. military,
 to push the pre-clearance program through.”

 20. On or about February 14, 2017, Businessperson 3 emailed the preclearance lobbying plan
 that incorporated defendant OLSON’s advice to a government email address of Qatar
 Government Official 3, an official with the Qatar Ministry of Interior, copying Qatar
 Government Official 1, defendant OLSON, and Person 1.

 21. On or about March 9, 2017, Person 1 sent Qatar Government Official 1 a copy of Person 1’s
 Company’s draft contract with the Qatar-based holding company. In a cover email, Person 1
 stated, “this will incorporate preclearance project.”

        b.      DEFENDANT OLSON PROVIDED AID AND ADVICE TO QATAR TO
                FACILITATE LOBBYING U.S. OFFICIALS TO SUPPORT QATAR
                DURING A DIPLOMATIC CRISIS

                                              8
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 227 of 319



       22. On or about May 24, 2017, cyber hackers, reportedly funded by the UAE, committed a
       computer intrusion at the Qatar News Agency website. The hackers posted statements,
       purportedly by Qatar Government Official 2, that appeared supportive of the Government of
       Iran. Hackers also leaked emails of the UAE’s Ambassador to the United States that discussed
       Qatar’s support for the Muslim Brotherhood and militant groups.

       23. On or about June 5, 2017, citing Qatar’s purported support for Iran and terrorism, several
       Gulf states, including the UAE and the Kingdom of Saudi Arabia, cut ties with Qatar and
       implemented a blockade, closing all air and sea lanes to the country (“the Gulf Diplomatic
       Crisis”).

       24. On or about June 6, 2017, several U.S. House representatives introduced House Resolution
       2712 “to impose sanctions with respect to foreign support for Palestinian terrorism[.]” The
       Resolution identified Qatar as providing financial support to Hamas, a terrorist organization.

       25. On or about June 1, 2017, Person 1 enlisted the help of defendant OLSON, Businessperson
       3, and Businessperson 4 to organize and participate in a lobbying and public relations campaign
       to convince the U.S. government to support Qatar during the Gulf Diplomatic Crisis. The
       lobbying and public relations effort sought to use the Gulf Diplomatic Crisis as a business
       opportunity and to profit from defendant OLSON’s status as a former U.S. Ambassador to the
       UAE, Qatar’s primary rival in the crisis, and defendant OLSON’s ability to provide aid and
       advice to Qatar.

       26. Defendant OLSON’s aid included recruiting Person 3 to join defendant OLSON in providing
       aid and advice to Qatari government officials with the intent to influence U.S. foreign policy
       with respect to the Gulf Diplomatic Crisis. On or about June 6, 2017, defendant OLSON
       contacted Person 3 to enlist his support in the endeavor. That same day, defendant OLSON
       emailed Person 1 that he had been in touch with Person 3 and informed him that Person 3 was
       “interested in helping out with Qatar.”

       27. On or about June 10, 2017, defendant OLSON, Person 1, Person 3, Businessperson 4, and
       Qatar Government Official 1 traveled to Doha, Qatar. After checking into their hotel, defendant
       OLSON and Person 3 met with the U.S. Ambassador to Qatar to discuss the purpose of their
       trip.

       28. That same day, on or about June 10, 2017, defendant OLSON, Person 1, and Person 3
       traveled to the Qatari royal palace to meet with senior Qatari government officials, including
       Qatar Government Official 2, Qatar Government Official 4, Qatar Government Official 5, and
       Qatar Government Official 6. The Qatari government officials did not permit Person 1 to attend
       the meetings.

       29. On or about June 15, 2017, defendant OLSON, Person 1, and Person 3 met for dinner with
       Qatar Government Official 4 at a hotel in Washington, D.C.

       30. On or about June 28, 2017, defendant OLSON, Person 1, Person 3, and Qatar Government
       Official 5 met with several sitting members of the U.S. House of Representatives for the purpose
       of convincing the U.S. lawmakers to support Qatar rather than its regional rivals in the Gulf
       Diplomatic Crisis.

Information at ¶ 7-30 [ECF No. 1, Doc. 1-1 at 3-9].


                                                      9
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 228 of 319



BELOW ARE PROPOSED OBJECTIONS TO PARAGRAPHS 17-54 PROVIDED BY THE
GOVERNMENT WHICH INDICATE WHY THE PSR WRITER SHOULD REMOVE THEM.

 17.     On January 15, 2015, defendant Olson met with Mr. Zuberi in Los Angeles and discussed
         the possibility that defendant Olson might work for Mr. Zuberi’s business associate, Esam
         Janahi who operated Abu Dhabi Investment House (“ADIH”).

 18.     On January 20, 2015, Mr. Zuberi told defendant Olson he “spoke to [Mr. Janahi] about
         you” and began making arrangements for defendant Olson to meet with Mr. Janahi for the
         purposes of facilitating an employment offer for defendant Olson. On January 23, 2015,
         defendant Olson agreed to meet Mr. Zuberi and Mr. Janahi in London on January 31, 2015.

 19.     On January 27, 2015, while serving as the US Ambassador to Pakistan, defendant Olson
         received from Mr. Zuberi first-class airfare from New Mexico, via Los Angeles, to London.
         Mr. Zuberi paid for the trip with a combination of credit card expenditures and
         approximately 330,000 frequent flyer miles. In total, the airfare was worth approximately
         $18,829. Mr. Zuberi paid for his and defendant Olson’s stay at a luxury hotel in London at
         a combined cost of approximately $2,298. Mr. Zuberi also paid for dinner in London for
         defendant Olson, Mr. Janahi, Mr. Zuberi, and another individual at a cost of approximately
         $589.
 20.     On February 4, 2015, Mr. Zuberi provided defendant Olson with the terms of a one-year
         contract with ADIH, commencing on July 1, 2015, that included compensation of $300,000
         per year, a 1% fee for business developed, compensated expenses, and a position on the
         advisory board of the company.

 21.     On February 8, 2015, Mr. Zuberi told defendant Olson that Mr. Janahi was waiting for
         defendant Olson’s decision. Defendant Olson then sent an email to Mr. Janahi stating that
         he was “very interested in the position with ADIH and would like to clarify a few points
         with [him].” Defendant Olson proposed terms identical to those provided by Mr. Zuberi
         just days earlier.

 22.     On February 19, 2015, ADIH offered the same terms of the employment to defendant Olson
         as those set forth by Mr. Zuberi and as requested by defendant Olson.

PROPOSED OBJECTIONS AND MODIFICATIONS: The previous Paragraphs 17-22 are the
government’s misleading assertions of fact that relate to Count One charging failure to report the travel
expenses for the job interview held in London to interview for a position with ADIH.

In reality, there is no evidence that Zuberi was a business associate of Janahi or associated with ADIH.
In fact, Janahi has filed suit against Zuberi in California. Amb. Olson did not know the details of who
paid for his travel and lodging, which were not important to him for the reason stated directly below.
Although Zuberi’s office was making the travel arrangements, Amb. Olson believed the costs were
being paid by ADIH, as Zuberi had told Amb. Olson.

Moreover, State Department employees are permitted to accept travel expenses for interviews in post-
employment positions as they are approaching retirement. Amb. Olson anticipated retirement, and the
ADIH was the least among the employment prospects Amb. Olson’s was pursuing before his
retirement.

Amb. Olson – as required by State Department ethics advisories – filed a formal Recusal Notice with
his embassy with respect to any Department dealings with ADIH because of his interviewing for a
position. This filing makes clear that Amb. Olson had no need to hide anything from the government.
                                                    10
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 229 of 319



Indeed, Amb. Olson filed other recusal notices regarding his other post-employment interviews.



 23.     On March 12, 2015, at Mr. Zuberi’s request, defendant Olson agreed to meet with members
         of Congress to convey a positive view with respect to a sale of military hardware to
         Pakistan. On March 18, 2015, Mr. Zuberi contacted Congressmembers’ offices and
         suggested that they meet with defendant Olson so that he could provide them with an update
         on Pakistan.

 24.     On April 9, 2015, Mr. Zuberi reminded defendant Olson that defendant Olson “owed [him]
         a set of talking points for [a Congressperson] and asked for similar talking points for [a
         Senator] regarding a proposed arms sale to Pakistan which would have to be approved by
         Congress. That same day, defendant Olson sent Mr. Zuberi the talking points “as promised”
         via defendant Olson’s personal email. The talking points consisted of a position paper
         defendant Olson wrote for the State Department that had not been approved for public
         release. The talking points portrayed Pakistan in a positive light with respect to its
         cooperation against terrorism and expressed support for the sale of military helicopters and
         associated equipment to Pakistan at an estimated cost of $952 million. Defendant Olson
         told Mr. Zuberi that the argument presented was what he intended to convey in the
         previously attempted meetings with members of Congress, saying, “This is what I would
         say if giving the brief.”

PROPOSED OBJECTIONS AND MODIFICATIONS: Paragraphs 23-24 provided by the
government are also a gross distortion attempting to create the appearance of impropriety where
none existed. Zuberi unilaterally sought the participation of Amb. Olson with his efforts to engage
members of Congress on behalf of Pakistan. Amb. Olson did nothing to facilitate these efforts.

The so-called “Talking Points” consisted of publicly available information on the State
Department’s position as to Pakistan. Amb. Olson provided them to Zuberi so that Zuberi would
not present false information which would undermine the State Department’s true position. Zuberi
regularly hob-knobbed with such politicians because of the millions of dollars in illegal campaign
contributions he arranged for them. None of Zuberi’s efforts to meet with members of Congress
on this issue where successful.


         Gratuities From Mr. Zuberi for Defendant Olson’s Support for Arms Sales

 25.     On June 3, 2015, in response to a Mr. Zuberi invitation that defendant Olson attend a
         congress member’s birthday celebration, defendant Olson responded that they wouldn’t
         want him “because he was poor.” On June 14, 2015, defendant Olson told Mr. Zuberi about
         Muna Habib and her desire to attend Columbia University’s School of Journalism and
         obtain financial support. Ms. Habib and defendant Olson had been romantically involved
         since 2013 but had a falling out over defendant Olson’s affair with another woman.

 26.     Despite having not met Ms. Habib, on June 21, 2015, Mr. Zuberi told defendant Olson that
         “I will offer her $25,000 grant and $50,000 loan to be paid back after she graduates. Will
         this work for her?” Defendant Olson responded, “It is a very generous offer, and she should
         take it.”

 27.     Defendant Olson kept tabs on Mr. Zuberi’s offered help. On July 1, 2015, defendant Olson
         emailed Ms. Habib for a status report on her meeting with Mr. Zuberi, saying, “Has it
                                                   11
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 230 of 319



         occurred to you that it might be in your interest to give me a readout of your meeting, since
         the principal is likely, in fact has, reached out to me?”


 28.     Later that same day, Mr. Zuberi sent an email to Ms. Habib memorializing what he agreed
         to provide at the meeting: “Grant of $25,000 going directly to Columbia University . . .
         Help you get loan of $50,000 from US bank when you are in school or NYC . . . I can show
         proof of funds to Columbia University for you to start the school.” Mr. Zuberi forwarded
         this communication to defendant Olson, and defendant Olson responded, “Many thanks.”

 29.     On July 14, 2015, Mr. Zuberi provided Ms. Habib with a signed letter for Columbia
         University in which he falsely claimed, “I am professionally acquainted with Muna Habib
         through the work she has conducted for oppressed women in Pakistan, including the
         passionate advocacy she has undertaken on their behalf” and pledged to support her with
         $81,000 for the 2015 – 2016 academic year.

 30.     On August 6, 2015, Mr. Zuberi paid for Ms. Habib’s August 8 flight to New York to begin
         her studies at Columbia.

 31.     On September 10, 2015, Mr. Zuberi issued two checks, one for $20,000 payable to
         Columbia and one for $5,000 payable to Ms. Habib. On September 22, 2015, Mr. Zuberi
         forwarded a bank statement to Ms. Habib showing that the $20,000 check had been
         deposited into Columbia’s account for Ms. Habib and said, “I was told both your checks
         were cashed. Hope you are learning lot at Columbia.”

 32.     Mr. Zuberi then forwarded this same email to defendant Olson along with the message,
         “My job is done.” Defendant Olson responded, “Once again, you are very generous.”

PROPOSED OBJECTIONS AND MODIFICATIONS: The government’s supplied Paragraphs 25-
32 are a false attempt to convince the PSR Writer that Amb. Olson was receiving gratuities. Amb.
Olson is not charged with receiving gratuities because there is neither a factual nor a legal basis for such
assertions. During plea negotiations, the government actually agreed there was no basis for any charge
against Amb. Olson of Conflict of Interest on account of the government’s unproven contention that
Amb. Olson granted favors to Zuberi while serving as Ambassador.

The government’s assertion that Amb. Olson supported Zuberi’s schemes for military sales to Pakistan
is completely absurd. Amb. Olson, the State Department, and the administration were uniformly
opposed to any such scheme.

Regarding Para. 27, despite AUSA O’Brien’s repeated claims that this email refers to Zuberi, the
“principal”, the email actually is referring to Sardar Yaqoob, President of Azad Jammu and
Kashmir (a Pakistani province), to whom Olson had introduced Muna Habib to assist in settling
her late father's estate.

 33.     Mr. Zuberi continued to convey favors to defendant Olson up until his retirement. From
         February 26 to February 28, 2016, at Mr. Zuberi’s invitation, defendant Olson traveled to
         Los Angeles to be the keynote speaker at a dinner sponsored by a non-profit organization
         formed to address concerns of Pakistani Americans. Defendant Olson obtained State
         Department authorization to pay for the trip. Mr. Zuberi gifted defendant Olson with the
         use of a limousine driver during his stay in Los Angeles that was billed to Mr. Zuberi at a
         cost of $467.50 and for which Mr. Zuberi paid the vendor $400.

                                                    12
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 231 of 319




 34.     On May 12, 2016, defendant Olson electronically signed and submitted his annual OGE
         Form 278 for the 2015 calendar year, in which he certified his answers were “true, complete
         and correct to the best of my knowledge.” In this OGE Form 278, defendant Olson
         knowingly and willfully failed to disclose, as required, the travel benefits he received,
         namely, the roundtrip airfare between New Mexico and London and the lodging in London
         collectively worth over $19,000.

 35.     On September 1, 2016, the OGE Form 278 was signed by a Designated Ethics Official for
         the US State Department who opined, “On the basis of information contained in this report,
         I conclude that the filer is in compliance with applicable laws and regulations.”

 36.     On his final financial disclosure form prepared upon his retirement in November 2016,
         defendant Olson falsely certified on his OGE Form 278 that his answers were true when
         he concealed Mr. Zuberi’s gift of limousine rides worth at least $400 in connection with
         the speaking engagement in Los Angeles in February 2016. Defendant Olson did, however,
         disclose another gift on this form valued at $100.

 37.     Other than the $300,000 per year job offer from ADIH, defendant Olson received no other
         job offers prior to his retirement from government service on November 30, 2016.
         Defendant Olson did not accept the employment offer or board membership from ADIH.
         However, either shortly before or shortly after his retirement, defendant Olson did accept
         a contracting relationship with Mr. Zuberi’s company Avenue Ventures at a rate of $20,000
         per month ($240,000 per year). Defendant Olson also agreed to accept a position on the
         board of ADIH’s successor, Infra Capital, that would increase his compensation, although
         no final agreement was signed.

PROPOSED OBJECTIONS AND MODIFICATIONS: The government’s misleading
Paragraphs 33-37 are intended to convince the PSR Writer that Amb. Olson accepted gratuities
and failed to report receipt of money not alleged as part of the reporting violation in Count One.
The government did not include in Count One the limousine expense in Paras. 33 and 36. The
government could have insisted on inclusion of this $400 expense in Count One in plea
negotiations. The government did not do so, presumably because it is de minimis or because State
Department regulations impliedly treat the payment as being made to the government. The ADIH
proposed job and salary of $300,000 were never accepted, and must be ignored completely for
sentencing purposes.

         Cooling-Off Period Violations

 38.     The defendant retired from government service on November 30, 2016. In or about
         November or December 2016, either just prior to, or shortly after, defendant Olson retired
         from government service, Mr. Zuberi agreed to retain the services of defendant Olson for
         $20,000 per month plus expenses. On or about December 15, 2016, Mr. Zuberi sent
         defendant Olson his first monthly check payable to Medicine Bear in the amount of
         $20,000.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson interviewed for several
positions prior to his retirement. After the election in November of 2016, his most interesting job
prospect was withdrawn, based on the change in administrations anticipated after the election. Amb.
Olson had no interest in working for Zuberi as an employee. Therefore, Amb. Olson established a
consultant business and agreed to represent Zuberi as a consultant. Amb. Olson did not agree to an
engagement with Zuberi until December, after his retirement.
                                                   13
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 232 of 319




 39.     Defendant Olson began working for Mr. Zuberi and Mr. Zuberi’s company, despite being
         aware that he was subject to the “revolving door” prohibitions of Title 18 USC §207(f).
         Within the one-year cooling-off period after his retirement, the defendant provided aid and
         advice to the government of Qatar with the intent to influence decisions of US government
         officials.

PROPOSED OBJECTIONS AND MODIFICATIONS: Of course Amb. Olson was aware he
was engaged in providing consultant services to Zuberi and others during his “Cooling Off”
period. The full extent of the “aid and advice” is detailed by Amb. Olson below.

 40.     On January 23, 2017, a business associate of Mr. Zuberi sent defendant Olson a draft plan
         for a lobbying campaign to convince the White House and the US Department of Homeland
         Security to establish preclearance facilities at Doha International Airport. The following
         day, defendant Olson sent Mr. Zuberi and his business associate an email that included his
         advice on how Qatar could “sell” its preclearance proposal to the US government.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson was responding to his
client Zuberi on the plan. This was not aid to Qatar.

 41.     Beginning on February 14, 2017, the defendant participated in a lobbying effort to convince
         the US Government to endorse the establishment of the US Customs and Border Control
         preclearance facilities at Doha International Airport in Qatar. Defendant Olson helped draft
         the proposal that was sent to the Qatar government which explained how preclearance
         facilities could be achieved. Defendant Olson provided “two elements to the proposal in
         terms of selling this to Washington,” recommending that the Qataris leverage their close
         military partnership with the United States and emphasize the positive experience the
         United States experienced with respect to the establishment of similar preclearance
         facilities in Abu Dhabi.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson provided two edits to the
draft proposal prepared by others. Amb. Olson will provide the Court with an actual copy of the
edit showing the full extent of his contribution.
 42.     On or about June 6, 2017, defendant Olson participated in a lobbying effort to convince the
         US Government to support Qatar in its efforts to oppose a blockade imposed upon it by its
         neighbors. Defendant Olson’s aid included recruiting a retired US General (“the “General”)
         to join defendant Olson in providing aid and advice to Qatari government officials with the
         intent to influence US foreign policy with respect to the Gulf Diplomatic Crisis.


 PROPOSED OBJECTIONS AND MODIFICATIONS: This is another example of language
 from the government that the PSR Writer should avoid adopting. At the time, Amb. Olson was
 providing advice to his client Zuberi. The scope of Zuberi’s “lobbying” was entirely unknown to
 Amb. Olson.

 43.     As part of his efforts to aid the Qatar Government, on June 6, 2017, defendant Olson
         recruited the General, who was working at a Washington DC think tank, to enlist his
         support in the endeavor. On June 7, 2017, defendant Olson met with the General, a third
         party, and others a hotel in Washington, DC at which time the General explained how he
         would conduct the lobbying and public relations campaign. On June 8, 2017, the third party
         agreed to pay for the expenses of defendant Olson and the General to travel to Doha to
         meet with representatives of the Qatar Government. At the time, defendant Olson was
                                                   14
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 233 of 319



         being paid $20,000 per month to provide services to the third party. The third party agreed
         to pay the General a fee for his efforts.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson acted at this time as a
consultant to Zuberi, and recommended the General.

 44.     On June 10, 2017, defendant Olson and the General met with the Qatar Emir and other
         representatives of his government. Defendant Olson and the General told the Qatari
         government officials that they had traveled to Qatar as private citizens, not on behalf of the
         US government, but noted that they had connections with US government officials that
         placed them in a position to help Qatar.

 45.     During the meetings, the General advised the Qatar government officials to embrace US
         involvement in resolving the crisis, accept President Trump’s offer to mediate, sign a
         pending deal to purchase US F-15 fighter jets, and use the US Al Udeid Air Base in Qatar
         as leverage to exert influence over US government officials. The Qatari officials were
         further advised to compete with Saudi Arabia’s lobbying campaign in the US and to use a
         full spectrum of information operations to control the political narrative in the United
         States. The General informed the Qatar Government that they would use the US National
         Security Advisor to further their efforts.

PROPOSED OBJECTIONS AND MODIFICATIONS [Paras. 44-45]: Zuberi was thrown out of
the meetings by the Qatar representatives before they began. This signifies that the Qatar
representatives were more interested in communication with the General than in treating Zuberi as a
member of the team. It is also likely that the Qataris were relying on others more sophisticated than
Zuberi in meeting with the General. At the meetings, Amb. Olson did not actively participate, but acted
as a scrivener. In fact, his hand-written notes of the meetings – which Amb. Olson retained and
provided to the government – became very important evidence to the government. Amb. Olson created
the only known record of the meetings. In plea negotiations, the government characterized Amb. Olson
as the “only witness” as to what occurred during the meetings in Qatar.

 46.     From June 9 through June 15, 2017, with defendant Olson’s knowledge, the General
         solicited the help of the National Security Advisor and his staff to support the Qatar’s
         position with respect to the crisis.

 47.     On or about June 15, 2017, the General informed defendant Olson that the US National
         Security Advisor and another senior US government official had been briefed on their
         efforts to convince the United States to support Qatar’s cause.

 48.     On June 16, 2017, the General reported to defendant Olson, the third party, and a senior
         Qatar Government Official that he personally asked the National Security Advisor to meet
         with senior Qatar officials and that while an “embassy request has to work its way up, our
         request will come down from above.”

 49.     On June 23, 2017, the General stated that two senior Qatar Government Officials would be
         visiting Washington, DC the next week and asked the National Security Advisor to meet
         with them.

 50.     On June 28, 2017, defendant Olson attended a dinner with the General, representatives of
         the Qatar Government, and members of Congress to enlist Congress to support the Qatari
         cause.

                                                    15
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 234 of 319



PROPOSED OBJECTIONS AND MODIFICATIONS [Paras. 46-50]: Amb. Olson was not
actively involved in these activities. The dinner mentioned in Para. 50 was arranged by Zuberi,
which Amb. Olson did attend.

Paragraphs 38-50 were provided to the PSR Writer to adversely influence her understanding of the
facts. As we indicate above, Amb. Olson requests that the PSR Writer report to the Court the
“facts” contained in the Information found at ECF No. 1.

         Scope of Defendant Olson’s False Statements and Concealment

 51.     On July 17, 2019, in a voluntary interview with the FBI, defendant Olson concealed
         information related to benefits he received from Mr. Zuberi by making the following false
         statements: (1) that his January 2015 travel to London was paid for by Mr. Zuberi’s
         business associate, when in fact Mr. Zuberi paid for the travel; (2) that defendant Olson
         received no specific job offer from ADIH saying, “we had a conversation in London about
         . . . possibilities for post-employment. There was never a specific job offer. There was never
         anything,” when in fact, ADIH had formally offered defendant Olson a $300,000 per year
         job; and (3) that defendant Olson had “no idea” how Mr. Zuberi helped finance Ms. Habib’s
         college tuition, when in fact, Mr. Zuberi forwarded to defendant Olson a bank statement
         showing that Mr. Zuberi’s $20,000 check had been deposited into Columbia University’s
         account for Ms. Habib and Mr. Zuberi told defendant Olson that both checks he issued had
         been cashed.

PROPOSED OBJECTIONS AND MODIFICATIONS: (1) Amb. Olson had no knowledge that
Zuberi paid for the London travel, except what Zuberi told him; (2) Amb. Olson in this interview four
years after the events had no reason to recall specifics of the job offer because he was fairly dismissive
of the opportunity from the beginning; and (3) Amb. Olson had no reason to remember the bank
information from years before. These are hardly false statements and did not interfere with any
investigation.

 52.     In that same FBI interview, defendant Olson also concealed information related to the
         nature of his relationship with Mr. Zuberi by making the following false statements: (1)
         that he had no knowledge of Mr. Zuberi’s business interests in military sales to foreign
         governments they discussed, claiming, “I had no reason to believe that [Zuberi] had any
         business interests in any of these [military] deals” and that his understanding was that
         Zuberi’s interest in the sales was merely for “general information.” In fact, defendant Olson
         was aware that Mr. Zuberi was engaged in the business of brokering military sales between
         a manufacturer of military drones and foreign governments; (2) that defendant Olson and
         Mr. Zuberi only engaged in general-interest political discussions and “political gossip,”
         that there “was no business relationship” between the two, and that he could not recall any
         “ask” from Mr. Zuberi. In fact, defendant Olson agreed to assist Mr. Zuberi’s business
         efforts in lobbying members of Congress and provided Mr. Zuberi with talking points to
         promote weapon sales to foreign governments in response to a request from Mr. Zuberi;
         and (3) after being handed a copy of the talking points by the FBI, defendant Olson falsely
         stated that that “whatever information I shared with [Zuberi] . . . I would share with anyone.
         I mean these were public[.]” In fact, the talking points defendant Olson shared with Mr.
         Zuberi had not been cleared for public distribution.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson knew Zuberi rarely brought any
business relationship across the finish line in a formal sense. Zuberi’s goal, looking back in the light of
Zuberi’s prosecution for illegal campaign contributions, was to create relationships based on his campaign
funding. If the government had any hard information that Zuberi brokered military sales of weapons,
                                                    16
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 235 of 319



they surely would have indicted him. The “Talking Point” were not “cleared for pubic distribution”
because there was no need for such a formal review. Amb. Olson prepared them from publicly available
information.

 53.     On July 17, 2019, in his initial interview with the FBI, defendant Olson concealed
         information related to his business relationship with Mr. Zuberi after defendant Olson’s
         retirement by making the following misleading statements: “I don’t know much about
         [Zuberi’s] actual business operations because he has me advising him on, sort of, broadly
         speaking government relations, sort of strategic, ah, aspects of business.” In fact, defendant
         Olson participated in Mr. Zuberi’s business operations with respect to lobbying campaigns
         to procure Qatar preclearance facilities and to modify US policy with respect to the Gulf
         Diplomatic Crisis, by participating in the drafting of a lobbying proposal submitted to the
         Qatar government with respect to Qatar preclearance facilities and by meeting with the
         Emir of Qatar and other high-ranking Qatari officials as well as US Government officials
         to assist the Qatar government in its effort to modify the US Government’s response to the
         Gulf Diplomatic Crisis.

PROPOSED OBJECTIONS AND MODIFICATIONS: This contention assumes that Amb. Olson
believed he had lobbied the government of the United States on behalf of Qatar. If the government
wanted to elicit a specific answer related to Qatar, the FBI Agent would need to ask a more directed
question for Amb. Olson to have actually made a false statement.

 54.     On December 17, 2019, in a second voluntary interview with the FBI, defendant Olson
         concealed information related to benefits he received from Mr. Zuberi by falsely stating
         that he was uncertain who paid for defendant Olson’s January 2015 travel to London but
         that Mr. Zuberi did not pay for any trips while defendant Olson was employed by the US
         State Department. In fact, Mr. Zuberi paid for defendant Olson’s travel and lodging in
         connection with the January 2015 travel to London.

PROPOSED OBJECTIONS AND MODIFICATIONS: Once again, the government asserts that
Amb. Olson knew that Zuberi paid for the travel, which he did not.

In paragraphs 51-54 the government misled the PSR Writer with this information. If the government
believed Amb. Olson made false statements, it would have indicted him.

         Victim Impact

 55.     These are Title 18 offenses and there is no identifiable victim. The Government advised
         there should be no restitution order in this case, and had the defendant been charged with
         a gratuity violation or bribery, restitution would be applicable. The Government related as
         these allegations were not charged, they should only be used for sentencing in accordance
         with 18 USC §3553(a) factors.

         Adjustment for Obstruction of Justice

 56.     The defendant willfully obstructed or impeded, or attempted to obstruct or impede, the
         administration of justice when the defendant concealed information related to the benefits
         he received from Mr. Zuberi and concealed information related to the nature of his
         relationship with Mr. Zuberi. Accordingly, a two-level enhancement pursuant to USSG
         §3C1.1 is warranted.


                                                    17
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 236 of 319



PROPOSE OBJECTIONS AND MODIFICATIONS: See our Proposed Objections and Modifications
below after Paragraphs 67 and 68.

         Adjustment for Acceptance of Responsibility

 57.     The defendant provided a statement to the probation officer wherein admitting involvement
         in the offense. Further, Defense Counsel provided the following written statement: [No
         Changes Requested].

 58.     As provided for in Application Note 3 of USSG §3E1.1, entry of a guilty plea prior to trial
         combined with truthfully admitting conduct comprising the offense of conviction, and
         truthfully admitting or not falsely denying any additional relevant conduct will constitute
         significant evidence of acceptance of responsibility; however, the evidence may be
         outweighed by conduct of the defendant that is inconsistent with such acceptance of
         responsibility. The entry of a guilty plea is not an entitlement to an adjustment under this
         section as a matter of right. Further, as provided for in Application Note 4 of §3E1.1,
         conduct that normally results in an enhancement under §3C1.1, ordinarily indicates the
         defendant has not accepted responsibility for his criminal conduct; however, there may be
         extraordinary cases in which adjustments under both §§3C1.1 and 3E1.1 may apply. In
         light of the above Application Notes, and in consideration of defendant Olson’s overall
         conduct, the adjustment for acceptance of responsibility in this case remains applicable.

         Offense Level Computation (2021 US Sentencing Guidelines)

 59.     Count 1: Making a False Writing, 18 USC § 1018

 60.     Count 2: Aiding and Assisting a Foreign Government with Intent to Influence Decisions
         of United States Officers, USC § 18 USC § 207(f)(1)(B)

 61.     Count 1 is found in USSG §2B1.1 of the guidelines; Count 2 is found in USSG §2C1.3 of
         the guidelines.

 62.     Because the conduct in Count 1 does not involve the same risk of harm from the conduct
         in Count 2, pursuant to USSG §2D1.2, these counts are not grouped. The combined offense
         level is determined by taking the count producing the highest offense level and increasing
         that offense level by an amount of ‘units’ as provided in USSG §3D1.4.

PROPOSED OBJECTIONS AND MODIFICATIONS: If the counts are not grouped, any relevant
conduct must fall under §1B1.3(a)(1)(A) to be considered in the sentencing calculation. The relevant
conduct must be “acts and omissions committed . . . by the defendant that occurred during the
commission of the offense of conviction, preparation for that offense, or in the course of
attempting to avoid detection or responsibility for that offense.” §1B1.3(a)(1)(A) (emphasis
supplied). See also United States v. Flores, 149 F.3d 1272, 1281 (10th Cir. 1998). The PSR Writer
erroneously relied upon conduct alleged by the government in Paragraphs 17-54 which did not occur
during the commission of the offense of conviction, preparation for those offenses, or in the court of
attempting to avoid detection or responsibility for those offenses.

         Count Group 1




                                                   18
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 237 of 319



63.     Base Offense Level: The guideline for 18 USC § 1018 offenses is found in USSG
        §2B1.1 of the guidelines. That section provides that an offense involving fraud has
        a base offense level of six. USSG §2B1.1(a)(2).                                             6

64.     Specific Offense Characteristics: None.                                                     0

65.     Victim Related Adjustment: None.                                                            0

66.     Adjustment for Role in the Offense: None.                                                   0

67.    Adjustment for Obstruction of Justice: The defendant willfully obstructed or
        impeded, or attempted to obstruct or impede, the administration of justice with
        respect to the investigation, prosecution, or sentencing of the instant offense of
        conviction, and the obstructive conduct related to the defendant's offense of
        conviction and any relevant conduct, or a closely related offense (when he
        concealed information related to benefits he received from Mr. Zuberi); therefore,
        two levels are added. USSG §3C1.1.                                                         +2
68.      Adjusted Offense Level (Subtotal):                                                         8
PROPOSED OBJECTIONS AND MODIFICATIONS: There should be no
enhancement under USSG §3C1.1 for obstruction of justice. First, the PSR Writer
erroneously relied upon conduct alleged by the government in Paragraphs 17-54 which did
not occur during the commission of the offense of conviction, preparation for those
offenses, or in the court of attempting to avoid detection or responsibility for those offenses.
Second, the obstruction of justice enhancement applies where: (1) “the defendant willfully
obstructed or impeded, or attempted to obstruct or impede, the administration of justice with
respect to the investigation, prosecution, or sentencing of the instant offense of conviction,
and (2) the obstructive conduct related to (A) the defendant’s offense of conviction and
any relevant conduct; or (B) a closely related offense.” (Emphasis supplied).

       Application Note 4 supplies “Examples of Covered Conduct”, including (G)
“providing a materially false statement to a law enforcement officer that significantly
obstructed or impeded the official investigation or prosecution of the instant offense.”
Application Note 5 gives “Examples of Conduct Ordinarily Not Covered”, which includes
(B) “making false statements, not under oath, to law enforcement officers, unless Application
Note 4(G) above applies.” Application Note 6 defines “material” as any information “that, if
believed, would tend to influence or affect the issue under determination.”

       The information allegedly “concealed” by Olson in the interviews was: 1)
“information related to benefits he received from Mr. Zuberi.” Specifically, the trip to
London, the job offer, and lack of knowledge as to the payments to Columbia (¶ 51); 2)
information regarding Zuberi and his interests in military sales, no business relationship
between Olson and Zuberi; and falsely claiming that he would share the “talking points” with
Zuberi and anyone else (when the “talking points” were not cleared for public distribution) (¶
52; and 3) information regarding his retirement and a business relationship with Zuberi,
including Zuberi’s actual business operations in connection with Qatar (¶ 53 ).

       The government has the burden of proving an obstruction of justice by a
preponderance of the evidence. United States v. Rodriguez, 336 F.3d 67, 71 (1st Cir. 2003);
United States v. Wilson, 884 F.2d 1355 (11th Cir.1989).

                                                   19
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 238 of 319



        In United States v. Ring, 811 F. Supp. 2d 359 (D. D.C. 2011), the government argued
for an obstruction enhancement. The trial court found that the government had not met its
burden of proving obstruction. Id. at 383. Ring, a lobbyist from Greenberg Traurig, was
found guilty for payment of an illegal gratuity, honest services wire fraud and conspiracy.
The government claimed that Ring made false statements to investigators hired by Greenberg
Traurig, specifically pointing to Ring's “false and misleading statements about his knowledge
of and participation in the [Michael] Scanlon-Abramoff kickback scheme, his receipt of
$135,000 related to the Sandia Pueblo [tribe], as well as his knowledge [of] the corruption
scheme involving payments to Julie Doolittle for a little-work job.” The court noted that the
obstruction enhancement was not triggered unless the obstructive conduct “related to (i) the
defendant’s offense of conviction and any relevant conduct; or (ii) a closely related offense.”
The court explained that the first two instances of obstruction were not part of the offense of
conviction and were not related to the offense of conviction. Regarding the Doolittle matter,
Ring at first stated he did not remember much about it, but in a later interview he recounted
several details about it. This did not amount to obstruction because Ring had reviewed emails
about the matter prior to the last interview. The court refused to impose the enhancement on
this basis, holding:

       An enhancement under § 3C1.1 is only appropriate where the defendant acts
       with the intent to obstruct justice. Where conduct is “directly and inherently
       obstructive” – that is, where the defendant engages in “behavior that a rational
       person would expect to obstruct justice” – the court may infer an intent to
       obstruct justice and need not make a separate finding of specific intent.

Id. at 384 (quoting United States v. Reeves, 586 F.3d 20, 23 (D.C. Cir. 2009).

        The fact that Ring “changed” his story about the Doolittle job from “I don't remember,
I need my recollection refreshed” to later providing additional details after having his
recollection refreshed with contemporaneous emails is plainly not “directly and inherently
obstructive” and is insufficient to demonstrate that Ring lied about this issue or intended to
obstruct justice.

        Applying Ring to Olson’s case, the allegations contained in ¶¶ 51 and 52 are not
related to the offenses of conviction or any relevant conduct. As for ¶ 52, the “concealed”
information was not material to the offense of violating the one-year “cool-off” period. There
is no evidence that any of the “concealed” information significantly affected the investigation.
See e.g., United States v. Shriver, 967 F.2d 572, 575 (11th Cir. 1992) (no evidence showing
defendant’s false statement, not under oath, to IRS agent about “voided” Notice of Federal
Tax Lien significantly obstructed or impeded the official investigation because the agent was
already aware that defendant was the one who altered the Notice); United States v. Manning,
955 F.2d 770 (1st Cir. 1992) (obstruction enhancement was inappropriate because defendant’s
use of false identity in response to arresting officer’s inquiries did not cause “significant
hinderance to the investigation”); United States v. Williams, 952 F.2d 1504 (6th Cir. 1991)
(“section 3C1.1 specifically permits lies to investigating agents if they do not significantly
impede the investigation”); United States v. Urbanek, 930 F.2d 1512 (10th Cir. 1991) (false
statements denying guilt made to IRS Agent did not support obstruction enhancement).

        The Fifth Circuit has held that to establish that a defendant’s conduct resulted in an
actual hindrance, “the government must present evidence of what action it took that it would
not have taken had [defendant]’s identity been known” when he gave false information.
United States v. Surasky, 976 F.2d 242, 245-246 (5th Cir. 1992) citing United States v. Banks,
347 F.3d 1266, 1271 (11th Cir. 2003). The language of the application notes “requires a
                                                   20
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 239 of 319



causal relationship between the materially false statement given and a resulting impediment
upon the instant investigation or prosecution.” See also United States v. Selvie, 684 F.3d
679, 684 (7th Cir. 2012) (materially false information provided to law enforcement must
actually obstruct or impede the official investigation to merit an obstruction enhancement.
“Without more, false statements to law enforcement authorities, if not made under oath, do
not actually impact the investigation or prosecution.”); United States v. Griffin, 310 F.3d
1017, 1023 (7th Cir. 2002) (government must prove “a detrimental effect upon [its] efforts to
investigate or prosecute the instant offense.”).

       To show that Olson committed obstruction, the government must show how his
“concealed” information resulted in an “impediment upon the instant investigation or
prosecution” or that the “concealed” information “a detrimental effect” on its investigation.
The government has not done so, and this enhancement must be eliminated.
        Count Group 2

69. Base Offense Level: The guideline for a violation of 18 USC § 207(f)(1)(B) is USSG
     §2C1.3. Pursuant to the cross reference at §2C1.3(c)(1), USSG §2C1.2 is used to
     determine the offense level because the offense involved a bribe or gratuity and that
     guideline results in a higher offense level. The base offense level is 11 because the
     defendant was a public official, specifically, a US Ambassador and US Special
     Representative. USSG §§2C1.2(a)(1) and 2C1.3(c)(1).                                            11

PROPOSED OBJECTIONS AND MODIFICATIONS: The proper base offense level
should be 6. The PSR Writer’s use of the cross-reference contained in §2C1.3(c)(1) is
improper for three reasons: 1) the items the PSR is calling “gratuities” are not relevant conduct
to the offense of conviction; 2) even if they somehow could be considered relevant conduct,
they do not fall within the statutory definition of a “gratuity”; and, 3) the Plea Agreement did
not allow the government to rely upon cross references contained in the sentencing guidelines.

        The offense in Count 2 is providing “aid and advice to the government of Qatar”
within the one-year “cool-off” period. The PSR includes the $300,000 job offer (that was not
accepted), the money paid to Columbia University on behalf of Muna Habib, and the $400
paid to the limo service as gratuities; therefore, the cross-reference should not be applied.

A. Not Relevant Conduct

        The PSR, in ¶ 62, states that the two offenses are not grouped. If the counts are not
grouped, any relevant conduct must fall under §1B1.3(a)(1)(A) to be considered in the
sentencing calculation. The relevant conduct must be “acts and omissions committed . . . by
the defendant that occurred during the commission of the offense of conviction, preparation
for that offense, or in the course of attempting to avoid detection or responsibility for that
offense.” §1B1.3(a)(1)(A). See also United States v. Flores, 149 F.3d 1272, 1281 (10th Cir.
1998).

        None of the items the PSR calls “gratuities” fall under the definition of relevant
conduct. He did not accept the $300,000 position with ADIH and the proposed position had
no relevance to the offense of conviction; i.e., “aid and advice to the government of Qatar”
within the one-year period.” For the same reason, the money paid to Columbia University
had nothing to do with his providing “aid and advice to the government of Qatar” and was
thus not relevant conduct. Likewise, the $400 paid for the limo service was no way related
to his “aid and advice to the government of Qatar.”
                                                    21
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 240 of 319




         In United States v. Flores, 912 F.3d 613 (D.C. Cir. 2019), the court reversed a sentence
where the district court included, as relevant conduct, the defendant’s participation in the
murder of a Mexican kidnap victim. The court noted that neither the plea agreement nor the
initial PSR mentioned §1B1.3. The court also pointed out the neither the record nor the
government’s brief contained any reference to §1B1.3(a)(1)(a). Further, even if the PSR and
the government had argued that the kidnap/murder fell under §1.B1.3(a)(1)(A), the argument
would have failed because the kidnap/murder was not related to the underlying racketeering
offense of conviction. See also United States v. West, 643 F.3d 102 (3rd Cir. 2011) (conduct
surrounding arrest five months after defendant was arrested for being a felon in possession
should not have been included in relevant conduct under §1B1.3(a)(1)(a)); United States v.
Wernick, 691 F.3d 108, 114 (2nd Cir. 2012) (offenses against young children were not relevant
conduct because these offenses did not “occur[] during the commission of” or “in preparation
for” the crimes against the teenagers “in the sense contemplated by the Guidelines.”); United
States v. Caldwell, 2020 U.S. App. LEXIS 5765; 2020 WL 914922 (11th Cir. 2020) (grand
theft of the motor vehicle did not occur during commission of offenses of conviction and was
not done in order to avoid detection or responsibility for those offenses. “Thus, under the
Guidelines, it is not relevant conduct.”).

        In Olson’s case, neither the Statement of the Offenses nor the PSR mention “relevant
conduct” under §1B1.3(a)(1)(A). In fact, the PSR does not explain how the three activities
are relevant conduct. Instead, the PSR bypasses this step and goes straight to “gratuity”
without explaining the basis for considering them as gratuities. This is improper and the
cross-reference should not be used.

B. Three Activities Were Not Gratuities

       Even assuming the three activities are relevant conduct, they still were not gratuities
and applying the cross-reference is improper.

        Courts frequently refer to 18 U.S. Code § 201(c) as the “Gratuity Statute.” See e.g.
United States v. Sun-Diamond Growers, 138 F.3d 961, 963 (D.C. Cir. 1998) (“it is enough
under the gratuity statute, 18 U.S.C.S. § 201(c)(1)(A), if the defendant gives an unpromised
benefit for a past governmental favor.”); United States v. Heard, 709 F.3d 413, 419 (5th Cir.
2013); United States v. Jefferson, 674 F.3d 332, 353 (4th Cir. 2012). While Olson was not
charged under this statute, it offers the best definition of a “gratuity:”

       18 U.S.C. § 201(c) Whoever –
              (1)    otherwise than as provided by law for the proper discharge of official
              duty –
              (B)    being a public official . . . directly or indirectly . . . agrees to receive or
              accept anything of value personally for or because of any official act
              performed or to be performed by such official or person.

         All three instances that the PSR counts as gratuities involve Zuberi, Janahi, and ADIH.
If these are to be considered “gratuities” then Olson had to accept them “for or because of any
official act” he had performed or was to perform. His alleged actions after 02/16/2015 (when
he received the terms of the job offer from ADIH) were: 1) agree to meet with members of
Congress regarding the sale of military hardware to Pakistan (¶ 23); 2) provide Zuberi with
“talking points” on selling arms to Pakistan (¶ 24); and 3) accept the use of a limo service
while presenting a State Department approved speech. The remainder of his actions set out
in the PSR revolve around the pre-clearance facility at Doha and conduct charged in Count 2.
                                                     22
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 241 of 319




         To constitute an illegal gratuity, a connection must be made between a thing of value
 and official act to be performed by the public official. It is not sufficient to merely show that
 gratuity was given because of recipient’s official position or motivated by recipient’s capacity
 to exert governmental power for donor’s benefit. United States v. Sun-Diamond Growers,
 526 U.S. 398, 413 (1999).

        There is no evidence connecting the fact that Olson performed the tasks related to
 arms sales or his limo ride in return for the “thing of value” (proposed employment contract,
 money paid to Columbia, or payment for the limo service). Without this connection, there is
 no gratuity. See also United States v. Schaffer, 183 F.3d 833, (D. D.C. 1999) reversed and
 vacated on other grounds 1999 U.S. App. LEXIS 16923 (D.C. Cir. 1999) (vacated due to
 presidential pardon); Valdes v. United States, 475 F.3d 1319 (D.C. Cir. 2007) (insufficient
 evidence to convict defendant of illegal gratuity). Furthermore, the Department of Justice
 Manual explicitly provides that under the facts of this case where the pubic official does not
 personally receive the gratuity, the offense must not be charged. See DOJ Manual attached
 as Exhibit A. The contention that Amb. Olson received gratuities was contested during plea
 negotiations, and the government conceded there is no basis for a charge of Conflict of Interest
 while serving as Ambassador.

 C.    The Plea Agreement Does Not Permit Use of Cross References

          Amb. Olson contends the government is bound by the agreed upon in Paragraph 14
 of the Plea Agreement, resulting in a sentencing range of 0-6. In the event the government
 argues for a different guideline range, the Plea Agreement does not include resort to any cross
 reference for sentencing purposes. Paragraph 15 states: “Defendant and the USAO reserve
 the right to argue that additional specific offense characteristics, adjustments, and departures
 under the Sentencing Guidelines are appropriate.”

 70.     Specific Offense Characteristics: Because the offense involved more than one
         gratuity, specifically, the university grant; the limousine; and the employment offer,
         two levels are added. USSG §2C1.2(b)(1).                                              +2

 PROPOSED OBJECTIONS AND MODIFICATIONS: Because the cross reference does
 not apply, this provision does not apply.
 71.     Specific Offense Characteristics: Because the value of the gratuity exceeded
         $6,500, the base offense level is increased by the levels from the table in §2B1.1.
         In this case, the number of offense levels from the table in §2B1.1 corresponded to
         the value of more than $250,000 but less than $550,000 (specifically, the $25,000
         college tuition, $400 for the limousine; and $300,000 in the employment offer)
         thereby resulting in a 12-level increase to the base offense level, USSG
         §2C1.2(b)(2) and USSG §2B1.1(b)(1)(G).                                                      +12

PROPOSED OBJECTIONS AND MODIFICATIONS: Because the cross reference does not apply,
this provision does not apply. The $300,000 salary was not received. The $400 for the limousine was a
benefit to the State Department, not Amb. Olson.

 72.     Specific Offense Characteristics: Because the offense involved an elected public
         official or any public official in a high-level decision-making or sensitive position,
         4 levels are added. USSG §2C1.2(b)(3).                                                      +4


                                                     23
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 242 of 319



PROPOSED OBJECTIONS AND MODIFICATIONS: As stated above, here, again, because the cross
reference does not apply, this provision does not apply. Moreover, Count 2 involves activities of Amb. Olson at a
time when he was no longer serving in government. The commentary to §2C1.3, in Note 3(A), defines high-level
decision-making or sensitive position as: “a position characterized by a direct authority to make decisions for, or
on behalf of, a government department, agency, or other government entity, or by a substantial influence over the
decision-making process.” Even assuming the cross reference should be applied, none of the conduct that the
government alleges occurred while Amb. Olsen was in the government with respect to alleged gratuities is relevant
conduct to his post-government lobbying work.
        Further, after lengthy negotiations, the Plea Agreement in this case was designed and intended by
the parties to make available to Amb. Olson a sentence of probation. AUSA O’Brien and DOJ Attorney
Turgeon said so. The parties explicitly agreed that the offense level would be 6. Deference will generally
be accorded an agreement negotiated between competent counsel, taking into account the “institutional
incentives” that induce a prosecutor to plea bargain, and the observed phenomenon that the plea-
bargaining process usually “produces the right result” in terms of the seriousness of the underlying crime.
See United States v. Torres-Echavarria, 129 F.3d 692, 694695 (2nd Cir. 1997).



        In Amb. Olson’s case, public safety is not an issue. The prosecution and defense agreed to a
specific set of offense conduct, including the calculation of a fair application of the guidelines. The plea
agreement and the Statement of The Offenses, agreed upon by both parties, produced the right result and
deference to that agreement should be observed by the Court.

       The PSR Writer should also report that the government proposed that Amb. Olson cooperate in
hopes of obtaining a 5K departure for assistance in the purported prosecution of General John Allen.
Whether the government is willing to report to the Court the prospect of such a prosecution, Amb. Olson
should be entitled to consideration of his good faith.

 73.      Victim Related Adjustment: None.                                                                 0

 74.      Adjustment for Role in the Offense: None.                                                        0

 75.      Adjustment for Obstruction of Justice: The defendant willfully obstructed or
          impeded, or attempted to obstruct or impede, the administration of justice with
          respect to the investigation, prosecution, or sentencing of the instant offense of
          conviction, and the obstructive conduct related to the defendant's offense of
          conviction and any relevant conduct; or a closely related offense (specifically, when
          he concealed information related to his relationship with Mr. Zuberi) ; therefore,
          two levels are added. USSG §3C1.1.                                                              +2

PROPOSED OBJECTIONS AND MODIFICATIONS:                                   See our Proposed Objections and
Modifications after Paragraphs 66 and 67, above.

 76.      Adjusted Offense Level (Subtotal):                                                              31

 77.      Multiple Count Adjustment: Units are assigned pursuant to USSG §3D1.4(a), (b) and
          (c). One unit is assigned to the group with the highest offense level. One additional unit is
          assigned for each group that is equally serious or from 1 to 4 levels less serious. One-half
          unit is assigned to any group that is 5 to 8 levels less serious than the highest offense level.
          Any groups that are 9 or more levels less serious than the group with the highest offense
          level are disregarded.

           Group/Count              Adjusted Offense Level           Units
                                                        24
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 243 of 319



          Count 1                             8                   0.0
          Count 2                             31                  1.0

          Total Number of Units:                                 1.0

 78.     Greater of the Adjusted Offense Levels Above:                                            31

 79.     Increase in Offense Level: The offense level is increased pursuant to the number
         of units assigned by the amount indicated in the table at USSG §3D1.4.                    0

 80.     Combined Adjusted Offense Level: The Combined Adjusted Offense Level is
         determined by taking the offense level applicable to the Group with the highest
         offense level and increasing the offense level by the amount indicated in the table
         at USSG §3D1.4.                                                                          31

 81.     Chapter Four Enhancement: None.                                                           0

 82.     Acceptance of Responsibility: The defendant has clearly demonstrated acceptance
         of responsibility for the offense. Accordingly, the offense level is decreased by two
         levels. USSG §3E1.1(a).                                                                   -2

 83.     Acceptance of Responsibility: The defendant has assisted authorities in the
         investigation or prosecution of the defendant's own misconduct by timely notifying
         authorities of the intention to enter a plea of guilty. Accordingly, the offense level
         is decreased by one additional level. USSG §3E1.1(b).                                    -18

 84.     Total Offense Level:                                                                     28

PROPOSED OBJECTIONS AND MODIFICATIONS: The Total Offense Level should be 6.

         Educational, Vocational and Special Skills

119. OBJECTION: Amb. Olson may drink two glasses of wine each evening.

126. OBJECTION: Amb. Olson was a member of the National Honor Society and received an award
for ability in French. Amb. Olson was not a member of the “National French Honor Society” to the best
of his recollection.

         Employment Record

130. OBJECTION: Amb. Olson resigned this position. He was not terminated.

131. OBJECTION: Amb. Olson resigned this position. He was not terminated.




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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 244 of 319




             EXHIBIT NN
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 245 of 319
3/20/2021                                              Hannon Law Group Mail - Your Filings in Zuberi



                                                                           J. Michael Hannon <jhannon@hannonlawgroup.com>



  Your Filings in Zuberi
  1 message

  J. Michael Hannon <jhannon@hannonlawgroup.com>                                            Thu, Nov 12, 2020 at 9:29 AM
  To: "OBrien, Daniel J. (USACAC)" <Daniel.Obrien@usdoj.gov>, "Turgeon, Evan (NSD)" <Evan.Turgeon@usdoj.gov>
  Cc: "Greenfield, Jeremy A. (LA) (FBI)" <jagreenfield@fbi.gov>, Gemma Forest <gforest@hannonlawgroup.com>
  Bcc: Rick Olson <rickscafedxb@yahoo.com>

    Dan,

    We have reviewed your public filings in the Zuberi case this week. I thought we had a promise from you that if you filed
    anything based on information obtained from Amb. Olson, you would alert us. Did we miss something?

    Attached are highlighted versions of your filings. There is some new information highlighted, and we would like to know if
    your source for this information is Amb. Olson.

    If so, we assume the supporting evidence is contained in your sealed submissions. This is very unfair to Amb. Olson.
    We would like to see your sealed submissions if they include information obtained from Amb. Olson. As Amb. Olson told
    you last week, journalist Alan Suderman recently stated that his source for the identity of person NN is in "DOJ." We
    remain concerned that your sealed reports about Amb. Olson will similarly become public. And certainly Mr. Zuberi's
    attorneys and Mr. Zuberi have this information. as well as the esteemed Judge. I don't know what parity Mr. Zuberi's
    attorneys may seek in this regard.

    We also note that in D#233, at page 10 you again refer to Ms. Habib as a "paramour" which is utterly insulting to her and
    Amb. Olson. Both of them have been most gracious to you and the Special Agents who interviewed them. You may
    recall in our first conversation, you used this word and I reacted quite viscerally. No doubt, Mr. Suderman is delighted by
    the reference, and we anticipate needing to address his news story somehow when it is published. I do note that in this
    filing D#233 at page 10 you do recognize that Mr. Zuberi was attempting to exploit his payment of Ms. Habib's tuition,
    which is a more realistic inference from the facts known to you. However, you again refer to Zuberi paying a "gratuity" at
    page 13. I cannot see this as other than a reference to the tuition payment to Ms. Habib. And if it is a reference to the
    tuition payment, it is a false assertion. Recall we provided you with a DOJ advisory that expressly states that a gratuity
    must be paid to the official "personally" as the statute requires.

    I am not naive to the fact that we were aware that your goal in interviewing Amb. Olson was to obtain more ammunition
    against Mr. Zuberi. However, you have not given as well as you have received.

    I am satisfied that Amb. Olson's interview, Ms. Habib's testimony, and Ms. Forest's legal research have thoroughly
    rebutted your prosecutorial theories against Amb. Olson, and that charges are not justified under DOJ guidelines. I would
    appreciate your acknowledging that your office will not pursue criminal charges against Amb. Olson.

    A prompt response in the affirmative will save Amb. Olson further expense and useless anxiety.

    Otherwise, we will need to continue our preparation of a written response to your theories.

    You indicated last Friday that you wanted a third session with Amb. Olson. Please let me know if that is correct. We are
    getting you his calendar and information on email regarding John Allen.

    Mike


                                         J. Michael Hannon
                                         HANNON LAW GROUP, LLP
                                         333 8th Street, N.E.
                                         Washington, DC 20002
                                         (202) 232-1907, Direct
                                         (202) 365-5561, Mobile
                                         (202) 232-3704, Facsimile
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                 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 246 of 319
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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 247 of 319




          EXHIBIT OO
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 248 of 319
7/21/2019                                               Yahoo Mail - Re: State email




     Re: State email

     From: Rick Olson (rickscafedxb@yahoo.com)

     To:    imaad.zuberi@mindspring.com

     Date: Monday, October 19, 2015, 02:08 PM EDT



     I saw Jon Finer, he said he's fine with receiving an email from your or Z-
     man. But if Zman sends, he should copy me.

     rgo

     Rick Olson




      From: imaad zuberi <imaad.zuberi@mindspring.com>
      To: 'Rick Olson' <rickscafedxb@yahoo.com>
      Sent: Monday, October 19, 201512:33 PM
      Subject: RE: State email

      I have his Cos but I will ask him to email you to start
      imaad




      From: Rick Olson [mailto:rickscafedxb@yahoo.com]
      Sent: Monday, October 19, 2015 8:28 AM
      To: imaad zuberi <imaad.zuberi@mindspring.com>
      Subject: Re: State email


      You can give him mine, I can't authorize giving Kerry's COS.

      rgo

       Rick Olson




      From: imaad zuberi <imaad.zuberi@mindsgring.com>
      To: 'Rick Olson' <rickscafedxb@Y.ahoo.com>
      Sent: Saturday, October 17, 2015 1:02 PM
      Subject: RE: State email

       I do but don't want to give to him. Should I give your or his CoS?




                                                                                                  1/2
                                                                                       ROMH00000565
             Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 249 of 319
7/21/2019                                             Yahoo Mail - Re: State email


      From: Rick Olson [mailto:rickscafedxb@v.ahoo.com]
      Sent: Friday, October 16, 2015 8:23 PM
      To: imaad zuberi <imaad.zuberi@mindsP-ring.&Qlll>
      Subject: Re: State email


       I don't have Secretary Kerry's email, not sure he even has one.
        If he sends me an email I can forward on to Kerry's staff.

      rgo

      Rick Olson




      From: imaad zuberi <imaad.zuberi@mindsgring.com>
      To: Ambassordor Rick Olson - personal <rickscafedxb@y.ahoo.com>
      Sent: Friday, October 16, 2015 9:26 PM
      Subject: FW: State email


      ZMan called from London wants email for Sec State Kerry. What you want me to do? Give him his Cos
      email or give him your email? I am on plane from Dubai to Los Angeles. I will call you to 5'.liscuss or
      better you call me from your Vonage
      imaad




                                                                                                                 2/2
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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 250 of 319




            EXHIBIT PP
               Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 251 of 319
7/21/2019                                                       Yahoo Mail - FW: Points




     FW: Points

     From: imaad zuberi (imaad.zuberi@mindspring.com)

     To:    rickscafedxb@yahoo.com

     Date: Friday, April 10, 2015, 02:46 AM EDT



     Thanks. This is good. I will bring this up with Congressman Judge Ted Poe lunch tomorrow. I will mention to the Judge
     your meeting him in Europe.

     I had great 3 hour lunch with Senator Richard Blumenthal of Armed Services Committee. We covered everything from
     unfreezing Libyan assets we have in US to Predator drones sales to UAE to billions in sales to Saudi. Never to leave
     Pakistan off the table. He asked me what I think about Pakistan and the proposed US military aid to Pakistan. I told him
     Pakistan is in need of border surveillance, perimeter surveillance and etc. Both their GHQ and Karachi airport were
     under attack. I believe the Karachi Naval base was too.

     He told me he will talk to Lindsey and John and get back to me. I will reconnect when I am in Washington for dinner with
     President Obama on 23.

     I will catch up with you when I am done with the Judge.

    imaad
    ---Original Message---
    From: Rick Olson
    Sent: Thursday, April 9, 2015 10:20 PM
    To: imaad.zuberi@mindsRring.com
    Subject: Points

    lmaad: as promised. Ask that you not hand these over, I wrote them myself, but are not cleared. This is what I would
    say if giving the brief.

     General Points

     Our relationship with Pakistan has been a difficult one, but there has been progress made over the past few years.

    Although it is not a topic we can discuss publicly, our counter-terrorism cooperation (between our Services) has greatly
    increased. Pakistan has A Qaeda terrorists (notably Shukrijuma) off the battlefield at our request. They recently detained
    and deported to us an Al Qaeda operative {Farekh).

    Pakistan has launched a military operation to clear North Waziristan Agency, one of the main safehavens for terrorists.
    Although the Pakistanis have not entirely wrapped up some of the groups we would have liked to (including the
    Haqqanis ), their action has had a disruptive effect on terrorist groups operating there.

    After the Peshawar massacre, there is a strong consensus in Pakistani society for going after the terrorists. To date this
    anger has been focused on Pakistan Taliban; it needs to extend to all extremist groups.

    In terms of domestic Pakistani politics, the Army is playing an increasingly powerful role, but there is greater civilian-
    military coordination than in the recent past. The Government of Nawaz Sharif has made some progress in stabilizing
    the economy, improving foreign currency reserves, and beginning to address the deep energy crisis.

    None of this is to suggest that Pakistan has completely turned the corner. Gains have been fragile and are easily
    reversible. The overarching objective for the US is to prevent Pakistan from being a failed State. With 200 million people
    and large nuclear arsenal, a failed Pakistan would be far more threatening than North Korea, Yemen, Somalia and
    Yemen combined.

     Helicopter Deal

    (Official State points)


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                  Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 252 of 319
7/21/2019                                                       Yahoo Mail - FW: Points


     • The State Department approved a possible foreign military sale to Pakistan for helicopters and associated
     equipment, parts and support for an estimated cost of $952 million.

     • This proposed sale of helicopters and weapon systems will provide Pakistan with military capabilities in support of its
     counterterrorism (CT) and counter-insurgency (COIN) operations.

     • Pakistan is engaged in COIN and CT operations in the Federally Administered Tribal Area. We anticipate the AH - 12
     and Hellfire II missiles will enhance Pakistan's capacity in these operations in the long term.

     •     U.S. security assistance is focused on enhancing Pakistan's COIN and CT capabilities.

     Supplemental Points:

     • The Paks are currently flying Vietnam era attack helicopters (Cobra "Foxtrot" models). These have a single engine,
     and are incapable of climbing up into the mountains where the bad guys are. This deal would replace that fleet with a
     twin engine, export version of the Super Cobra ("Zulu~ model), plus associated spare parts and munitions.

     •     This is currently being notified to Congress.

     •     The package is being co-financed by the US (FMF) and Pakistan.

     rgo

     Rick Olson



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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 253 of 319




          EXHIBIT QQ
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 254 of 319




      Brian E Denver – US Embassy Pakistan
     Friday, March 13, 2015 1:37 PM
   imaad zuberi
         Congressional Engagements

Hi Imaad,

Good to finally meet yesterday…thanks for taking the time out of your schedule. Per our
discussion, Ambassador Olson has time on the afternoon of Friday the 27th and the
morning of Monday the 30th. If you can put me in touch with the right people for the
Congressmen we discussed, I’d be grateful:

 Ted Poe

 Dana Rohrabacher

 Ed Royce

 Eliot Engel

Thanks

Brian E. Denver

Chief of Staff

U.S. Embassy, Islamabad

denverbe@state.gov

denverbe@state.sgov.gov

brian.denver@dodiis.ic.gov

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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 255 of 319




           EXHIBIT RR
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 256 of 319




                Denver, Brian E[DenverBE@state.gov]
                Weitz, Bill[Bill.Weitz@mail.house.gov]
                Beckman, Heather
                Fri 3/20/2015 :44:18 AM
                            Normal
                FW: Congressional Engagements
                            Fri 3/20/2015 :44:3 AM

;;;;;;;;;;;
From: Beckman, Heather
Sent: Thursday, March 19, 2015 11:09 AM
To: Brian Denver (DenverBE@state.gov)
Subject: Congressional Engagements




Heather Beckman
Scheduler & Office Manager

Congressman Eliot L. Engel (NY-16)
2462 Rayburn House Office Building


Washington, D.C. 20515
 202.225.2464 (main)    | 202.225.5513 (fax)

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 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 257 of 319




Brian E. Denver

Chief of Staff

U.S. Embassy, Islamabad

denverbe@state.gov

denverbe@state.sgov.gov

brian.denver@dodiis.ic.gov

SBU

This email is UNCLASSIFIED.

From: imaad zuberi [http://redirect.state.sbu/?url=mailto:imaad.zuberi@mindspring.com]
Sent: Thursday, March 19, 2015 3:39 AM
To: Heather Beckman - Congressman Eliot Engel personal; Denver, Brian E; Bill Weitz - Eliot Engel
Subject: FW: Congressional Engagements

Hello Heather-

Rick Olson our Ambassador to Pakistan will be in Washington. I suggest to him to
meet Eliot to give him an update on Pakistan and talk about the letter Ed and Eliot
wrote. I will ask Brian Denver Chief of Staff of US Embassy Pakistan to contract
you directly.

Hello Brian-

Heather has control of schedule of my friend and Congressman Eliot Engel. Please
contact her to get on schedule of Eliot. She is great to work with.

Thanks

imaad

       Brian E Denver – US Embassy Pakistan
      Friday, March 13, 2015 1:37 PM
    imaad zuberi
          Congressional Engagements

Hi Imaad,

Good to finally meet yesterday…thanks for taking the time out of your schedule.




                                                                                                    B_DENV00000005
 Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 258 of 319




Per our discussion, Ambassador Olson has time on the afternoon of Friday the 27th
and the morning of Monday the 30th. If you can put me in touch with the right people
for the Congressmen we discussed, I’d be grateful:

 Ted Poe

 Dana Rohrabacher

 Ed Royce

 Eliot Engel

Thanks

Brian E. Denver

Chief of Staff

U.S. Embassy, Islamabad

denverbe@state.gov

denverbe@state.sgov.gov

brian.denver@dodiis.ic.gov

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w.avast.com




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       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 259 of 319




            Denver, Brian E[DenverBE@state.gov]
            Castonguay, Stephane (Steve) M[CastonguaySM@state.gov]
             im, Craig PS
            Wed 3/25/2015 4:11:14 PM
                      Normal
            RE: Senator Bob Menendez/Ambassador Rick Olson
                      Wed 3/25/2015 4:11:23 PM

;;;;
Sure. I ll reach out to him tomorrow.

Thank you.

 est,

Craig

Craig P. im

Pol/Mil Desk Officer

Office of Pakistan Affairs

  .S. Department of State

Tel: 202‐73 ‐7924

SBU

This email is UNCLASSIFIED.

From: Denver, Brian E
Sent: Wednesday, March 25, 2015 :  M
To: im, Craig
 c: Castonguay, tephane ( teve) M
Subject: E: enator Bob Menendez/Ambassador ick                  lson

May I ask you to be in touch with Menendez's staffer directly to see if this can be arranged? Might be easier if I
step out of the middle.

Thanks

 rian Denver
Chief of Staff
Embassy Islamabad

Sent from iPhone


From: im, Craig PS     imCPS@state.gov




                                                                                                                     B_DENV00000010
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 260 of 319




Date: March 2 , 2015 at 12:20:58 AM GMT 5
To: Denver, rian E Denver E@state.gov
Cc: Castonguay, Stephane (Steve) M CastonguaySM@state.gov
Subject: RE: Senator ob Menendez/Ambassador Rick Olson

 i rian,

Ambassador said he won t be able to take time tomorrow, Thursday, March 2 for the Menendez
meeting. Given his absence for the Ghani address, he did not want to re uest further time away. e s
open to Friday if Congress stays in session, and we can find a time. We will have to move meetings
around if that occurs.

Thank you.

 est,

Craig

Craig P. im

Pol/Mil Desk Officer

Office of Pakistan Affairs

 .S. Department of State

Tel: 202‐73 ‐7924

This email is UNCLASSIFIED.

From: im, Craig
Sent: Wednesday, March 25, 2015 11:20 AM
To: Denver, Brian E
 c: Castonguay, tephane ( teve) M
Subject: E: enator Bob Menendez/Ambassador ick               lson

 i rian,

I ll flag when he returns. I hope he will stop by the office after the ill, but will try to catch him after the
conference day ends. On Thursday, he s stacked all day with meetings starting with Jeff Eggers. On
Friday, its pretty bleak too. I could shift some Friday meetings around if needed though.

Thanks,

Craig

Craig P. im




                                                                                                            B_DENV00000011
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 261 of 319




Pol/Mil Desk Officer

Office of Pakistan Affairs

 .S. Department of State

Tel: 202‐73 ‐7924

This email is UNCLASSIFIED.

From: Denver, Brian E
Sent: Wednesday, March 25, 2015 9:30 AM
To: im, Craig
 c: Castonguay, tephane ( teve) M
Subject: FW: enator Bob Menendez/Ambassador ick         lson

Craig,

I have had zero success setting up any congressional engagements as they all go on recess after
tomorrow. Is there any availability on Thursday that you can see? Please ask the Ambassador his
thoughts on whether or not to push this last hope.

Thanks


         Kelly, Robert (Menendez)




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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 262 of 319




            EXHIBIT SS
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 263 of 319
7/21/2019                                             Yahoo Mail - Re: London dinner




     Re: London dinner

     From: Rick Olson (rickscafedxb@yahoo.com)

     To:    imaad.zuberi@mindspring.com; EJHoldingPractice@gmail.com

     Date: Tuesday, February 3, 2015, 09:22 AM EST




    Thanks for forwarding. As I mentioned to you, I think it is really
    important to engage with VN on these issues -- she's a player.

     rgo

    Rick Olson




      From: imaad zuberi <imaad.zuberi@mindspring.com>
      To: Ambassordor Rick Olson - personal <rickscafedxb@yahoo.com>; EJHoldingPractice@gmail.com
      Sent: Sunday, February 1, 2015 5:38 AM
      Subject: FW: London dinner




      From: RISBY, Lord [mailto:RISBYR@parliament.uk]
      Sent: Sunday, February 1, 2015 2:06 AM
      To: imaad zuberi
      ~ubject: Re: London dinner

      Dear lmaad
      Thank you for so generously giving us an excellent dinner. You are always terrific company and Rick is
      a real pro and a pleasure to talk to
      I would like to talk to you privately about the VN/DF dynamic. It have no knowledge of what DF has
      done in the past but at least he is part of a process which is trying to help the country when so many
      Ukrainians in business or politics are not doing anything at all. That is the key point My involvement is
      entirely in that spirit and despite the friendly teasing you know how I am fully committed to the positive
      engagement of the US and am deeply grateful to you for your positive role in this
      Regards
      Richard

      Sent from my iPad




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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 264 of 319




           EXHIBIT TT
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 265 of 319



J. MICHAEL HANNON *                       HANNON LAW GROUP, LLP
DANIEL S. CROWLEY *†‡                                                                 WILLIAM CLAYTON BATCHELOR *†
                                      COUNSELORS AND ATTORNEYS AT LAW                          OF COUNSEL
ANN-KATHRYN SO §†
     PARTNERS                                333 8TH STREET NE
                                           WASHINGTON, DC 20002
                                                                                    * ALSO ADMITTED IN MARYLAND
                                                   EST. MARCH 17, 2006
                                                                                    † ALSO ADMITTED IN VIRGINIA
HARRISON E. RICHARDS †                                                              ‡ ALSO ADMITTED IN MASSACHUSETTS
KIERAN L. REILLY*                             T (202) 232-1907  F (202) 232-3704   §ALSO ADMITTED IN NEW JERSEY
RACHEL AMSTER                                   www.hannonlawgroup.com
   ASSOCIATES
                                                  January 11, 2022

         VIA ELECTRONIC TRANSMISSION ONLY

         Daniel J. O’Brien
         Assistant United States Attorney
         United States Attorney’s Office for the Central District of California
         1500 United States Courthouse
         312 North Spring Street
         Los Angeles, California 90012

         Evan N. Turgeon
         Trial Attorney
         U.S. Department of Justice
         National Security Division
         950 Pennsylvania Avenue, N.W.
         Washington, D.C. 20530

                         Re:   Attorney Proffer

         Dear Messrs. O’Brien and Turgeon:

                You shared with us some statements of Ambassador Olson to which you would like a
         more complete response from Ambassador Olson. The following is a list of your concerns
         followed by our proffer of Amb. Olson’s responses:

         The following false and misleading statements pertain to the FBI June 2019 interview:

                 False statement that defendant OLSON never received a specific job offer from ADIH:
         “we had a conversation in London about . . . possibilities for post-employment. There was never
         a specific job offer. There was never anything.” In fact, ADIH had offered defendant OLSON a
         $300,000 per year job;

                 The context for this interview was that the FBI contacted Amb. Olson saying they wanted
         some “background” information. Amb. Olson assumed this was a routine background
         investigation for someone he knew who was seeking a government position requiring a security
         clearance. Amb. Olson was therefore unprepared to answer detailed questions about events that
         had taken place up to four years beforehand. Some of his spontaneous recollections may have
         been imperfect but were not intended to deceive.
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 266 of 319


Daniel J. O’Brien
Evan N. Turgeon
January 11, 2022
Page Two

        The FBI Agents asked Amb. Olson whether Zuberi had paid for travel while the
Ambassador was working for the USG. Amb. Olson said Zuberi had not, but Amb. Olson
volunteered that Esam Janahi had paid for a trip to London. This led to a discussion about the
London trip. Amb. Olson’s answer was specific to the London trip, during which Janahi did not
make a specific job offer. However, Amb. Olson’s statement “There was never anything.” was
an overstatement, specifically the word “never,” since later that year after the London trip Esam
did indeed offer Amb. Olson a job. His answer to the FBI was meant to convey only his
recollections of what happened in London, but not to deceive the USG.

        During the conversation in London, Esam described his interest in getting back into the
financial market in the UAE, and how Amb. Olson could assist him, post-retirement, in this
regard with Amb. Olson’s connections in Abu Dhabi. Amb. Olson does not recall Esam
mentioning any firm name, i.e., ADIH, nor was there any discussion of remuneration, or any
other specifics. Amb. Olson filed a recusal afterwards in accordance with State Department
ethics guidance, and the recusal accurately noted that Amb. Olson had discussed employment
opportunities but had not received a specific offer. This was the same format that Amb. Olson
used in his recusals for other employment discussions, including with Abraaj, The Cohen Group,
Raytheon, and Boeing.

        After producing his documents to the FBI, Amb. Olson freely agreed to a second
interview, at which he was very candid and detailed in his answers, including the job offer from
Janahi. Amb. Olson discontinued the interview to obtain counsel once he was advised he was a
target of the investigation.

        False statement that defendant OLSON had “no idea” how Zuberi helped finance
Habib’s college tuition, when, in fact, Zuberi forwarded to defendant OLSON a bank statement
showing that a $20,000 check had been deposited into Columbia’s account for Habib and Zuberi
1 told defendant OLSON that both checks he issued had been cashed;

        The truth is that Amb. Olson had forgotten about the emails in which Zuberi had
informed him that if the details of how the payments to Columbia had been made. The email
exchange took place in October 2015, and the FBI interview took place in 2019, nearly four
years later. Amb. Olson did not intend to deceive the USG; he had simply forgotten how Zuberi
paid a portion of the tuition and forgotten about one email exchange in the many thousands of
email exchanges he had participated in since that time.

         Moreover, in the interval between 2015 and 2019 Amb. Olson had re-established a
relationship with Muna Habib (in 2018) and in 2019 they were married. Subsequent to their
reconnection in 2018, Muna told Amb. Olson that Zuberi had not in fact lived up to his early
financial commitment to her and had made only partial payments on her tuition. In the context
of the FBI interview of 2019, it was difficult for Amb. Olson to accurately recall the details of
how Zuberi funded the tuition. He certainly did not deny that Zuberi paid some of the tuition,
the full scope of which he learned of when he and Ms. Habib reconnected.
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 267 of 319


Daniel J. O’Brien
Evan N. Turgeon
January 11, 2022
Page Three

        False/misleading statements that defendant OLSON had no knowledge Zuberi’s business
interests in military sales to foreign governments they discussed, claiming, “I had no reason to
believe that [Zuberi] had any business interests in any of these [military] deals” and that his
understanding was that Zuberi’s interest in the sales was merely for “general information,”
when, in fact, defendant OLSON was aware that Zuberi was engaged in brokering military sales
between General Atomics and foreign governments;

        Zuberi had mentioned his acquaintanceship with Linden Blue, as indeed he routinely
bragged through WhatsApp/Email about his various contacts, mostly political figures, but also
some business leaders. Amb. Olson did not know anything about any specific contractual
arrangements Zuberi might have had with General Atomics. Amb. Olson was generally aware
that General Atomics was interested in selling drones to the UAE (where Amb. Olson had
previously served as US Ambassador). Amb. Olson was not aware that Zuberi and/or General
Atomics had any interest in selling drones to Pakistan (where Amb. Olson actually had
governmental responsibility at the time of their exchanges). In fact, Amb. Olson would have
found such a proposition ludicrous for a variety of policy reasons. So, Amb. Olson’s statement
was overly broad; a more accurate and narrow statement would have been that he had no reason
to believe that Zuberi had any business interest with General Atomics within the area for which
he had responsibility at the time – that is, Pakistan.

        False/misleading statements that he and Zuberi only engaged in general-interest political
discussions and “political gossip,” that there “was no business relationship” between the two,
and that he could not recall any “ask” from Zuberi, when, in fact, defendant OLSON agreed to
assist Zuberi’s efforts in lobbying members of Congress and provided Zuberi with talking points
to promote weapon sales to foreign governments in response to a request from Zuberi;

        Again, Amb. Olson did not recall all of his email exchanges from four years beforehand
(an interval in which he wrote hundreds if not thousands of emails), in an interview that Amb.
Olson was completely unprepared for. When shown the email exchange by the agents regarding
the “talking points”, he did acknowledge having sent the unclassified statement of USG policy as
background information.

        In retrospect, and with the benefit of knowing what Amb. Olson knows now, he believes
that he was naïve to have thought that Zuberi had no business interest in arms sales to Pakistan.
Amb. Olson’s motivation in providing the information to him was that in conversations with the
Ambassador, Zuberi was very critical of Pakistan, sometimes on the basis of incorrect
information. This was especially the case since US-Pakistan relations were tense, and Amb.
Olson had a presidential mandate to improve the relationship. Since Zuberi made clear that he
was engaging regularly with members of Congress, Amb. Olson thought it important that Zuberi
have a correct impression of US policy toward Pakistan. Amb. Olson did not regard this as
being part of a private lobbying effort, and to the extent the information Amb. Olson provided
may have been used that way he greatly regrets it.
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 268 of 319


Daniel J. O’Brien
Evan N. Turgeon
January 11, 2022
Page Four

         False/misleading statements that he didn’t “know much about Zuberi actual business
operations because he has me advising him on, sort of, broadly speaking government relations,
sort of strategic, ah, aspects of business” when, in fact, defendant OLSON participated in
Zuberi’s business operations with respect to lobbying campaigns to procure Qatar preclearance
facilities and to modify U.S. policy with respect to the Gulf Diplomatic Crisis, by participating in
the drafting of a lobbying proposal submitted to the Qatar government with respect to Qatar
preclearance facilities and by meeting with Qatar Government Officials as well as U.S.
Government officials to assist the Qatar government in its effort to modify the U.S. Government’s
response to the Gulf Diplomatic Crisis.

        The answer cited above was specifically in response to a question about Zuberi’s
business activities in Dubai and was a truthful explanation of Amb. Olson’s role with regard to
Zuberi’s business activities in the UAE. What Amb. Olson meant by not knowing about actual
business operations was that Amb. Olson was not privy to any of Zuberi’s financial dealings.
Since Zuberi presented himself as running a private equity firm, Amb. Olson regarded finance as
being the core of his business, and Amb. Olson was not privy to any of his financial
arrangements, with one exception. [Zuberi told Amb. Olson during 2018 when they were
working with the Government of Qatar on a food security project that Zuberi was being paid $3
million. This was the only time Amb. Olson was ever aware of a specific contractual or financial
arrangement. For the other projects that Amb. Olson worked with Zuberi on, the business terms
were opaque.]

        With regard to the specific statement to the FBI, Amb. Olson meant to convey that his
primary role with regard to Zuberi was providing advice on government relations. To Amb.
Olson’s mind, that included the editing of the pre-clearance proposal, and accompanying Zuberi
to meetings with Government of Qatar officials, in which Amb. Olson saw his role as being one
of advising Zuberi rather than the Government of Qatar per se. The July 2019 interview did not
focus on the June 2017 interactions with Qatar, although Amb. Olson did mention that he had
traveled to Doha at various points on behalf of Avenue Ventures. Amb. Olson did note in the
interview that part of his job responsibilities with Avenue Ventures was interactions with USG
officials, so there was no attempt to mislead on contact with the US Government.

The following false statements pertain to the limited use immunity sessions:

       False statement during limited use immunity proffer in which Olson claimed that
discussions in June 2015 with Habib that referenced “the principal” were not in reference to
Zuberi, but rather the Chief Minister of Jammu and Kashmir, when, in fact, contact with the
Chief Minister occurred in late 2014 and, as the context of the Habib conversations make clear,
Habib and Olson were discussing Zuberi.

       The sequence of events is as follows: At some time in 2014 Muna and Amb. Olson had
discussed the fact that her family had a property dispute in Pakistani Kashmir, where her father
had grown up. In May of 2015, after the death of her father, Amb. Olson gave her contact
information for Sardar Muhammad Yaqoob Khan, President of Azad Jammu and Kashmir (AJK
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 269 of 319


Daniel J. O’Brien
Evan N. Turgeon
January 11, 2022
Page Five

– Pakistani Kashmir). However, Muna was still in the UK at the time. She did not actually meet
with the president until she visited Pakistan in June of 2015. After that visit, when she had
already departed Pakistan for Europe (where she did indeed meet Zuberi), Amb. Olson prompted
her for a readout of her meeting with the AJK president, in case the president raised it with the
Ambassador. They referred to President Muhammad Yaqub Khan as “the principal” in the email
because of concern that the Pakistani Government might be capable of reading their email
exchanges.

       Amb. Olson’s recollection is that Muna called him and gave him a readout of her
conversation with Sardar Mohammed Yaqub.

       There was therefore no false statement regarding “the principal.”

       False statement re the mechanics of his deletion of Allen emails in which he Olson
claimed that he generally searched emails to and from Allen’s email account and deleted them
when, in fact, he produced many emails with Allen and made targeted deletions as to emails that
are important to the government’s investigation (which have been recently emailed to the
defense).

        Zuberi asked Amb. Olson at some point in the spring of 2019 to delete emails related to
John Allen because he wanted to “protect him.” In the second proffer session, Amb. Olson
volunteered this information because of his awareness of its importance to the investigation.
Zuberi told Amb. Olson he was only facing charges for tax evasion. Amb. Olson did not
understand exactly what he meant by “protect”, and Amb. Olson does not remember the specific
parameters, if any, that Zuberi outlined. Amb. Olson volunteered that he deleted email to protect
General Allen “from the government,” and apparently selected only those most directly related to
the June 2017 trip to Doha. Amb. Olson felt concern at having involved General Allen with
Zuberi, about whom by this time Amb. Olson was having considerable doubts. Amb. Olson had
worked with General Allen for over five years, and Amb. Olson had, and continues to have, great
respect for him and found him to be an honorable person. Amb. Olson said he was aware email
cannot be deleted, and recognizes his act was a useless gesture of remorse.

       At the request of Mr. O’Brien, who admitted this was an area of importance to him, Amb.
Olson and his counsel reviewed his email files and communicated with experts re: the possibility
or recovering them.

                                            Sincerely,

                                            s/ J. Michael Hannon

                                            J. Michael Hannon
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 270 of 319




           EXHIBIT UU
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 271 of 319
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 272 of 319
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 273 of 319




           EXHIBIT VV
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 274 of 319
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 275 of 319
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 276 of 319




          EXHIBIT
         Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 277 of 319




  t\O 2458       (Re\ 09!11) Judgm\'nl In a enromal Case
                 Sheet I



                                             UNITED STATES OISTRICT COURT
                                                                  District ofColumbia
                                                                              )
                UNITED STATES OF AMERICA
                                     v.
                                                                              )          JUDGMENT IN A CRIMINf<flft:                         D
                                                                              )
                                                                              )
               JUAN CARLOS SCHWARTZMAN
                                                                              )          Case Numbcr: 11CR166                MAY - 12013
                                                                              )          USM Number: 31646-016 Clerk, U.S. Dislric! & Bankruptcy
                                                                              )                               COlirls lor lhe Dlstrlcl 01 Columbia
                                                                              )          J. Mlchael Hannon

 THE DEFENDANT:
 ¡¡¡(plcaded guilt)' lo cOllnl(s)    _Lollhe Info'-n1alion
 O plcaded nolo conlcndcrc lo count{s)
   which ",as accepled by the COUJ1.
 o was fOllnd guilly on count{s)
    ancr a plel\ ofnot guilty.

The defendant is adjlldicalcd guilt)· ofthese oftenscs:

Titlc & ScctiO"                     Nature of Offense                                                          Offense Endcd
 18 USC 1349, 1341 and               Consplracy lo Cammlt Mail Fraud and Wire Fraud                             Occurred lrom in or
 1343                                                                                                           about March 2005
                                                                                                                thru Oclober 2007

       Thc dcrcndanl is scntcnccd pnwidr.:-d in pngcs 21hrough                       6       ofthis judgment. The sen ten ce is imposcd pursuant lo
the Scnlendng Reform "el 01' 1984.
D The defcndnnl has been found        001   gui!l) on cmmt(s)
o COllnl(s)                                                o is    o are     dlsmisscd on the motion ofthc Unitcd Stalcs.

           It is ordercd thm Ihe dcft:ndanl musl nOlil)' ¡hc Unilcd Stalcs aHorne)' for Ihis dislrict within 30 dalís 01' any chrmgc ofnnme. rcsidcnce.
or mailing addrcss lmtil nJl fines. restitution. costs, and special <lSSl'ssmcnls imposcd by thisj\ldamCnl are fu Iy paid. Ifordcred lo pay restitution.
¡he deli;:n{lan1 must notify the ('ourt und United Statc-s attorney DI' rnateriul changes in CCOIlOlmc circumswnces.




                                                                             Reggie B. Walton
                                                                           -!'lame                   .
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 278 of 319




    A02.fSB       (Rc... (I9'11)JudgmWllnCnmmal('asll
                  Shect :! - ImpTlSonmen!

                                                                                                               }udgmcnt . Page _ _ l. _   of   6
    DEFENDANT: JUAN CARLOS SCHWARTZMAN
    CASE NUMBER: 11CR166


                                                                    IMPRISONMENT

            The dcfendant is hcreby conuniltcd lo the custody of ¡hc Unitcd Stales Burcau 01' Prisons lO be imprisooed lar (l
    totallcrm of:
     THIRTY (30) months




       o      The courl makcs the lollowiog recommcodations lo the Burcau ofPrisuns:




              The dcfendant is rcmanded to lhe cwitod)' ol'the tJnitcd Stalcs l\:larshal.

       o      The dcfcndant shall surrender to lhe United States Marshal ror this,dislríct:

              o    al                                   o    a.m.     O p,m,       on

              O as notificd by the Unitcd Status MarshaL

       o      Tht:.' dclendrmt shnll surrcnder for servicc 01' scntencc at lhe inslillltion designaled by Ihe Bureau 01' Prbons:

              O before 2 p.m. 00
              O    as natí fit:d by lhe Unitcd Stalcs Murshal.
              O   as notificd by Ihe Probation or Pretríal Scrvices Ollicc.


                                                                         RETVRN
1have' c....cculed lhisjudgmcnl as 10110\\'5:




           Dcfendant dclhercd      00                                                          lo

a                                                           with a certilied copy of 'Ilis judgmenL
            Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 279 of 319




1\0.?.J5B    (Rev 09'11)              In u Cnmlnal Case
             Shi.'el J - - Supervlsed Rdeas<!
                                                                                                              ]udgment- Page .     --ª--   of   ..   _---ª- _
DEFENDANT: JUAN CARLOS SCHWARTZMAN
CASE NUMBER: 11CR166
                                                          SUPERVISED RELEASE
Upon r.elense from imprisonmcnt. ¡he delcndant shall be on supcrviscd rclél.lse for lllerm 01';
THIRTY-SIX (36) months

        The defcndant must repon tu the probation amee in Ihe district to which the dcfcnuont is relcosed within 72 hours ofreleosc from the
custod) ofthe BllrC<lU ofPrbons,
The defendant shall nol eommit anothcr federal. stale 01' local crime,
The dC'lcndant shall oot unlu",fu/ly possess i\ eontrolled substance, Thc defendant Shllll refroin from <in)' unlawful use ofa conlrolled
subslance. The dcfcndant shalJ submít lo one dl'ug test wilhin 15 da)'s uf release from imprisonmcnt und al least t\Vo periodic drug tests
thcrcafier. as dctermincd by the COur\.
O      The <'lbove drug lesting condition is sllspended. bnsed on the courl's determinution Ihal Ihe delcndant poses a 10\\ risk of
       f\ltllrc substance abuse, (ClII:ck, Ij IIpp{/Cablr)
o      Thc detcodanl shall not posscss a tire(trm. ammunition, dc:structivc dc\'icc. or any othcr dangerous \\'capon.        (C"(ck, I/app!fcab/()

It     Thc defendant shull cooperatc in the col1eclion ofDNA as dirccted by the probation ofTiccr.         (Chn-k, I{app/irabf()


o      The del'endant shall comply wilh the requircments orlhe Scx Orrcnder Rcgístration and NOliticntion Act (42 U,S.C, § 1690 1, el seq,)
       ns direcled by Ihe proballon ofl1cer. Ihe BUreall ofPrisons. or any stalc se:>. offcnder I'cgistration agcney in which he or sho resides,
       \\'orks. is a studcot. 01' "'as can" ¡eled 01' a qualil)'ing     (CI/I!d{, ti app!fcab/()


o      The dcfcndam shnll participa¡c in un appro\cd prognlm for domestic violcnce.       (Ched,1j (lpp!fCClf,{()

        Ir this judgmcnt ímposes a fine al' restilution, il is a condition 01' supen-:iscd release thal the dcfcndant pa) in accordancc wilh the
Schedule ol' Pa)'menls sheet al' Ihis judgmenl.
         The dcfendanl musl comply ",ilh the standard eonditions that hnve becn ud,optcd br Ihis court ns well <1S with an)' additionnl conditlons
an thc attached page,

                                           STANDARD CONDITlONS OF SUPERVISION
  /)    the defendan! .shall no! lcave ¡he judicial distdct without the pcrmission (lflhc C{lurt or proba!ion officcr;
  2)    Ihe dcfendunt shall report to Ihe probation officer in a manner and frequenc)" directcd by the court or probatian ofllcer;
 3)     Ihe defcndanl shall ans\\'er truthfully aU inquirics by Ihe probalion oft1ccr and follow the instructions of'the probation ofticcr;
 4)     Ihe dcfendanl shal! support his 01' bcr dcpcndcnts and meel other family responsibililics;
 5)     the defendant shall \\'ork regularl)' at a lawful occupation. unless c,xcused b)' the probalion ofl1eer for schooling, lraíning,         01'   olller
        acceplable rcasans;
 6)     Ihe defendant shall !latif)' the prabalian ofllccr at leasllen da)'s prior to an)' change in rcsidcnce or employmenl;
 7)     the defendant shall rel'raín fram excessive use 01' alcohol and shall not purchasc, possess, use, distribulc, 01' ndminisler any
        conlralled substance or un)' p¡¡raphernalia relalce! to un)' cantrolled           exccpl as pn.'scribed by a ph)sjcian:
 8)    the defendant shall nol frequenl pInces where conlrolled subslances are illcgall)' sold, used. distributcd. or administercd:
 9)    Ihe detcndant shall not assocíale with an)' r.crsons engug,ed ln criminal activil)' and shall not associate wilh lIn)' person convielcd ora
       felony. unless grantcd permission lo do so by the prohattan oflicer;
10)    the uefendnnl shall pcrmit n probalion ornccr to visit him 01' her nI an)' time al home or elsewhcrc and shaJl pl.:'rmíl confiscalion ofan)'
       contraband observed in pluin \ lew oC the probation omccr;
11)    lhe defcndanl shull nolíf)' the probalion omcer withln sevenly-t\\ o hours oJ'being llrreslcd or questionl'd b) a la\\' enlbreemcnt offieer:
12)    thc           shall not enler into nn) agrecment lo act as nn inlbrmer 01' a special ugent 01' a law cnforcement agenc)' wlthoul Ihe
       permJsslon oflhe court: and

13)    as directed by the probation oflicer. Ihe delcndant shall n(JtU)' ¡hírd parties ofrisks thal may be occasioned b)' the defcndanl's criminal
       record or personal histor)' Or charuclcristics and shall pcnnit the probation officer lo makc such notincalions and lo confirm lhe
       defendant s compliance wlth such notilication requlrerncnt. .
         Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 280 of 319




A0245B     {Re'" M:ll J      a Crunrnal Case
                            ReJcase
                                                                                           Judgmenl         4_
                                                                                                      Page __     of
DEFENDANT: JUAN CARLOS SCHWARTZMAN
CASE NUMBER: 11CR166

                                  SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall nol possess or use any iIIegal drugs.

Thal lhe delendant is prohibiled Irom incurring any new credll charges, opening additionai lines of credil, or negotialing or
consummaling any finanelal eontracls wllhoul the approval 01 the Probatlon Offiee.

The delendant shall provide the Probatlon Office wilh his Income tax retums, aulhorization for release 01 hls eredil and any
other financial information, and Inlormation coneeming any business in which he has conlrol or an interes!.

Tha delendant shall pay restilution in Ihe amount 01 $10,179,334.69 (lar which the delendant is jolntly and severally lIable
wilh Mardin Varela In 1Ocr284) and shall make monthly payments 01 at least $500.00 on his restilution obligation unti! the
total amounlls pald In lull.                                     .

The delendanl shall comply wlth the Bureau of Immlgration and Cusloms Enlorcemen!'s deportation process. 1I deporled,
lhe delendant shall nol re-en ter the United Slales wlthout legal authorization during the period of his supervision. Should
tha defendant not be deported or if ha recelve permission to relum to the United Slates while he is still under supervision,
the defendant shall raport to the U.S. Probalion Office in Ihe area where he intend to reside wilhin 72 hours 01 his release
from prison or his retum lo the United Stales il he IS deported and Is Ihen permilted lo relum.

The Probalion Office shall release Ihe presentence investigation report to all appropriala agencies in arder to execute the
sentence of the Court. These agencies shall relum Ihe presentenee report to the Probation Office upon completlon and
termination of Ihe Ireatment involved.

The Court finds the defendant does not have tha abillty lo paya fine or tha cosls 01 his incarceration and community
supervision.
            Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 281 of 319




 AO 1458       (Rey 09"11) Judgmcm In ¡¡ Cnmlnol Case
                    5    Cnmm;¡1 Monelary
                                                                                                            Judgm.:nl-   Pagl;   ..   §   or
  DEFENDANT: . JUAN CARLOS SCHWARTZMAN
  CASE NUMBER: 11CR166
                                                  CRIMINAL MONETARY PENALTIES
       The dcle:ndant must pa)' the tolal criminal monetary penalties under the schedule of pa)'mcnts on Sheet 6,

                          Asscssmcnt                                          Fine                                 Restitutlon
  TOTALS                $ 100.00                                         $    O.oq                               S 10,179,334.69


  o    Thc dctcrmination ofrcslitution is dcfcrrcd until                     ,An .Jmended Judgmetll in a Criminal Case           (AOJ.l5CJ   will be entcrcd
       after such dctcrmination.

  o    Thc defend¡lIlt must make restitution (including communit)' restitlllion) to thc foIJowing pa)'ees in the amounllisted belo\\'.

       ¡rthe delcndant makes a partial pa)'ment. each payee shall r<.oceivc un approximatcl)' proportioncd pu)'mcnt. unless          othcnvise in
       Ihe,priorit)' or,der or
       belore Ihe Unttcd Statcs 15 raId.
                                                                                                            *
                                         pa)'ment eohnnn belo\\'. Howcvcr. pur5u.ml to J 8 U.S.C. 3664(i), all non federal victil11s must be raid


 Nnrne of Payee                                                                Total Loss*                        Ordercd Priority or PCl'centage
    Export Import Bank 01 the Unlted States                                                              $10,179,334.69
    811 Vermont Avenue, NW

    Washington, DC 20571




TOTALS                                 $                         0.00             $              10,179,334.69


o     Rcstitulion amount ordcrcd pllrsuanl lo pIca agreemenl $

o     The dcfendilnt must pay interest on restitulion and u Iinc ormare than $2.500, unless the rcstitution Of line is paid in l'ull belore thlo:
                                                                                      *
      líftccnlh da) ancr the date 01' lhe judgrnenl. pursuant to 18 U.S.C. 3612(1). AII 01' the payrncnl oplion:; on Sheet 6 muy he
      to pCllaltics ter delinqucllc)' and delhult.         lo 18U.S.C. § 3(¡ 12{g).

et    The   Ct)url   detcrrnined lhat Ihe defcndanl does not have the abilit)' lo pay interest and it is ordercd lhal:

      rt the ¡nteresl requirement is waived for Ihe             O t1ne       Ft   restitulion.

      o     the interest requircment for Ihc        o    Iinc    O    restilulion is modilied as rollows:



'" Findíngs lor Ihe total íll11llunt oflos5cs are rcquircd undcrChuptcrs lD9A. '110. IIOA. ond 113A ofTille J S fur ofTcnses committed on oral\er
September 13. 1994. bllt belbrc Apri123. 1996.
           Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 282 of 319




 1\02458       (Re\' 09'1 n JudgmenlIn a Criminal Case
               Shec16     Schcd\.Jle of


    DEFENDANT; JUAN CARLOS SCHWARTZMAN
    CASE NUMBER: 11CR166


                                                                    SCHEDULE OF PAYMENTS

    Iluving assessed thc defcndant's abilit)' to        Pil)'.   pa)'mcnl 01' thc total criminal monetar)' penaltics is due as follows:

  A      O Lump sum pu)'ment 01' $                          __ _           due imlllcdiatel)'. balance duc

              o     not later than                      .                   _ ,Of
              O     in accordancc              Oc.            Oll,         O   E.   01'   .   O F bclo\\';   01'


  B      O Pa)'ment to begin immediately (ma)' be combined with                           OC.         O D. Of      O F below); Of
  e      O    Pa)'mcnt in equal __ .,_ ..__._....             (I?   g.      month(y, qUlIrterM installmenls 01' $                              Over a period 01'
                              fe g , lIIonths or )'Ctll"S/.   to commcncc                     fe g, JO or 60 da,l's) afler   the        this Judgmcnt: 01'

  n r;f       Pu)'ment in cqual                   _ _ (e g,       mO!1lhly,                       installmenls 01' $                ... _ _ _ over a period 01'
              100.00         fe g, mOl/lhs orYf?ars}. lo commenCl'      60 days                  (e g. JO or 60 days¡   afier relcasi: from imprisonment to a
              tcrm orsuper\'ision: 01'

  E      O    Pa)'mcnt during the terl1l ofsllpervised rcle,lse will commcncc within               (e g., 300r        afler rclease fram
              Imprisonmenl. The court \\iI1 se! the paymcnt plan bascd nn an asse-ssment ofthc dclcndanCs abilily lo pay at ¡hat time: or

 F      O Spcci<tl instrllclions rcgarding th1,.' paymcnl nI' criminal m{)ol.'lar)' pcnahics:
              Payments towards the restitulion and speclal assessment by the Court shall be deducted from any fonds earned
              while the defendanlls serving hls prlson termo Ir the total amount Is not pald In full upon Ihe defendant's release,
              the defendant will have sixty (60) days from lhe dale of hls release lo pay speclal assessment In the amounl of
              $100.00 and shall contlnue to make monthly payments lowards restitutlon amount 01 at least $500.00 unlil the total
              amount is pald in lull as a condition 01 hls supervised relea se.

 Unless the court has cxpressl¡' arde red othcrwisc, i[(his judgment imposes imprisonment,payment ol'criminal moneta!)' pcnaltics is due dllring
 imprisonment. AH crimina monetar)' pcnaltics. cxcept those paymcnts made through the Fcderal Bureuu 01' Pnsons' fnmatc Financial
 Responsibility Programo are made lo the clerk ofthc court.

 The defendant ·shall rcccive crcdit for aH pa)'ments previously made lownrd any criminal monetar)' penalties imposcd.



 r!/    luin! amI

       Dcfcndant and Co-Dcfendanl Nmnes and Case Numbers (/Ilcl//!Img dejendmu nlllllber). Total Amount. luint and Scveral Amuunt.
       and corrcsponding payec. if'lppropriate.
        The total amount of restitutlon owed is $10,179,334.69, for whlch the delendant is jointly and several liable wlth Mardln
        Varela in 10cr284



o      Thc ddcndanl shaJl pay Ihe (,;Osl 01' prosecution.

O      The defcndant ,hall pay lhe lollowing eoufl eOSl(s):

rt     The dcfcndanl shalJ forl'eillhc dercndanl's interes! in the fo!lowing propcrty to ¡he United Statcs:
        (See arder Dated 7/812011)



Paymcnts shall be applicd in the foIJowing arder: (1) asscssment. (2) reslitulion principal, (3) restilution ioterest, (4) fine principal.
(5) tlne interest. (6) communit)" rcstitlltion. (7) penalties. nnd (8)  including
                                                                         .    I
                                                                                   cosl of proscC'ution and CoUrt costs,
          Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 283 of 319




  AO 2458       (Rev 09'11¡ Judgment In a Cnmma! Case
                AUachmenl (page 1) - Statemenl ofReasons


  DEFENDANT: JUAN CARLOS SCHWARTZMAN
  CASE NUMBER: 11CR166
  DISTRICT:                       Distrlc! ofColumbia
                                                                       STATEMENT OF REASONS
                                                                             (No! rol' Publle DlseJosul'e)
        COURT FINOINGS ON PRESENTENCE INVESTIGATION REPORT

       A    '1Z       The court adopts the presentence investigatlon rCllort without change.

       B    o         Thc    COlwt     adopts the prcsentencc invcstigatlon report with the following chl1nges.
                      (Check al1lhal apply ¡md speclfy court delcrmmOllLOn. l'rndmgs. or                     re'ferenclf1g paragraph numbers m Ihe prescntence repílrt, lfappllcable )
                      tUS!! pagl! .¡ 1/ IIeCI!JSllf)')

                      o     Chapler Two ofllJe ",S.S,G, 1\1;¡nual delenl11n¡¡\lOnS hy Cn\lrlllnc!udlng rhonges to base oITcnsc k'vcl, l'r
                            spcclflC     i:h¡¡mneflSllcs¡



            2         O     Chapler Three afilie tt.S.S.G, Manual                       by courl (mcludmg changes to vlc\lm-rclated ad)ustmenls,
                            mil: In lhe offensc. obslructlon OfJustlce, multlple COllOtS. 01 a(Ceplance ofrespollSlbllllyl



                      o     Chapler four of (he V.S,S.C. Manual detenrllnaltons b) caurI (mcludmg ch:mgcs lo ,rrmmal hlslory category or
                            s'ores, carcer oITcndcr, or crllmnalllvehhood deterrlllnatlonsj



            4         O    Addilionlll Comments or Flndlngs {lndudmg comnwnls 01 factual fmdmgs concernmg certaln mformallon In thc
                                       reporl Iha. Ihe Federal Bureau of I'ns\ln, rdy on when 11 m¡¡¡'¡cs lnmale dasslliCiltlOn, ¡jcslgnatlon,
                           01 programmmg declslons)




       e O           The record cstablishes no Jlecd for a presentence lnvestiglttioll report pursul1nt to Fed.R.Crim.P. 32.

11    COUIlT FINOING ON MANDATORY MINIMUM SENTENn; (C'hecknlllhni npplyj

                     No count of convlcllOn                a mandato!)' mmlmum sent!;'nc!;'

      B O            Mandalory nUnJmum sentence Imposed

      C     O        Onl.! or more l'ounls of l'on\'lcllon al1eged lO the mdlclrncnt C<lr'" a m:muaIOf)' mlmmum ll,'rm nflmpnsonmcnt, bUllhl.!
                     semence Imposed 15 bclm\ a maooatOf)' mllllmum lerm becausc'lhe coun ha; delcnmm:d thallhe mandalory mlmmUIn
                     docs not lIppl.v bascu on

                     o    fmdmgs offaet 10               case

                     O    substan\1Il1l1SSlSlance (18 U S e           3553(c))

                     O    lhe slalulor}' safety \'ol\'e (18 U S e        3553{f))



111   COURT OETERMINATION OF ADVISORV GUIOELINE RANGE (BEFORE DEPARTURESj:

      Total OITensc Level:
      Criminalllistor)' Categor)':                                                         ._
      Imprisonmcnt Range:             lO   6?                      '1%           months
      Supervised Re1ense Rflnge:   ..                                to., ?               ycurs
      Fine R,nge: $ 12(')00.C'C' to $                           1)_"'; Q!)<'.
      )(          wai, ed or ne1o", the guidelinc ntnge                  OCCiltlSC 01' !nability lo   PU).
            Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 284 of 319




AO 24513            (Re\' 09111) Judgmenllll a Cnmmal Case
                                (Page 2) -         ofReasons


DEFENDANT: JUAN CARLOS SCHWARTZMAN
CASE NUMBER: 11CR166
D1STRICT:      Di'triet ofColumbia
                                                                      STATEMENT OF REASONS
                                                                            (No! for Publie Diselosure)
                                                                                                             ,
IV        ADVISORY GUIDELINE SENTENCING IlETERMINATION (C""lo"(I'o,,,)
          A     O          Thrnnlence h nllhin lln lld\'hory                    rRnge Ihalls 001 grellter Ihlln 24 monlhs, lloli (ht" COUrt nnds no rt"ason lo l.h'parl

          B O              Th... st"nlence is nllhin ao lld\'isor)' guidrllne           lhalls Rruler Ihan 24 monlhs, flnd lht" specine srnlrnct' is imposed fOf lhrse re"sons.
                            (l.:$e page'¡   I[M(l!$SCH))




        e       ID         The tourt depfll1S from Iht' adyisor)' Ruldeline rflnge [or                aulhorjzrd h)' lhe senlencing guidclines manual.
                           fA/so (omplilt'    Sl!((1U11 ¡' J


        D       .K         The courllmJlosed a senlmce' oulsld(' llir ath'bor)'                    Rllldellne s)'slem. (AIro wmple(l! Se(f/rJII 1'/)


V
        A       l'
        DEPARTURES AUTlIORIZED IlY THE ADVISORY SENTENCING GUIDELINES ()foppilcoble)
                        sen ten ce imposed deparls (Check oub' out' );
                       below tbe advísor)' guideline rangc
                       aboYe Ihe nd\'isar)' guidcline rangc

        B       Departllre based on (Check alllha! apply.):
                                 Plc" Agl'ccmcnt (Check allthat apply and     rcason(s) bclow):
                                 O 5K 1.1 plcíI agreemcm based on the dcfcndant's substanlial assistunec
                                 O 5K3.1 pIca ngrecment bascd on EarJ)' Disposilion ur "F<tsHrack" Program
                                 O    binding pica ugrccmenl fUf dcparturc acceptcd by the coun
                                 O plea agreemcnt for dcparture. which the COUI1 finds to be rcasonablc
                                 O pica agrecment lhat statcs thal the government will nol oppose a <.lerense depnrturc motion.
                2               /\folion Not Addressed in ft PIca Agreement {(,heck a// Ilml apply ond dleck n:ason(s) he/olt'):
                                O     5K l. 1governrncnt mOlion based on the <.lcfcndanl's substantial assistance
                                O     5K3.1 go\'crnmenl motion· bused on Early Disposition or "Fast-trnck" program
                                O     go",crnment motían lar dcparturc
                                O     defcnsc motino for depnrture lo which the government did nol objccl
                                O <lerense motíon for deparlurc lo \vhich Ihe &m crnmenl objectcd
                3               Other
                                O       Othcr Ihan u pIca ugrecmcnt or motion b> ¡he plIrtics for departurc (Check reasoJJfj') helow ):
       e        Reason(s) for Departurc (Check allllml app6' olher Ihan 5KI 1 or 51\3 1)

o    4AI3           ('n minal tlrslOl)' lnadequac}                O             I                                                O     51\2 11        Harm
o    5111 1
                    A"                                            O     51\22          Physlcallntllry                           O     51\212 ('()Crcmo (lnd
O    511! 2         Edw:alll)n llnd VOc¡¡llonal Sl-.IItS          O     5K2J           blremc                  [OIUr)            O     51\213              Capa":ll)'
o    5HI J          Menlaland Emo\1onal CondltlOn                 O     5K24           AbdllcllOn Of Unlawf\l1 Reslram\          O     51\2 14 Pubhc Welfarc
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      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 285 of 319




AO 2458       (Re... 09/11) Jlldgmenl In a ('nmmal Case
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DEFENDANT: JUAN CARLOS SCHWARTZMAN
CASE NUMBER: 11CR166
DISTRICT:                        DIstrIc! of Columbia
                                                                STATEMENT OF REASONS
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             Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 286 of 319




  AO 2458         (Re\' 0'),11)            m a CflmlO¡11 C(I.'\'
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  DEFENDANT: JUAN CARLOS SCHWARTZMAN
  CASE NUMBER: 11CR166
  DISTRICT:      District orColumbia
                                                                      STATEMENT OF REASONS
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VIII ADDITlONAL FACTS JUSTIFYING TIIE SENTENCE IN THIS CAS" (!fapp¡'mbl,)




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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 287 of 319




           EXHIBIT
                   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 288 of 319
5/18/22, 5:19 PM                                            Hannon Law Group Mail - Plea Discussions



                                                                               Rachel Amster <ramster@hannonlawgroup.com>



  Plea Discussions
  OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>                                    Thu, Jan 6, 2022 at 4:57 PM
  To: "J. Michael Hannon" <jhannon@hannonlawgroup.com>, Russell Duncan <rduncan@clarkhill.com>
  Cc: Rachel Amster <ramster@hannonlawgroup.com>, "Novak, Kate" <knovak@clarkhill.com>, "Jenkins, Mack (USACAC)"
  <Mack.Jenkins@usdoj.gov>, "Turgeon, Evan (NSD)" <Evan.Turgeon@usdoj.gov>, "Greenfield, Jeremy Allen (LA) (FBI)"
  <jagreenfield@fbi.gov>, "Adib, Babak (LA) (FBI)" <badib@fbi.gov>


    Here are my quick responses and I will follow up as necessary:



         1. I’m copying Jeremy and Bobby and am asking them to promptly send you the recording of the June 2019 FBI
            interview. I’ll let you all handle the logistics.
         2. I can send the portions of the draft indictment that pertain to the false statement scheme and gratuity. I’ve
            discussed this with Evan and we do not think we should release portions related to the Qatar aspects of the case
            because of its sensitive nature, prior leaks to the press, and commitments we have made to others not to release
            such information at this time.
         3. I don’t have a specific concern as to the obstruction enhancement other than the general possibility that the
            probation office or court might view false statement to the FBI as an obstruction of the broader investigation,
            notwithstanding Olson’s admission as to the Form 278. If you have any case law or argument that would allow us
            to stipulate that the obstruction should not apply, that would be helpful.
         4. We are currently scheduled to appear before the grand jury on January 11 and 18. Given our conversation today, I
            do want to provide Ambassador Olson with sufficient time to earnestly assess his own conduct and whether he will
            be willing to admit items addressed below. However, we don’t have much flexibility as to extensions. The
            universal opinion here is that the case needs to move forward promptly. The grand jury will expire on February 15
            and there will be no extension from the Court because of Covid protocols. I will send out a tolling agreement for
            the two-week period January 31 through February 15, but that should not be construed as the government’s
            agreement to delay indictment. We will assess whether we should delay indictment based upon Ambassador
            Olson’s response. I’m asking that we receive Ambassador Olson’s response by noon (Eastern Time) Monday.



    The following false and misleading statements pertain to the FBI June 2019 interview:



            False statement that defendant OLSON never received a specific job offer from ADIH: “we had a conversation in
    London about . . . possibilities for post-employment. There was never a specific job offer. There was never anything.” In
    fact, ADIH had offered defendant OLSON a $300,000 per year job;



             False statement that defendant OLSON had “no idea” how Zuberi helped finance Habib’s college tuition, when, in
    fact, Zuberi forwarded to defendant OLSON a bank statement showing that a $20,000 check had been deposited into
    Columbia’s account for Habib and Zuberi 1 told defendant OLSON that both checks he issued had been cashed;



              False/misleading statements that defendant OLSON had no knowledge Zuberi’s business interests in military
    sales to foreign governments they discussed, claiming, “I had no reason to believe that [Zuberi] had any business
    interests in any of these [military] deals” and that his understanding was that Zuberi’s interest in the sales was merely for
    “general information,” when, in fact, defendant OLSON was aware that Zuberi was engaged in brokering military sales
    between General Atomics and foreign governments;



              False/misleading statements that he and Zuberi only engaged in general-interest political discussions and
    “political gossip,” that there “was no business relationship” between the two, and that he could not recall any “ask” from

https://mail.google.com/mail/u/0/?ik=58d295a9be&view=pt&search=all&permmsgid=msg-f%3A1721244087611251417&simpl=msg-f%3A1721244087…   1/3
                   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 289 of 319
5/18/22, 5:19 PM                                            Hannon Law Group Mail - Plea Discussions

    Zuberi, when, in fact, defendant OLSON agreed to assist Zuberi’s efforts in lobbying members of Congress and provided
    Zuberi with talking points to promote weapon sales to foreign governments in response to a request from Zuberi;



             False/misleading statements that he didn’t “know much about Zuberi actual business operations because he has
    me advising him on, sort of, broadly speaking government relations, sort of strategic, ah, aspects of business” when, in
    fact, defendant OLSON participated in Zuberi’s business operations with respect to lobbying campaigns to procure Qatar
    preclearance facilities and to modify U.S. policy with respect to the Gulf Diplomatic Crisis, by participating in the drafting
    of a lobbying proposal submitted to the Qatar government with respect to Qatar preclearance facilities and by meeting
    with Qatar Government Officials as well as U.S. Government officials to assist the Qatar government in its effort to modify
    the U.S. Government’s response to the Gulf Diplomatic Crisis.



    The following false statements pertain to the limited use immunity sessions:



             False statement during limited use immunity proffer in which Olson claimed that discussions in June 2015 with
    Habib that referenced “the principal” were not in reference to Zuberi, but rather the Chief Minister of Jammu and Kashmir,
    when, in fact, contact with the Chief Minister occurred in late 2014 and, as the context of the Habib conversations make
    clear, Habib and Olson were discussing Zuberi.



            False statement re the mechanics of his deletion of Allen emails in which he Olson claimed that he generally
    searched emails to and from Allen’s email account and deleted them when, in fact, he produced many emails with Allen
    and made targeted deletions as to emails that are important to the government’s investigation (which have been recently
    emailed to the defense).




    From: J. Michael Hannon <jhannon@hannonlawgroup.com>
    Sent: Thursday, January 6, 2022 12:58 PM
    To: Turgeon, Evan (NSD) <Evan.Turgeon@usdoj.gov>; OBrien, Daniel J. (USACAC) <DOBrien@usa.doj.gov>
    Cc: Rachel Amster <ramster@hannonlawgroup.com>; Russell Duncan <rduncan@clarkhill.com>; Novak, Kate
    <knovak@clarkhill.com>
    Subject: [EXTERNAL] Plea Discussions



    Dan and Evan,


    In addition to the list of concerns you have regarding Amb. Olson's statements, please consider
    sending us the following:


    1. the tape of the first FBI interview. This is critical to evaluating the Q&A.


    2. your draft indictment. This would allow us to address all of your concerns and ensure Amb.
    Olson will earn a 5K.



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                   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 290 of 319
5/18/22, 5:19 PM                                            Hannon Law Group Mail - Plea Discussions

    3. any thoughts on what facts underlie your obstruction concern. We have already done the legal
    research, and the enhancement is reserved for fairly egregious conduct focused directly on the
    offense.


    Let us know whether we need to do anything relevant to the deadline. The existing tolling
    agreement expires at the end of January.


    Mike



                                         J. Michael Hannon
                                         HANNON LAW GROUP, LLP
                                         333 8th Street, N.E.
                                         Washington, DC 20002
                                         (202) 232-1907, Direct
                                         (202) 365-5561, Mobile
                                         (202) 232-3704, Facsimile
                                         www.hannonlawgroup.com
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Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 291 of 319




           EXHIBIT YY
              Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 292 of 319



J. MICHAEL HANNON *                      HANNON LAW GROUP, LLP
DANIEL S. CROWLEY *†‡                                                                 WILLIAM CLAYTON BATCHELOR *†
                                     COUNSELORS AND ATTORNEYS AT LAW                           OF COUNSEL
ANN-KATHRYN SO §†
     PARTNERS                               333 8TH STREET NE
                                          WASHINGTON, DC 20002
                                                                                     * ALSO ADMITTED IN MARYLAND
                                                  EST. MARCH 17, 2006
                                                                                     † ALSO ADMITTED IN VIRGINIA
HARRISON E. RICHARDS †                                                               ‡ ALSO ADMITTED IN MASSACHUSETTS
KIERAN L. REILLY*                            T (202) 232-1907  F (202) 232-3704     §ALSO ADMITTED IN NEW JERSEY
RACHEL E. AMSTER                               www.hannonlawgroup.com
   ASSOCIATES
                                                   June 23, 2022

         VIA ELECTRONIC TRANSMISSION ONLY

         Stuart Douglas Allen
         Assistant United States Attorney
         United States Attorney’s Office
         601 D Street, N.W.
         Washington, DC 20530

         Evan N. Turgeon
         Trial Attorney
         U.S. Department of Justice
         National Security Division
         950 Pennsylvania Avenue, N.W.
         Washington, D.C. 20530

                         Re:   Amb. Richard G. Olson, Jr.; 1:22-cr-00144-GMH

         Dear Messrs. Allen and Turgeon:

                Amb. Olson and I met with the pre-sentence report writer this week. In advance of the
         government providing information to the pre-sentence report writer, I am constrained because of
         past conduct by Assistant U.S. Attorney Daniel J. O’Brien to alert you to my concerns about the
         information you chose to provide both to the pre-sentence report writer and to the Court.

                Section 1.B.1.8 of the Sentencing Guidelines provides that statements made by Amb.
         Olson pursuant to his cooperation agreement with the government may not be used in
         sentencing. United States v. Clark, 214 Fed. Appx. 372 (5th Cir. 2006); United States v.
         Washington, 146 F.3d 219 (4th Cir. 1996); United States v. Rivera, 117 F. Supp.3d 172
         (E.D.N.Y. 2015); United States v. Tripodis, 2007 U.S. Dist. LEXIS 110423 * (N.D.Ga. 2007).

                The burden is on the government to demonstrate that information provided to the pre-
         sentence report writer or the court is not derived from cooperation statements. In providing
         information regarding sentencing, the government may not merely pay lip service to the plea
         agreement.

               If you have any concerns regarding the information you chose to provide, please let me
         know ahead of time so we might avoid an extensive evidentiary hearing prior to sentencing.
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 293 of 319


Stuart Douglas Allen
Evan N. Turgeon
June 23, 2022
Page Two


        Thank you for your courtesy.

                                       Sincerely,

                                       s/J. Michael Hannon

                                       J. Michael Hannon


cc:     Russell D. Duncan
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 294 of 319




           EXHIBIT ZZ
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 295 of 319




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                  )
                                            )
                  vs.                       ) PRESENTENCE INVESTIGATION REPORT
                                            )
                                            ) Docket No.: 0090 1:22CR00144-001 (SEALED)
 Richard Gustave Olson Jr.                  )


       RICHARD D. OLSON, JR.’s OBJECTIONS TO THE PRESENTENCE REPORT

 Assistant U.S. Attorney                           Defense Counsel

 Evan Nathaniel Turgeon                            J. Michael Hannon
 950 Pennsylvania Avenue NW, Suite 7700            333 8th Street NE
 (202) 353-0176                                    Washington, DC 20002
 Washington, DC 20530                              (202) 232-1907
 evan.turgeon@usdoj.gov                            jhannon@hannonlawgroup.com

 Stuart Douglas Allen                              Russell D. Duncan
 601 D Street NW                                   1001 Pennsylvania Avenue NW, Suite 1300
 Washington, DC 20530                              South
 (202) 252-7794                                    Washington, DC 20004-2505
 Stuart.allen@usdoj.gov                            (202) 640-6657
                                                   rduncan@clarkhill.com

Sentence Date:          January 20, 2023, at 3:00 p.m.

             Offense: Count 1:         Making a False Writing
                                       18 USC § 1018
                                       1 year imprisonment/$100,000 fine

                         Count 2:      Aiding and Assisting a Foreign Government with Intent
                                       to Influence Decisions of United States Officers
                                       18 USC § 207(f)(1)(B)
                                       1 year imprisonment/$100,000 fine




                                                     1
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 296 of 319




 PART A. THE OFFENSE

         Charge(s) and Conviction(s)

 1.      On March 22, 2022, the United States Attorney for the Central District of California
         filed a two-found Information charging defendant Richard Gustave Olson, Jr. with
         Making a False Writing, in violation of 18 USC §1018 (Count One) and Aiding and
         Assisting a Foreign Government with intent to Influence Decisions of United States
         Officers, in violation of 18 USC §207(f)(1)(B) (Count Two).

PROPOSED OBJECTIONS AND MODIFICATIONS: In the second line, there is a typo
[two-found].

The plea agreement signed by Amb. Olson on January 14, 2022, required that his plea take place in
either the Eastern District of Virginia or the District of Columbia. After the plea agreement was signed,
attorneys Daniel O’Brien, from the U.S. Attorney’s Office for the Central District of California, and
Evan N. Turgeon from the National Security Division of the Department of Justice, were unable to
comply with that provision of the agreement. At no time was there any case filed against Amb. Olson
in the Central District of California. Five weeks passed after the execution of the plea agreement. On
February 25, 2022, Mr. Turgeon left a message for Amb. Olson’s counsel, J. Michael Hannon, to call
him. Mr. Hannon returned the call on February 28, 2022.

         In the telephone call, Mr. Turgeon said that “a technical glitch in the plea agreement” might
result in Amb. Olson being charged with a felony, a violation of the plea agreement. Mr. Turgeon then
stated that the technical glitch could be remedied by Amb. Olson agreeing to an “addendum” to the plea
agreement. The proposed addendum would provide that the plea would take place in the Central
District of California “in the event that neither the United States Attorney for the Eastern District of
Virginia nor the United States Attorney for the District of Columbia agreed to accept the filing of the
plea agreement in their respective district courts.”

       Mr. Turgeon stated that on February 25, 2022, the United States Attorney for the EDVA refused
to accept the filing of the plea in that district. Mr. Turgeon reported that neither the National Security
Division at DOJ nor the U.S. Attorney’s Office for the Central District of California had contacted the
U.S. Attorney’s Office for this district to determine whether that Office would accept the plea. Mr.
Turgeon reported that if Amb. Olson did not accept the proposed “addendum” to the plea agreement,
Amb. Olson might be indicted in either the EDVA or this district. As recounted in Mr., Hannon’s letter
memorializing the telephone call:

               Mr. Turgeon further stated that regardless of whether Amb. Olson agrees to the
       proposed addendum to the plea agreement, the USAO/CDCA and DOJ/NSD would file
       the plea agreement very soon in the Central District of California. Mr. Turgeon stated
       that he and Mr. O’Brien would then approach the USAO for the District of Columbia for
       permission to transfer the plea to the District of Columbia. He stated that in his view,
       with the plea already filed in CDCA, it would be easier to persuade the USAO/DC to
       accept the transfer. In the event such a transfer were not accepted by that office, then
       under the proposed addendum to the plea agreement, Amb. Olson would enter his plea in
       the Central District of California and be sentenced in that court.

        Mr. Turgeon’s email response to the letter was received on the same day. That email does not
vary in material ways from Mr. Hannon’s letter, and includes the threat that Amb. Olson might be

                                                    2
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 297 of 319



indicted in either the EDVA or DDC if he fails to agree to the addendum. The email accused Amb.
Olson’s counsel of “gamesmanship”.

         Amb. Olson did not consent to the addendum, as entering his plea in either the EDVA or this
district was material to the agreement. On March 17, 2022, Messrs. O’Brien and Turgeon reported that
they would file an information and the plea agreement in the Central District for California “shortly”
and requested that Amb. Olson must execute a Rule 20 Transfer Request for the matter to be transferred
to this district. In a letter the next day, Mr. Hannon did not agree to the transfer and maintained
anything filed should remain under seal to preserve the potential of Amb. Olson earning a 5K motion
from the government in its purported prosecution of retired Marine Four-Star General John Allen, then
director of the Brookings Institute.

        The government then filed only an Information in the Central District for California on March
22, 2022, without any notice or agreement from Amb. Olson. Amb. Olson was alerted to the filing of
the information by the press. Counsel for Amb. Olson previously learned from a national reporter that
the reporter had a source in the Department of Justice. As we discuss further in our Objections, AUSA
O’Brien from the U.S. Attorney’s Office caused a release of a search warrant affidavit to the press in
violation of federal law and or under Rule 6 of the Rules of Criminal Procedure regarding grand jury
secrecy.

       To effectuate the terms of the plea agreement, Amb. Olson had no choice but to execute the Rule
20 Transfer Request, which also was personally signed by both the United States Attorney for the
Central District of California and the United States Attorney for this district. The transfer was filed in
this Court on April 7, 2022. Amb. Olson never made an appearance in the Central District of
California, nor did any counsel on his behalf.

 2.      The Information does not provide notice to the defendant the Government intends to
         seek forfeiture as a part of the sentence.

PROPOSED OBJECTIONS AND MODIFICATIONS: There were no proceeds eligible for
forfeiture under the counts of conviction.

 3.      The criminal conduct charged in the Information occurred on or about May 12, 2016 (as
         to Count One) and from on or about February 14, 2017 to on or about June 28, 2017 (as
         to Count Two).

 4.      On June 3, 2022, the defendant pled guilty to the two-count Information, pursuant to a
         written plea agreement. The defendant understands a violation of Counts One and Two
         each carry a maximum term of imprisonment of one year, a one-year period of
         supervised release, a fine of $100,000 or twice the gross gain or gross loss resulting
         from the offense (whichever is greatest), and a mandatory $25 special assessment. The
         defendant understands that the total maximum sentence for all offenses to which the
         defendant is pleading guilty is two years’ imprisonment, a one-year period of supervised
         release, a fine of $200,000 or twice the gross gain or gross loss resulting from the
         offenses (whichever is greatest), and a mandatory special assessment of $50.

 5.      The parties agree to the statement of facts and agree the statement of facts is sufficient to
         support guilty pleas to the charges; however, the statement is not meant to be a complete
         recitation of all the facts relevant to the underlying criminal conduct. The Government
         agrees not to further criminally prosecute the defendant for violations of (1) 18 USC
         § 201(c)(1)(B)—Public Official Receiving Illegal Gratuity, related to September 2015
         payments totaling $25,000 to a person with whom the defendant had a personal
                                                    3
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 298 of 319



         relationship; (2) 18 USC §1519—Destruction of Documents, arising out of the deletion of
         emails pertaining to work performed for the Qatar Government; (3) 18 USC § 1001—False
         Statements, related to any statements made by the defendant during the pendency of the
         Government’s investigation, (4) 18 USC §208(a)—Acts Affecting a Personal Financial
         Interest, or (5) any other violations of law relating to conduct described in the factual basis
         of the plea agreement or Information. The defendant understands the Government is free
         to criminally prosecute him for any other unlawful past conduct or any unlawful conduct
         that occurs after the date of the plea agreement

 PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson by agreeing to this portion of
 the Plea Agreement did not and does not concede that any of the alleged facts related to the offenses
 listed are relevant conduct for determining his guideline level or are factually accurate.

 6.      The defendant understands at the time of sentencing, the Court may consider the uncharged
         conduct in determining the applicable guidelines range, the extent of any departures from
         that range, and the sentence to be imposed after considering the sentencing guidelines and
         all other relevant factors under 18 USC §3553(a). The parties agree the following US
         Sentencing Guidelines (USSG) calculation. The base offense level for Count One is 6,
         pursuant to USSG §2B1.13. The base offense level for Count Two is 6, pursuant to USSG
         §2C1.3. The parties agree two levels are added because the counts do not group, pursuant
         to USSG §§3D1.1 through 3D1.4. The combined offense level is 8, pursuant to USSG
         §3D1.4, and the offense level is reduced by two levels pursuant to USSG §3E1.1, for
         acceptance of responsibility. The Government agrees, if necessary, to recommend an
         additional one-point reduction if available under §3E1.1; however, the parties anticipate
         the defendant’s guidelines level will be below the threshold necessary for an additional
         one-level reduction to be available. The parties reserve the right to argue that additional
         specific offense characteristics, adjustments, and departures under the USSG are
         appropriate. The defendant understands there is no agreement as to his criminal history
         points or criminal history category. The Government agree to recommend the defendant be
         sentenced to a term of imprisonment within the applicable USSG range.

PROPOSED OBJECTIONS AND MODIFICATIONS: The PSR Writer failed to note that “the
parties anticipate the defendant’s guidelines level will be below the threshold necessary for an
additional one-level reduction to be available.” That threshold is 16; whereas, the guideline level
recommended by the PSR Writer is well over that.

 7.      On April 26, 2022, the defendant was placed on a personal recognizance bond. He was
         ordered to report for supervision to Pretrial Services Agency for the District of Columbia
         (PSADC) as directed; surrender his passport to PSADC within two weeks of his initial
         appearance and no later than May 10, 2022; not to obtain a passport or other international
         travel document; notify PSADC in advance of any and all travel outside the District of New
         Mexico; receive the Court’s approval for any travel outside the continental United States;
         report to PSADC weekly as directed; and contact PSADC on April 27, 2022 to conduct an
         interview and verify his address.

 8.      Automated PSADC records indicate the defendant has complied with all Court ordered
         conditions of release. His passport was surrendered on May 2, 2022.

         The Offense Conduct

 9.      The following was obtained from the Statement of Offense (ECF doc. 1), the Information
         (ECF doc. 1), and information received from the Government.
                                                     4
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 299 of 319




PROPOSED OBJECTIONS AND MODIFICATIONS: The information provided by the government
to the PSR Writer [Paragraphs 17-54] was not shared with Amb. Olson’s counsel at the time it was sent
by the government to the PSR Writer as is the conventional conduct. Consequently, Amb. Olson was
unable to contest the information provided by the government before the PSR Writer prepared and
delivered the Draft PSR on August 10, 2022. This information was authored by AUSA Daniel O’Brien,
who has caused significant harm to Amb. Olson through his release of grand jury information to the
media.

We will note after each of the following paragraphs the source of the information: i.e., whether from the
government, or the Information, or the Statement of Offense [ECF No. 1, Doc. 1-1]. Paragraphs 17-54
provided by the government, and they should be eliminated from the PSR. Including these paragraphs in
the PSR indicates an endorsement by the PSR Writer of the government’s distorted rendering of the facts.
Instead, the PSR Writer should substitute the objective statement of the offense which come directly from
the Plea Agreement as set forth after Paragraph 16, below, in our Proposed Objections and Modifications.

The information contained in Paragraphs 17-54 should be left to the government’s use in its sentencing
memorandum or in litigation over the facts relevant to sentencing.

        Persons and Entities

 10.     Defendant Richard Gustave Olson, Jr. was a career foreign service officer employed by the
         United States (US) State Department. Defendant Olson was appointed by the President and
         confirmed by the US Senate to serve as Ambassador to the United Arab Emirates (UAE)
         from on or about October 14, 2008 through May 2, 2011 and to serve as Ambassador to
         Pakistan from on or about October 31, 2012 through November 17, 2015. From on or about
         November 17, 2015 through his retirement on November 30, 2016, defendant Olson served
         as US Special Representative for Afghanistan and Pakistan (Special Representative). In or
         about December 2016, after retiring from government service, defendant Olson created an
         entity called Medicine Bear International Consulting, LLC (“Medicine Bear”).

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ A.1 [ECF No. 1, Doc. 1-
 1 at 1-2].

 11.     Imaad Zuberi was a naturalized US citizen born in Pakistan. Mr. Zuberi operated various
         informal and formal business entities collectively referred to as Mr. Zuberi’s Company. As
         part of his business operations, Mr. Zuberi was retained by various foreign governments
         and individuals to engage in lobbying and public relations efforts. Mr. Zuberi received
         funds from foreign clients, used those funds to make political campaign contributions to
         US politicians, parlayed those contributions into political influence in the US, and lobbied
         US officials on behalf of his foreign clients.

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ A.2 [ECF No. 1, Doc. 1-
 1 at 2].

 12.     In or about March 2013, Mr. Zuberi met with defendant Olson in Islamabad, Pakistan.
         From in or about March 2013 through November 2016, Mr. Zuberi solicited defendant
         Olson’s advice and assistance in his capacity as Ambassador with respect to a variety of
         business matters of interest to Mr. Zuberi.

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ A.2.a. [ECF No. 1, Doc.
 1-1 at 2].
                                                    5
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 300 of 319




         Ethics Obligations and Reporting Requirements

 13.     To increase public confidence in the federal government, demonstrate the integrity of
         government officials, and enhance the ability of the citizenry to judge the performance of
         public officials, the US Congress enacted the Ethics in Government Act of 1978 (“the
         Act”). The Act established an agency within the Executive Branch, the Office of
         Government Ethics (“OGE”), to oversee public employee compliance with US ethics laws.

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ B.3 [ECF No. 1, Doc. 1-
 1 at 3].

 14.     Because transparency was a critical part of government ethics, Congress determined that
         US citizens should know their leaders’ financial interests. Accordingly, the Act and its
         implementing regulations required certain government employees (“public filers”) to file
         public financial disclosure reports on an annual basis. The annual reports, known as OGE
         Forms 278, required the employee to disclose financial matters including their income,
         assets, liabilities, outside employment arrangements, gifts, reimbursements, and travel
         expenses. The OGE 278 forms certified that the statements the public filer made on the
         form and all attached schedules were true, complete, and correct to the best of the public
         filer’s knowledge. In both his capacities as Ambassador and Special Representative,
         defendant Olson was a public filer.

PROPOSED OBJECTIONS AND MODIFICATIONS:                       Information at ¶ B.4 [ECF No. 1, Doc. 1-1
at 3].

 15.     OGE and the employee’s agency were jointly charged with ensuring compliance with
         ethics laws and reporting obligations, investigating possible violations, and referring
         possible violations to the agency’s Inspector General and the US Department of Justice for
         civil enforcement or criminal prosecution.

PROPOSED OBJECTIONS AND MODIFICATIONS:                       Information at ¶ B.5 [ECF No. 1, Doc. 1-1
at 5].

 16.     The Act also imposed “revolving door” prohibitions upon senior government officials.
         After retirement from government service, senior government officials were prohibited
         from representing foreign entities before US officials or aiding or advising any foreign
         entity, including through any behind-the-scenes consulting, with the intent to influence US
         officials during a one-year “cooling off” period. Congress enacted similar “revolving door”
         restrictions into a criminal statute, Title 18, United States Code, Section 207(f). In
         accordance with these laws, defendant Olson was prohibited from engaging in lobbying
         activity or aiding or advising any foreign government in its attempts to influence US
         officials during the period December 1, 2016 through December 1, 2017. During this time,
         defendant Olson was aware of the “revolving door” prohibitions and understood that they
         applied to him.

 PROPOSED OBJECTIONS AND MODIFICATIONS:                        Information at ¶ B.6 [ECF No. 1, Doc. 1-
 1 at 4].

         The Offense


                                                   6
   Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 301 of 319



PROPOSED OBJECTIONS AND MODIFICATIONS: Paragraphs 17-54 are embellished
assertions provided by the government to the PSR Writer which Amb. Olson was unable to review
before the Draft PSR was delivered on August 10, 2021. These Paragraphs were adopted in whole by
the PSR Writer, rather than the recitation of facts included in the Information to which Amb. Olson
agreed to plead guilty. The facts recited in the Information should be substituted for Paragraphs 17-
54, which are better left to the government’s Memorandum Regarding Sentencing.

Consequently, Amb. Olson requests that the PSR Writer substitute the following, which comes
directly from the Information, for Paragraphs 17-54:

     C. WHILE EMPLOYED BY THE FEDERAL GOVERNMENT, DEFENDANT OLSON
     RECEIVED OVER $18,000 IN TRAVEL EXPENSES FROM PERSON 1 TO ATTEND A
     JOB INTERVIEW WITH BUSINESSPERSON 2 IN LONDON

     7. On or about January 15, 2015, defendant OLSON, who was then still serving as U.S.
     Ambassador to Pakistan, met with Person 1 in Los Angeles and discussed the possibility that
     defendant OLSON might work for Person 1’s business associate, Businessperson 2, a citizen of
     Bahrain, who operated Businessperson 2’s Company. On or about January 23, 2015, defendant
     OLSON agreed to meet Person 1 and Businessperson 2 in London on January 31.

     8. On or about January 27, 2015, Person 1 procured defendant OLSON’s first-class airfare from
     New Mexico, via Los Angeles, to London. Person 1 paid for the trip with a combination of
     credit card expenditures and approximately 330,000 frequent flyer miles. In total, the airfare was
     worth approximately $18,829. Person 1 paid for his and defendant OLSON’s stay at a luxury
     hotel in London at a combined cost of approximately $2,298. Person 1 also paid for dinner in
     London for defendant OLSON, Businessperson 2, Person 1, and another individual at a cost of
     approximately $589.

     9. On or about February 19, 2015, Businessperson 2’s Company offered defendant OLSON a
     one-year contract with Businessperson 2’s Company, commencing after defendant OLSON’s
     retirement from government service, that included compensation of $300,000 per year.

     D. AFTER HIS RETIREMENT FROM GOVERNMENT SERVICE, DEFENDANT OLSON
     PROVIDED AID AND ADVICE TO QATAR

     10. After defendant OLSON began working for Person 1 and Person 1’s Company in December
     2016, despite being aware that he was subject to the “revolving door” prohibitions of the Act
     and Section 207(f), defendant OLSON violated these prohibitions on multiple occasions.

             a. DEFENDANT OLSON PROVIDED AID AND ADVICE TO QATAR TO
                FACILITATE LOBBYING U.S. OFFICIALS TO ESTABLISH U.S.
                CUSTOMS PRECLEARANCE FACILITIES AT DOHA INTERNATIONAL
                AIRPORT

     11. U.S. Customs and Border Protection (“CBP”) preclearance facilities at foreign international
     airports provided significant benefits to host countries and their national airlines. CBP allowed
     flights originating from a precleared airport to fly directly from that airport to over 160
     destinations in the United States, regardless of whether the destination airport had a CBP port of
     entry. Preclearance facilities thus provided a host country’s airport an advantage over
     competitors for the U.S.-bound traveler market.


                                                  7
Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 302 of 319



 12. In or about January 2014, while defendant OLSON was serving as Ambassador to the UAE,
 the U.S. and the UAE negotiated to establish a CBP preclearance facility at the Abu Dhabi
 International Airport in the UAE -- one of Qatar’s regional rivals.

 13. On or about October 25, 2016, Person 1 caused the drafting of a contract between Person 1’s
 Company and a Qatar-based holding company controlled by Qatar Government Official 1,
 whereby Person 1’s Company would be paid $3.5 million per year plus a 20% “success fee.”

 14. On or about November 14, 2016, Qatar Government Official 1 transferred by wire $2.8
 million to Person 1’s Company.

 15. On or about December 27, 2016, Qatar Government Official 1transferred by wire $3 million
 to Person 1’s Company.

 16. On or about January 23, 2017, Businessperson 3, a business associate of Person 1, sent
 defendant OLSON a draft plan for a lobbying campaign to convince the White House and the
 U.S. Department of Homeland Security (“DHS”) to establish preclearance facilities at Doha
 International Airport.

 17. The next day, on or about January 24, 2017, defendant OLSON sent Person 1 and
 Businessperson 3 an email that included his advice on how Qatar could “sell” its preclearance
 proposal to the U.S. government. For example, defendant OLSON advised that it would be
 important to secure the support of the U.S. Ambassador to Qatar, stating, “I know her well but
 can’t do it because of State’s post-employment ethics restrictions, but [Person 1] can charm her
 she’s from LA. The deal closer would be for the Qataris help her get a new Embassy[.]”

 18. On or about January 29, 2017, Businessperson 3 emailed a revised lobbying plan to
 defendant OLSON and Person 1, incorporating defendant OLSON’s input. The revised plan
 called for Qatar to lobby the U.S. House of Representatives, U.S. Senate, White House National
 Security Council, DHS, and specific CBP officials, followed by a negotiated agreement between
 DHS and the government of Qatar to establish preclearance facilities at Doha International
 Airport.

 19. On or about January 31, 2017, defendant OLSON sent Businessperson 3 further revisions to
 the lobbying plan. Defendant OLSON recommended that Qatar leverage its support for the U.S.
 military to obtain the preclearance facilities it sought, stating, “We also believe it should be
 possible to leverage Qatar’s strong record of support for the U.S., particularly the U.S. military,
 to push the pre-clearance program through.”

 20. On or about February 14, 2017, Businessperson 3 emailed the preclearance lobbying plan
 that incorporated defendant OLSON’s advice to a government email address of Qatar
 Government Official 3, an official with the Qatar Ministry of Interior, copying Qatar
 Government Official 1, defendant OLSON, and Person 1.

 21. On or about March 9, 2017, Person 1 sent Qatar Government Official 1 a copy of Person 1’s
 Company’s draft contract with the Qatar-based holding company. In a cover email, Person 1
 stated, “this will incorporate preclearance project.”

        b.      DEFENDANT OLSON PROVIDED AID AND ADVICE TO QATAR TO
                FACILITATE LOBBYING U.S. OFFICIALS TO SUPPORT QATAR
                DURING A DIPLOMATIC CRISIS

                                              8
     Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 303 of 319



       22. On or about May 24, 2017, cyber hackers, reportedly funded by the UAE, committed a
       computer intrusion at the Qatar News Agency website. The hackers posted statements,
       purportedly by Qatar Government Official 2, that appeared supportive of the Government of
       Iran. Hackers also leaked emails of the UAE’s Ambassador to the United States that discussed
       Qatar’s support for the Muslim Brotherhood and militant groups.

       23. On or about June 5, 2017, citing Qatar’s purported support for Iran and terrorism, several
       Gulf states, including the UAE and the Kingdom of Saudi Arabia, cut ties with Qatar and
       implemented a blockade, closing all air and sea lanes to the country (“the Gulf Diplomatic
       Crisis”).

       24. On or about June 6, 2017, several U.S. House representatives introduced House Resolution
       2712 “to impose sanctions with respect to foreign support for Palestinian terrorism[.]” The
       Resolution identified Qatar as providing financial support to Hamas, a terrorist organization.

       25. On or about June 1, 2017, Person 1 enlisted the help of defendant OLSON, Businessperson
       3, and Businessperson 4 to organize and participate in a lobbying and public relations campaign
       to convince the U.S. government to support Qatar during the Gulf Diplomatic Crisis. The
       lobbying and public relations effort sought to use the Gulf Diplomatic Crisis as a business
       opportunity and to profit from defendant OLSON’s status as a former U.S. Ambassador to the
       UAE, Qatar’s primary rival in the crisis, and defendant OLSON’s ability to provide aid and
       advice to Qatar.

       26. Defendant OLSON’s aid included recruiting Person 3 to join defendant OLSON in providing
       aid and advice to Qatari government officials with the intent to influence U.S. foreign policy
       with respect to the Gulf Diplomatic Crisis. On or about June 6, 2017, defendant OLSON
       contacted Person 3 to enlist his support in the endeavor. That same day, defendant OLSON
       emailed Person 1 that he had been in touch with Person 3 and informed him that Person 3 was
       “interested in helping out with Qatar.”

       27. On or about June 10, 2017, defendant OLSON, Person 1, Person 3, Businessperson 4, and
       Qatar Government Official 1 traveled to Doha, Qatar. After checking into their hotel, defendant
       OLSON and Person 3 met with the U.S. Ambassador to Qatar to discuss the purpose of their
       trip.

       28. That same day, on or about June 10, 2017, defendant OLSON, Person 1, and Person 3
       traveled to the Qatari royal palace to meet with senior Qatari government officials, including
       Qatar Government Official 2, Qatar Government Official 4, Qatar Government Official 5, and
       Qatar Government Official 6. The Qatari government officials did not permit Person 1 to attend
       the meetings.

       29. On or about June 15, 2017, defendant OLSON, Person 1, and Person 3 met for dinner with
       Qatar Government Official 4 at a hotel in Washington, D.C.

       30. On or about June 28, 2017, defendant OLSON, Person 1, Person 3, and Qatar Government
       Official 5 met with several sitting members of the U.S. House of Representatives for the purpose
       of convincing the U.S. lawmakers to support Qatar rather than its regional rivals in the Gulf
       Diplomatic Crisis.

Information at ¶ 7-30 [ECF No. 1, Doc. 1-1 at 3-9].


                                                      9
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 304 of 319



BELOW ARE PROPOSED OBJECTIONS TO PARAGRAPHS 17-54 PROVIDED BY THE
GOVERNMENT WHICH INDICATE WHY THE PSR WRITER SHOULD REMOVE THEM.

 17.     On January 15, 2015, defendant Olson met with Mr. Zuberi in Los Angeles and discussed
         the possibility that defendant Olson might work for Mr. Zuberi’s business associate, Esam
         Janahi who operated Abu Dhabi Investment House (“ADIH”).

 18.     On January 20, 2015, Mr. Zuberi told defendant Olson he “spoke to [Mr. Janahi] about
         you” and began making arrangements for defendant Olson to meet with Mr. Janahi for the
         purposes of facilitating an employment offer for defendant Olson. On January 23, 2015,
         defendant Olson agreed to meet Mr. Zuberi and Mr. Janahi in London on January 31, 2015.

 19.     On January 27, 2015, while serving as the US Ambassador to Pakistan, defendant Olson
         received from Mr. Zuberi first-class airfare from New Mexico, via Los Angeles, to London.
         Mr. Zuberi paid for the trip with a combination of credit card expenditures and
         approximately 330,000 frequent flyer miles. In total, the airfare was worth approximately
         $18,829. Mr. Zuberi paid for his and defendant Olson’s stay at a luxury hotel in London at
         a combined cost of approximately $2,298. Mr. Zuberi also paid for dinner in London for
         defendant Olson, Mr. Janahi, Mr. Zuberi, and another individual at a cost of approximately
         $589.
 20.     On February 4, 2015, Mr. Zuberi provided defendant Olson with the terms of a one-year
         contract with ADIH, commencing on July 1, 2015, that included compensation of $300,000
         per year, a 1% fee for business developed, compensated expenses, and a position on the
         advisory board of the company.

 21.     On February 8, 2015, Mr. Zuberi told defendant Olson that Mr. Janahi was waiting for
         defendant Olson’s decision. Defendant Olson then sent an email to Mr. Janahi stating that
         he was “very interested in the position with ADIH and would like to clarify a few points
         with [him].” Defendant Olson proposed terms identical to those provided by Mr. Zuberi
         just days earlier.

 22.     On February 19, 2015, ADIH offered the same terms of the employment to defendant Olson
         as those set forth by Mr. Zuberi and as requested by defendant Olson.

PROPOSED OBJECTIONS AND MODIFICATIONS: The previous Paragraphs 17-22 are the
government’s misleading assertions of fact that relate to Count One charging failure to report the travel
expenses for the job interview held in London to interview for a position with ADIH.

In reality, there is no evidence that Zuberi was a business associate of Janahi or associated with ADIH.
In fact, Janahi has filed suit against Zuberi in California. Amb. Olson did not know the details of who
paid for his travel and lodging, which were not important to him for the reason stated directly below.
Although Zuberi’s office was making the travel arrangements, Amb. Olson believed the costs were
being paid by ADIH, as Zuberi had told Amb. Olson.

Moreover, State Department employees are permitted to accept travel expenses for interviews in post-
employment positions as they are approaching retirement. Amb. Olson anticipated retirement, and the
ADIH was the least among the employment prospects Amb. Olson’s was pursuing before his
retirement.

Amb. Olson – as required by State Department ethics advisories – filed a formal Recusal Notice with
his embassy with respect to any Department dealings with ADIH because of his interviewing for a
position. This filing makes clear that Amb. Olson had no need to hide anything from the government.
                                                    10
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 305 of 319



Indeed, Amb. Olson filed other recusal notices regarding his other post-employment interviews.



 23.     On March 12, 2015, at Mr. Zuberi’s request, defendant Olson agreed to meet with members
         of Congress to convey a positive view with respect to a sale of military hardware to
         Pakistan. On March 18, 2015, Mr. Zuberi contacted Congressmembers’ offices and
         suggested that they meet with defendant Olson so that he could provide them with an update
         on Pakistan.

 24.     On April 9, 2015, Mr. Zuberi reminded defendant Olson that defendant Olson “owed [him]
         a set of talking points for [a Congressperson] and asked for similar talking points for [a
         Senator] regarding a proposed arms sale to Pakistan which would have to be approved by
         Congress. That same day, defendant Olson sent Mr. Zuberi the talking points “as promised”
         via defendant Olson’s personal email. The talking points consisted of a position paper
         defendant Olson wrote for the State Department that had not been approved for public
         release. The talking points portrayed Pakistan in a positive light with respect to its
         cooperation against terrorism and expressed support for the sale of military helicopters and
         associated equipment to Pakistan at an estimated cost of $952 million. Defendant Olson
         told Mr. Zuberi that the argument presented was what he intended to convey in the
         previously attempted meetings with members of Congress, saying, “This is what I would
         say if giving the brief.”

PROPOSED OBJECTIONS AND MODIFICATIONS: Paragraphs 23-24 provided by the
government are also a gross distortion attempting to create the appearance of impropriety where
none existed. Zuberi unilaterally sought the participation of Amb. Olson with his efforts to engage
members of Congress on behalf of Pakistan. Amb. Olson did nothing to facilitate these efforts.

The so-called “Talking Points” consisted of publicly available information on the State
Department’s position as to Pakistan. Amb. Olson provided them to Zuberi so that Zuberi would
not present false information which would undermine the State Department’s true position. Zuberi
regularly hob-knobbed with such politicians because of the millions of dollars in illegal campaign
contributions he arranged for them. None of Zuberi’s efforts to meet with members of Congress
on this issue where successful.


         Gratuities From Mr. Zuberi for Defendant Olson’s Support for Arms Sales

 25.     On June 3, 2015, in response to a Mr. Zuberi invitation that defendant Olson attend a
         congress member’s birthday celebration, defendant Olson responded that they wouldn’t
         want him “because he was poor.” On June 14, 2015, defendant Olson told Mr. Zuberi about
         Muna Habib and her desire to attend Columbia University’s School of Journalism and
         obtain financial support. Ms. Habib and defendant Olson had been romantically involved
         since 2013 but had a falling out over defendant Olson’s affair with another woman.

 26.     Despite having not met Ms. Habib, on June 21, 2015, Mr. Zuberi told defendant Olson that
         “I will offer her $25,000 grant and $50,000 loan to be paid back after she graduates. Will
         this work for her?” Defendant Olson responded, “It is a very generous offer, and she should
         take it.”

 27.     Defendant Olson kept tabs on Mr. Zuberi’s offered help. On July 1, 2015, defendant Olson
         emailed Ms. Habib for a status report on her meeting with Mr. Zuberi, saying, “Has it
                                                   11
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 306 of 319



         occurred to you that it might be in your interest to give me a readout of your meeting, since
         the principal is likely, in fact has, reached out to me?”


 28.     Later that same day, Mr. Zuberi sent an email to Ms. Habib memorializing what he agreed
         to provide at the meeting: “Grant of $25,000 going directly to Columbia University . . .
         Help you get loan of $50,000 from US bank when you are in school or NYC . . . I can show
         proof of funds to Columbia University for you to start the school.” Mr. Zuberi forwarded
         this communication to defendant Olson, and defendant Olson responded, “Many thanks.”

 29.     On July 14, 2015, Mr. Zuberi provided Ms. Habib with a signed letter for Columbia
         University in which he falsely claimed, “I am professionally acquainted with Muna Habib
         through the work she has conducted for oppressed women in Pakistan, including the
         passionate advocacy she has undertaken on their behalf” and pledged to support her with
         $81,000 for the 2015 – 2016 academic year.

 30.     On August 6, 2015, Mr. Zuberi paid for Ms. Habib’s August 8 flight to New York to begin
         her studies at Columbia.

 31.     On September 10, 2015, Mr. Zuberi issued two checks, one for $20,000 payable to
         Columbia and one for $5,000 payable to Ms. Habib. On September 22, 2015, Mr. Zuberi
         forwarded a bank statement to Ms. Habib showing that the $20,000 check had been
         deposited into Columbia’s account for Ms. Habib and said, “I was told both your checks
         were cashed. Hope you are learning lot at Columbia.”

 32.     Mr. Zuberi then forwarded this same email to defendant Olson along with the message,
         “My job is done.” Defendant Olson responded, “Once again, you are very generous.”

PROPOSED OBJECTIONS AND MODIFICATIONS: The government’s supplied Paragraphs 25-
32 are a false attempt to convince the PSR Writer that Amb. Olson was receiving gratuities. Amb.
Olson is not charged with receiving gratuities because there is neither a factual nor a legal basis for such
assertions. During plea negotiations, the government actually agreed there was no basis for any charge
against Amb. Olson of Conflict of Interest on account of the government’s unproven contention that
Amb. Olson granted favors to Zuberi while serving as Ambassador.

The government’s assertion that Amb. Olson supported Zuberi’s schemes for military sales to Pakistan
is completely absurd. Amb. Olson, the State Department, and the administration were uniformly
opposed to any such scheme.

Regarding Para. 27, despite AUSA O’Brien’s repeated claims that this email refers to Zuberi, the
“principal”, the email actually is referring to Sardar Yaqoob, President of Azad Jammu and
Kashmir (a Pakistani province), to whom Olson had introduced Muna Habib to assist in settling
her late father's estate.

 33.     Mr. Zuberi continued to convey favors to defendant Olson up until his retirement. From
         February 26 to February 28, 2016, at Mr. Zuberi’s invitation, defendant Olson traveled to
         Los Angeles to be the keynote speaker at a dinner sponsored by a non-profit organization
         formed to address concerns of Pakistani Americans. Defendant Olson obtained State
         Department authorization to pay for the trip. Mr. Zuberi gifted defendant Olson with the
         use of a limousine driver during his stay in Los Angeles that was billed to Mr. Zuberi at a
         cost of $467.50 and for which Mr. Zuberi paid the vendor $400.

                                                    12
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 307 of 319




 34.     On May 12, 2016, defendant Olson electronically signed and submitted his annual OGE
         Form 278 for the 2015 calendar year, in which he certified his answers were “true, complete
         and correct to the best of my knowledge.” In this OGE Form 278, defendant Olson
         knowingly and willfully failed to disclose, as required, the travel benefits he received,
         namely, the roundtrip airfare between New Mexico and London and the lodging in London
         collectively worth over $19,000.

 35.     On September 1, 2016, the OGE Form 278 was signed by a Designated Ethics Official for
         the US State Department who opined, “On the basis of information contained in this report,
         I conclude that the filer is in compliance with applicable laws and regulations.”

 36.     On his final financial disclosure form prepared upon his retirement in November 2016,
         defendant Olson falsely certified on his OGE Form 278 that his answers were true when
         he concealed Mr. Zuberi’s gift of limousine rides worth at least $400 in connection with
         the speaking engagement in Los Angeles in February 2016. Defendant Olson did, however,
         disclose another gift on this form valued at $100.

 37.     Other than the $300,000 per year job offer from ADIH, defendant Olson received no other
         job offers prior to his retirement from government service on November 30, 2016.
         Defendant Olson did not accept the employment offer or board membership from ADIH.
         However, either shortly before or shortly after his retirement, defendant Olson did accept
         a contracting relationship with Mr. Zuberi’s company Avenue Ventures at a rate of $20,000
         per month ($240,000 per year). Defendant Olson also agreed to accept a position on the
         board of ADIH’s successor, Infra Capital, that would increase his compensation, although
         no final agreement was signed.

PROPOSED OBJECTIONS AND MODIFICATIONS: The government’s misleading
Paragraphs 33-37 are intended to convince the PSR Writer that Amb. Olson accepted gratuities
and failed to report receipt of money not alleged as part of the reporting violation in Count One.
The government did not include in Count One the limousine expense in Paras. 33 and 36. The
government could have insisted on inclusion of this $400 expense in Count One in plea
negotiations. The government did not do so, presumably because it is de minimis or because State
Department regulations impliedly treat the payment as being made to the government. The ADIH
proposed job and salary of $300,000 were never accepted, and must be ignored completely for
sentencing purposes.

         Cooling-Off Period Violations

 38.     The defendant retired from government service on November 30, 2016. In or about
         November or December 2016, either just prior to, or shortly after, defendant Olson retired
         from government service, Mr. Zuberi agreed to retain the services of defendant Olson for
         $20,000 per month plus expenses. On or about December 15, 2016, Mr. Zuberi sent
         defendant Olson his first monthly check payable to Medicine Bear in the amount of
         $20,000.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson interviewed for several
positions prior to his retirement. After the election in November of 2016, his most interesting job
prospect was withdrawn, based on the change in administrations anticipated after the election. Amb.
Olson had no interest in working for Zuberi as an employee. Therefore, Amb. Olson established a
consultant business and agreed to represent Zuberi as a consultant. Amb. Olson did not agree to an
engagement with Zuberi until December, after his retirement.
                                                   13
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 308 of 319




 39.     Defendant Olson began working for Mr. Zuberi and Mr. Zuberi’s company, despite being
         aware that he was subject to the “revolving door” prohibitions of Title 18 USC §207(f).
         Within the one-year cooling-off period after his retirement, the defendant provided aid and
         advice to the government of Qatar with the intent to influence decisions of US government
         officials.

PROPOSED OBJECTIONS AND MODIFICATIONS: Of course Amb. Olson was aware he
was engaged in providing consultant services to Zuberi and others during his “Cooling Off”
period. The full extent of the “aid and advice” is detailed by Amb. Olson below.

 40.     On January 23, 2017, a business associate of Mr. Zuberi sent defendant Olson a draft plan
         for a lobbying campaign to convince the White House and the US Department of Homeland
         Security to establish preclearance facilities at Doha International Airport. The following
         day, defendant Olson sent Mr. Zuberi and his business associate an email that included his
         advice on how Qatar could “sell” its preclearance proposal to the US government.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson was responding to his
client Zuberi on the plan. This was not aid to Qatar.

 41.     Beginning on February 14, 2017, the defendant participated in a lobbying effort to convince
         the US Government to endorse the establishment of the US Customs and Border Control
         preclearance facilities at Doha International Airport in Qatar. Defendant Olson helped draft
         the proposal that was sent to the Qatar government which explained how preclearance
         facilities could be achieved. Defendant Olson provided “two elements to the proposal in
         terms of selling this to Washington,” recommending that the Qataris leverage their close
         military partnership with the United States and emphasize the positive experience the
         United States experienced with respect to the establishment of similar preclearance
         facilities in Abu Dhabi.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson provided two edits to the
draft proposal prepared by others. Amb. Olson will provide the Court with an actual copy of the
edit showing the full extent of his contribution.
 42.     On or about June 6, 2017, defendant Olson participated in a lobbying effort to convince the
         US Government to support Qatar in its efforts to oppose a blockade imposed upon it by its
         neighbors. Defendant Olson’s aid included recruiting a retired US General (“the “General”)
         to join defendant Olson in providing aid and advice to Qatari government officials with the
         intent to influence US foreign policy with respect to the Gulf Diplomatic Crisis.


 PROPOSED OBJECTIONS AND MODIFICATIONS: This is another example of language
 from the government that the PSR Writer should avoid adopting. At the time, Amb. Olson was
 providing advice to his client Zuberi. The scope of Zuberi’s “lobbying” was entirely unknown to
 Amb. Olson.

 43.     As part of his efforts to aid the Qatar Government, on June 6, 2017, defendant Olson
         recruited the General, who was working at a Washington DC think tank, to enlist his
         support in the endeavor. On June 7, 2017, defendant Olson met with the General, a third
         party, and others a hotel in Washington, DC at which time the General explained how he
         would conduct the lobbying and public relations campaign. On June 8, 2017, the third party
         agreed to pay for the expenses of defendant Olson and the General to travel to Doha to
         meet with representatives of the Qatar Government. At the time, defendant Olson was
                                                   14
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 309 of 319



         being paid $20,000 per month to provide services to the third party. The third party agreed
         to pay the General a fee for his efforts.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson acted at this time as a
consultant to Zuberi, and recommended the General.

 44.     On June 10, 2017, defendant Olson and the General met with the Qatar Emir and other
         representatives of his government. Defendant Olson and the General told the Qatari
         government officials that they had traveled to Qatar as private citizens, not on behalf of the
         US government, but noted that they had connections with US government officials that
         placed them in a position to help Qatar.

 45.     During the meetings, the General advised the Qatar government officials to embrace US
         involvement in resolving the crisis, accept President Trump’s offer to mediate, sign a
         pending deal to purchase US F-15 fighter jets, and use the US Al Udeid Air Base in Qatar
         as leverage to exert influence over US government officials. The Qatari officials were
         further advised to compete with Saudi Arabia’s lobbying campaign in the US and to use a
         full spectrum of information operations to control the political narrative in the United
         States. The General informed the Qatar Government that they would use the US National
         Security Advisor to further their efforts.

PROPOSED OBJECTIONS AND MODIFICATIONS [Paras. 44-45]: Zuberi was thrown out of
the meetings by the Qatar representatives before they began. This signifies that the Qatar
representatives were more interested in communication with the General than in treating Zuberi as a
member of the team. It is also likely that the Qataris were relying on others more sophisticated than
Zuberi in meeting with the General. At the meetings, Amb. Olson did not actively participate, but acted
as a scrivener. In fact, his hand-written notes of the meetings – which Amb. Olson retained and
provided to the government – became very important evidence to the government. Amb. Olson created
the only known record of the meetings. In plea negotiations, the government characterized Amb. Olson
as the “only witness” as to what occurred during the meetings in Qatar.

 46.     From June 9 through June 15, 2017, with defendant Olson’s knowledge, the General
         solicited the help of the National Security Advisor and his staff to support the Qatar’s
         position with respect to the crisis.

 47.     On or about June 15, 2017, the General informed defendant Olson that the US National
         Security Advisor and another senior US government official had been briefed on their
         efforts to convince the United States to support Qatar’s cause.

 48.     On June 16, 2017, the General reported to defendant Olson, the third party, and a senior
         Qatar Government Official that he personally asked the National Security Advisor to meet
         with senior Qatar officials and that while an “embassy request has to work its way up, our
         request will come down from above.”

 49.     On June 23, 2017, the General stated that two senior Qatar Government Officials would be
         visiting Washington, DC the next week and asked the National Security Advisor to meet
         with them.

 50.     On June 28, 2017, defendant Olson attended a dinner with the General, representatives of
         the Qatar Government, and members of Congress to enlist Congress to support the Qatari
         cause.

                                                    15
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 310 of 319



PROPOSED OBJECTIONS AND MODIFICATIONS [Paras. 46-50]: Amb. Olson was not
actively involved in these activities. The dinner mentioned in Para. 50 was arranged by Zuberi,
which Amb. Olson did attend.

Paragraphs 38-50 were provided to the PSR Writer to adversely influence her understanding of the
facts. As we indicate above, Amb. Olson requests that the PSR Writer report to the Court the
“facts” contained in the Information found at ECF No. 1.

         Scope of Defendant Olson’s False Statements and Concealment

 51.     On July 17, 2019, in a voluntary interview with the FBI, defendant Olson concealed
         information related to benefits he received from Mr. Zuberi by making the following false
         statements: (1) that his January 2015 travel to London was paid for by Mr. Zuberi’s
         business associate, when in fact Mr. Zuberi paid for the travel; (2) that defendant Olson
         received no specific job offer from ADIH saying, “we had a conversation in London about
         . . . possibilities for post-employment. There was never a specific job offer. There was never
         anything,” when in fact, ADIH had formally offered defendant Olson a $300,000 per year
         job; and (3) that defendant Olson had “no idea” how Mr. Zuberi helped finance Ms. Habib’s
         college tuition, when in fact, Mr. Zuberi forwarded to defendant Olson a bank statement
         showing that Mr. Zuberi’s $20,000 check had been deposited into Columbia University’s
         account for Ms. Habib and Mr. Zuberi told defendant Olson that both checks he issued had
         been cashed.

PROPOSED OBJECTIONS AND MODIFICATIONS: (1) Amb. Olson had no knowledge that
Zuberi paid for the London travel, except what Zuberi told him; (2) Amb. Olson in this interview four
years after the events had no reason to recall specifics of the job offer because he was fairly dismissive
of the opportunity from the beginning; and (3) Amb. Olson had no reason to remember the bank
information from years before. These are hardly false statements and did not interfere with any
investigation.

 52.     In that same FBI interview, defendant Olson also concealed information related to the
         nature of his relationship with Mr. Zuberi by making the following false statements: (1)
         that he had no knowledge of Mr. Zuberi’s business interests in military sales to foreign
         governments they discussed, claiming, “I had no reason to believe that [Zuberi] had any
         business interests in any of these [military] deals” and that his understanding was that
         Zuberi’s interest in the sales was merely for “general information.” In fact, defendant Olson
         was aware that Mr. Zuberi was engaged in the business of brokering military sales between
         a manufacturer of military drones and foreign governments; (2) that defendant Olson and
         Mr. Zuberi only engaged in general-interest political discussions and “political gossip,”
         that there “was no business relationship” between the two, and that he could not recall any
         “ask” from Mr. Zuberi. In fact, defendant Olson agreed to assist Mr. Zuberi’s business
         efforts in lobbying members of Congress and provided Mr. Zuberi with talking points to
         promote weapon sales to foreign governments in response to a request from Mr. Zuberi;
         and (3) after being handed a copy of the talking points by the FBI, defendant Olson falsely
         stated that that “whatever information I shared with [Zuberi] . . . I would share with anyone.
         I mean these were public[.]” In fact, the talking points defendant Olson shared with Mr.
         Zuberi had not been cleared for public distribution.

PROPOSED OBJECTIONS AND MODIFICATIONS: Amb. Olson knew Zuberi rarely brought any
business relationship across the finish line in a formal sense. Zuberi’s goal, looking back in the light of
Zuberi’s prosecution for illegal campaign contributions, was to create relationships based on his campaign
funding. If the government had any hard information that Zuberi brokered military sales of weapons,
                                                    16
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 311 of 319



they surely would have indicted him. The “Talking Point” were not “cleared for pubic distribution”
because there was no need for such a formal review. Amb. Olson prepared them from publicly available
information.

 53.     On July 17, 2019, in his initial interview with the FBI, defendant Olson concealed
         information related to his business relationship with Mr. Zuberi after defendant Olson’s
         retirement by making the following misleading statements: “I don’t know much about
         [Zuberi’s] actual business operations because he has me advising him on, sort of, broadly
         speaking government relations, sort of strategic, ah, aspects of business.” In fact, defendant
         Olson participated in Mr. Zuberi’s business operations with respect to lobbying campaigns
         to procure Qatar preclearance facilities and to modify US policy with respect to the Gulf
         Diplomatic Crisis, by participating in the drafting of a lobbying proposal submitted to the
         Qatar government with respect to Qatar preclearance facilities and by meeting with the
         Emir of Qatar and other high-ranking Qatari officials as well as US Government officials
         to assist the Qatar government in its effort to modify the US Government’s response to the
         Gulf Diplomatic Crisis.

PROPOSED OBJECTIONS AND MODIFICATIONS: This contention assumes that Amb. Olson
believed he had lobbied the government of the United States on behalf of Qatar. If the government
wanted to elicit a specific answer related to Qatar, the FBI Agent would need to ask a more directed
question for Amb. Olson to have actually made a false statement.

 54.     On December 17, 2019, in a second voluntary interview with the FBI, defendant Olson
         concealed information related to benefits he received from Mr. Zuberi by falsely stating
         that he was uncertain who paid for defendant Olson’s January 2015 travel to London but
         that Mr. Zuberi did not pay for any trips while defendant Olson was employed by the US
         State Department. In fact, Mr. Zuberi paid for defendant Olson’s travel and lodging in
         connection with the January 2015 travel to London.

PROPOSED OBJECTIONS AND MODIFICATIONS: Once again, the government asserts that
Amb. Olson knew that Zuberi paid for the travel, which he did not.

In paragraphs 51-54 the government misled the PSR Writer with this information. If the government
believed Amb. Olson made false statements, it would have indicted him.

         Victim Impact

 55.     These are Title 18 offenses and there is no identifiable victim. The Government advised
         there should be no restitution order in this case, and had the defendant been charged with
         a gratuity violation or bribery, restitution would be applicable. The Government related as
         these allegations were not charged, they should only be used for sentencing in accordance
         with 18 USC §3553(a) factors.

         Adjustment for Obstruction of Justice

 56.     The defendant willfully obstructed or impeded, or attempted to obstruct or impede, the
         administration of justice when the defendant concealed information related to the benefits
         he received from Mr. Zuberi and concealed information related to the nature of his
         relationship with Mr. Zuberi. Accordingly, a two-level enhancement pursuant to USSG
         §3C1.1 is warranted.


                                                    17
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 312 of 319



PROPOSE OBJECTIONS AND MODIFICATIONS: See our Proposed Objections and Modifications
below after Paragraphs 67 and 68.

         Adjustment for Acceptance of Responsibility

 57.     The defendant provided a statement to the probation officer wherein admitting involvement
         in the offense. Further, Defense Counsel provided the following written statement: [No
         Changes Requested].

 58.     As provided for in Application Note 3 of USSG §3E1.1, entry of a guilty plea prior to trial
         combined with truthfully admitting conduct comprising the offense of conviction, and
         truthfully admitting or not falsely denying any additional relevant conduct will constitute
         significant evidence of acceptance of responsibility; however, the evidence may be
         outweighed by conduct of the defendant that is inconsistent with such acceptance of
         responsibility. The entry of a guilty plea is not an entitlement to an adjustment under this
         section as a matter of right. Further, as provided for in Application Note 4 of §3E1.1,
         conduct that normally results in an enhancement under §3C1.1, ordinarily indicates the
         defendant has not accepted responsibility for his criminal conduct; however, there may be
         extraordinary cases in which adjustments under both §§3C1.1 and 3E1.1 may apply. In
         light of the above Application Notes, and in consideration of defendant Olson’s overall
         conduct, the adjustment for acceptance of responsibility in this case remains applicable.

         Offense Level Computation (2021 US Sentencing Guidelines)

 59.     Count 1: Making a False Writing, 18 USC § 1018

 60.     Count 2: Aiding and Assisting a Foreign Government with Intent to Influence Decisions
         of United States Officers, USC § 18 USC § 207(f)(1)(B)

 61.     Count 1 is found in USSG §2B1.1 of the guidelines; Count 2 is found in USSG §2C1.3 of
         the guidelines.

 62.     Because the conduct in Count 1 does not involve the same risk of harm from the conduct
         in Count 2, pursuant to USSG §2D1.2, these counts are not grouped. The combined offense
         level is determined by taking the count producing the highest offense level and increasing
         that offense level by an amount of ‘units’ as provided in USSG §3D1.4.

PROPOSED OBJECTIONS AND MODIFICATIONS: If the counts are not grouped, any relevant
conduct must fall under §1B1.3(a)(1)(A) to be considered in the sentencing calculation. The relevant
conduct must be “acts and omissions committed . . . by the defendant that occurred during the
commission of the offense of conviction, preparation for that offense, or in the course of
attempting to avoid detection or responsibility for that offense.” §1B1.3(a)(1)(A) (emphasis
supplied). See also United States v. Flores, 149 F.3d 1272, 1281 (10th Cir. 1998). The PSR Writer
erroneously relied upon conduct alleged by the government in Paragraphs 17-54 which did not occur
during the commission of the offense of conviction, preparation for those offenses, or in the court of
attempting to avoid detection or responsibility for those offenses.

         Count Group 1




                                                   18
      Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 313 of 319



63.     Base Offense Level: The guideline for 18 USC § 1018 offenses is found in USSG
        §2B1.1 of the guidelines. That section provides that an offense involving fraud has
        a base offense level of six. USSG §2B1.1(a)(2).                                             6

64.     Specific Offense Characteristics: None.                                                     0

65.     Victim Related Adjustment: None.                                                            0

66.     Adjustment for Role in the Offense: None.                                                   0

67.    Adjustment for Obstruction of Justice: The defendant willfully obstructed or
        impeded, or attempted to obstruct or impede, the administration of justice with
        respect to the investigation, prosecution, or sentencing of the instant offense of
        conviction, and the obstructive conduct related to the defendant's offense of
        conviction and any relevant conduct, or a closely related offense (when he
        concealed information related to benefits he received from Mr. Zuberi); therefore,
        two levels are added. USSG §3C1.1.                                                         +2
68.      Adjusted Offense Level (Subtotal):                                                         8
PROPOSED OBJECTIONS AND MODIFICATIONS: There should be no
enhancement under USSG §3C1.1 for obstruction of justice. First, the PSR Writer
erroneously relied upon conduct alleged by the government in Paragraphs 17-54 which did
not occur during the commission of the offense of conviction, preparation for those
offenses, or in the court of attempting to avoid detection or responsibility for those offenses.
Second, the obstruction of justice enhancement applies where: (1) “the defendant willfully
obstructed or impeded, or attempted to obstruct or impede, the administration of justice with
respect to the investigation, prosecution, or sentencing of the instant offense of conviction,
and (2) the obstructive conduct related to (A) the defendant’s offense of conviction and
any relevant conduct; or (B) a closely related offense.” (Emphasis supplied).

       Application Note 4 supplies “Examples of Covered Conduct”, including (G)
“providing a materially false statement to a law enforcement officer that significantly
obstructed or impeded the official investigation or prosecution of the instant offense.”
Application Note 5 gives “Examples of Conduct Ordinarily Not Covered”, which includes
(B) “making false statements, not under oath, to law enforcement officers, unless Application
Note 4(G) above applies.” Application Note 6 defines “material” as any information “that, if
believed, would tend to influence or affect the issue under determination.”

       The information allegedly “concealed” by Olson in the interviews was: 1)
“information related to benefits he received from Mr. Zuberi.” Specifically, the trip to
London, the job offer, and lack of knowledge as to the payments to Columbia (¶ 51); 2)
information regarding Zuberi and his interests in military sales, no business relationship
between Olson and Zuberi; and falsely claiming that he would share the “talking points” with
Zuberi and anyone else (when the “talking points” were not cleared for public distribution) (¶
52; and 3) information regarding his retirement and a business relationship with Zuberi,
including Zuberi’s actual business operations in connection with Qatar (¶ 53 ).

       The government has the burden of proving an obstruction of justice by a
preponderance of the evidence. United States v. Rodriguez, 336 F.3d 67, 71 (1st Cir. 2003);
United States v. Wilson, 884 F.2d 1355 (11th Cir.1989).

                                                   19
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 314 of 319



        In United States v. Ring, 811 F. Supp. 2d 359 (D. D.C. 2011), the government argued
for an obstruction enhancement. The trial court found that the government had not met its
burden of proving obstruction. Id. at 383. Ring, a lobbyist from Greenberg Traurig, was
found guilty for payment of an illegal gratuity, honest services wire fraud and conspiracy.
The government claimed that Ring made false statements to investigators hired by Greenberg
Traurig, specifically pointing to Ring's “false and misleading statements about his knowledge
of and participation in the [Michael] Scanlon-Abramoff kickback scheme, his receipt of
$135,000 related to the Sandia Pueblo [tribe], as well as his knowledge [of] the corruption
scheme involving payments to Julie Doolittle for a little-work job.” The court noted that the
obstruction enhancement was not triggered unless the obstructive conduct “related to (i) the
defendant’s offense of conviction and any relevant conduct; or (ii) a closely related offense.”
The court explained that the first two instances of obstruction were not part of the offense of
conviction and were not related to the offense of conviction. Regarding the Doolittle matter,
Ring at first stated he did not remember much about it, but in a later interview he recounted
several details about it. This did not amount to obstruction because Ring had reviewed emails
about the matter prior to the last interview. The court refused to impose the enhancement on
this basis, holding:

       An enhancement under § 3C1.1 is only appropriate where the defendant acts
       with the intent to obstruct justice. Where conduct is “directly and inherently
       obstructive” – that is, where the defendant engages in “behavior that a rational
       person would expect to obstruct justice” – the court may infer an intent to
       obstruct justice and need not make a separate finding of specific intent.

Id. at 384 (quoting United States v. Reeves, 586 F.3d 20, 23 (D.C. Cir. 2009).

        The fact that Ring “changed” his story about the Doolittle job from “I don't remember,
I need my recollection refreshed” to later providing additional details after having his
recollection refreshed with contemporaneous emails is plainly not “directly and inherently
obstructive” and is insufficient to demonstrate that Ring lied about this issue or intended to
obstruct justice.

        Applying Ring to Olson’s case, the allegations contained in ¶¶ 51 and 52 are not
related to the offenses of conviction or any relevant conduct. As for ¶ 52, the “concealed”
information was not material to the offense of violating the one-year “cool-off” period. There
is no evidence that any of the “concealed” information significantly affected the investigation.
See e.g., United States v. Shriver, 967 F.2d 572, 575 (11th Cir. 1992) (no evidence showing
defendant’s false statement, not under oath, to IRS agent about “voided” Notice of Federal
Tax Lien significantly obstructed or impeded the official investigation because the agent was
already aware that defendant was the one who altered the Notice); United States v. Manning,
955 F.2d 770 (1st Cir. 1992) (obstruction enhancement was inappropriate because defendant’s
use of false identity in response to arresting officer’s inquiries did not cause “significant
hinderance to the investigation”); United States v. Williams, 952 F.2d 1504 (6th Cir. 1991)
(“section 3C1.1 specifically permits lies to investigating agents if they do not significantly
impede the investigation”); United States v. Urbanek, 930 F.2d 1512 (10th Cir. 1991) (false
statements denying guilt made to IRS Agent did not support obstruction enhancement).

        The Fifth Circuit has held that to establish that a defendant’s conduct resulted in an
actual hindrance, “the government must present evidence of what action it took that it would
not have taken had [defendant]’s identity been known” when he gave false information.
United States v. Surasky, 976 F.2d 242, 245-246 (5th Cir. 1992) citing United States v. Banks,
347 F.3d 1266, 1271 (11th Cir. 2003). The language of the application notes “requires a
                                                   20
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 315 of 319



causal relationship between the materially false statement given and a resulting impediment
upon the instant investigation or prosecution.” See also United States v. Selvie, 684 F.3d
679, 684 (7th Cir. 2012) (materially false information provided to law enforcement must
actually obstruct or impede the official investigation to merit an obstruction enhancement.
“Without more, false statements to law enforcement authorities, if not made under oath, do
not actually impact the investigation or prosecution.”); United States v. Griffin, 310 F.3d
1017, 1023 (7th Cir. 2002) (government must prove “a detrimental effect upon [its] efforts to
investigate or prosecute the instant offense.”).

       To show that Olson committed obstruction, the government must show how his
“concealed” information resulted in an “impediment upon the instant investigation or
prosecution” or that the “concealed” information “a detrimental effect” on its investigation.
The government has not done so, and this enhancement must be eliminated.
        Count Group 2

69. Base Offense Level: The guideline for a violation of 18 USC § 207(f)(1)(B) is USSG
     §2C1.3. Pursuant to the cross reference at §2C1.3(c)(1), USSG §2C1.2 is used to
     determine the offense level because the offense involved a bribe or gratuity and that
     guideline results in a higher offense level. The base offense level is 11 because the
     defendant was a public official, specifically, a US Ambassador and US Special
     Representative. USSG §§2C1.2(a)(1) and 2C1.3(c)(1).                                            11

PROPOSED OBJECTIONS AND MODIFICATIONS: The proper base offense level
should be 6. The PSR Writer’s use of the cross-reference contained in §2C1.3(c)(1) is
improper for three reasons: 1) the items the PSR is calling “gratuities” are not relevant conduct
to the offense of conviction; 2) even if they somehow could be considered relevant conduct,
they do not fall within the statutory definition of a “gratuity”; and, 3) the Plea Agreement did
not allow the government to rely upon cross references contained in the sentencing guidelines.

        The offense in Count 2 is providing “aid and advice to the government of Qatar”
within the one-year “cool-off” period. The PSR includes the $300,000 job offer (that was not
accepted), the money paid to Columbia University on behalf of Muna Habib, and the $400
paid to the limo service as gratuities; therefore, the cross-reference should not be applied.

A. Not Relevant Conduct

        The PSR, in ¶ 62, states that the two offenses are not grouped. If the counts are not
grouped, any relevant conduct must fall under §1B1.3(a)(1)(A) to be considered in the
sentencing calculation. The relevant conduct must be “acts and omissions committed . . . by
the defendant that occurred during the commission of the offense of conviction, preparation
for that offense, or in the course of attempting to avoid detection or responsibility for that
offense.” §1B1.3(a)(1)(A). See also United States v. Flores, 149 F.3d 1272, 1281 (10th Cir.
1998).

        None of the items the PSR calls “gratuities” fall under the definition of relevant
conduct. He did not accept the $300,000 position with ADIH and the proposed position had
no relevance to the offense of conviction; i.e., “aid and advice to the government of Qatar”
within the one-year period.” For the same reason, the money paid to Columbia University
had nothing to do with his providing “aid and advice to the government of Qatar” and was
thus not relevant conduct. Likewise, the $400 paid for the limo service was no way related
to his “aid and advice to the government of Qatar.”
                                                    21
    Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 316 of 319




         In United States v. Flores, 912 F.3d 613 (D.C. Cir. 2019), the court reversed a sentence
where the district court included, as relevant conduct, the defendant’s participation in the
murder of a Mexican kidnap victim. The court noted that neither the plea agreement nor the
initial PSR mentioned §1B1.3. The court also pointed out the neither the record nor the
government’s brief contained any reference to §1B1.3(a)(1)(a). Further, even if the PSR and
the government had argued that the kidnap/murder fell under §1.B1.3(a)(1)(A), the argument
would have failed because the kidnap/murder was not related to the underlying racketeering
offense of conviction. See also United States v. West, 643 F.3d 102 (3rd Cir. 2011) (conduct
surrounding arrest five months after defendant was arrested for being a felon in possession
should not have been included in relevant conduct under §1B1.3(a)(1)(a)); United States v.
Wernick, 691 F.3d 108, 114 (2nd Cir. 2012) (offenses against young children were not relevant
conduct because these offenses did not “occur[] during the commission of” or “in preparation
for” the crimes against the teenagers “in the sense contemplated by the Guidelines.”); United
States v. Caldwell, 2020 U.S. App. LEXIS 5765; 2020 WL 914922 (11th Cir. 2020) (grand
theft of the motor vehicle did not occur during commission of offenses of conviction and was
not done in order to avoid detection or responsibility for those offenses. “Thus, under the
Guidelines, it is not relevant conduct.”).

        In Olson’s case, neither the Statement of the Offenses nor the PSR mention “relevant
conduct” under §1B1.3(a)(1)(A). In fact, the PSR does not explain how the three activities
are relevant conduct. Instead, the PSR bypasses this step and goes straight to “gratuity”
without explaining the basis for considering them as gratuities. This is improper and the
cross-reference should not be used.

B. Three Activities Were Not Gratuities

       Even assuming the three activities are relevant conduct, they still were not gratuities
and applying the cross-reference is improper.

        Courts frequently refer to 18 U.S. Code § 201(c) as the “Gratuity Statute.” See e.g.
United States v. Sun-Diamond Growers, 138 F.3d 961, 963 (D.C. Cir. 1998) (“it is enough
under the gratuity statute, 18 U.S.C.S. § 201(c)(1)(A), if the defendant gives an unpromised
benefit for a past governmental favor.”); United States v. Heard, 709 F.3d 413, 419 (5th Cir.
2013); United States v. Jefferson, 674 F.3d 332, 353 (4th Cir. 2012). While Olson was not
charged under this statute, it offers the best definition of a “gratuity:”

       18 U.S.C. § 201(c) Whoever –
              (1)    otherwise than as provided by law for the proper discharge of official
              duty –
              (B)    being a public official . . . directly or indirectly . . . agrees to receive or
              accept anything of value personally for or because of any official act
              performed or to be performed by such official or person.

         All three instances that the PSR counts as gratuities involve Zuberi, Janahi, and ADIH.
If these are to be considered “gratuities” then Olson had to accept them “for or because of any
official act” he had performed or was to perform. His alleged actions after 02/16/2015 (when
he received the terms of the job offer from ADIH) were: 1) agree to meet with members of
Congress regarding the sale of military hardware to Pakistan (¶ 23); 2) provide Zuberi with
“talking points” on selling arms to Pakistan (¶ 24); and 3) accept the use of a limo service
while presenting a State Department approved speech. The remainder of his actions set out
in the PSR revolve around the pre-clearance facility at Doha and conduct charged in Count 2.
                                                     22
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 317 of 319




         To constitute an illegal gratuity, a connection must be made between a thing of value
 and official act to be performed by the public official. It is not sufficient to merely show that
 gratuity was given because of recipient’s official position or motivated by recipient’s capacity
 to exert governmental power for donor’s benefit. United States v. Sun-Diamond Growers,
 526 U.S. 398, 413 (1999).

        There is no evidence connecting the fact that Olson performed the tasks related to
 arms sales or his limo ride in return for the “thing of value” (proposed employment contract,
 money paid to Columbia, or payment for the limo service). Without this connection, there is
 no gratuity. See also United States v. Schaffer, 183 F.3d 833, (D. D.C. 1999) reversed and
 vacated on other grounds 1999 U.S. App. LEXIS 16923 (D.C. Cir. 1999) (vacated due to
 presidential pardon); Valdes v. United States, 475 F.3d 1319 (D.C. Cir. 2007) (insufficient
 evidence to convict defendant of illegal gratuity). Furthermore, the Department of Justice
 Manual explicitly provides that under the facts of this case where the pubic official does not
 personally receive the gratuity, the offense must not be charged. See DOJ Manual attached
 as Exhibit A. The contention that Amb. Olson received gratuities was contested during plea
 negotiations, and the government conceded there is no basis for a charge of Conflict of Interest
 while serving as Ambassador.

 C.    The Plea Agreement Does Not Permit Use of Cross References

          Amb. Olson contends the government is bound by the agreed upon in Paragraph 14
 of the Plea Agreement, resulting in a sentencing range of 0-6. In the event the government
 argues for a different guideline range, the Plea Agreement does not include resort to any cross
 reference for sentencing purposes. Paragraph 15 states: “Defendant and the USAO reserve
 the right to argue that additional specific offense characteristics, adjustments, and departures
 under the Sentencing Guidelines are appropriate.”

 70.     Specific Offense Characteristics: Because the offense involved more than one
         gratuity, specifically, the university grant; the limousine; and the employment offer,
         two levels are added. USSG §2C1.2(b)(1).                                              +2

 PROPOSED OBJECTIONS AND MODIFICATIONS: Because the cross reference does
 not apply, this provision does not apply.
 71.     Specific Offense Characteristics: Because the value of the gratuity exceeded
         $6,500, the base offense level is increased by the levels from the table in §2B1.1.
         In this case, the number of offense levels from the table in §2B1.1 corresponded to
         the value of more than $250,000 but less than $550,000 (specifically, the $25,000
         college tuition, $400 for the limousine; and $300,000 in the employment offer)
         thereby resulting in a 12-level increase to the base offense level, USSG
         §2C1.2(b)(2) and USSG §2B1.1(b)(1)(G).                                                      +12

PROPOSED OBJECTIONS AND MODIFICATIONS: Because the cross reference does not apply,
this provision does not apply. The $300,000 salary was not received. The $400 for the limousine was a
benefit to the State Department, not Amb. Olson.

 72.     Specific Offense Characteristics: Because the offense involved an elected public
         official or any public official in a high-level decision-making or sensitive position,
         4 levels are added. USSG §2C1.2(b)(3).                                                      +4


                                                     23
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 318 of 319



PROPOSED OBJECTIONS AND MODIFICATIONS: As stated above, here, again, because the cross
reference does not apply, this provision does not apply. Moreover, Count 2 involves activities of Amb. Olson at a
time when he was no longer serving in government. The commentary to §2C1.3, in Note 3(A), defines high-level
decision-making or sensitive position as: “a position characterized by a direct authority to make decisions for, or
on behalf of, a government department, agency, or other government entity, or by a substantial influence over the
decision-making process.” Even assuming the cross reference should be applied, none of the conduct that the
government alleges occurred while Amb. Olsen was in the government with respect to alleged gratuities is relevant
conduct to his post-government lobbying work.
        Further, after lengthy negotiations, the Plea Agreement in this case was designed and intended by
the parties to make available to Amb. Olson a sentence of probation. AUSA O’Brien and DOJ Attorney
Turgeon said so. The parties explicitly agreed that the offense level would be 6. Deference will generally
be accorded an agreement negotiated between competent counsel, taking into account the “institutional
incentives” that induce a prosecutor to plea bargain, and the observed phenomenon that the plea-
bargaining process usually “produces the right result” in terms of the seriousness of the underlying crime.
See United States v. Torres-Echavarria, 129 F.3d 692, 694695 (2nd Cir. 1997).



        In Amb. Olson’s case, public safety is not an issue. The prosecution and defense agreed to a
specific set of offense conduct, including the calculation of a fair application of the guidelines. The plea
agreement and the Statement of The Offenses, agreed upon by both parties, produced the right result and
deference to that agreement should be observed by the Court.

       The PSR Writer should also report that the government proposed that Amb. Olson cooperate in
hopes of obtaining a 5K departure for assistance in the purported prosecution of General John Allen.
Whether the government is willing to report to the Court the prospect of such a prosecution, Amb. Olson
should be entitled to consideration of his good faith.

 73.      Victim Related Adjustment: None.                                                                 0

 74.      Adjustment for Role in the Offense: None.                                                        0

 75.      Adjustment for Obstruction of Justice: The defendant willfully obstructed or
          impeded, or attempted to obstruct or impede, the administration of justice with
          respect to the investigation, prosecution, or sentencing of the instant offense of
          conviction, and the obstructive conduct related to the defendant's offense of
          conviction and any relevant conduct; or a closely related offense (specifically, when
          he concealed information related to his relationship with Mr. Zuberi) ; therefore,
          two levels are added. USSG §3C1.1.                                                              +2

PROPOSED OBJECTIONS AND MODIFICATIONS:                                   See our Proposed Objections and
Modifications after Paragraphs 66 and 67, above.

 76.      Adjusted Offense Level (Subtotal):                                                              31

 77.      Multiple Count Adjustment: Units are assigned pursuant to USSG §3D1.4(a), (b) and
          (c). One unit is assigned to the group with the highest offense level. One additional unit is
          assigned for each group that is equally serious or from 1 to 4 levels less serious. One-half
          unit is assigned to any group that is 5 to 8 levels less serious than the highest offense level.
          Any groups that are 9 or more levels less serious than the group with the highest offense
          level are disregarded.

           Group/Count              Adjusted Offense Level           Units
                                                        24
       Case 1:22-cr-00144-GMH Document 38-1 Filed 02/06/23 Page 319 of 319



          Count 1                             8                   0.0
          Count 2                             31                  1.0

          Total Number of Units:                                 1.0

 78.     Greater of the Adjusted Offense Levels Above:                                            31

 79.     Increase in Offense Level: The offense level is increased pursuant to the number
         of units assigned by the amount indicated in the table at USSG §3D1.4.                    0

 80.     Combined Adjusted Offense Level: The Combined Adjusted Offense Level is
         determined by taking the offense level applicable to the Group with the highest
         offense level and increasing the offense level by the amount indicated in the table
         at USSG §3D1.4.                                                                          31

 81.     Chapter Four Enhancement: None.                                                           0

 82.     Acceptance of Responsibility: The defendant has clearly demonstrated acceptance
         of responsibility for the offense. Accordingly, the offense level is decreased by two
         levels. USSG §3E1.1(a).                                                                   -2

 83.     Acceptance of Responsibility: The defendant has assisted authorities in the
         investigation or prosecution of the defendant's own misconduct by timely notifying
         authorities of the intention to enter a plea of guilty. Accordingly, the offense level
         is decreased by one additional level. USSG §3E1.1(b).                                    -18

 84.     Total Offense Level:                                                                     28

PROPOSED OBJECTIONS AND MODIFICATIONS: The Total Offense Level should be 6.

         Educational, Vocational and Special Skills

119. OBJECTION: Amb. Olson may drink two glasses of wine each evening.

126. OBJECTION: Amb. Olson was a member of the National Honor Society and received an award
for ability in French. Amb. Olson was not a member of the “National French Honor Society” to the best
of his recollection.

         Employment Record

130. OBJECTION: Amb. Olson resigned this position. He was not terminated.

131. OBJECTION: Amb. Olson resigned this position. He was not terminated.




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